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                            Exhibit 14.08
                    United States’ Motion to Enter Consent Decree,
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                  EXHIBIT A-29
          AppendixA to OxyChem's Comments in Opposition to Proposed Consent Decree,
           United States v. Alden Leeds, Inc., et al., Civil Action No. 2:22-cv-07326 (D.Nj.)




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               Preface
              Paint has been used for artwork for many thousands of years. The oldest Mediterranean
              civilizations including the Greeks, Romans, and Egyptians used encaustics, paints
              made with a mixture of mineral pigments (iron, copper, manganese oxides, etc.),
              melted beeswax, and resin and then fixed with heat. Tempera, a fluid mixture of
              binder (organic medium), water, and volatile additives (vegetal essential oils) and
              organic binders made of materials available from animal sources (whole egg, animal
              glues, or milk) were used to make paints for hundreds of years.
                  At the end of the Roman Empire and up to the Renaissance period (fifteenth
              century), these ancient formulas were lost and replaced by oil paint and/or tempera.
              In Italy and Greece, olive oil was used to prepare pigment mixtures, but the drying
              time was excessively long and unpredictable. Gradually, paints were refined with
              different oils and additives, working in combination with heat, to produce a group of
              reliable resin systems and solvent blends for modern industrial coatings that provide
              the appearance characteristics to satisfy consumers and protective characteristics to
              make the product last in different environments and conditions. Modern coatings are
              now used on virtually every durable-good product manufactured.
                  In more recent history, the need to clean up the environment has had a profound
              impact on coating formulation. Higher solids content and water content have changed
              to reduce the solvent included in the blend and reduce waste and emissions generated
              by the use of surface coatings.
                  Surface coatings are used on furniture, toys, automobiles, bicycles, computer
              cabinets, televisions, and thousands of other products. Many of these products are
              coated with liquid organic paints. Paint provides a decorative or protective coating
              on a metal, plastic, or wood product. Paint is also applied for insulation, to reflect
              light, or conduct electricity.
                  The average person can see the decorative value of paint, and many products are
              purchased because of eye appeal. Although it is less obvious at the time of purchase,
              resistance to the elements is equally important, and consumers appreciate the fact that
              the products they own will stay cleaner, last longer, and resist corrosion because they
              are protected by a high-quality industrial coating.




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               Author
              Rodger Talbert is an independent consultant working in surface finishing
              technology. He designs new systems for liquid spray coating, powder coating,
              and electrodeposition, and works to improve existing systems through process
              improvement, retrofit, and training.
                  Talbert began his career in coatings in 1976, working for a company involved
              in custom coating and metal fabrication. He also worked 7 years for a company
              that designs and builds coating systems. He started his own business, R. Talbert
              Consulting, Inc., in 1993.
                  Talbert has taught Powder Coating and Finishing System Design and Operation at
              Grand Rapids Community College, where he designed and implemented a Finishing
              Technician Certificate program and published six training manuals for liquid coating,
              electrocoating, and powder coating classes. He is the editor of The Powder Coater's
              Manual, and he is a member of the technical advisory committee for the Iowa Waste
              Reduction Center. He also conducts periodic training workshops in liquid coating
              spray technique, powder coating, and systems design.
                  Talbert received his education in business administration at Aquinas College in
              Grand Rapids, Michigan. He is a member of the Powder Coating Institute (PCI)
              and a member of the Electrocoat Association. He is the former chairman of the
              Application & Recovery Committee of the PCI, chairman of education for Chemical
              Coaters Association (CCAI), technical director for CCAI, and former president of the
              National Board of Directors for CCAI.
                  He has written and presented numerous technical papers for SME/AFP, PCI, and
              CCAL He has contributed to the SME Design for Manufacturing handbook on the
              subject of powder coating, is a contributor to the PCI Powder Coating Terms &
              Definitions handbook, and is a contributor to the PCI Powder Coating Manual and
              The Complete Finishers Handbook. He also wrote the chapter on powder coating in
              the Manufacturers Engineering Handbook, published by McGraw-Hill.




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                      Part Preparation
                    1 Processes and
                              Equipment
              A coating is applied to a part to enhance its appearance and to protect the substrate
              material. An organic coating will act as a physical barrier to moisture, but if the
              coating surface is damaged, the bare metal is exposed, and corrosion can form and
              spread. The adhesion of the coating and the corrosion resistance of the product
              depend on the preparation of the surface. Part preparation is often referred to as
              pretreatment.
                   The term pretreatment is used to define the mechanical or chemical surface
              treatment for a manufactured product, referred to as the substrate, to clean it, and
              prepare it for the application of a coating. Pretreatment can be accomplished in many
              different ways. For example, sanding a part to remove dirt is a simple mechanical
              method of part preparation. Chemical pretreatment maybe as simple as a solvent wipe,
              or it may be a multistage spray washer that cleans the part and applies a conversion
              coating. The specific method and degree of pretreatment used depends on quality
              requirements of the product.
                   Pretreatment typically provides better adhesion of the coating to the part and helps
              prevent the spread of corrosion, adding value to a product and extending its useful life.
              Pretreatment eliminates reactions between metals and between coatings and metals.
              It also cushions expansion and contraction differences between the substrate and the
              coating.
                   Pretreatment is one of the most important steps in ensuring that the coating will
              perform as intended. A decorative coating will not hide defects, and the performance
              of a coating is directly related to the condition of the surface that it is applied to.
              Application of the coating over a contaminant will prevent it from forming a tight
              bond to the substrate, and if the contaminant lifts off, so will the coating. Dirt particles
              will not dissolve or be hidden by the coating. For good appearance and adhesion,
              the part must be clean.
                   In addition to cleaning, it may be necessary to develop a conversion coating
              on metal surfaces prior to coating application. With the exception of some precious
              metals such as silver, gold, and platinum, metals react with air to form an oxide layer
              on their surface. Water molecules are tightly held to this oxide layer. This is not a
              good surface condition for chemical bonding. An example of a surface that has been
              treated with a conversion coating is shown in Figure 1.1.
                   Deciding what process can be used to pretreat a particular part depends on the
              performance requirements of the final part, pretreatment requirements of the paint
              to be used, the substrate material, and soils on the surface.



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               FIGURE 1.1 Magnified zinc phosphate surface.


               1.1 CLEANING
               Manufactured products have a variety of contaminants on their surfaces. Before a
               coating is applied to the substrate, the surface has to have these contaminants removed.
               If contamination is left on the surface, the coating may not meet the required quality
               standards for appearance, adhesion, or corrosion resistance.
                   The kind of pretreatment to use will depend on the types of soil found on the
               surface and the quality goals for the product. A good definition of the level of per-
               formance that is required will lead to a cleaning process that is effective and reasonable
               in cost.


               1.1.1 TYPES of Sou
               Raw materials that are stored, handled, or used for manufacturing products will
               always have some surface contamination. On metals, the probable contaminants
               are oily soils, including petroleum products, animal fat, or vegetable oils depos-
               ited during manufacturing operations for rust protection, drawing, machining, and
               forming. There may also be heavy-duty drawing compounds and lubrication greases or
               waxes and some solid soils such as carbon, graphite smuts, metal shavings, polishing
               products, metal oxides, welding scale, and rust or corrosion.
                   Plastics may have mold release, skin oils from handling, plastic particles from
               sanding, and dust and dirt from the atmosphere.
                   There are a variety of mechanical and chemical methods that can be used to
               clean metals and plastics. Accurate identification of soils leads to the proper cleaner
               selection and helps verify cleanliness. The first step is to do a soil audit to determine
               what types of soils will need to be removed.


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               Part Preparation Processes and Equipment


              1.1.1.1 Rust Inhibitors
               Lubricants, paraffin waxes, oils, drawing compounds, and similar rust inhibitors
               are made from petroleum oils. Oils will usually break down pretty well in alkaline
               chemical cleaners.

              1.1.1.2 Shop Dirt
               Dust, shop dirt, and other forms of particulate can be removed with most alkaline or
               acidic cleaners and can also be removed by mechanical blasting or grinding, followed
               by a blow off.

              1.1.1.3 Carbon
               Carbon is present in all organic compounds and in a few inorganic compounds. It is
               abundant in various steel alloys in the form of metal smut. Carbon smut is extremely
               inert and nonreactive due to electrostatic attraction to metal surfaces. Chelants do a
               very good job of breaking down smut whereas alkalis, solvents, and most acids are
               not very effective. Mechanical cleaning can also be very effective at removing smut
               from a steel surface.

              1.1.1.4 Oxidation
              An oxide of any metal can develop on the metal surface right after the metal is
              formed or cast. Aluminum oxide and zinc oxides are white, while iron oxide is red
              rust. Copper oxide is recognized as a green tarnish. Acids are extremely good for
              the removal of oxides since all oxides are acid soluble. Some alkaline products that
              are not inhibited will remove zinc and aluminum oxides. Solvents are typically not
              effective. Mechanical cleaning is very effective for the removal of oxide layers.
                   Laser cutting is a commonly used process for many different gauges of steel.
              The laser cutting process creates an oxide layer on the edge that has been cut. Paint
              will adhere to the laser oxide but the laser oxide is not tightly adhered to the steel.
              If the coating is cracked along the edge it may completely delaminate, especially
              if the product is used out-of-doors.
                   Sanding, grinding, chipping, and blasting can be very effective for the removal
              of laser scale. Hand methods are somewhat limited due to the high labor content and
              the inherent inconsistencies associated with manual operations. Some shapes may be
              difficult to clean by hand.
                   Automated blasting can be very effective if the steel is heavy enough to withstand
              the pressure and all surfaces are accessible to the blast media. Blasting may be a
              good way to treat laser edge when hot-rolled steel (HRS) is used because the scale
              and other inorganic soils can also be removed.
                   Acidic chemical solutions have also been effectively used for the removal of
              laser oxide. Many of these solutions are phosphoric acid-based solutions applied by
              spray or in immersion systems. Phosphoric acid is aggressive enough for the task
              without over-reaction that may occur with some other acids.


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                    The disadvantage of phosphoric acid is the significant volume of iron phosphate
               sludge, which, over time, without proper circulation and filtration, builds up in the
               tank, fouling heat exchangers, clogging plumbing systems, and eventually resulting
               in expensive system cleaning and downtime. In addition, in some cases, the strong
               acid solution will leave fine metal particles on the surface that show up in the coating.
                    In some instances, blends of acids are the most effective chemical approach. There
               are commercially available blends of acids that work synergistically to remove laser
               scale without many of the negative aspects of a single acid. In addition to selecting
               the proper chemistry, you must also apply the product properly. Adjusting cleaner
               concentration and bath temperature can optimize cleaning time.
                    It is very important to involve the chemical supplier for a wash system to make
               sure that the design for chemical removal of laser scale considers the compatibility of
               all the system chemistry with the process equipment's material of construction. Laser
               scale can be effectively removed when necessary using acid-resistant equipment and
               blended engineered chemicals.

               1.1.1.5 Wax
               Waxes are similar in composition to fats and oils. Some are hydrocarbons, while
               others are esters of fatty acids. They are water repellent, nontoxic, smooth textured,
               and resistant to many chemical cleaning products. Waxes are often used on tubing
               as a rust inhibitor. They are solids at ambient temperatures so the cleaner used must
               reach the melting point of the wax to break it down. They are soluble in most organic
               solvents and alkaline cleaners, providing that the contact time is long enough and the
               temperature is high enough.

               1.1.1.6 Soaps
               Soaps are sometimes formed by the water-soluble reaction of a fatty acid and
               an alkali. Soaps lower the surface tension of water and permit emulsification of fat
               bearing soils. Soft soaps, heavy metal soaps, and vegetable oil soaps can be found
               in products such as metalworking fluids. Alkaline cleaners are generally the best at
               saponifying soaps. Acids will turn the soap to a semisolid mass and make rinsing more
               difficult. Solvents are usually not effective, too expensive, and not environmentally
               desirable.

               1.1.1.7 Polymers
               Polymers are sometimes used in compounds to provide good lubricity and releasing
               properties during certain manufacturing processes. Organic polymers can be natural,
               synthetic, and semisynthetic molecules such as phenolic materials and celluloses.
               Inorganic materials include siloxanes, silicones, and sulfurized polymers. Acids,
               alkaline cleaners, solvents, and detergents can be used to remove polymers.

               1.1.1.8 Silicone
               Silicones are sometimes used as lubricants or release agents in manufacturing pro-
               cesses. Silicones can be liquid, solid, or semisolid. These are long, straight-chain

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               Part Preparation Processes and Equipment


              polymers, very low in surface tension, and they are not easily broken down using
              alkaline or acidic products. They can be removed with organic solvents, but the
              solvent will become contaminated very quickly.


              1.1.2 MECHANICAL CLEANING
              As briefly discussed earlier, there are many types of soil on manufactured products,
              including organic substances such as oil or inorganic materials such as mineral-type
              rust inhibitors, scale, or rust. Many of these soils can be effectively removed by
              mechanically abrading the surface. Mechanical methods, including wire brushing,
              abrasive blasting, grinding, and sanding, are used to smooth as well as clean surfaces.
              Mechanical cleaning with a hand-held grinder or a manual blast system can be very
              effective, but it is very labor intensive. In-line blasting can be used to automate the
              process. Mechanical cleaning is sometimes the only way to remove excessive dirt,
              rust, or scale.


              1.1.2.1 Blasting
              Blasting with sand or grit will remove mill scale, rust, or previous coatings from a
              substrate and create a surface profile that provides good coating adhesion. The dry film
              thickness of coatings used over a shot-blasted substrate is determined by the profile
              produced. A general rule of thumb would be 1 mil over the peaks of the profile.
              Thicker films are recommended, if the part will be used in an outdoor application.
                  Blasting operations can be manual batch systems or automated in-line systems.
              Blasting systems can use high-pressure nozzles or a centrifugal wheel to deliver the
              blast media. Nozzle blast systems require compressed air for delivery of the media,
              while a wheel system uses centrifugal force. Even though the compressed air is an
              added cost, it may be necessary to direct nozzles into hard to reach areas of a part.
              The blast area must be enclosed to contain the blast media and dust.
                  A blasted surface will create a very good anchor pattern for a coating. A blast
              system does not require as much space as a spray washer. Chemical use, mainten-
              ance, and the associated effluent are avoided. Mechanical treatments may be the
              only treatment required for finishes, where initial coating adhesion is the only crit-
              ical requirement. However, mechanical cleaning alone will not provide undercoat
              corrosion resistance or extend the life of the finished product. Adequate coverage
              with the coating material is critical, if extended life is expected over a blast-only
              surface. The film thickness of the coating on a blasted surface must be thick enough
              to cover the peaks and valleys of the anchor pattern created by the abrasion.
                  Handheld air-blast systems are very dependent on the concentration of the oper-
              ator, and the quality may vary. Blast cabinets are often suction-feed systems that
              draw particles into the spray gun by induced vacuum and accelerate the media with a
              metered stream of compressed air. Pressure-blast systems use a pressurized vessel to
              deliver the media, providing higher nozzle velocity that can clean the surface much
              faster than a suction system.
                  Blast cabinets function similar to any booth designed for containment of over-
              sprayed material. Negative pressure within the cabinet is maintained with a fan that

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               draws air into the enclosure through a suitable filter. Typically, this exhaust system
               will use a cyclone separator to remove the dust and fine particles from the airstream
               and recover the media for reuse. The scrap material that is separated out of the
               airstream is collected for disposal in a container attached to a dust collector. This
               scrap material should contain a small percentage of the heavier, reusable media to
               indicate that the fan pull is sufficient to prevent the buildup of fines in the recovered
               blast media. A vibratory screener can be added to the process to further refine the
               recovered material and maintain consistent particle size.
                   Turbine-blast systems use high-speed turbine wheel with blades. The media is
               metered to the center of the wheel where it is fed onto the blades, which sling the
               particles at the surface being blasted. These systems are more energy efficient than
               air-blast systems, because they do not use compressed air for delivery.
                   Abrasive blasting is most often used for the preparation of heavy structural parts,
               particularly HRS welded components. It does an excellent job of removing rust,
               smut, carbonized oils, and inorganic surface contaminants that are characteristic
               of this type of product. It can also effectively remove organic soils as long as
               the blast media is maintained to avoid a buildup of oil that can cause contamina-
               tion. The blasting dust needs to be washed away or blown off before the coating is
               applied.
                   Different blast media can be used to vary the profile created on the metal surface.
               Less aggressive media will remove most soils without cutting too deeply into the
               metal and leaving a visible texture on the metal surface. More aggressive media
               can be used to cut stubborn encrustations, such as red oxides, but it will leave more
               texture on the surface.
                   A blast system requires less space than a spray washer that uses chemical clean-
               ing and it does not generate any wastewater. Mechanical cleaning may be the only
               treatment required for finishes where initial paint adhesion is required. However,
               mechanical cleaning alone will not provide undercoat corrosion resistance or extend
               the life of the finished product.
                   The degree of cleaning with the blast operation depends on the quality
               requirements of the surface. Published documents clearly define quality grades of
               blast-cleaned steel surfaces. Pictorial standards were originally developed by the
               Swedish Corrosion Committee and later adopted by the Steel Structures Painting
               Council (SSPC) (Table 1.1) and other organizations. The principal four grades of
               blasting endorsed by the SSPC are as follows:

                   White metal blast: Removal of all visible rust, mill scale, paint, and foreign
                    matter. Used for conditions where corrosion resistance is very important and
                    the environment is highly corrosive.
                   Near white metal blast: Blast cleaning until at least 95% of all surface area is
                    free of all visible residues. Used for harsh environments where product is
                    exposed to heavy usage.
                   Commercial blast: Blast cleaning until at least two-thirds of the surface is free
                    of all visible residues. For applications where tightly adhering contaminants
                    are allowable on the surface; used for products with lower quality standards
                    and noncorrosive environments.

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                      TABLE 1.1
                      Metal Blast Standards
                      Degree of Cleanliness                  SSPC Standard                  NACE Standard
                      White metal blast                      SSPC-SP 5                      NACE No. 1
                      Near white metal blast                 SSPC-SP 10                     NACE No. 2
                      Commercial blast                       SSPC-SP 6                      NACE No. 3
                      Brush of blast                         SSPC-SP 7                      NACE No. 4

                      For additional information on blast cleaning standards: Plaster, H.J., Blast Cleaning &
                      Allied Processes, Vols. I and II, Industrial Newspapers Ltd., London, 1973 and
                      Fuchs, F.J., "Abrasive Blasting Systems," in Metal Finishing Guidebook & Directory,
                      Vol. 95, No. 5A, Metal Finishing, Hackensack, NJ, 1997, p. 49.




                  Brush-off cleaning: Blast cleaning of all except tightly adhering residues of
                    mill scale, rust, and old coatings, exposing numerous evenly distributed
                    flecks of underlying metal. Acceptable in noncorrosive environments where
                    long-term coating life is not expected.

                   The Swedish Standards Association (SIS) includes good equivalents of these
               standards. The British Standards Institute (BSI) also includes very close equivalents
               of the first three of these standards. The National Association of Corrosion Engineers
               (NACE) has also developed a set of encapsulated steel coupons that simulate the four
               degrees of cleanliness (Table 1.1).


              1.1.2.2 Blast Media
              The blast media affects the depth of the blast profile and surface roughness after
              blasting. Blast media can be made of natural material such as silica, sand, mineral
              sand, flint, garnet, zircon, and other mineral products. Some natural by-products are
              also used for blasting, such as walnut shell or corncob. Other blast materials are
              manufactured using a variety of metal and nonmetal compositions such as steel, iron,
              aluminum oxide, silicon carbide, plastic, wheat starch, and glass bead.
                   The size of the media particles will affect the blast pattern. Other media selection
              criteria include how well it will cut, how well it will recycle, and how much it cost.
              It is also important to know if there are any health and safety issues, such as lung
              problems associated with silica, and if the media will leave by-products on the surface,
              such as oils from walnut shells. Table 1.2 shows some common blast media and their
              comparative characteristics.
                   In addition to the comparative issues listed in Table 1.2, it is a good idea to test
              different media to have a visual idea of the effect that they will have on the part.
                   Hard grit media such as aluminum oxide will cut faster and deeper than soft,
              angular media such as plastic or agricultural grit. Mineral, ceramic, or metallic grit
              media are used in air-blast systems. Iron and steel media are more often used in
              turbine-blast equipment.

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                  Materials that are more prone to fracture, reflected in the chart by friability, are
              not good materials for recycling, because the particle size is reduced during the blast
              process and the media may not be of sufficient size and sharpness to cut soils from
              the surface. The recirculated material will not be as effective, and the surface will
              vary widely after blasting.


              1.1.2.3 Vibratory Cleaning or Tumbling
               Vibratory systems use an abrasive media in a cleaning solution to remove burrs, rough
               edges, and surface contamination. They can be useful for preparation of small castings
               or parts that have trim die flash or rough edges. They will remove the roughness and
               dried-on compounds that are often present on a cast surface or the burrs left behind
               on a sawed edge. Vibratory cleaning will leave some residue on the surface, and it is
               a good idea to spray clean parts after the vibratory polishing so that and residual
               cleaning compound is removed before coating.


              1.1.3 CHEMICAL CLEANING
              The first step in the chemical pretreatment process is the removal of dirt, oils, and
              other soils that could cause surface defects, interfere with the development of a
              good quality conversion coating, or interfere with paint adhesion. Chemical cleaning
              methods include wiping the part with a rag, dipping the part into a solution, or using
              a spray cleaning system. The cleaner may be alkaline, acidic, neutral, solvent, or
              an emulsion. The particular cleaner and process used will depend on the soils to be
              removed, the size and substrate material of the part, the type of coating to be applied,
              and the quality goals for the product.


              1.1.4 CHEMICAL CLEANING PROCESSES
               The different methods of chemical cleaning have certain applications where they fit
               and limitations that make them unsuitable for other applications. A review of the
               various methods of applying a chemical cleaner helps to understand these strengths
               and limitations.


              1.1.4.1 Hand Wipe
               The most inexpensive method of cleaning from an equipment perspective is manual
               cleaning of parts. This would normally involve hand-wiping parts with a solvent or
               aqueous (water based) cleaning solution. Manual cleaning can be somewhat effective
               in terms of soil removal but is very costly in terms of labor and very slow in terms
               of production time. Because of this, hand-wiping of parts is rarely done except on a
               spot basis.
                   Hand wiping with a clean cloth does not require any capital investment, but it is
               not very effective at soil removal; it has a high labor content, is inconsistent, and may
               create health and safety problems.

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               1.1.4.2 Immersion Cleaning
               Cleaning by immersion in solution is often used for small parts in a batch system.
               Immersion systems can be either static (still) or agitated. Immersion cycle times are
               typically longer than spray cleaning methods, because spray systems have the added
               cleaning power of mechanical energy from spray pressure. Systems with no agitation
               require longer cycle times, and they are not as effective.
                   Agitated immersion systems have the added benefit of physical movement
               between the solution and the parts being cleaned. This aids in the overall speed of
               reaction taking place between the cleaning compound and the soil. Agitation may be
               achieved in the tank through air addition or blade mixing. Some dip systems may
               also use a hoist to lift a basket of parts up and down in the tank to provide agitation.
               Dip systems normally require higher chemical concentration than spray systems and
               longer operation times, even with agitation.
                   When the parts are lifted up from the chemical solution, they may retain some
               residual chemicals or oil that may float to the surface of the solution. Cleaners used
               in dip systems should be products designed to emulsify oils rather than products that
               disperse the oils and allow them to float to the surface.
                   Many systems use some immersion cleaning along with spray stations.
               Automotive systems often include some immersion stages to make sure that all of
               the surfaces of the product are fully wetted and dirt is loosened inside and outside of
               the part. The use of immersion with spray stages can enhance overall performance.

               1.1.4.3 Hand-Held Spray Wand
               Handheld spray wands or steam spray systems are often used to clean parts in a
               batch powder coating operation. A manual operator has the time to focus attention
               on stubborn soils and hard-to-reach areas, providing very thorough removal of soils.
               Spray wands are often used for larger parts that cannot be easily transported through
               automated systems.
                   The spray wand is used inside a booth. The booth encloses the process so that
               the water vapors is captured and exhausted to atmosphere. Over-sprayed solution
               can be run straight to drain or captured, filtered, and reused. As in manual wiping,
               this process is time consuming and is not efficient for large numbers of small parts.
                   High-pressure spray wands can use hydraulic pressure as the force to do the
               cleaning. This type of cleaning is done at pressures ranging from 400 to 1000 psi. The
               temperature ranges from cold water to hot water (200°F) for high-pressure washing.
               This type of washing is done with or without cleaning compounds. The water volume
               used ranges from 2 to 35 gal/min.
                   Steam generators are sometimes used to produce dry saturated steam for spray
               cleaning. In a coil-type, forced-circulation steam generator, water is forced into the
               coil toward the discharge point. As the water passes through the coil, it becomes
               progressively hotter as steam is formed. Most of the water is evaporated before it dis-
               charges into the steam generator. This type of steam generator is designed to circulate
               more water than is evaporated. This excess water carries loose scale particles and
               other foreign matter through the coil and into the separator. Here, the water and scale
               particles are separated from the steam, providing high-quality, dry, saturated steam.

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                  Steam systems are not as effective as hot-water systems. They do not provide
              as much energy at the parts surface and do not wet out the surface as well. The energy
              required to generate steam is higher than the hot-water systems.
                  Spray wand systems provide flexibility for contact time and angle and the high
              pressure can remove heavy greases. Higher foaming surfactants may be used, because
              foam is generally not a concern and higher temperatures are possible, so it may be
              easier to melt waxes and grease.
                  The labor content and the chemical cost are high. Cycle times are long, and spray
              wands are not suitable for higher volumes of small parts. Spray wands do not offer
              the wide variety of chemicals and process steps that are possible with multistage spray
              washers.

              1.1.4.4 Ultrasonic Cleaning
              Ultrasonic cleaning utilizes high-frequency sound waves to increase the effective-
              ness of the cleaning chemicals and the agitation at the soil—substrate interface on
              the material. Transducers are located either inside or outside the cleaning vessel to
              produce the sound waves. When the sound waves reach the surface of the material
              to be cleaned, they cause cavitation. Cavitation is the formation and collapse of
              vapor bubbles and voids in liquid by acoustic energy at high frequencies. These tiny
              exploding bubbles act as a brush to carry particles and used chemical away from the
              surface of the substrate. This increases the capabilities of the chemicals by continu-
              ously replacing inactive, reacted product, with fresh chemical. In addition, it gives the
              chemicals new sites to work on by breaking away loose dirt and other contaminants.
                  Metals are the best candidates for ultrasonic cleaning, since their crystalline
              molecular structure allows vibration to occur relatively freely. Rubbers and plastics
              do not work nearly as well, because the molecular structure of these materials is more
              likely to absorb the shock waves rather than vibrate with them.
                  Ultrasonic cleaning works very well for cleaning metal surfaces and they are
              multimetal safe. Complex geometries and blind holes do not diminish the effective-
              ness of the sound waves since they clean the part throughout; these are not line-of-site
              devices. The consistency of ultrasonic cleaning is much higher than conventional
              cleaning methods as well. Cleaning occurs on all surfaces of the object for the entire
              duration of the process. Ultrasonic is particularly effective for some porous metals
              such as bronze.
                  Larger loads do not clean, as well as smaller loads, given the same time frame,
              due to energy absorption. Large, heavy parts can block each other out and cause poor
              cleaning.

              1.1.4.5 Recirculating Spray Washers
              Spray washers are the most common way to chemically clean and treat a part for
              application of a coating. A spray washer uses a series of spray stages that feature
              different solutions for different tasks. Each stage of a spray washer consists of the
              solution tank, the recirculating pump, plumbing for delivery of the solution, a tank
              heating system, and the gauges and controls that operate the system. A tunnel is
              mounted over the tanks to contain the spray process. Parts are usually transported

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                                                                  Tunnel


                                                                  Gauges

                                                                  Spray                 II   Pump
                                                                  nozzles
                    Overt

                     Drair
                                      Elevation view                             End view




                                                                     Profile plate
                       Tank                               Pressure valve
                       access
                       lid
                                         Plan view

               FIGURE 1.2    Spray washer components.


               through the washer tunnel on an overhead conveyor, although smaller parts washers
               may use a belt-type conveyor. The cleaning solution is recirculated through the spray
               header up to the risers and out through nozzles onto the parts. The parts of the spray
               washer are shown in Figure 1.2.
                   The nozzles on the risers aid in the cleaning process by providing a directed
               pressure spray in a predetermined pattern to completely cover the part. The most com-
               mon nozzle used in this application is the vee-jet, which produces a flat, fan-shaped
               spray of uniform density. The angle of spray (20°-90°) is determined by the nozzle
               and riser spacing in the washer stage and the desired level of overlap in the spray
               pattern. As seen in Figure 1.2, the nozzles are placed so that all surfaces of the part
               are reached as it proceeds through each of the various stages.
                   The recirculating spray washer is the most efficient process for continuous
               production flows. It can handle large volumes of products and provide excellent
               cleaning and treatment of most parts.
                   Spray washers are significantly more expensive than manual cleaning methods
               and they also cost more to operate. They require more maintenance and control to
               perform properly.
                   The number of stages of a spray washer depends on the substrates to be processed,
               the type of cleaning and other processes that will be used, space availability, and cost.
               The end use of the part and the performance requirements of the coating will also
               impact the number of stages. Generally speaking, more stages will improve cleaning
               and finish performance.
                   Three-stage washers are common for products that do not need exceptional cor-
               rosion resistance. The first stage is normally a cleaner or cleaner/conversion coating
               followed by two rinse stages. The rinse stages are usually recirculated water rinses

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              with a volume of water (typically 3-5 gal) overflowed to drain and made-up with
              fresh water to maintain relatively clean rinse water. The cleaner stage is usually
              heated to enhance the performance of the cleaning solution. Rinses are not typically
              heated, although the final rinse is sometimes heated to leave the part surface warm
              and accelerate drying after wash.
                  Stepping up from three stages of pretreatment to five stages allows the separation
              of the cleaning and the conversion coating steps, with a rinse in between each pro-
              cess to reduce cross-contamination of the cleaner and conversion coating solutions.
              As washers increase in complexity from five- to seven-stage systems, the added stages
              are generally additional cleaners or rinse tanks. Good cleaning is an essential part of
              the pretreatment process. Excellent rinsing ensures that the residual chemicals and
              soils are removed before the coating is applied.
                  Proper cleaning of some parts may require a combination of spray and immersion
              stages. The spray stage combines the chemical properties of the cleaner with the
              impingement action of the solution applied under pressure. Immersion penetrates
              areas of the part that may be inaccessible to the spray and improves wetting of hard
              to reach surfaces.


              1.1.5 COMMON INDUSTRIAL CHEMICAL CLEANERS
              The selection of the correct chemical product for an application is critical to the
              proper operation of the cleaning system. Products typically used in pretreatment
              include alkaline cleaners, neutral cleaners (which also act as detergent additives),
              acid cleaners, and solvent emulsion cleaners. In each group, there are specific attrib-
              utes to be considered. The cleaner selected must have the ability to remove a wide
              variety of soils, prevent redeposition, provide cleaning even when contaminated,
              provide foam control, be easily rinsed, and be cost effective.
                  Cleaners are often classified according to their pH. The pH of the solution is
              a measurement of the relative alkalinity or acidity. On the pH scale, pure water is
              neutral and has a pH of 7. A pH below 7 is considered acidic and above 7 is alkaline.
              Caustic soda has a pH of 13 or 14, while hydrochloric acid has a pH of less than 1.
              A typical range of pH is shown below.

                   • Alkaline cleaners—mild, pH 9-10.5
                     — medium, pH 10.5-11.5
                     — high, pH > 11.5
                   • Neutral cleaners—pH 6.5-9
                   • Acid cleaners—pH 1.0-5.5

               The various components that are used to build an industrial cleaner have their own
               unique mechanisms that affect certain soils.


              1.1.5.1 Alkaline Cleaning
              Alkaline cleaners are popular for metal cleaning operations, primarily because of
              the versatility of their components and their ability to break down organic soils.

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               Most of the soils that commonly occur in metal processing can be effectively removed
               by the correct selection of these individual components. The most important elements
               are the alkalinity source and level, the addition of chelants or chelating agents, and
               the surfactants.
                    The key to an alkaline cleaner is the source of alkalinity selected for the
               formulation. Alkalinity source selection considers both free and total alkalinity.
                    Free alkalinity refers to the material in the solution that is easily reactive.
               It can be either sodium or potassium hydroxide-based. Sodium hydroxide (NaOH)
               is very reactive with organic soils such as animal and vegetable fats and is
               saponifiable (able to be reacted with free alkali to form water-soluble materials).
               As sodium hydroxide tends to cause some rinsing difficulties because of its affin-
               ity for metal, the slightly less reactive potassium hydroxide (KOH) is sometimes
               used to create a product that is easier to rinse. Products having high levels of free
               alkali (NaOH or KOH) are good cleaners for products with heavy deposits of organic
               materials.
                    In some cases, high levels of free alkalinity are not desirable. Hydroxide-based
               products can attack some metals, such as aluminum, resulting in etching or dis-
               solving of the metal. Alkaline builders, actually alkaline salts such as carbonates,
               phosphates, and silicates, are often used to clean these metals. These builders con-
               tribute to total alkalinity and they often have other properties that contribute to more
               than just alkalinity. For example, silicated products that are normally considered to
               be aluminum safe can be used to form a protective barrier on the metal to prevent
               further oxidation/attack by the alkalinity of the product. Silicates are also effective
               dispersants for particle soils. Phosphates also help to disperse particulates and aid in
               tying up water hardness.
                    Caustic is a generic term for hydroxides. Sodium hydroxide, which provides the
               highest level of free alkalinity, is very effective at saponification but tends to resist
               free rinsing. Potassium hydroxide provides better rinsing, but is slightly less effective
               than sodium hydroxide. Caustic gives the most alkalinity punch for the pound of any
               of the alkalinity sources. Caustic also creates a water-soluble soap from the previously
               nonsoluble oil or fat.
                    Sodium hydroxide (NaOH) is cheap and plentiful. Caustic soda, or sodium
               hydroxide, is often used for pH adjustment (to raise pH). Sodium hydroxide is used
               in many cleaning compounds, electro-cleaning products, and alkaline-based paint
               strippers.
                    Potassium hydroxide (KOH) is more expensive, more soluble, and freer rinsing
               than sodium hydroxide. It is still high in free alkalinity and offers excellent soil
               saponification.
                    Carbonates are a less potent source of alkalinity than hydroxides but one that will
               still provide some degree of saponification of oils and fats. They are often used as
               a base for mild alkaline cleaners. Sodium carbonate, also called soda ash, is also used
               for pH adjustment, especially when a lower level of alkaline pH is desired. One of
               the major disadvantages of carbonates is their tendency to form calcium carbonate
               scale in high temperature and hard water conditions.
                    Sodium meta-silicate is used for several purposes in cleaning formulations.
               It contributes alkalinity, and it can provide limited saponification. It has excellent

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              particle soil dispersion capabilities and prevents particulate matter from redepositing
              on an already clean surface in an aqueous environment. Silicate inhibits attack on
              aluminum and zinc surfaces by plating out on the metal surface as soon as the clean
              surface is available to protect the clean surface from high alkaline attack.
                   Phosphates serve several roles in a cleaner formulation, including alkalinity
              building, pH elevation, saponification, and particulate soil dispersion. Phosphates
              are especially effective where smut and other particulate soils are encountered.
              Phosphates come in many forms from the polyphosphates to orthophosphates.
                  Tr -sodium phosphate (TSP) is used in development of orthophosphates. TSP
              is moderately alkaline, moderate on particulate soil removal, moderate for oils and
              greases, and has some limited dispersant capabilities.
                  Two sources are typically used for complex phosphates; they are sodium
              tri-polyphosphate (STPP) and sodium hexametaphosphate. Complex phosphates are
              excellent sequestrants, complexing calcium to act as a chemical water softener. It has
              excellent particle soil removal capabilities (pigments, for example) and very good
              particulate soil dispersion capabilities.
                   It is a good corrosion inhibitor for ferrous surfaces and functions as a threshold
              scale inhibitor. Polyphosphates are, however, environmentally objectionable in some
              areas.
                  Chelants are often added to alkaline cleaners to aid in the removal of particulate
              soils such as carbon smut or metal fines. Chelants are compounds, which tie up
              metal ions, allowing them to be dispersible in water. Chelating chemicals can be
              inorganic materials, such as ethylenediamine tetraacetic acid (EDTA), or organic
              materials, such as citric acid. Chelated products are often required when cleaning
              metals with high carbon content, such as steel that has been hot-rolled or metals that
              have undergone processes, which may have contributed particulates, such as drawing
              or lapping compounds. Chelants are not often used on aluminum because of attack
              on the metal, so most aluminum-safe products will be chelant-free. Chelants can also
              cause some problems in plants, where waste recovery of heavy metals (such as lead)
              is carried out in-house. Common chelating agents include EDTA, sodium gluconate,
              and organic acids.
                  EDTA is extremely free rinsing and exceptionally effective as a chemical softener
              when high levels of calcium and magnesium are present in the water. In alkaline
              products, EDTA is also very effective on taking off light surface rust. Sodium
              gluconate is used in formulating most hot tank paint strippers, because it is parti-
              cularly stable and effective on paints. Paint pigments are often metallic-based, and
              sodium gluconate helps to pull them off and keep them dispersed in solution. Organic
              acids are used in acidic formulations. Common organic acids used include citric acid,
              ascorbic acid, acidic acid, hydroxy-acidic, and formic acid.
                  Typically, a mild alkaline cleaner (pH of 9-10) will provide better soil removal
              and longer bath life than a high caustic solution. Residues of alkali salts will kill
              the free acid, drop out metal salts, and kill the phosphate bath. High caustic can
              also be too aggressive in attacking zinc and aluminum surfaces, possibly creating
              smut and adding zinc to the solution. A mild alkaline cleaner prior to the phosphate
              stage will aid in the formation of a more uniform, dense phosphate coating, leading
              to better paint adhesion and corrosion protection. If the cleaning is not adequate,

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               it is usually better to increase the time in the cleaner rather than the concentration.
               Two mild alkaline cleaner stages are better than one high caustic stage. Mild alkaline
               cleaners are good for multiple metals and they can be run at a wide variety of tem-
               peratures. In some cases, a higher pH cleaner may be necessary on occasion for very
               difficult soils.
                    A list of the functions of different alkaline cleaner components is shown
               below.

                    • Silicates—(sodium metalicate, sodium orthosilicate) High alkalinity, good
                      saponifier and dispersant, softens water by precipitation, inhibits dissolu-
                      tion of zinc and aluminum. May leave a whitish residue on parts, if not
                      properly rinsed
                    • Phosphates—(TSP, STPP, tetrasodium pyrophosphate, disodium phos-
                      phate) Softens water alkalinity, improves rinsing, saponifier
                    • Carbonates—(sodium carbonate, sodium bicarbonate) Alkalinity, good
                      buffering
                    • Hydroxides—(sodium hydroxide, potassium hydroxide) High alkalinity,
                      saponifier
                    • Nitrites—(sodium nitrite) Minimizes oxidation of metal due to cleaner
                      drying
                    • Chelants—(versene) Softens water, changes form of precipitation
                    • Surfactants—Provide water/oil solubility. Enable cleaners to work more
                      efficiently by reducing surface tension at the metal surface. Also, prevent
                      part from drying between stages or the spray washer
                    • Defoamers—Control foam
                    • Inhibitors—Minimize attack on metal

               The alkaline cleaner is added to water (typically 2-10%) and applied hot. Solutions of
               this type have low surface tension, which means they can easily penetrate beneath and
               between dirt particles. In addition, the soap or detergent present can often combine
               with dirt, oil, or grease and emulsify them in water to remove them from the sur-
               face of the part. When used with pressure spray or mechanical scrubbing, hot alkaline
               cleaning for 1-2 min is a very effective cleaning method.


               1.1.5.2 Neutral Cleaners
               Cleaners with a neutral pH are basically surfactant-based formulas without the addi-
               tion of alkaline materials. These can be used alone in cases where only light soils or
               nonsaponifiable soils are present. Often, they are used as cleaning boosters in com-
               bination with an alkaline or acid cleaner or a phosphatizer where additional cleaning
               is required.


               1.1.5.3 Acid Cleaners
               Acid-based cleaners are typically used for special applications in metal cleaning,
               such as weld-smut or rust removal. In these applications, the base acidity, combined

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              with additives such as organic chelants, is doing most of the cleaning through
              removal of deposits from the metal. Surfactants can be built into acid cleaner formu-
              lations, but the choice of surfactants active at an acidic pH is somewhat more limited
              than alkaline cleaners.
                   Acids include a number of chemicals that are acidic when dissolved in water
              (lower than 7.0 on the pH scale). Acids are typically especially good on removing
              metal oxides and are also typically better cleaners where high levels of smut are
              encountered, such as on hot-rolled metal.
                   Some common acids used in industrial cleaners are phosphoric, hydrochloric,
              sulfuric, hydrofluoric, and sulfamic.
                   Phosphoric acid is a primary building block of many acid-based products. It does
              a good job of contributing to smut removal with a relatively mild attack of the metal.
              It is also the primary source of phosphate in phosphating solutions.
                   Hydrochloric acid, also commonly referred to as muriatic acid, is a very aggress-
              ive and corrosive mineral acid. It is used extensively in descaling and rust removal
              operations where a very strong, aggressive acid is needed to remove heavy rust.
              Hydrochloric acid is also frequently used for pickling operations and mill scale
              removal.
                   Sulfuric acid is another aggressive acid that is used primarily for pickling ferrous
              metals and mill scale removal. It is often used to neutralize alkalinity prior to dis-
              charging alkaline solutions to sewer and is a very effective calcium carbonate scale
              remover.
                   Nitric acid is an extremely aggressive acid with limited use in industry. Its primary
              use is in the passivation of stainless steel, where it preferentially dissolves the iron
              away from the chromium on the surface. The remaining top metal layer, being excep-
              tionally rich in chromium, is then polished to achieve a very dense, high chromium
              stain resisting surface on the metal.
                   Hydrofluoric is an extremely aggressive acid used primarily in industry for the
              brightening of aluminum. Hydrofluoric acid has the ability to remove the very dense
              and tenacious oxide coating, which forms on aluminum surfaces. It is also used in
              the etching of glass. Hydrofluoric acid is sometimes used as an additive to phos-
              phate solutions to activate them for prepaint preparation of aluminum surfaces.
              Hydrofluoric acid is extremely dangerous. It is extremely corrosive to skin and mucous
              membranes.
                   Sulfamic acid is primarily used in descaling. It is much safer to handle than
              a liquid hydrochloric acid. It is also particularly good at dissolving old corrosion
              products. It is highly soluble in water and its end-use temperature should be kept
              below 140°F.


              1.1.6 SURFACTANTS
              Surfactants (surface active agents) are short-chain organic polymers that are lipo-
              philic (fat/oil-loving) at one end of the molecule and hydrophilic (water-loving)
              at the other. This unique construction gives them the ability to penetrate and stabil-
              ize oils and greases in a water environment. The lipophilic end of the molecule is
              attracted to oils and greases and, in turn, allows the dispersion of these captured oils

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               due to the attraction of water to the other end. Oil is broken into droplets, which can
               then form an emulsion in the water solution or split out from the water, floating to the
               surface, depending on the surfactant type chosen.
                    Cleaning compounds often have 1-5% surfactant(s). Surfactants act as penetrating
               agents, wetting agents, emulsifiers, suspension agents, and coupling agents.
                    Soaps, natural anionic surfactants, are made through a process called saponifica-
               tion, reacting fatty acids with caustic soda. Soaps are typically high-foaming materials
               and good oil emulsifiers, but are unstable in acidic conditions.
                    Anionic synthetic detergents provide excellent penetrating and wetting properties,
               but they are high foamers and are relatively poor at suspending soils.
                    Cationic synthetic detergents are low foamers, but are relatively poor cleaners,
               with little detergency. Cationic materials are sometimes used as emulsifiers.
                    Amphoteric synthetic detergents are low foaming at most temperatures but are
               not particularly good soil dispersants or stabilizers. The key feature of amphoterics
               is their ability to penetrate soils.
                    Nonionic synthetic detergents do not have a plus or minus charge and are the
               most broadly used. They are not as good at penetrating and wetting as the anionics
               are, but they are excellent soil stabilizers and emulsifiers. They can be low to high
               foamers depending on their cloud point and pH. Cloud point is the temperature at
               which a nonionic surfactant loses solubility, partially comes out of solution, and
               functions at the water surface as an active defoamer. Cloud point is the temperature
               above which a nonionic-based detergent can be used in a recirculating spray washer.
               Nonionic surfactants are most active within a 10-20°F range on either side of the
               cloud point. For this reason, most nonionic-based detergents are formulated using
               several carefully chosen nonionics to provide good detergency and low foam over
               a wide range of temperature.
                    A typical spray cleaner stage in a washer is 60-90 s. A dip stage may be anywhere
               from 3 to 5 min with temperatures ranging from 120 to 180°F. Times, temperatures,
               and cleaner concentration vary depending on the cleaner used and the condition of
               the substrate.
                    The rinse stage following the cleaner is ambient tap water to remove any residual
               alkaline cleaner or loosened soil. Rinse stages are overflowed with fresh water as
               parts are processed to continuously reduce the soil buildup in the water.
                    Cleaning and rinsing alone prior to coating is sufficient as a stand-alone pretreat-
               ment in a limited number of situations. Like mechanical cleaning, initial adhesion
               can be good, but without a conversion coating the product does not have any long-term
               corrosion protection.
                    When cleaning prior to conversion coating, it is important to consider how the
               cleaner and its effect on the substrate may interfere with the formation and deposition
               of the conversion coating. Chemical solutions must be isolated by proper drain time
               and rinsing to prevent transfer of residual chemistry from one stage into another. If a
               significant amount of chemical is carried from one solution to another, it may interfere
               with the performance of the washer and add cost to the operation. In a pretreatment
               process, the cleaner should not be viewed as a separate process but as an integral
               part of the total pretreatment process that can affect the quality of the conversion
               coating.

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              1.1.7 FACTORS THAT AFFECT THE PERFORMANCE OF THE CLEANER
               The key factors that affect cleaner selection include soil, substrate, quality goals, and
               method of application. Three other important issues that must be addressed prior to
               selecting a cleaning product are the quality of the incoming water, the cost of the
               cleaning products, and compliance with local regulatory rules.

              1.1.7.1 Quality of Water Supply
              Whether drawing from a well or tapping into a municipal water supply, the kind of
              water you use can impact chemical performance and finished goods quality. Some of
              the most common constituents of water you should manage are as follows.
                   Water hardness and the inverse solubility of calcium and magnesium ions, particu-
              larly in the presence of carbonates, can lead to problems such as scale buildup. Layers
              of scale in the piping can restrict flow and contribute to the plugging of nozzles. Scale
              buildup also reduces the efficiency of heat exchange surfaces and increases energy
              consumption dramatically.
                   Hard water can also cause spotting on part surfaces and it can reduce the effect-
              iveness of some detergents, because they will react with the minerals in the water
              instead of the soils on the part.
                   Water hardness can be controlled with mechanical methods such as water soften-
              ing (ion exchange) or deionizing (dissolved solids removal). The cost of the equipment
              for softening the water can be recovered by the savings in improved production quality,
              reduced energy use, and reduced chemical use.
                   Chemically, water hardness can be "tied-up" by complexing these ions with
              a more soluble agent like certain phosphates. In addition, holding these metals
              in a soluble state with chelating agents will eliminate most of the problems they
              create.
                   Some water supplies will have a higher concentration of iron, especially if the
              water is supplied from a well. Excess iron can cause streaking and staining on the
              substrate. In addition, deposits of iron can create corrosion cells on the part surface and
              possibly lead to premature corrosion on ferrous metal surfaces. Iron can be removed
              with ultra-filtration, chelants, precipitation, or deionizing systems.
                   Silica in the water can be a problem for pretreatment systems. High levels of
              silica, from incoming water or the manufacturing process, can create a glass-like film
              that is very hard to remove and substantially reduces heat transfer efficiency. Filming
              on parts, especially glass and plastic, may interfere with subsequent processing of
              parts or their finished quality.
                   High levels of bacteria in the water supply can cause rapid slime growth in tanks
              and raise the level of dissolved solids in solution. This can result in contaminated parts
              that can show up as corrosion under a coating and it can also cause increased levels
              of foaming in a solution. Iron reducing bacteria can cause deterioration of process
              equipment.
                   The incoming water should be monitored to develop a standard for supply
              water. Variations from the standard may show that the local supply has not been
              adequately treated. If a well is used and bacteria levels are beyond the acceptable
              range, cleaning of incoming water is necessary. If a cleaning solution or rinse has

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               gone bad due to bacteria growth, the process should be thoroughly cleaned, sanitized,
               and rinsed.
                   The selection of a cleaner is based on the soils to be removed, the substrate, and
               other variables. The performance of a cleaning solution depends on proper adjustment
               and maintenance.

               1.1.7.2 Soils in Solution
               Soils that are removed from the parts will build up in the cleaner solution over time.
               Solid particles will settle to the bottom of the tank as sludge and oils, grease, and some
               floating debris will float on the top of the solution. There is a limit to the amount of
               contamination that a cleaner bath can tolerate before it will cease to clean and need
               to be dumped and recharged. Overflowing the solution can help to reduce the accu-
               mulation of floating debris, but solids can still cause a problem and overflowing the
               solution will create a need for more chemical. Oil skimming and sludge removal can
               extend the life of the cleaner and techniques for this are explained in the section of
               this book on washer design.
                   Certain operating parameters need to be controlled for good performance. The
               control parameters that affect the performance of the cleaner include contact time,
               chemical concentration, temperature, spray pressure, drain time, and the volume of
               contaminants in the solution. These are the items that must be monitored, recor-
               ded, and maintained within proper ranges in order to achieve predictable cleaning
               performance.

               1.1.7.3 Time
               It is important to have enough contact time to provide complete wetting breakdown
               of soils. The longer the contact time, the more the reaction will be. The control of
               contact time is usually equipment related. If the cleaning method is manually operated,
               the time can be adjusted for different soil loads. If the cleaning system is automated
               the time will depend on the conveyor line speed.

               1.1.7.4 Temperature
               As a rule of thumb, cleaning chemical processes can be accomplished more quickly
               with higher temperatures. The chemical supplier will recommend a temperature range
               needed to provide satisfactory performance with their product. With some clean-
               ers, elevated temperatures can adversely affect substrates and chemical compounds.
               Improper temperature may also cause excess foaming with some cleaner products.
               Managing the temperature requires a properly maintained thermostat and heating
               source (boiler, heating elements, burners, etc.).

               1.1.7.5 Spray Pressure
               The physical force of solution under pressure, agitation in a chemical solution,
               or scrubbing will enhance the performance of a cleaning solution. This factor is


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               extremely important in removing tough soils such as particulate matter and heavy
               buildup of grease and oil.
                   Controlling the scrubbing force in a system depends on the method of application
               used. In the case of spray systems, it is important to keep the nozzle orifices clear of
               scale and shop debris to help maintain the proper pressure. Immersion systems or dip
               tanks can use air agitation, solution circulation systems, or a mixer blade.

              1.1.7.6 Concentration
               Chemical concentration is related to the particular product being used. Concentrations
               should be consistent with the suppliers' recommendations. Too much cleaner may
               cause poor rinsing or excess carryover. If the concentration is too low, the parts may
               not get adequately cleaned.
                   The substrate, types of soils, and the equipment used all influence chemical selec-
               tion and solution strengths. Certain blends of chemicals work well for immersion
               systems but not in other applications. Problems may occur in the degree of reaction,
               flash rusting, or foaming. Concentration control is very important. Cleaning solutions
               should be monitored regularly and controlled. Simple titration is typical, using either
               dropper or burette techniques.
                   The effectiveness of a cleaner solution gradually decreases as the soil load
               builds up. The effective life varies depending on hours of operation, the volume
               of metal processed per hour, the type of metals processed, the amount of carry out,
               the use of filtration, and the types of soils removed.

              1.1.8 METHODS USED TO MEASURE
                    CLEANING RESULTS
               The cleanliness of the substrate will have a big impact on subsequent treatments
               and the ultimate performance of the coating. It is very important to keep track of
               cleaner performance. Visual inspection is useful as a routine part of supervising the
               operation, but it is subjective and does not provide any data to confirm the results.
               Still, if a product does not look clean, it probably is not.
                    Wiping the surface with a clean white cloth is good for determining the presence
               of inorganic and particulate matter, such as carbon smut, that oftentimes does not show
               up until substrates are cleaned. It is not a perfect test as some phosphate coatings may
               leave some minor smut without interfering with performance, but it does help to
               monitor daily operation.
                    Parts should be routinely observed as they exit the washer to see if the water
               beads up or sheets off in a "water-break-free" condition. A water-break-free condi-
               tion indicates an absence of organic materials that could interfere with adhesion and
               ultimate performance.
                    Another qualitative test aimed at determining if soils remain on apart after cleaning
               is the scotch tape test. Clear adhesive tape is laid on a part and rubbed firmly over the
               surface; when pulled back, the "sticky" side will have particulate matter attached to it
               that can be viewed and referenced. Besides providing a relative degree of cleanliness,


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               this test will measure the degree of adherence of soil such as carbon smut and weld
               smoke.
                    Residue testing is a quantitative method of testing the cleanliness of a surface.
               Soils are removed by solvent extraction with an organic solvent followed by evapor-
               ation of the solvent. Once the solvent has been flashed, the remaining residue from
               the part is carefully and accurately weighed and expressed in terms of milligrams per
               square meter of surface area.
                   Another helpful test of cleanliness is the use of a black light. An oil soluble
               fluorescent dye can be mixed with an oily soiling material and applied to the test
               panels. After the panels are cleaned, the remaining soil is visible under ultraviolet or
               black light. Many common metal working fluids fluoresce under a black light. Black
               lights are relatively inexpensive. In order for this test to work, it is important to know
               that the soils being tested will fluoresce under a black light.
                   Yet another method to test cleanliness is a contact angle water drop test. A drop
               of water is placed on the test surface; the contact angle is then measured photo-
               graphically or by a contact angle goniometer. The contact angle varies with the level
               of cleanliness of the substrate. Although this is an accurate method of determining
               surface cleanliness, it can only be used under laboratory conditions.
                   Infra red (IR) spectroscopy can also be used to test cleanliness. A cleaned surface
               can be stripped with a solvent cleaner. The solvent used for cleaning is then analyzed
               for any soils remaining that would indicate the part is not clean. Another way of
               using spectroscopy is to rub a salt onto the surface to pick up any impurities. The salt
               is then pressed into a pellet. The pellet is analyzed with the spectrophotometer for
               impurities.

               1.1.9 SUMMARY
               Cleaning is a very critical step in the coating process. Adhesion, appearance, and
               corrosion resistance are directly related to good cleaning. Proper cleaning requires
               careful and accurate management of the washer and the cleaning chemical solutions.
                    Planning and managing a cleaning process begins by recognizing the relationship
               between the substrate, soil, method of application, and the appropriate chemical
               solutions and how each impacts the cleaning process.
                    The four factors of time, temperature, mechanical force, and chemical concen-
               tration combine to provide the necessary quality level. These four factors must be
               measured and maintained routinely for consistent results. Good system manage-
               ment and regular testing of the cleaning results is the first building block of coating
               success.


               1.2 CONVERSION COATINGS
               A conversion coating is a chemically applied treatment that is used over a clean metal
               surface to enhance adhesion and corrosion resistance. Iron and zinc phosphate coat-
               ings are the most commonly applied conversion coatings. Other conversion coatings
               include manganese, chromate, zirconium-based products, and vanadium/zirconium-
               based products. A conversion coating converts the surface of a metal substrate to

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              a uniform, inert surface, which increases paint bonding, minimizes the spread of
              corrosion under the film if the coating is cut, and improves the overall corrosion
              resistance of the final product.
                  Conversion coatings are developed on both ferrous (iron based) and nonferrous
              surfaces (zinc, aluminum, terne, and manganese). Parts are subjected to an acidic bath
              in which a chemical conversion forms a complete film on the part surface, changing
              the chemical and physical nature of the metal surface.

              1.2.1    IRON PHOSPHATE
              Iron phosphate is the most commonly used conversion coating in the general
              industrial market. An iron phosphate solution produces a thin, bumpy, or amorphous
              metal phosphate top coating over an iron oxide base. The surface of the material will
              typically have a gray to blue iridescent or blue-gold iridescent color after application
              depending on the coating weight and the base metal. A typical iron phosphate consists
              of phosphate salts, accelerators/oxidizers, and an optional surfactant package.
                  The acid salt content, type and amount of accelerator, and the type and amount
              of acid etchants are adjusted to produce different formulas. Iron phosphate coating
              formulations commonly contain oxidizers and/or accelerators to generate reactivity
              on the metal surface. Oxidizers, such as nitrite or chlorate, act to initiate attack
              on ferrous parts, providing the iron for the iron phosphate coating. Accelerators,
              such as molybdate or vanadate, provide active sites for iron phosphate deposition.
              The particular oxidizer or accelerator used in a particular product may affect the
              performance or appearance of the final coating.
                  In a three-stage iron phosphate washer, the cleaning and coating are combined
              by incorporation of a surfactant package in the iron phosphate solution. A source of
              fluoride ions may be added if aluminum is also being processed to increase the etching
              effect on the oxide surface of the aluminum.
                  Iron phosphate coatings can be applied by hand wipe, handheld wand, immersion,
              or spray washer. The most effective and commonly used method is a multistage spray
              washer. The number and type of process stages is directly dependent on finished part
              requirements. Spray washers for iron phosphating are built with as few as two stages
              and as many as eight. The following list shows the typical sequence of stages from
              two to eight.

                   •   Stage two—clean/coat, rinse
                   •   Stage three—clean/coat, rinse, rinse/seal
                   •   Stage four—clean/coat, rinse, rinse/seal, deionized (DI) water rinse
                   •   Stage five—clean, rinse, phosphate, rinse, rinse/seal
                   •   Stage six—clean, rinse, phosphate, rinse, rinse/seal, DI rinse
                   •   Stage seven—clean, clean, rinse, phosphate, rinse, rinse/seal, DI rinse
                   •   Stage eight—clean, rinse, clean, rinse, phosphate, rinse, rinse/seal,
                       DI rinse

               The iron phosphate coating weight, measured in milligrams per square foot
               (mg/ft2) or grams per square meter (g/m2), varies with phosphate formulas and

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               TABLE 1.3
               Performance Results with Different Spray Systems
               Number of            Metals              Degree of      Coating           Coating    Corrosion
               Stages               Treated             Cleaning    Weights (mg/ft2 )   Adhesion    Resistance

               Two          Steel                       Light             25            Fair        Poor
               Three        Steel, zinc, aluminum       Moderate          25            Good        Fair
               Four         Steel, zinc, aluminum       Moderate         25-45          Good        Fair
               Five         Steel, zinc, aluminum       Moderate         25-70          Good        Good
               Six          Steel, zinc, aluminum,      Good             25-90          Very good   Good
                             stainless steel, copper,
                             bronze, magnesium




               washer arrangements. The quality of paint adhesion and corrosion resistance is
               affected by the coating weight. Table 1.3 shows typical results of additional steps
               in the iron phosphate spray washer.


               1.2.2   COATING WEIGHT

               Phosphate coating weight is measured with test panels that have been run through the
               washer with all of the process variables under control. After a clean, fresh panel is run
               through the washer, it is removed, dried, and tested by weighing the panel, removing
               the coating, and weighing the panel a second time as described next. Clean cotton or
               surgical gloves are worn to avoid contamination of the sample with skin oils.

                    • Determine the area of the panel in square feet (width x length)
                    • Weigh the panel, correct to three decimal places (0.000) and record the
                      first weight
                    • Immerse the panel in 10% Cr03 in water by weight at 160°F for
                      10 min
                    • Rinse with tap water or DI water, if it is available and dry
                    • Weigh the part again, correct to three decimal places, and record the second
                      weight

               Then, complete the formula:

                               1st wt. in grams — 2nd wt. in grams x 1000
                                                                          = mg/ft2
                                            Area in square foot

               1.2.3    IRON PHOSPHATE CONTROLS

               In addition to the number of process stages, the factors that will affect the weight of
               an iron phosphate coating are time, temperature, concentration, acid consumed (pH),
               the condition of the substrate, and the spray pressure.


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                  The contact time must be long enough to allow the chemistry to form a uniform
               coating on the surface. Longer times will generally allow the solution to build a
               denser and heavier coating. Too much time can cause a more powdery and less
               durable coating.


              1.2.3.1 Temperature
              Manufacturers recommend a proper operating temperature for a given phosphate
              solution. Solution temperature affects coating weight and density. Soils become more
              reactive in a heated solution and the chemicals become more aggressive. The temper-
              ature should be within the manufacturers recommended range (typically 120-140°F).
              Tests should be run to determine the optimum temperature for good coating weight
              with a given system.


              1.2.3.2 Chemical Concentration
               The chemical concentration can be adjusted to achieve the correct coating weight at
               a particular time and temperature. A higher concentration of chemical will provide
               more total acid, more accelerators, and typically more coating weight.


              1.2.3.3 Acid Consumed
              The last factor that affects iron phosphate performance is acid consumed (pH).
              A higher pH will provide less acid and less coating, while a lower pH will provide
              better cleaning and more acid. More acid will provide more pickling and heavier
              coatings. Excessive acid can cause too much pickling and the dissolve the phosphate
              coating.
                  The following graphs show the relationship of each of these control factors to the
              phosphate coating weight.


              1.2.4 ZINC PHOSPHATE
               Zinc phosphate is a nonmetallic crystalline coating that chemically adheres to the
               steel. A zinc phosphate coating will provide improved paint adhesion properties,
               better coating in recessed areas, and better corrosion resistance than can typically be
               obtained with iron phosphate. A typical zinc phosphate consists of

                   •   Phosphoric salts
                   •   Accelerators
                   •   Zinc salts
                   •   No surfactant package

               Unlike the iron phosphate, a zinc phosphate solution cannot clean and coat simultan-
               eously in a three-stage process. A separate cleaning stage is required and a prezinc
               conditioning stage is usually required.


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               1.2.5 ACTIVATING (PRIOR TO ZINC PHOSPHATE)
               An activator is used prior to the application of a zinc phosphate. Activators/
               conditioners are mild alkaline suspensions of specialized active titanium salts that
               adhere to steel, zinc, and aluminum surfaces. The conditioner will set up a network
               of uniform acceptor sites for zinc crystals to deposit to increase the number of zinc
               phosphate crystals and decrease the size of the crystals. The small densely formed
               coating provides the best possible adhesion and corrosion resistance. A large crystal
               structure is more porous, has poorer corrosion resistance, and requires more paint to
               achieve a complete film.
                   The control measures for zinc phosphate coatings are the same as iron phosphate
               (concentration, contact time, temperature, and pH). The bath life is also a factor in
               solution performance.
                   Accelerators such as nitrate, chlorate, or nitrite are added to control the rate of
               coating formation. The proportion of these various ingredients affects the coating
               weight and phosphate crystal size. Fluorides are added if aluminum must be
               processed.
                   The reactions at the surface of the part during zinc phosphating are

                      Pickling attack on the metal and oxidation of hydrogen to water
                      Increase of the pH at the interface of the metal and the phosphate
                      solution
                      Oversaturation of the film with coat forming substances
                      Nucleation on the metal
                      Growth of phosphate coating
                      Oxidation and precipitation of iron as sludge

               The composition of the bath, the temperature, exposure time, and the pre-
               vious cleaning process will affect the phosphate composition and crystalline
               phase.
                   Zinc and polycrystalline phosphate solutions do require more careful attention
               than iron phosphate processes to produce consistent high-quality results. Automatic
               feed pumps can be used for additions of zinc phosphate and nitrite accelerator to
               the bath to maintain the proper concentration and ensure consistent good quality
               and minimum chemical consumption. An improper concentration of these materials
               may result from bulk additions and produce coatings that are soft or too heavy,
               and it may also create excessive sludge. If the materials are allowed to run too
               low, the coating will be coarse and spotty, resulting in poor adhesion and corrosion
               resistance.
                   Zinc phosphate is the preferred conversion coating used by the automobile
               industry because of the need for superior corrosion resistance. The coating is firmly
               attached to the metal by ionic bonding, the porous crystalline structure provides an
               extended surface for paint bonding, and if the paint surface is scratched, the inorganic
               coating helps stop the spread of corrosion.
                   A zinc phosphate solution will continually produce sludge through oxidation of
               soluble iron to an insoluble state that precipitates. A sludge removal system must be

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                                                                       {
                                     Zinc
                                  settling   .-~
                                     tank



                                                               Zinc solution tank




               FIGURE 1.3    Zinc phosphate tank.



               used to provide constant removal of this sludge. A simple sludge removal system is
               shown in Figure 1.3.
                   The rinse stage following the phosphate should be ambient tap water. Phosphate
               salts are more soluble in cold water. The overflow volume should be sufficient to keep
               the rinse clean and reasonably cool.


              1.2.6 COMPARISON OF IRON PHOSPHATE TO
                       ZINC PHOSPHATE

              From an environmental standpoint, iron phosphate is the clear winner. In some muni-
              cipalities, an iron phosphate solution can be neutralized and released to drain. Some
              coaters have waste treatment for iron phosphate or they have it hauled away for
              treatment by a licensed waste hauler. Zinc is listed by the Environmental Protection
              Agency (EPA) in the Resource Recovery and Reclamation Act (RCRA) as a hazard-
              ous substance that is subject to waste regulations. It must be treated prior to discharge
              and the sludge must be waste hauled.
                  In terms of performance, zinc phosphate with a chrome sealer will typically
              provide far superior corrosion resistance.
                  Table 1.4 compares the two phosphate processes in more detail.
                  When deciding between zinc and iron phosphate, the end use of the product is the
              most important factor. For indoor use in noncorrosive environments, iron will work
              well, and it has several economic and environmental advantages. Zinc will provide
              the undercoat protection needed for the more demanding product used outdoors or in
              highly corrosive environments.
                  The quality of the cleaner and the finish coat is also an important part of corrosion
              resistance. The ultimate life of a coating is related to the conversion coating combined
              with the paint applied over the surface. A very good job of cleaning and high-quality
              topcoat may allow the use of a less resistant conversion coating.

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               TABLE 1.4
               Comparison of Zinc and Iron Phosphate
                                                 Iron Phosphate                      Zinc Phosphate

               Average coating weights    15-90 (mg/ft2)                    50-100 (mg/ft2)
               Surface structure          Amorphous (less paint needed      Crystalline (more paint needed
                                           to cover)                         to cover)
               Paint adhesion             Very good                         Excellent
               Salt spray resistance      200-500 h                         600-100 h
               Cost                       One product typically             3-4 components
                                          Average $4.00-8.00 per gallon     1. Zinc phosphate—$8.00/gal
                                                                            2. Accelerator—$8.00/gal
                                                                            3. Activator—$7.00/lb
                                                                            4. pH adjust—$3-5.00/gal
               Sludge formation           Moderate                          Heavy
               Bath life                  Very good                         Very good
               Control of bath            Very easy                         Difficult
                                          1-2 tests                         3-4 test, control of zinc bath and
                                                                             conditioner
               Equipment                  Mild steel or stainless steel     Stainless steel or similar
                                                                             noncorrosive construction; sludge
                                                                             removal equipment needed; more
                                                                             washer stages
               Maintenance                Minimal                           Higher (sludge removal)




               1.3 RINSING
               Rinsing is a critical part of successful pretreatment. Proper rinsing between process
               stages is essential to successful pretreatment. Poor rinsing will leave residues on the
               part surface that will interfere with subsequent steps in the process. Final rinsing is
               also critical. Soils or unreacted salts left on the surface can cause adhesion failure or
               premature corrosion.
                    If the alkaline cleaner is not thoroughly rinsed off, it will carry over into the acidic
               phosphate solution, where it will increase chemical usage and decrease performance.
               If the final rinse overflow or dump cycle are inadequately maintained, then, salts
               will accumulate in the rinse. These salts will dry on the substrate and interfere with
               coating adhesion and corrosion resistance. Water impurities or salts can ruin all of
               the hard work of the coating process and shorten the useful life of the product. Water
               salts can consume pretreatment chemicals such as fluoride, phosphate, and silicate
               to produce scale. Organic materials such as rust preventatives, metal working fluids,
               and surfactants can produce scale, sludge, and create foam. 'Be insoluble inorganic
               and organic matter can produce surface defects and plug risers and nozzles in the
               chemical as well as the rinse stage. Maintaining clean rinse water will help avoid
               these problems and will reduce maintenance requirements to the washer nozzles and
               plumbing.
                    The rinse following the cleaner should have an aggressive spray pressure to assure
               removal of all residual alkaline cleaner and soils. The overflow rate is adjusted to keep
               a slight amount of alkalinity in the water, reducing precipitation, helping to avoid flash
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              rust, and ensuring more complete rinsing of soaps, fats, oils, grease, and surfactants.
              Some carry-over heat will warm the rinse water and improve solubility.
                  The rinse following the phosphate stage is operated at a lower spray pressure to
              avoid disturbance of the freshly deposited conversion coating. A degree of acidity
              aids in the removal of nonreacted metal phosphate salts. The postphosphate rinse is
              operated cooler than the cleaner rinse to stop the reaction between the solution and
              the metal. Lower temperature and spray pressure rinsing will reduce streaking or
              striping. If the postphosphate rinse is operated too hot and is too contaminated, then,
              the pretreatment quality will be compromised. Phosphate removal and flash rusting
              can occur under these conditions.
                  Both rinses should be overflowed at a rate that will keep them clean enough to
              ensure the integrity of the steps in the pretreatment process. Overflow rates are typic-
              ally maintained between 3 and 10 gal/min. Rinse tanks should be dumped frequently
              to reduce the accumulation of contaminants and to avoid bioactivity. Overflow rates
              vary due to the amount of drag out or carry over from the previous stage. Drag
              out varies based on part configuration, rack design, and drainage time. Excessive
              chemical carry over can be minimized by proper rack design, part orientation, and
              drainage time.
                  Rinse water hardness in the final rinse should be maintained below 300 parts per
              million (ppm). Hardness or water solids can be measured with a total dissolved solids
              (TDS) meter. A conductivity meter can also be used to indicate the amount of solids
              in a rinse solution. Conductivity and TDS values are used as a reference point for
              solution control purposes. Fresh water can be added directly into the rinse tank or
              through a riser located after the recirculating rinse stage. The added dilution ratio of
              the residual recirculating rinse water combined with the flushing action of the spray
              reduces the chemical residues to a point near zero. The fresh water riser increases the
              efficiency of the rinse by a factor of 400+, using the same quantity of fresh water.


              1.3.1    RINSE AND RINSE SEAL
              Water rinsing only removes the active chemicals (acid) left on the metal surface.
              Nonreacted chemicals left on the surface can cause corrosive conditions under the
              applied coating. The rinse seal neutralizes any residual water-soluble salts to prevent
              humidity blistering and further removes phosphate solution residue. The final seal
              rinse stabilizes the surface pH to prevent alkaline undercutting, typically leaves the
              surface slightly acidic, and sometimes can seal voids in the phosphate coating. Afinal
              rinse pH of 4.0-5.5 eliminates carbonates in the water and prevents the precipitation
              of metal hydroxides.
                  Historically, final rinses were dilute chromic acid solutions in water. Environ-
              mental legislation has driven a demand for nonchrome rinses that can provide the
              same corrosion protection provided by rinses that contain chromic acid.
                  Some nonchrome rinses perform quite well. For example, some dry-in-place
              nonchrome rinses can dramatically improve corrosion resistance on aluminum.
              Chromium containing rinses still provide the best results over a broad variety of
              parts and operating conditions.
                  In some cases, a nonchrome rinse is not needed and provides marginal benefit.
              DI or reverse osmosis (RO) water may provide a great final rinse treatment.
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               1.3.2     REVERSE OSMOSIS (RO) OR DEIONIZED (DI)
                         WATER RINSE

               Final rinsing may or may not include a proprietary chrome or nonchrome product.
               Some final rinse compounds require a DI rinse to remove any accumulation of the
               seal rinse or phosphate that might impair the quality of the applied coating. Some
               nonchrome seal rinses should not be followed by a pure water rinse.
                    Phosphate residue left on the metal surface can cause nonuniform paint deposition
               and adhesion problems. DI rinsing will eliminate mineral spotting and corrosive salts
               that can cause humidity blisters and organic particulate that can cause surface defects.
                   A DI rinse often includes a recirculated spray zone followed by a fresh DI halo in
               the exit vestibule of a spray application. The DI water in the recirculation tank should
               not exceed 50 µ,mho conductivity. The fresh DI make-up water supplied by the final
               halo should not exceed 10 µ,mho.
                    RO purifies water by using pressure to force it through a membrane that will not
               pass dissolved salts. Because an RO system is a pressure-driven filtration method, it
               may not take out certain ions and it may be slightly less effective than deionization.
               However, RO water can be used for final rinsing in the same manner as DI water.
                   DI water systems may cost less than RO systems in some cases for a particular flow
               rate. Some of the cost consideration is related to the features of the particular system,
               like holding tanks, types of regeneration (manual, semiautomatic, or automatic), mon-
               itoring equipment, and gauges. It is difficult to compare the equipment cost without
               an expert to relate the features and benefits. In general, the DI system will not be much
               less expensive than the RO system unless it is lacking certain important features.
                   One thing that is consistent is the cost per gallon. RO water is less expensive
               by the gallon. The list of features in Table 1.5 gives some idea of how the two sys-
               tems compare. A comprehensive comparison of the features is recommended before



               TABLE 1.5
               Features of Reverse Osmosis Versus Deionized Water
               Deionized water system—ion-exchange                 Reverse osmosis system—membrane
               technology for the removal of dissolved           separation technology for the removal of
               minerals, salts, and gases                        all categories of impurities except gases
               Can be fouled by precipitated material or       Membranes may be fouled by excesses of
                organics                                        submicron particulate or some organics
               May have trouble with excessive bacteria        May be scaled by mineral deposits
               Effluent must be neutralized                    Hardness needs to be inhibited by softening or
                                                                chemical addition
               CO2 gas increases cost of operation             Feed water temperature will affect flow rate
               Requires storage and handling of strong acids   May need to add flocculent periodically
                and bases for regeneration chemicals
               Time required for regeneration                  Sometimes higher equipment cost
               Higher operating cost
               System may cost less than RO                    Do not require acids or caustics
                                                               No regeneration required
                                                               Lower cost of operation

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               making a decision to buy a DI system. They are harder to own and operate and the
               water is more expensive per gallon.

                                     Cost Assumptions
                                     TDS                                             340 ppm
                                     Hardness                                        18 grains /gal
                                     Hours of operation                              20/d
                                     Flow rate                                       30 GPM
                                     Electricity                                     $0.05/kWh
                                     Water                                           $1.60/1000 gal
                                     Municipal sewer                                 $1.43/1000 gal
                                     Labor                                           50.00/h
                                     Operating days per year                         365 d
                                     30% HCl (55-gal drum cost)                      $1.00/gal
                                     50% NaCH (55-gal drum cost)                     $1.31/gal
                                     Commercial antiscalant                          $13.27/gal
                                     Commercial flocculent                           $26.00/gal
                                     NaCl (softener salt)                            $0.07/lb
                                     Activated carbon media                          $69.00/ft3
                                     Cation resin                                    $95.00/ft3
                                     Anion resin                                     $232.00/ft3
                                     8" Spiral TFC RO membranes                      $1000.00 each
                                     10" poly wound RO cartridges                    $7.00 each




               TABLE 1.6
               Cost Comparison of DI and RO Water
                                 Auto DI System                                  Reverse Osmosis System
                                   Cost/1000 gal    Cost/year                               Cost/1000 gal   Cost/year

              Acid (HCl)                 2.93       30,761.43       Heat                         1.43       15, 065.40
              Caustic (NaOH)             1.73       18,119.37       Electric booster             0.10       10, 052.92
                                                                     PUMP
              Activated                  0.02       200.00          Activated                    0.02           200.00
               carbon                                                carbon
              Cation resin               0.05       500.00          Prefilter                    0.06           672.00
               replacement                                           replacement
              Anion resin                0.22       2,350.00        Softener salt                1.19       12, 584.37
               replacement
              Electric                   0.10       1,074.56        Membrane                     0.12        1,200.00
               recirculation                                         replacement
               pump
              Regen. water               0.55       5,811.48        Electric RO                  0.28        2,909.37
               and sewer                                             pump
              Labor                     3.62        38,084.21       Electric dist.               0.10       10, 052.92
                                                                     PUMP
                                                                    Water and sewer              1.30       13, 688.50
                                                                    Labor                        0.40       4, 2451.67
               Total operating         $9.21        96,846.05       Total operating             $5.00       52, 667.14
                cost                                                 cost

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               1.4 TYPICAL SPRAY WASHER SYSTEMS
               The three-stage iron phosphate washer is commonly used for applications that do not
               process heavily soiled parts or parts with lower quality specifications. The three-stage
               iron phosphate process combines the cleaning and phosphating steps in a single stage,
               reducing pretreatment costs and space requirements.
                   Cleaner solutions in more complex washer arrangements are usually alkaline
               while the phosphate solutions are acidic. The three-stage washer uses an acidic
               solution with a detergent package.
                   In a three-stage system, the cleaning and phosphating processes are comprom-
               ised and the result is adequate but not good enough for higher quality standards.
               Much better cleaning and phosphating is accomplished when these processes are
               separate with rinses in between. Separating the cleaning and phosphating allows the
               processes to be adjusted for maximum benefit of each process function. The res-
               ult is much more complete cleaning and a more uniform and complete phosphate
               coating.
                   Rinsing between chemical stages prevents excess contamination and the result-
               ant higher cost of added chemical is an addition to maintain high quality. Some
               processes incorporate two rinses between chemical stages to reduce cross contam-
               ination. Adding the extra rinse tank will turn a three-stage washer into a four-stage
               washer and a five-stage into a six-stage washer, and so forth. Some typical process
               sequences for spray washers are shown below.

               1.4.1 STAGES OF PRETREATMENT
               Three-Stage Iron Phosphate

                    Stage 1—Clean/phosphate:      90 s at 160°F (71°C)
                    Stage 2—Rinse:                30 s at ambient
                    Stage 3—Rinse/seal:           30 s at 120°F (49°C)

               Five-Stage Iron Phosphate

                    Stage 1—Alkaline cleaner:    90 s at 160°F (71°C)
                    Stage 2—Rinse:               60 s at ambient
                    Stage 3—Iron phosphate:      60 s at 140°F (60°C)
                    Stage 4—Rinse:               30 s at ambient
                    Stage 5-Rinse/seal:          30 s at 120°F (49°C)

               Seven-Stage Zinc Phosphate

                    Stage 1—Alkaline cleaner:    90 s at 160°F (71°C)
                    Stage 2—Rinse:               30 s at 110-120°F (43-49°C)
                    Stage 3—Activating rinse:    30 s at ambient
                    Stage 4—Zinc phosphate:      60 s at 140°F (60°C)
                    Stage 5—Rinse:               30 s at ambient


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                  Stage 6—Chromic seal:      30 s at 120°F (49°C)
                  Stage 7—DI rinse:          30 s at ambient (Recirculated)

                  Fresh DI halo in the exit vestibule.
               Eight Stage Iron Phosphating Dip Spray

                  Stage 1—Immersion clean:     2 min at 150°F (66°C)
                  Stage 2—Spray clean:         1 min at 100-150°F (38-66°C)
                  Stage 3—Spray rinse:         1.5 min at 100-150°F (38-66°C)
                  Stage 4—Immersion rinse:     0.5 min at 140°F (60°C)
                  Stage 5—Immersion phosphate: 2 min at 140°F (60°C)
                  Stage 6—Immersion rinse:     0.5 min at 140°F (60°C)
                  Stage 7—Spray chromic rinse: 1.5 min at 100-150°F (38-66°C)
                  Stage 8—DI-water rinse:      0.5 min at ambient

               Five Stage for Plastics

                  Stage 1—Preclean:                  20 s at ambient
                  Stage 2—Cleaner:                   60 s at 130-140°F (54-60°C)
                  Stage 3—Cold water rinse:          30 s at 70-110°F (21-43°C)
                  Stage 4—Rinse with rinse aids      30 s at ambient
                  Stage 5—DI water rinse:            20 s at ambient

              Many variations may be used depending on the mixture of substrates, types of soils,
              and quality goals of a particular coater.
                  Cleaning and surface conversion applications utilize immersion or spray tech-
              niques. Each method has advantages and limitations and some pretreatment systems
              use a combination of immersion and spray stages to provide complete cleaning of
              the part. Car bodies usually require immersion stages for complete wetting and spray
              stages for good rinsing and effective scrubbing action on the exterior.
                  Immersion systems have the advantage of reaching recesses and other areas of
              the parts that might not be accessible by spray. Pockets of trapped air, however,
              can cause problems for immersion systems. Entrapped air can prevent the entry of
              cleaning solution into recesses and in extreme cases, make it impossible to submerge
              a part.
                  Consistent temperature control and heat transfer is generally better and faster in
              immersion applications. Heat is lost more quickly when a solution is sprayed through
              cooler air. Heat transfer is better due to consistent solution contact temperature.
                  The disadvantages of an immersion system include soil redeposition and solution
              impact. If contaminants are allowed to float on the top of the immersion tank, then
              soil redeposition may occur. Agitation of immersion solution will help prevent soil
              redeposition. Spray halos have also been employed to flush away any redeposited
              soil. If the solution is not agitated, it will not be as effective at removal of softened
              soils. Eductor systems can help keep the solution in motion and improve cleaning,
              as well as reduce soil redeposition.


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                   Spray systems use pressure to provide impingement energy to dislodge dirt and
               remove loosened soils. Sprays can often be directed into recesses. Spray systems may
               hold less water in cupped areas of the part.
                   Spray nozzles must be properly maintained to perform correctly. A routine main-
               tenance procedure should be put in place to examine the nozzle orifices for obstructing
               debris, nozzle alignment for spray angle, and the nozzle body for proper seating.
               Routine nozzle maintenance will avoid clogging or other problems that lead to a poor
               spray pattern and reduced process effectiveness.


               1.5 SUBSTRATES
               Substrate is a reference to the material that the product is made of. The type of
               substrate, along with the desired performance characteristics of the finished part to
               be coated, will influence the selection of pretreatment chemicals and the system
               used to clean and treat the product. Different materials will have different soils
               and surface conditions that require different chemistry and process sequences to
               properly prepare them for paint application. It is very important to understand dif-
               ferent substrate surfaces and the types of treatment that work best with different
               materials.

               1 .5.1 METAL SUBSTRATES
               Metal surfaces are highly reactive and the oxide layer that forms on the surface can
               interfere with adhesion, appearance, and performance. Rust inhibitors, such as mill
               oil and metal working products containing rust inhibitors, are used to temporarily
               prevent rust, but the metal will eventually begin to oxidize. The rust inhibitors and
               metal working fluids age and they may react with the substrate to form compounds
               that interfere with the appearance and quality of the finished substrate. Therefore, the
               rust inhibitors must be removed and the surface must be free of oxides before the
               paint can be applied.
                   The base metal itself is also a factor that must be considered in selection and
               application of a particular treatment method. The components that make up the metal
               can cause contamination on the surface that will interfere with good coating adhesion
               and corrosion resistance. For example, higher carbon steel alloys will create more
               smut than lower carbon alloys. Mill scale and other substances that are difficult to
               remove chemically may interfere with paint adhesion. Other examples of surface con-
               ditions that create metal treatment issues are silicon in aluminum alloys and chromate
               passivation on aluminum or galvanized steel. The substrate and the surface of the part
               must be thoroughly understood to make a reliable system for pretreatment.
                   The most common metal substrate materials that gets painted are cold-rolled
               steel (CRS), HRS, aluminum (cast and extruded), galvanized steel, galvaneal, and
               cast zinc. Copper, brass, bronze, and stainless steel are sometimes painted but not
               as often as other metals.
                   Metals have certain natural properties as well as modified physical properties that
               occur through alloying and heat-treating. Alloying occurs by mixing two or more
               metals or nonmetals to achieve a certain desired property in the finished product.

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              Different alloys are available in various forms such as castings, wire, or sheet products.
              Aluminum is alloyed with silicon, copper, magnesium, and other materials to provide
              products with slightly different properties such as hardness.


              1.5.1.1 Steel
               Steel is the most common substrate material used in manufacturing. Steel, available
               in a variety of alloys and forms, is made from iron and a small controlling amount
               of carbon (^2%) with small amounts of various alloying additives. Initial refining of
               steel produces thicker and rougher grades of structural steel and plate. Further refining
               of iron reduces the carbon and other impurity levels. Steel is sometimes classified by
               carbon content.

              Low Carbon, 0.25%

                   • Machining steel, mild steel (MS)
                   • Easy to cut and form: typical uses—nails, bolts, automobile bodies, and
                     metal furniture

              Medium Carbon, 0.25-0.55%

                   • Greater hardness and strength
                   • More difficult to form: typical uses—axles and drive shafts

               High Carbon, 0.552.00%

                   • Greatest hardness and strength
                   • Most difficult to form: typical uses—cutting tools, files, and hammers

                  A four-digit system is used to classify different types of steel.
                  Primary four-digit numbers

                   • First digit, basic kind of steel
                   • Second digit, general class of steel
                   • Third and fourth digits, allowable range of carbon (in hundredths of %)
                     Example: 1010 carbon steel has 0.10% carbon content
                   • Fifth digit used where carbon is greater than 1%

                   Steel stock is available in plate (0.23" minimum thickness), sheet, or coil
               (0.23" maximum thickness), bar stock, rod stock, tubing, and structural forms.
                   Steel is available in different forms that can affect the pretreatment selection.

                   • HRS—rolled (flattened) while red hot. A blue/black coating consisting of
                     iron oxide forms on the surface as the steel cools. Used in applications
                     requiring substantial structural strength.

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                    •   CRS—rolled to finished size while at ambient temperature. No oxides
                        form during processing. Much better aesthetics, superior surface, and
                        mechanical properties. Many common products are produced from CRS.
                    •   Hot rolled, pickled, and oiled (HRPO)—HRS that has had the oxides
                        removed through acid pickling. The steel is rinsed and then oiled to inhibit
                        corrosion. Used in applications that require heavier gauges of steel and a
                        better surface condition than HRS.
                    •   Cast iron—usually refers to gray cast iron, but can mean any of a group of
                        iron-based alloys containing more than 2% carbon (alloys with less carbon
                        are carbon steel by definition). Used to cast heavy parts in machinery and
                        other applications.
                    •   Stainless steel—contains at least 11% chromium by weight—some alloys
                        also contain nickel. Used for appearance and corrosion resistance.
                    •   Hot-dipped galvanized steel—steel that is coated with a thin layer of zinc
                        by passing the steel through a molten bath of zinc at a temperature of around
                        460°C to form zinc oxide to protect the steel below from the corrosion.
                        Galvanized steel is widely used in applications where rust resistance is
                        needed.
                    •   Electro-galvanized steel—zinc coatings applied to steel electrolytically in
                        zinc ion solutions can provide the same corrosion protection as hot-dipped
                        zinc coatings, but they are smoother and lack some of the impurities that
                        occur in the hot-dip process.

                   Differences in steel composition can affect the quality of the finished product by
               affecting the performance of the organic coating. Iron phosphate provides modest
               performance characteristics and corrosion resistance over steel. Zinc phosphate is
               used for applications that require more severe performance properties.

               1.5.1.1.1 Hot-Rolled Steel
               HRS represents the first reduction in the processing of the steel slab in heavier gauges,
               0.1-0.2 in. in thickness or higher. The surface profile is generally rough and porous
               with a blue/black oxide mill scale covering. Most HRS is used for structural steel
               components, building trusses, heavy bar stock, and other interior applications.
                   HRS will have mill scale, carbon smut, and possibly rust, in addition to the soils
               that have collected during manufacturing. To ensure good quality of the coating,
               the mill scale and rust must be removed by abrasion, such as a blasting opera-
               tion. A chemical process may be used after blasting to provide better corrosion
               resistance.
                   The inorganic contaminants can also be removed by acid pickling solutions, but
               there is some risk of flash rusting. Strong acid solutions may also be a health and
               safety issue and they are sometimes hard to maintain. Pickling solutions will also
               accumulate iron sludge that must be filtered or removed.

               1.5.1.1.2 Cold-Rolled Steel
               CRS is characteristically thinner and has a more uniform surface profile than HRS.
               This is achieved by further processing of the HRS through a cold roll mill and

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               a tempering process. The difference in surface profile and reduction in porosity is
               one of the reasons why CRS is used for exterior products. Typically, a series of
               chemical processing tanks will be sufficient pretreatment for CRS. Oils and other
               organic soils can be removed with a cleaner, and conversion coatings can be added
               for enhanced performance. Surface rust or weld burn may need mechanical cleaning
               to ensure good coating adhesion and corrosion resistance.

              1.5.1.1.3 Hot-Rolled Pickled and Oiled (HRPO)
              HRPO steel is hot-rolled coil or sheet steel that has been descaled of oxide film
              by either a chemical method, mechanical method, or a combination of both and
              oiled to help retard corrosion during storage. HRPO is available in various gauges,
              widths, and cut lengths or coil. HRPO is often used for products that need a better
              surface for appearance. Most chemical cleaning processes are effective for preparation
              prior to painting. HRPO will develop less scale on the edges during laser cutting
              than HRS.

              1.5.1.1.4 Cast Iron
              There are many variations in the composition of cast iron products to impart different
              properties for strength, hardness, softness, and abrasion resistance. The high carbon
              content of cast iron should be considered when cleaning prior to phosphating and
              painting.
                  Cast iron can be cleaned with an alkaline cleaner for the removal of dust, oil, and
              other organics. The high carbon content may cause smut if the alkaline cleaner is
              too strong. Acid cleaners or pickling solutions can be used to remove rust and other
              inorganic substances. Iron phosphate is the most common conversion coating used
              on cast iron.

               1.5.1.1.5 Galvanized Steel
               Hot dipped galvanizing is an extension of the HRS/CRS process. The CRS is
               immersed in a molten zinc bath and withdrawn to provide a smooth coating that
               frequently has a crystalline spangled appearance. Some coatings may not adhere to
               a galvanized surface. A wash primer is one of the few products that can be used on
               galvanized steel as a tie coat or adhesion promoter between the substrate and the
               subsequent application of a primer and topcoat.
                   Alkaline cleaners work well on hot dipped galvanized surfaces, and most
               multimetal cleaner/coater products will provide sufficient etching for good adhesion.

               1.5.1.1.6 Electro-Galvanized
               In an electro-galvanizing process, the zinc coating is applied using an electrical charge
               to attract the zinc to the steel surface. It produces a more uniform surface without some
               of the variations in appearance that are common with hot-dipped galvanized steel.
               The surface resembles sharkskin with many very small pores. It is highly reactive,
               so oil is applied to prevent white rust.
                   The oil needs to be removed, but the reactivity limits the possible chemicals that
               can be used. A hot neutral cleaner followed by a mild etch with fluoride will provide
               a good surface for paint bonding.

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                   Galvanized material may also have trapped air or gasses that will expand and
               release in the cure oven, causing small pinholes in the surface. Some testing of cure
               oven cycles is recommended before production is started.
                   Galvanized steel sometimes goes through a "passivation" process, which makes
               the surface of the steel almost inert to chemical attack. This type of galvanized steel is
               often used with no coating applied over it in applications such as highway guardrails,
               barn roofs, or fencing. This surface is almost impossible to coat without special
               preparation or coatings.

               1.5.1.1.7 Galvanneal
               Galvanneal is prepared by heat-treating hot dipped galvanized steel so that the alloy
               layer grows to the surface. It provides superior corrosion resistance compared to hot
               dipped galvanized, and it can be treated with similar processes to electro-galvanized.


               1.5.1.2 Aluminum
               Aluminum is produced from a mineral called bauxite. It is used for its low density,
               corrosion resistance, and electric and thermal conductive properties. It conducts heat
               five times better than steel. Aluminum forms a natural aluminum oxide layer that
               protects from air and elements.
                   Aluminum products are available in a variety of alloys possessing different
               physical and chemical properties. Aluminum may be cast, extruded, forged, or rolled
               structural forms. Aluminum alloys need to be cleaned and etched so that the organic
               coating has a porous surface to adhere to. Coating lines that process both steel and
               aluminum typically use an etching additive, such as ammonium fluoride, to produce
               a surface conversion on aluminum.
                   Wrought aluminum is available in several grades, which are identified by
               a four-digit numbering system.

                    •   First digit represents the main alloying agent
                    •   Second digit represents modification of alloy's impurity limits
                    •   Last two digits identify particular alloy or indicate purity of the aluminum
                    •   In addition to the four-digit alloy number, a letter or letter/number indicate
                        the temper

                   Treating aluminum for outdoor products requires a more robust chemical process
               than simple etching with fluoride in a multimetal treatment chemistry. Traditional
               treatments usually include chrome to prevent oxidation. Dry-in-place nonchrome
               seal rinses can also provide the necessary treatment to prevent rapid oxidation and
               loss of adhesion. Without a suitable chemical treatment the coating is vulnerable to
               moisture penetration that can lead to rapid coating failure.


               1.5.2 PLASTIC SUBSTRATES
               Adhesion may be a problem on some plastics, due to nonpolar materials such as
               polyethylene and polypropylene or release agents used in the molding process.

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              Some plastics, such as polyamide, polycarbonate, and polyester, are easier to coat;
              however, they are also more expensive.
                  Types of soils that may be present on plastics include internal mold releases such
              as fatty acid salts, oils, and polymers; external mold releases such as waxes, fatty
              acid salts, and polyvinyl alcohols; shop dirt, such as handling oils, skin oils, lubricant
              from equipment, dust, and smoke tar; and fabricating soils such as plastic grind and
              sanding dust.
                  In some cases, plastic substrates can be painted without cleaning. However, steps
              must be taken to ensure that no surface contamination develops between fabrication
              and finishing. Because plastic builds a static charge that will attract dirt, parts are
              usually destaticized prior to painting. Some plastics must be primed, treated with
              a mixture containing chromic and sulfuric acid, plasma treated, or flame treated to
              promote adhesion between the substrate and the coating.
                  In some cases, plastics are hand wiped with solvent prior to the coating application
              process. Solvent wiping is not consistent and it may not be effective. The use of solvent
              is not desirable from an environmental compliance standpoint. The process is also
              less desirable as it is labor intensive.
                  Aqueous cleaning with a cleaner and a DI rinse or series of rinses, followed by
              DI air is usually the best way to clean most plastics.

              1.5.3 WOOD SUBSTRATES
              Strictly speaking, the application of coatings on wood does not require pretreatment.
              Like all other substrates, wood must be free of surface defects and contamination.
                  The wood substrate may have surface blemishes that are part of the material or
              contaminants that got onto the surface during machining operations. These defects
              should be removed before the first primer coat is put on.
                  Sanding between coats will improve the appearance. Sanding between coats
              should be done with a fine grain and a light touch. Over-sanding can remove too
              much pigment and cause a visual defect after the topcoat is applied. The goal is to
              remove the raised grain from the wood so the surface is smoother before applying the
              next coat.
                  It is also important to remember that wood is an organic substance that has its
              own color variance and grain. Not every piece of wood will look identical, even if
              the same paint is used to coat its surface.


              1.6 WASHER DESIGN
              In higher volume production lines, a spray washer is often used to clean and treat
              parts prior to coating. An industrial washer uses a series of stages that clean and
              treat the surface to be coated. The number of stages and types of chemistry used
              in a washer depends on the quality requirements of the coated product and the sub-
              strate material. The desired level of quality for the end product should be used to
              develop a written standard for performance with values for the specific needs of
              weathering, corrosion resistance, and other properties needed to meet the established
              standard.

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               1.6.1 WASHER COMPONENTS
               Each stage is an independent spray or immersion process that cleans, rinses, or
               provides some other treatment to improve the surface for paint adhesion, appearance,
               or performance. The solution used for treatment is held in a tank. In an immersion
               stage, the parts are dipped directly into the solution. A circulating pump is used to
               provide agitation in the tank. In a typical spray stage, the part passes through a tunnel
               and the solution is sprayed onto the surface through a series of nozzles mounted on
               vertical risers. Heaters, valves, gauges, and so forth are added for control.
                   An understanding of the pretreatment system, materials, design, and controls is
               very important to the finishing system operator.

               1.6.1.1 Solution Tanks
               The size of the tank that holds the chemical solution for a spray stage is based on the
               pump volume. The amount of solution held should be three times the GPM of the
               pump plus enough space for internal heat exchangers.
                   The length of the spray process zone is determined by multiplying the required
               process time by the design conveyor line speed. In width, the tank will extend beyond
               the tunnel from 30" to 40" as required for the tank access lids and pump mounting
               plate. The tanks should be around 42" in depth to allow for the depth of the pump
               and enough space to keep the pump impeller well above the tank floor.
                   Double pump screens should be installed to isolate the pump inlet from gross
               particulate that could be passed to the pump impeller and cause plugging. A single
               pocket for two screens should be provided so that a cleaned screen can always be
               slipped in back of the screen still in place. The pump screens should be removed
               and cleaned regularly with a high-pressure hose to flush off built up dirt and
               grease.

               1.6.1.2 Drainage Spaces
               Sufficient space must be allowed between spray zones to guard against mixing of
               solutions by over spray or drainage from the work being processed. The drain zone is
               the distance from the center of the last spray pipe in one group of sprays to the center
               of the first spray pipe of the next stage.
                    The length of the drain zone is influenced by time, the part shape and size and
               conveyor speed. Usually, the drain time will be 30-60 s. Long, horizontally hung,
               parts can have a big impact on the size of the drain zone. It must be long enough so
               that a part or rack of parts is never entering a process stage while the tail of the part
               is still in the previous stage. For example, if the parts to be run are 10'-0" long and
               the line speed is 8 ft/min, a 60-s drain zone will not work. A 60-s drain zone would
               be 8'-0", allowing the part to extend into two stages at the same time, channeling
               solution directly from one stage into another and producing an unacceptable amount
               of "cross contamination." However, when the drain zone is extended beyond 60 s,
               misting nozzles should be installed in the drain zone to prevent the part from drying,
               because flash rust may occur. A set of misting nozzles is one riser set (opposing pair)
               with low volume nozzles that apply a gentle mist of fresh water.

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                  The drain deck between stages is sloped to run solution back into one of the two
              stages. The drain deck is usually sloped with 70% of its length angled back to the spray
              zone being exited and 30% of its length angled to the next spray zone (Figure 6.4)
              However, the apex of the drain zone may have to be in a different position if the parts
              cup substantial amounts of solution, or if, it will channel solution backward into the
              preceding stage.
                  The length of inlet and exit vestibules for the conveyor should be long enough
              to prevent vapor roll out or excessive dripping from exiting parts. As parts exit
              the washer, they will still be dripping, so, it is a very good idea to install a drain
              trench directly under the conveyor for a few feet to prevent water accumulation on
              the floor.


              1.6.1.3 Tank and Housing Materials
              Although it is well known that MS will rust, many spray washers have been built
              over the years with MS tanks and tunnels. With MS construction, the cleaner tank
              and rinse tanks are generally made of 1/4" thick plate, while zinc phosphate solution
              tanks are made of at least 3/8" plate.
                  In washers constructed of MS, the housing shrouds, conveyor splash guards,
              drip shields, and vestibule ends, including floors, should be constructed of not
              less than #10 gauge sheet steel, and floor plates in drain spaces or over open
              tanks should be of 3/16" steel plate. The zinc phosphate stage housing is made
              of heavier plate, because it will rust faster from contact with the corrosive zinc
              solution.
                  Stainless steel, either type 316 or type 304, is necessary in some stages, such
              as a DI water rinse or a zinc phosphate stage. Stainless steel is preferred through-
              out the machine, because it offers a significant increase in useful life. The stainless
              steel washer is less likely to contaminate work in progress, it is corrosion resist-
              ant, and another important advantage is easier maintenance. The surface remains
              smooth and does not flake or chip like MS, so screens stay cleaner, solutions stay
              cleaner and longer and nozzles do not plug as easily. Long-term repairs or replacement
              of shrouds, profiles, and screens is eliminated. In addition, with some companies there
              is increasing emphasis on the clean, high-quality appearance provided by stainless
              steel.
                  Another alternative material to MS is a composite fiberglass. It offers excel-
              lent corrosion resistance and a very cleanable surface and has a good appearance.
              A composite washer will insulate heated stages and it has the same low-maintenance
              characteristics as stainless steel.
                  Another material that can be used for washer construction is polypropylene. It
              can be welded to provide a leak proof washer and the tunnel will allow some light
              to penetrate to the interior. The tanks will typically be 3/4" thick material, providing
              some insulating capacity. Care must be taken to strengthen the tunnel and tanks with
              steel to avoid sagging or stress fractures. Polypropylene does not expand and contract
              very well so leaks are possible over time.
                  An expanded metal or fiberglass walkway should be provided throughout the
              length of the washer with suitable structural support. It should be as wide as possible

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               to protect workers from stepping off the edge and to keep parts from falling into
               the tanks.
                   The tank drain connections should be large enough for rapid draining. In normal
               installations, a 2" overflow gutter drain and a 3" tank drain from the sump in the tank
               bottom are provided. The tank drain should be flush mounted or split nipple and fitted
               with a valve close to the tank. The overflow gutter drain line should be connected to
               the tank drain line outside the drain valve (Figure 6.5).


               1.6.1.4 Zinc Phosphate Tank
               Zinc phosphate solutions are corrosive and generate a lot more sludge than an iron
               phosphate solution. Because of this, it is necessary to use thicker material or stainless
               steel in the zinc tank, and provisions must be made for sludge removal.
                   The zinc tank should be designed with a sloped bottom to facilitate the removal
               of sludge through a permanent suction line to the transfer pump, or through a suction
               hose and sweeper type hand tool. Heating coils and pumps should be kept well above
               the tank bottom.


               1.6.1.5 Sludge Removal Tank
               A sludge settling tank should be located on a structural steel frame conveni-
               ent to the zinc phosphate solution tank, equipped with piping between the tanks
               and transfer pump, to be used for periodic transfer of sludged solution from the
               process tank.
                   The sludge-settling tank may be square or round and should have a sloped bottom
               of approximately 30° from the vertical. Tank capacity should be at least one-third of
               the working volume of the zinc phosphate solution tank.
                   The settling tank should have a safety overflow line back to the phosphating
               solution tank and a valved draw-off line located in each cone section and connected
               into the overflow line for returning the clear solution to the solution tank. The draw-
               off should be located so that approximately 40 gal of solution can be held in the cone
               bottom below the draw off line.
                   The bottom of the cone should be fitted with a 4" dump valve for sludge removal.
               The tank should be elevated high enough above the floor level to allow a barrel or
               suitable container to be placed under the dump valve for sludge removal and also to
               provide for gravity return of the clear solution to the phosphate solution tank.


               1.6.1.6 Access Doors, Ladders, and Lighting
               Doors should be built into the housing walls between the spray zones to provide access
               for maintenance workers or operators to view the spray zones while in operation. The
               area around the tunnel access door is one of the first places to rust, so the door should
               be constructed with a vapor tight fit and rugged hinges and latches.
                   Steel ladders at each access door and at the ends of the housing can be installed
               for easy access to the inside of the washer. The best design includes a platform and a
               dock light to illuminate the washer interior (Figure 6.7).

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              1.6.1.7 Pumps
              Solution pumps are usually standard side suction, centrifugal type, with open impeller
              and double bearing shaft supports for direct connection to the drive motor. Pumps with
              enclosed type impeller are sometimes used, but experience, especially in handling
              phosphate solutions, indicates that this type of pump requires more maintenance and
              does not maintain volume delivery and head pressure as well as the open impeller
              type pump. Barrel mounting pumps are used for dependable performance and ease
              of maintenance.
                   Solution pumps for cleaner and all rinses, except a chromic acid rinse, can be
              all iron construction. Zinc phosphate solution pumps should always be stainless steel
              construction. Stainless steel pumps add cost to the construction of a washer, but they
              reduce maintenance and provide substantially longer useful life.

              1.6.1.8 Nozzles
              Glass reinforced polypropylene, clamp-on type nozzles are commonly installed in
              spray washers. They are relatively easy to clean, change, and adjust when compared
              to threaded steel nozzles.
                  In most cleaner and rinse stages a 50-50 flat spray nozzle is best. Nozzle sizes,
              such as 50-50, refer to the gallons per minute (GPM) of output and fan spray angle at
              40 psi. A 50-50 nozzle will spray 5.0 GPM at a 50° spray angle at 40 psi. The output
              and spray angle will change at lower pressures.
                  Nozzles are mounted in a staggered pattern to provide good impingement on the
              entire work surface. Fan spray patterns should be adjusted on a 10 0 angle from vertical
              as shown in Figure 1.4.
                  Nozzles near the end of the process stage should be adjusted in slightly to help
              prevent carry over into another stage as shown in Figure 1.5.



                                       o                                Riser

                       12"       t                      Nozzle          Nozzle
                       1               o
                                                                                          I
                             Risers                                              Nozzle @ 10 0 angle

               FIGURE 1.4 Vertical spacing of spray washer nozzles.
                                           •
                                                    •
                                                             •
                                                                    •
                                                                            •
                                                                                   •
                                                                                              •
                             Spray             \
                             pattern

                                           1 1 1 .                          .
                                                   Top view of washer tunnel and risers

               FIGURE 1.5 Plan view of spray pattern for spray washer nozzles.

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                  In the phosphate section, a hollow-cone-type nozzle should be used. A flooding
               type nozzle should be used in a final DI halo rinse and most chromic final rinses,
               where high impact pressure can remove coating.
                  Typical nozzle volume and pressures

                    • Cleaner and rinses, 4-5.0 GPM at 15-20 psi
                    • Iron phosphate, 2.8 GPM at 10-15 psi
                    • Zinc phosphate, 5.0 GPM at 10 psi
                    • Misting nozzles (for wetting in drain zones), flooding type, 0.5 GPM
                      at 10 psi

               Note: It is good practice to connect the last riser in a rinse stage to a fresh water supply and
               use it as make up water. This gives excellent rinsing and a flow meter and valve attached to the
               inlet gives very accurate control of the overflow rate.

               1.6.2 WATER CONSERVATION
               Water conservation can save money by reducing water usage and preserving the
               life of the chemical solutions. Proper use of water can also improve quality and
               reduce maintenance. Counterflow and filtration methods can be used that will improve
               performance and reduce costs.
                    Counterflow of the rinse stages from the last rinse back toward the preced-
               ing stages is one popular way of saving water. The proper way to do this is
               to attach a pipe from the discharge of the final rinse, plumb it to the preceding
               stage and connect it to a pair of risers with nozzles that have a very low flow
               rate, 0.3-0.5 GPM. This set of risers will spray the parts as they exit the process
               stage, providing extra rinsing, and the overflow will drain to the process tank as
               make up. Fresh water will be introduced to the final rinse to make up for this over-
               flow to the preceding stage. The make-up pipe and the counterflow pipe should
               be equipped with a flowmeter and manual ball valve to regulate the volume. This
               counterflow method makes the final rinse the cleanest water and reuses overflowed
               water. The chemical supplier can suggest the proper stages to overflow and what
               volume.
                    Oil skimmers used on the cleaner stages can significantly increase the life of
               the cleaner bath and improve the performance of the cleaner solution. Belt type oil
               skimmers are inexpensive, but they do not remove a significant volume of oil per hour.
               A circulating system that separates the oil and returns the solution back to the tank
               can remove much higher volumes of oil. Membrane type systems can also be very
               effective, but they do require more maintenance.
                    Bag filters can be used on chemical stages to filter solution and keep the volume
               of solids to a minimum. A floor sweeping pipe and independent circulation pump
               will make the filter work better by providing a push to the heavier solids along the
               tank floor. Solids are flushed along the floor of the tank toward an outlet by rows of
               nozzles or eductors. A circulating pump pulls the solution out, passes it through the
               filter to remove the solids, and returns it to the tank. This arrangement is more costly


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               than a system that uses the process pump, so, it is more practical for line speeds over
               15 ftlmin with larger tank volumes.



              1.7 WASHER MAINTENANCE AND CONTROL
              The washer is one of the most critical components in the finishing process. Good
              chemical and mechanical maintenance is essential for reliable coating performance.
              A regular maintenance schedule with daily, weekly, monthly, and annual tasks should
              be used to keep the system working properly.


              1.7.1 MECHANICAL MAINTENANCE
              Regular inspection of the washer is needed to make sure that it is able to perform
              up to standard. The inspection should be used to determine that the washer plumbing
              is clean and in good working order.
                   Nozzles can become worn, plugged, or misaligned so that the chemical perform-
              ance is reduced. Nozzles should be inspected daily to confirm proper spray patterns.
              Worn nozzles will not produce a finely atomized spray pattern and should be replaced.
              Plugged nozzles will not spray at all and should be removed and cleaned by removal
              of obvious debris and soaking in a descaling solution.
                   Pump screens should be removed daily and rinsed with high pressure.
                   Water replenishment systems should be checked daily to make sure that valves
              are functioning properly. It is important to keep the level sensors clean to make sure
              that they function correctly.
                   Thermocouples, temperature gauges, and pressure gauges should be calibrated
              at least once a year.
                   Pumps should be greased as recommended by the manufacturer and inspected
              monthly for vibration, leaks, or overheating.
                   The inside of the spray risers will develop scale over a period of time and restrict
              flow of solutions. The inside diameter should be inspected regularly and end caps
              removed to drain debris. The frequency for inspection and cleaning can be determ-
              ined by observing the condition of the bottom nozzles; if the bottom nozzles plug
              frequently, the risers probably have excess scale buildup. Scale buildup will restrict
              the flow of the process solutions, reducing the volume that will affect the pressure
              and performance of the sprayed solution.
                   Internal heat exchangers will build scale on their surfaces that will reduce
              efficiency. A scale buildup of 1132" can reduce heating efficiency by 2%. Lime
              scale deposits conduct only 3% of the amount of heat as an equivalent thickness
              and area of steel. The heat exchangers should be inspected monthly and descaled
              periodically.
                   Gas fired burners should be serviced twice a year as part of a preventive mainten-
              ance contract with a suitable service contractor. 'Be burner inlet filters will provide a
              minimum of 1 month service in harsh conditions. They should be washed or replaced
              on a regular basis.


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                   Plate and frame heat exchangers are external to the tank, but they still require
               cleaning. The cleaner stage should be flushed with a chelated acid during off hours,
               and the phosphate should be flushed with a chelated caustic. If the plates are not
               cleaned regularly, they will restrict the flow of solution and the heating efficiency
               will drop substantially.
                   Chemical removal of scale buildup will prevent loss of effective performance and
               efficiency. Actual time to descale will vary dependent on the size of the system but
               usually can be completed in 4-8 h.
                   Acid descaling solutions are effective for removing lime scale and rust, but they
               are not very effective at removing oily soils or product residues. Usually, it will be
               necessary to thoroughly flush out the system with a hot (140-160°F) alkaline type of
               material to remove the oils and grease that build up in the washer.
                   Once the system is degreased, rinsed, and drained, the plumbing should be inspec-
               ted to see if any parts are in need of repair or adjustment. Heavy deposits should be
               chipped away and the sludge should be removed from the bottom of the tank by
               flushing with a hose or shoveling.
                   Pretesting the descaling material on a small sample will help to determine the cor-
               rect material and concentration. Usually, lime scale and rust will form carbon dioxide
               in an acid solution. Some types of scale, such as those formed by iron phosphates
               or combination cleaner/phosphates, may produce little or no reaction by exposure to
               acid based descaling solutions. In cases where pretesting an acid solution does not
               produce satisfactory results, an alkaline solution should be tested.
                   In general, the descaling product will be opposite in pH to the process solution
               that is being removed. Descaling should typically be done once every 6 months to
               1 year.
                   Regular service reports should be kept that document the condition of the
               washer, including the nozzles, operating temperature, pressures, general appearance,
               conveyor, and washer interior condition, and so forth. Monitoring the washer condi-
               tion with this report will give the operator the information necessary to schedule the
               maintenance in advance.
                   Any existing leaks in the washer will be enlarged when the descaling solution is
               run through the system.

               Descaling Procedure

                      While the solution is hot, remove as much free oil as possible by
                      overflowing or use of an automatic skimmer.
                      Drain the solution from the tank.
                      Flush sludge and solids to drain.
                      Refill the tank with water.
                      Add a high caustic, high chelate alkaline descaler to reach 4-6 oz/gal.
                      Heat and circulate the solution for 1-2 h at the highest possible heat. A low
                      foam detergent may be added at 0.5-1.0 % by volume to help displace oils.
                      Allow the solution to remain static for 20-30 min.
                      Overflow to displace surface oils or use an automatic skimmer to
                      remove oils.

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                  9. Drain the solution from the tank (treat the solution if necessary or drain to
                     a holding tank).
                 10. Flush sludge to drain.
                 11. Remove the nozzles.
                 12. Fill the tank two-thirds full with fresh cold water.
                 13. Add 10% by volume, inhibited descaling acid (muriatic). To minimize
                     fuming in the plant, use a low volume chemical hand pump with the
                     discharge line immersed below the solution level in the tank.
                 14. Circulate and heat the solution to 120°F for 1-2 h.
                 15. Drain the solution from the tank (neutralize the solution prior to discharge).
                 16. Flush sludge from the tank bottom.
                 17. Inspect the nozzles, clean by soaking in a descaling solution, repair or
                     replace as necessary, and reinstall them in the washer.
                 18. Refill the tank with fresh water and heat.
                 19. Add 0.1-1.0% by volume of proprietary type phosphate. Circulate washer
                     for 5-10 min.
                 20. Drain the tank and rinse sludge from bottom.
                 21. Fill the tank to operating level.
                 22. Charge the tank with the appropriate processing chemical product.


              1.7.2 CHEMICAL MAINTENANCE
              Chemical performance is very dependent on the process control and maintenance of
              the solutions. The factors that affect the performance of the chemistries are the amount
              of exposure time, the pressure at which the solution is sprayed, the concentration of
              the chemical in the solution, the temperature of the solution, and the control of oil
              and solids in the tank.
                  To achieve the intended quality that the pretreatment system was designed for,
              the chemistry of the washer must be carefully monitored, recorded, and maintained.
              Specific ranges of operation must be established and controlled. The specific variables
              to be controlled are process time (line speed), temperature, chemical concentration,
              pH, and TDS.
                  Titration is the test process used to check the chemical concentration of a solution.
              Acid base titration is based on the fact that it will take a certain amount of an acid
              with a known concentration to neutralize a sample of an alkaline cleaner and a certain
              amount of an alkaline solution to neutralize a sample of an acid solution.
                  A solution called an indicator is added to the solution sample prior to titrating.
              The indicator is usually an organic liquid such as phenolphthalein that will cause the
              sample to change color when it is neutralized.
                  Frequency of chemical readings depends somewhat on the volume of product
              being processed. In most cases, the cleaner stages should be checked for temperature
              and pressure at the start of a shift, middle, and end. The results are recorded and
              adjustments are made if necessary.
                  In the rinse stages, the TDS and conductivity should be tested three times a
              shift. The TDS and pH should not be allowed to rise very much over the initial raw
              water readings. Adjustment of the overflow volume will help to control the rinse

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               water quality. In addition, tanks should be drained and cleaned on a regular basis as
               necessary. The tank dump schedule and overflow rate are related. If a comparatively
               low volume of water is overflowed, say 1.5 GPM, the rinses may need to be dumped
               as frequently as once a day. If the overflow rate is 5-7 GPM, the rinses can be typically
               be dumped once a week. In cases where maintenance of the water quality is critical,
               softened water can be helpful. Automated rinse control based on conductivity is also
               possible. The key is to maintain good quality rinse water with low TDS and near
               neutral pH.

               1.7.2.1 TDS
               TDS can be measured with a Myron L Model 532 MI dissolved solids meter, or a
               Markson Conductivity/TDS pocket tester, measuring how conductive a water sample
               is in units of micromhos (µ,Mho), or similar device. Pure water, such as distilled water,
               conducts electricity very poorly and so it will give a dissolved solids or conductivity
               reading close to 0 µ,mho. Ionic matter, such as acids, alkalis, water hardness, or salts,
               will make the water much more conductive and the dissolved solids reading will rise.
               The more dissolved water in the solution, the more conductive it becomes.
                    A low level of conductivity is desirable, because the water will perform better for
               rinsing. To measure the conductivity of a sample solution, make sure that the meter
               is calibrated.

               1.7.2.2 Temperature
               The temperature of the solution can be determined with a thermometer such as
               the Tel Tru Model GT 100B thermometer in degrees Fahrenheit. The thermometer
               must be immersed past the groove on the lower portion of the stem in order to get
               accurate readings. To convert degrees Fahrenheit to degrees Celsius, use the following
               formula:

                                                 (°F    32) x 5
                                                                  =cc


               1.7.2.3 pH Measurement
               The chemical symbol pH represents a measurement of the relative acidity or alkalinity
               of a solution. A pH of 7 is considered neutral, acidic solutions are below 7, and alkaline
               solutions are above 7. The pH can be measured with a Markson Model 88 pH meter,
               a pocket-type pH meter, or pH paper. Measurement of the pH provides a numerical
               value to relative acidity or alkalinity, an important feature in the controlling the
               performance of a solution.
                    For a solution to perform as designed, the desired pH must be known and the
               solution must be controlled. To illustrate the point, consider the manufacturing of
               jelly. In order to jell the fruit, the mixture must be slightly acidic. At a pH below 2.6,
               the mixture will not jell; at 2.6, a white precipitate forms and the resultant jelly is
               unmarketable; at 2.8, there is a separation of water droplets from the mixture; at 3.1,
               the mixture will produce a jelly with maximum stiffness; a pH of 3.2 will produce

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              medium stiffness, and at a pH of 3.3 the jelly will be thin. Above a pH of 3.5, the
              mixture will not jell at all.
                   Within a few tenths of pH unit, the mixture will go from "no jell" to maximum
              stiffness and back again to no jell. This clearly illustrates the importance of tight
              control of the pH of a solution.
                   Acids, from sulfuric acid that can dissolve metal to boric acid that can be used
              as eyewash, all produce hydrogen ions (H+) in solution. The measure of acidity is
              the numerical value of the hydrogen ion concentration. Expressed in chemical terms,
              the numerical values for hydrogen ion concentrations are usually extremely small
              fractions such as 1/10,000,000. The pH scale was developed to avoid the use of
              such inconvenient numbers. The pH scale is defined mathematically as the negative
              logarithm of the hydrogen ion concentration or the power to which 10 must be raised
              to equal the hydrogen ion concentration. The name pH comes from the power of
              hydrogen. This mathematical transaction provides us with a convenient scale from 0,
              for an acid solution of unit strength, to 7 for a neutral solution of pure water.
                   Alkalis owe their alkalinity to the hydroxyl ions (OH- ) that they produce in
              solution.
                   Alkalinity, measured on the same pH scale as acidity, is expressed as a value from
              7 to 14.
                   Any number below 7.0 is an acid and for each whole number of decline there is
              an increase in the intensity of (H+ ion concentration) the acid by a factor of lOx.
              Any number above 7.0 is considered alkaline and for each whole number of increase
              there is an increase in the intensity of (OH- ion concentration) the alkaline by a factor
              of lOx. In a solution with the same number of H+ ions and OH- ions the pH is 7.0.
                   Water from the tap may be a little on the alkaline side due to the addition of caustic
              soda lye to make the water potable. Proper measurement and adjustment of the water
              is essential to the pretreatment process. The pH of the water is measured by inserting
              a probe into the water that is attached to a meter. To ensure that the measurement is
              accurate, the meter must be properly calibrated.
                   The pH electrode used with the meter must not be allowed to dry off. When not in
              use the electrode should be soaked in pH buffer solution. The electrode should not be
              used in solutions above 140°F, and it should be protected from freezing. The electrode
              should be rinsed with distilled water before being transferred from the test solution
              to the buffer solution and it should be shaken off to reduce solution contamination
              whenever it is transferred from one solution to another.
                   If a coating has formed on the electrode tip, it should be removed by stirring
              briskly in a detergent solution or by spraying with a squirt bottle. If this does not
              work and the meter responds slowly or improperly, the glass bulb can be gently
              cleaned with a soft brush. If it still does not work properly the bulb or meter should
              be replaced.
                   The pH buffer solutions should be checked periodically by comparing their pH to
              the pH of fresh buffer solution. The solution should be replaced when a pH difference
              of 0.1 or greater is measured.
                   For proper pH control of a phosphate solution, it is important to establish a
              desired coating weight and adjust the pH to the level that will provide that established
              standard. The proper chemical concentration, pH, and temperature should be

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               measured (and adjusted if necessary) at the start of the shift, middle, and end, to main-
               tain the balance necessary to provide the desired coating weight. Because all phos-
               phate products and vendors have there own unique blends, the guidelines provided
               by the chemical supplier should be followed for proper solution maintenance.
                   In a seal rinse solution, the variables to be controlled are pH and conductivity. The
               standard recommended pH level for a seal rinse is based on the chemicals used and
               the standard for conductivity level is the raw water plus any additional conductivity
               added by the seal rinse solution. These variables should be monitored along with the
               other rinses, three times a day.
                   The conductivity of a DI/RO water rinse should be around 50 µ,mho for recircu-
               lated DI water and 10 µ,mho for fresh DI water. Manufacturers' guidelines should be
               followed for maintenance of the DI generation system.

               1.7.2.4 Washer Control Methods
               Control of the washer solutions can be done by manual titration or with automated
               systems. Effective control depends on the specific method chosen and the dedication
               of the people responsible for the washer.

               1.7.2.5 Manual Bath Control
               A manually controlled line depends on regular titration and the correct additions
               as needed. Depending on the philosophy of the operators, this could consume more,
               less, or the same volume of product as an automated controlled system. If the operator
               checks the washer frequently and adds small volumes of chemistries, the consumption
               should equal the automated system and performance should be excellent. Larger, less
               frequent additions should be avoided so that the solution remains fairly consistent. In a
               manual controlled system, the operator will normally add product using 5-gal buckets.
               This involves filling the bucket, lifting it to the eye level, and pouring the product into
               the sump of the stage. Proper personal protection equipment (safety glasses, rubber
               apron, rubber gloves, etc.) is essential for worker safety.

               1.7.2.6 Automated Control Techniques
               Regardless of the quality of the chemistries used in the washer, they must be prop-
               erly adjusted and maintained to perform effectively. Maintenance of the chemistries
               through titration and measurement of operating conditions such as pH and TDS will
               provide optimum performance. Any probe used in a chemical solution must be cleaned
               frequently to provide accurate readings.

               1.7.2.7 Metering Pumps
               A metering pump will provide a continuous flow of a small volume of product
               to the bath. The pump can be tied into the conveyor or washer electrical cir-
               cuits and only operated when the production line is running. The metering pump
               eliminates slug additions and reduces the handling of the product. Over time, the
               operator, based on the chemical tests, will adjust the pump output volume to maintain

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               the bath within specification. Metering pumps are a great improvement over manual
               control techniques and when combined with a chemical controller they provide the
               best method of process control.


              1.7.2.8 Theory of Automated Control
              As mentioned previously, the best way to maintain a consistent, controlled solution is
              to make small, frequent product additions as required. A continuous, online chemical
              controller will activate the metering pump and hold the concentration of chemical
              in the bath to an extremely tight level for consistent performance. The cost of these
              controllers is quite low and the quality is excellent.
                  An automatic controller will not eliminate the need to titrate and perform chemical
              analysis of the bath, but it may be possible to perform the checks less frequently. The
              manual checks are still the best method to determine bath chemistry and make sure
              that the controller is operating properly. Like any instrument that provides a value,
              that value must be verified for accuracy. Bad information from a controller or any
              other instrument is worse than no information at all.


              1.7.2.9 Conductivity Control
              As certain molecules dissolve in water, the ability of the resulting solution to conduct
              electricity is increased. This holds true for most chemistries used in finishing lines.
              Thus, the concentration of products, such as alkaline cleaners, will be directly related
              to the conductivity of the bath.
                  A conductivity controller will measure the conductivity of the bath and when it
              falls below the target or set point, the controller will activate the metering pump to
              replenish the bath. The flow rate on the metering pump should be set to maximum so
              that when the controller calls for product the set point is reached as soon as possible.
              Some controllers will feed until the set point is reached and others will feed to a preset
              value above the set point and then turn off the pump.
                  Many controllers include an alarm function. The alarm mode would activate if
              the controller calls for product to be added, but the set point was not reached in a
              predetermined length of time. This could occur if the chemical drum was empty, the
              feed pump was not functioning, the sensor has failed, or if a float valve was stuck
              open, feeding fresh water. Alarms can be wired to a lamp or buzzer to alert the operator
              of the problem. In more sophisticated controllers, the units have diagnostic features,
              which will internally check the system and display an error message if a problem is
              noted.
                  The controller needs periodic adjustment for nonproduct-related conductivity
              sources such as soil being removed from the substrates or reaction products from
              conversion coating baths.


              1.7.2.10 Contacting Conductivity
               Contacting conductivity probes have carbon tipped sensors that measure the con-
               ductivity of the solution. While acceptable for certain processes such as rinse waters,

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               contacting conductivity sensors in most processing tanks can be easily fouled by soil
               or scale and quickly yield unreliable information.
                   These sensors are more sensitive in reading low levels of conductivity than non-
               contacting probes, but noncontacting or electrodeless conductivity systems provide
               more effective process control.


               1.7.2.11 Noncontacting Conductivity
               Electrodeless conductivity sensors have been available for considerable time now and
               have proven their ability to accurately and reliably control most finishing processes.
               The fact that the sensing elements in this type of probe do not contact the pro-
               cess solution means that these sensors avoid fouling and require significantly less
               maintenance.
                   These probes use two "toroidally" wound wires that are encapsulated in the
               ring- or doughnut-shaped sensor body. The controller supplies current to one of the
               wires. The second wire has a specific current induced upon it based on the conductivity
               of the solution in which it is submersed. The controller measures this and calculates
               the conductivity of the solution. These systems must be temperature compensated.
               Some systems allow for the input of custom calibration curves for the specific product
               being measured. These systems allow the option of displaying theunits in a percentage
               value.
                   Electrodeless conductivity systems are the ideal choice for cleaner baths and
               conversion coatings. For very dilute processing baths, chemistries with very low con-
               ductivity values and rinse waters, contacting conductivity should be used, because
               they are better at monitoring low levels of conductivity than the noncontacting
               systems.
                   For rinse water tanks the controller should be programmed to open a fresh-water
               feed valve when the conductivity rises above the set point. For DI/RO water systems,
               a resistivity controller system with the appropriate sensor should be used to handle
               the extremely low conductivity.


               1.7.2.12 Zinc Phosphate Control
               A standard electrodeless controller is usually effective for monitoring iron phos-
               phate baths. Zinc phosphate solutions have more complex chemistry and require
               more thorough control techniques. This is especially true of spray zinc phosphate
               systems.
                   Zinc phosphate solutions often have multiple products being added to the bath
               simultaneously, such as accelerators and replenishing packages. In addition, itis often
               the titration ratio value and not the total or free acid that is used to control the bath.
               Controlling the process based on the overall conductivity is not reliable.
                   These baths should be run either manually or with an auto-titrating system capable
               of running a series of different tests. In a limited number of cases, a conductivity
               controller can effectively be used to hold the total acid value constant and acceptably
               control the bath.


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              1.7.2.13 pH Controllers
              pH controllers can be used on certain processes to add product when a set point
              is reached in either a rising or falling direction. The sensors on pH electrodes are
              contacting the process solutions. Most of these sensors are semipermeable glass
              surfaces that are very sensitive.
                  They require calibration on a regular basis. The best method is a two-point
              calibration with buffer solutions. In some cases, a single point calibration with a
              "grab sample" tested on a second, calibrated meter is acceptable. pH control should
              be verified frequently for reliable results.


              1.7.2.14 Interfacing Controllers with a Computer
               Chemical controllers are powerful tools and sufficient on their own in most applica-
               tions. Combining controllers with computers provides a number of additional features
               that can add benefit to the system. The computer can be used as a data acquisition
               tool or it can be used to actually control the process.


              1.7.2.15 Data Acquisition Tools
              Most useful controller systems have an output signal that directly relates to the value of
              the display. In most cases, this is an analog signal in units of milliamps (usually 4-20).
              This signal can be directed to a computer where the information can be displayed and
              stored. The signal is usually digitized using input/output (I/O) hardware and software.
              Once in the computer, the information can be displayed in several ways. The computer
              can be networked or accessed remotely to view the data from different locations.
                  These systems allow for powerful alarming features with varying levels of alarms
              and can call or page personnel if required and they are ideal for real-time statistical
              process control (SPC) systems and manipulation of data. They also allow the system
              to store information that can be reviewed and used to deal with product problems.


              1.7.2.16 Computer Control Systems
               Computers can be used to actually control the process using programmable logic
               controllers or a PC with appropriate software from a remote location. Computer-
               controlled systems can alter the process at any networked or accessed computer
               station with all of the display and data manipulation features of a computerized data
               acquisition system.
                   Recipe functions can be used to allow the operator to activate a program at the
               terminal that activates a series of events. This can be used to adjust the contact times
               or temperatures by recipe for different substrates or other variables. In general, these
               systems use lower cost "transmitters" at the baths in place of controllers and allow
               the computer to "analyze" the data. These systems can provide complex functions
               with links to the entire plant operation, from order entry, to inventory, production,
               and shipping.


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                   Regardless of the type of control system used, strict process control techniques
               must be practiced to consistently obtain a quality finish. This can be accomplished
               by simply titrating the baths every 2-3 h or by implementing an automated control
               process. Learning and understanding each step in the operation and having the ability
               to measure that the operating parameters of each step is the key to a successful process
               control system. While automated addition of chemicals is better from the standpoint
               of process control, the automatic controls must be checked to be sure that they are
               performing properly. There is no substitute for regular titration.




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                  2 Paint Components
              A liquid paint is an engineered product made of several different ingredients that
              mix to create a specific product with its own unique properties. The selection of
              components used to manufacture paint will affect its stability (shelf life), application
              characteristics, handling, cleanup, disposal, and most importantly, the performance
              of the product on which it is applied. Paint formulas usually include

                 1.   Resin (binder)
                 2.   Pigments
                 3.   Solvents
                 4.   Additives


               2.1 RESIN (BINDER)
              The resin is the film-forming component that identifies the paint. A variety of resins
              and polymers (materials that will undergo reaction to form a resin) are used in
              paints. The formulation of a paint material and the particular chemicals used are
              influenced by the particular resin or resin combination used. The blend of resin
              (sometimes referred to as the binder) and solvent is sometimes referred to as the paint
              vehicle.
                  Paint binders may be referred to as convertible and nonconvertible types. Convert-
              ible paints are materials that are used in an unpolymerized or partially polymerized
              state and undergo reaction (polymerization) to form a solid film after application to
              the substrate. Nonconvertible paints are based on polymerized binders dispersed or
              dissolved in a medium that evaporates after the coating has been applied to leave a
              coherent film on the substrate surface.
                  Convertible binders include oils, oleoresinous varnishes, alkyds, amino resins,
              epoxy resins, phenolic resins, polyurethane resins, and thermosetting acrylics.
                  Nonconvertible resins such as cellulose, nitrocellulose, chlorinated rubber, and
              vinyl resins will not be covered in this text, because they are usually used in low-
              solid, high-solvent content coatings that are not compliant for the majority of modern
              industrial applications.

               2.1.1 OILS AND OLEORESINOUS VARNISHES
              Oils were commonly used in paint formulation but have declined as improved
              polymers were developed that could be used for a broader variety of coatings.
              With the exception of limited use of refined linseed oil and linseed stand oil in
              certain types of primers for steel and timber, oils are rarely used as the binder

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               in an industrial paint. However, oils are often used as modifying components in
               the preparation of oleoresinous varnishes and especially in the oil-modified alkyd
               resins, one of the most widely used binders in modern paint technology.
                    Vegetable oils are generally classified as either drying or nondrying oils
               on the basis of whether they will react with air temperatures to form a rubbery,
               poor solvent-soluble film.
                    For example, linseed and tung oil are referred to as drying oils, because they will
               readily dry when exposed to oxygen. Another group of oils that includes soybean oil
               is called semidrying oils, because they do not dry as quickly.
                    Some oils, such as castor oil or olive oil, are classified as nondrying oils.
               Nondrying oils like castor may be converted to drying oil by heating to 530°F (280°C)
               for several hours to break down some of the constituent acids of the oil.
                    The drying process is a complex oxidation reaction involving the centers of
               unsaturation in the carbon chains of the fatty acid triglycerides of the drying oil.
               The reaction is referred to as oxidative polymerization or auto-oxidation. Oxidation
               of a drying oil and film formation will occur naturally, but the rate of reaction is
               slow and so it is usually accelerated by the addition of driers such as cobalt or lead
               naphthenates.
                    Linseed oil as extracted from the flax plant is dull and cloudy and needs to be
               refined to remove the natural impurities. The method of refining depends on the
               purpose for which the oil is to be used. The oil can be treated with alkalis, acids, or
               bleaching processes to lighten the color of the film.
                    Alkali refining is more commonly used than acid refining. In this process, the oil
               is treated with sodium hydroxide solution in a calculated quantity to neutralize the
               acid value of the oil. The acid value is the number of free acid groups in a polymer.
               The number is actually the milligrams of potassium hydroxide required to neutralize
               one gram of the polymer. The resultant soap is then removed by centrifuging. The
               refined oil is then washed with water to remove all traces of the alkaline material.
               Although certain treatments are needed to clean up linseed oil, it is still used in an
               unmodified state.
                    The refined linseed oils are usually low in viscosity and need to be heat treated
               to produce thicker linseed stand oil. The oil that is processed by heat-treating
               (520-575°F, 270-300°C) will thicken from polymerization. This makes a more
               flexible and durable coating, but one that takes longer to dry.


               2.1.2 ALKYD RESINS
               Alkyd resins are modified with a number of oils including soya, linseed, dehydrated
               castor, and coconut. They in turn can be combined with such resins as acrylics, vinyl
               toluene, silicones, and amino-resins. The latitude of compatibility of the oil-modified
               resins makes them popular for use in industrial coatings. They are fairly inexpensive
               and they have a variety of properties.
                   Alkyds can be prepared directly from oil (triglyceride), a polyol, or an acid.
               The percentage of oil contained in an alkyd classifies the end use of the alkyd and
               affects such properties as speed of drying, flexibility, durability, and so forth. Two
               manufacturing methods are used in the preparation of alkyd resins: the alcoholysis

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               TABLE 2.1
               Oil Modified Alkyds
              Alkyd     Oil Length %              Characteristics                               Uses

               Short        20-25      Nonoxidative. Soluble in aromatic          As modifying resins in baking
                                        hydrocarbon solvents                       systems for interior use
                                       Hard brittle films
               Medium       45-60      Air-drying or baking cure. Soluble in      As above for interior and exterior
                                        aliphatic—aromatic solvent blends         Also used in fast drying systems
                                       More flexible films

               Long         60-80      Air-drying (oxidative). Soluble in         Exterior air-dry systems
                                        aliphatic solvents. Very flexible films




              process, by which oil-modified alkyds are produced, and the fatty acid process, which
              is used to prepare fatty acid-modified alkyd resins.
                   The fatty acid resins tend to have a paler color than the oil-modified resins because
              of the greater purity of the fatty acids. In the fatty acid process, all three components,
              the fatty acid, the polyhydric alcohol, and the polycarboxylic acid, are heated together
              at temperatures in the range of 240°C until esterification of polymerization is com-
              plete. In the alcoholysis process, the polyhydric alcohol and the modifying oil are
              first reacted together and then the polycarboxylic acid is added. Both processes yield
              oil-modified alkyds, classified on the basis of the amount and type of oil used as
              shown in Table 2.1.
                   Drying and semidrying alkyds cure by auto-oxidation, so they are good resins to
              use in formulation of air-dry coatings. Nondrying oil alkyds, particularly the short-oil
              resins, require exposure to heat for curing. They can also be used as plasticizers for
              other synthetic resin systems. The composition and simplified structures of a short,
              medium, and long oil alkyd are shown in Table 2.1.

               2.1.3    POLYESTER RESINS

              Polyester resins are typically used in heat-cured coatings that need to be high in paint
              solids and low in solvent content. They have extremely good color retention that
              provides good over-bake protection and very good UV resistance, and they can be
              applied using a wide range of spray equipment. Polyesters are very similar in chemical
              structure to the earlier-discussed Type I oil-free alkyd resins. Polyesters are often
              formulated in two-component products that are used for plastics. The catalyst system
              in the 2K products allows them to be cured at low temperature, and the finished film
              has excellent appearance and UV resistance.

               2.1.4    ACRYLIC RESINS

               In the coatings and plastic fields, the term "acrylic" resin applies to the polymers and
               copolymers of the esters of methacrylic and acrylic acids. Copolymers of these esters

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               with nonacrylic monomers such as styrene, butadiene, or vinyl acetate are also referred
               to as acrylic resins.
                    Acrylic resins are very versatile and popular for industrial liquid coatings. They
               provide toughness, good weathering ability, and resistance to abrasion and chemical
               attack. They are also considered to be better than alkyd resins for gloss retention.
               Acrylic thermosetting resins that are cross-linked with epoxy or amino resins are
               used in the appliance industry because of their excellent physical and chemical
               properties.
                    Solid and solution polymers are used in lacquer finishes for metal, wood, leather,
               ceramic, and plastic surfaces. Acrylic emulsions, which are manufactured directly in
               the latex form, are used in both indoor and outdoor paints. Along with the stability
               of the acrylic resins and their toughness and chemical resistance, they also provide
               an appealing, high-quality coating. The hardness and slip properties can be varied over
               a wide range to suit the demands of the application. Adhesion and solvent resistance
               can be built into acrylic coatings by adding other functional monomers into the resin
               system by copolymerization.
                    Acrylic polymers are used for decorative and protective functions. For decor-
               ative applications, they provide high gloss, good pigment binding characteristics,
               and clarity. For protective applications, they provide good adhesion, hardness, and
               durability.
                    Acrylic lacquers are used for both ferrous and nonferrous substrates. Lacquers
               are solutions of resins in organic solvents that harden as the result of the evaporation
               of the solvent. This can be forced or accelerated with beat. The acrylic can be either
               the major or minor portion of the lacquer.
                    There are thermoplastic lacquers that allow thermal reflow and better dispersab-
               ility of metallic colors than thermoset enamels. Applied over a primer and baked, the
               acrylic lacquers resist many years of outdoor exposure.
                    Harder acrylics made of almost straight polymethyl methacrylate resin systems are
               used to make hard, durable finishes for toys. Automotive touch-up lacquers in aerosol
               cans are another large market. Plastic substrates are a growing market for acrylic
               coatings, especially since there are now more grades of acrylic polymers that are
               soluble in solvents that do not attack the plastic. These solvents include ethanol,
               isopropanol, naphtha, and straight-chain hydrocarbons. The resin systems are usually
               low to medium molecular weight homopolymers and copolymers of ethyl and n-butyl
               methacrylate.
                    Thermosetting acrylics are generally harder, tougher, and more resistant to heat
               and solvents than the thermoplastics. They are less resistant to UV light and of course,
               they must be heat cured to obtain cross-linking. Thermosetting acrylics are easier
               to apply. The relatively low molecular weight copolymers of methacrylate with
               other acrylic or nonacrylic monomers constitute the uncured resin. These functional
               monomers provide sites for subsequent cross-linking, usually by reaction with non-
               acrylic additives. These low molecular weight copolymers make it possible to apply
               high solids, low volatile organic compound (VOC) coatings, which will level much
               better before cross-linking and result in a smoother coating.
                    Most thermosetting acrylic resins available for commercial coating applications
               contain relatively high amounts of styrene, vinyl-toluene, epoxies, or amine resins to

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              enhance their in-use properties, to lower their cost, or to effect cross-linking. The term
              "acrylic thermoset" is even applied to coatings that have only the acrylic monomer
              present to establish the curing or cross-linking sites for the coating. Because of the
              nonacrylic nature of these coatings, they may not exhibit the characteristic properties
              normally sought in an acrylic coating.


               2.1.5 AMINO RESINS
              Amino resins are generally used in baked coatings as cross-linking agents. They are
              used in proportions up to 50% of the total vehicle binder. They can be used with
              alkyds, polyesters, epoxies, thermosetting acrylics, phenolics, and other heat reactive
              resins. Melamine and urea—formaldehyde are the most common examples of this
              resin.


               2.1.6 EPDXY RESINS
              Epoxy resins are known for their excellent corrosion and chemical resistance. Because
              of their tendency to fade and chalk when exposed to sunlight, they are used for interior
              topcoat applications or as primer for exterior applications.
                  Excellent corrosion resistance can be obtained with film thickness as low as
              0.5 mil. 'Be epoxy resin is usually cross-linked with melamine or urea resin at curing
              temperatures of 350-425°F. Epoxy coatings are characterized by excellent adhesion,
              a high degree of impact and abrasion resistance, and resistance to chemicals and
              solvents. This combination of properties makes the epoxy formulas a good fit for
              chemical laboratory furniture and similar applications. They also have good insulat-
              ing properties, making them a good fit for the electrical industry, and they can provide
              excellent wear on tools.
                  Epoxy resins are rarely used as-is in paint formulations because of their low
              molecular weight. The low molecular weight does not allow adequate film builds, so
              they are usually cured into higher molecular weight complex polymers called epoxy
              glycides. The terminal or reactive groups are epoxy and secondary hydroxyl in nature.
              These complex molecules are then cross-linked with commonly used curing agents.
                  The most commonly used epoxy paint system is the two-component amine-cured
              coating where the resin and hardener are mixed just prior to application. The hardener
              creates a reaction that will create a hardened film after the components are mixed. The
              pot life (time that it takes for the coating to harden) can range from a few minutes to
              several days depending on the formulation. Heat is often used in industrial applications
              to accelerate the cure process.
                  Epoxy formulas are used as maintenance coatings, can coatings, pipeline coatings,
              tank linings, and so forth. They have also been formulated using special extenders
              and thixotroping agents to allow one coat film builds of 6-40 mil. Epoxy formulas
              are also often used as a primer.
                  Epoxy resins can also be used in epoxy-acrylic thermosetting systems to provide
              a combination of film hardness, mar resistance, gloss and color retention, and chemical
              resistance. These formulas make good coatings for major household appliances and
              automobiles.

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               2.1.7        URETHANE RESINS

               Urethane is the accepted description for a group of polymers that are sometimes
               called polyurethanes. Urethane resins are very popular with formulators, providing
               a combination of chemical resistance, toughness and abrasion resistance, and exterior
               durability. Effective application on plastics has led to substantial growth in urethane
               technology.
                   Urethanes are the reaction products of isocyanates with materials that have
               hydroxyl groups. They contain a significant number of urethane groups regardless
               of what the rest of the molecule may be. The basic chemistry of isocyanates and
               urethanes has been known for over a hundred years. In 1848, Wurtz prepared methyl
               and ethyl isocyanates by reacting potassium cyanate and alkyd iodides. He also found
               that ethyl isocyanate reacted with ethyl alcohol to form ethyl carbamate, which was
               later named urethane.
                   The modern industrial development of urethane polymers stems largely from
               the pioneering work of Professor Otto Bayer in Germany in 1937. The basic raw
               materials, the isocyanates, are produced in a number of different forms, but the
               most widely used is toluene diisocyanate (TDI). The TDI has a noticeable vapor
               pressure and has an irritant effect on the mucous membranes and so requires special
               handling.
                   Table 2.2 compares some of the properties of the various resins discussed.
                   Many different vehicle systems are used for various applications and environ-
               mental conditions with a wide range of properties as shown above.


               TABLE 2.2
               Resin Properties
                                                       Modified
                                       Alkyd  Baking (Styrenated)         Cellulose Catalyzed
                                 Alkyd Amino Polyester  Alkyd     Acrylic (Lacquer)  Epoxy    Urethane

               Exterior           E      E         E          G      E        E        G          E
                durability
               Salt spray         E      G         G          G      E        E        E          E
               Alkali             P      F         G          G      G        P        E          F
                resistance
               Solvent            G      E         E          F      F        F        E          E
                aliphatic
               Solvent ketone     P      P         G          P      P        P        G          E
               Flexibility        E      G         E          G      E        E        F          E
               Impact             G      E         E          G      E        E        G          E
               Heat resistance    G      G         E          G      G        P        G          G
               Color retention    G      G         E          G      E        E        F          E
               Gloss retention    E      G         E          F      E       G         P          E

               E — excellent; G — good; F — fair; P — poor.




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               2.2 PIGMENTS
              Pigments are particulate solids that are dispersed in paints to provide certain char-
              acteristics to them, including color, opacity, durability, mechanical strength, and
              corrosion protection for metallic substrates. In order to achieve the desired res-
              ults, pigments have to possess certain properties. Pigments may be inorganic and
              organic materials. Organic pigments are used primarily for decorative purposes,
              while inorganic materials have traditionally been added for protective proper-
              ties. Extenders are used in conjunction with pigments to modify the properties of
              the paint.
                  The size and shape of the pigment particles are important considerations, since
              they affect the agglomeration or packing within the paint binder or matrix. Most
              pigments are crystalline and the crystal form often affects the characteristics of the
              pigment. Particle size also affects the finished gloss, settling of the pigment during
              storage, and wetting by the binder. Other factors such as color, tint strength, color-
              fastness, and opacity are inherent characteristics of the pigment. Density is another
              important factor affecting not only settling, but also the volume of pigment for a given
              weight addition.
                  Pigments have to be uniformly dispersed in the binder to provide a consistent
              appearance. They have to remain in suspension or be easy to disperse if settling
              occurs. When the paint is mixed, the pigments are incorporated mechanically in a
              mill. The pigment has to be able to withstand the milling process.
                  A wide variety of coloring agents can be used to provide a considerable range of
              colors and shades. The number of pigments used and the amount of each is related to
              color, hiding, and many other film properties. Some common pigments are discussed
              in the following section.


               2.2.1 WHITE PIGMENTS
              Almost all paint formulas include some white pigments to adjust the lightness—
              darkness of the final color. Some of common white pigments are listed as follows.


               2.2.1.1 Titanium Dioxide
              Titanium dioxide is a widely used, nontoxic, stable synthetic pigment used for both
              protective and decorative paints. It comes in two different crystalline forms, rutile
              and anatase. The rutile crystalline form is more compact and has a higher specific
              gravity, greater refractive index, enhanced stability, and enhanced durability.
                   The high refractive index of titanium dioxide (2.7 for rutile and 2.5 for anatase)
              enables it to provide a higher degree of opacity in paint films than any other white
              pigment. Rutile titanium dioxide is photochemically inert and the pigment protects
              paint films from degradation by scattering absorbed light. In contrast, the anatase
              form is photochemically active and paints formulated with this pigment are subject
              to heavy chalking. 'Be anatase grade is used mainly for interior applications due to
              its cleaner white color.


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               2.2.1.2 Zinc Oxide
               A synthetic based pigment that will inhibit mold growth, if present in high levels
               (about 30% by weight). The basic nature of zinc oxide leads to interaction with
               paints of high acid value with the formulation of zinc soaps. These can mechanically
               reinforce the film but can cause embrittlement on exterior exposure.

               2.2.1.3 Antimony Oxide
               A synthetic inert pigment often used with chlorine-containing binders in the formu-
               lation of fire-retardant paints. When exposed to flames, the antimony chloride vapor
               that is released is heavier than air and acts as a blanket to the fire. This pigment also
               has good opacifying characteristics.

               2.2.1.4 White Lead
               A synthetic basic pigment used for centuries, now limited in use because of its toxicity.
               Being basic, white lead will react with acidic paints to form lead soaps, which will
               enhance film elasticity, useful for timber primers. However, the pigment has a high
               chalking rate and a tendency to darken in polluted atmospheres due to the formation
               of lead sulfide.

               2.2.2 YELLOW PIGMENTS
               Yellow pigments are used to adjust the yellow—blue axis of the color spectrum.

               2.2.2.1 Yellow Dyes
               Azo dyes, ranging in color from orange to green-shade yellows. They have good light
               stability in full shade unless the dye is reduced with white pigments. They provide
               good opacity and are nontoxic, so they are often used instead of lead chromates.
               Yellow dyes are soluble in ketones, esters, and aromatic solvents, but they have poor
               solubility in aliphatic solvents. This makes them suitable for use in air-dry coatings
               that contain aliphatic hydrocarbons or in emulsion systems.

               2.2.2.2 Benzidine Yellows
               Insoluble azo dyes prepared in a range of shades from yellow to red. They have
               good opacity and are insoluble in most solvents used in paint formulations. They
               are nontoxic and have good resistance to acids and alkalis, and they can withstand
               temperatures up to 300°F. The benzidine yellows are not lightfast, even when used at
               full shade, so their use is generally restricted to interior applications.

               2.2.2.3 Lead Chromates
               Chromate pigments are rarely used today because of the environmental problems
               associated with chrome. A wide range of synthetic pigments, ranging frompale yellow
               to deep orange in color, have been used in paint formulation. Lead chromes have

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              high tint strengths, good lightfastness, and opacity, but they also darken in polluted
              air and they will bleach in the presence of sulfur dioxide. Lead chromates interact
              with alkaline substrates resulting in color loss. Nevertheless, the lead chromates are
              useful coloring pigments and are used in undercoats and finishing systems. The color
              of the pigment is determined by the process conditions during manufacture.

               2.2.2.4 Zinc Chromate
              Three forms of zinc chromate are used for pigmentation of paints. The pigment grades
              have good lightfastness and are stable in polluted air, but they are of low opacity. The
              zinc chromates are slightly basic and will react with acid paints, leading to a thickening
              of the paint during storage. The form of zinc chromate used for corrosion-protection
              must be free from residual chloride, which is usually present in pigment grades.
              A third form of zinc chromate, the tetroxichromate, is used in metal pretreatment
              primers.

               2.2.2.5 Yellow Iron Oxides
               Naturally occurring iron oxides, ranging in color from dull yellow to dark yellow-
               brown, but more restricted in the range of color shades than synthetically prepared
               oxides. Natural oxides have cleaner and brighter colors combined with greater color
               strength because of their greater purity. Both natural and synthetic oxides are resistant
               to alkalis and organic acids, but they can be discolored by mineral acids. Shade
               variations can occur at elevated temperatures. Iron oxides will absorb UV radiation
               and have a protective effect in exterior paints.

               2.2.2.6 Cadmium Yellow
              Synthetic pigments varying in color from primrose to orange, the shade being determ-
              ined by manufacturing process conditions. They are stable at high temperatures. They
              are unaffected by alkalies, but they can be decomposed by acids. They may be used
              on a variety of substrates, especially where alkali resistance or temperature resistance
              is required.
                   Cadmium, like chrome and lead, was a staple in the formulation of paint, espe-
              cially performance coatings, for many years. These heavy metals have long been
              recognized as undesirable components in paint due to their negative impact on the
              environment and have been all but phased out of paint formulation in the United States
              and many other industrialized nations.


               2.2.3 GREEN PIGMENTS
               Green pigments are used to adjust the blue—yellow axis of the color.

               2.2.3.1 Phthalo Green
              A toner, which, unlike the azo dyes, is not purely organic in nature but is a
              salt-like compound. Toners are formed by the reaction of a basic dyestuff with a

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               complex acid or by the reaction of an acidic dyestuff with a metal or metal salt; they
               are more resistant to solvents than the organic dyes.
                    Phthalocyanine green pigment has a blue—green color with good opacity in paints.
               It has good resistance to solvents, heat, and alkalis, but it can be decomposed by acids.
               It is widely used in decorative finishes.


               2.2.3.2 Chromium Oxide
               Chromium oxide is a dull green, synthetic pigment with good stability to light, heat,
               acids, and alkalinity, but it provides poor opacity. It is useful as a pigment for paints
               that requires high chemical and photochemical resistance. Chrome oxide is also used
               as a pigment for concrete and cement. Once again, chrome is no longer a common
               pigment used in paint formulation in North America.


               2.2.3.3 Lead Chrome Greens
               Synthetic pigments ranging from grass green to deep green in color, the shade being
               controlled by the Prussian blue admixed with the lead chrome yellow. They have
               good opacity, but they tend to discolor in polluted air. They also tend to float in paint
               formulations. Owing to toxicity, these products are not often used today.


               2.2.4 BLUE PIGMENTS
               Blue pigments are used to adjust the blue—yellow axis of the color.


               2.2.4.1 Phthalocyanine Blues
               These vary in color from reddish-blue to yellowish-green; they tend to have high
               tint strength and high opacity along with very good lightfastness. They are nontoxic,
               temperature stable, and resistant to most solvents and chemicals except strong acids.
               These pigments are used in a great many paints and finishes.


               2.2.4.2 Prussian Blue
               This is a bright blue synthetic pigment having high staining power but low opacity.
               It is lightfast and acid resistant, but it can decompose to iron oxide by exposure to
               alkalinity and elevated temperature.


               2.2.4.3 Ultramarine Blue
               A complex synthetic aluminosilicate pigment, it occurs naturally as the semiprecious
               stone lapislazuli. The color of the pigment is related to the presence of sodium sulfide.
               The shade can be altered by the amount of silica used in its manufacture. The pigment
               has a coarse texture and is subject to hard settling, but it has good lightfastness, heat
               resistance, and alkali resistance. It will decompose in an acid.


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               2.2.5 RED PIGMENTS
               Red pigments are used to adjust the red—green axis of the color.

               2.2.5.1 Toluidine Reds
              Nontoxic azo dyes characterized by bright, clean colors, good lightfastness, and high
              opacities although the color stability is reduced when they are mixed with white
              pigments. Toluidine reds have good color stability, are resistant to acids and alkalis,
              and heat up to 350°F for short periods. They are soluble in aromatic solvents and
              slightly soluble in aliphatic solvents and alcohols, so they are susceptible to bleeding
              in many systems.


               2.2.5.2 Arylamide Reds
              Nontoxic azo dyes ranging in color from orange to red or deep crimson. They
              have good lightfastness even if reduced with white pigments and they are tem-
              perature stable up to 300°F. Arylamide reds are slightly soluble in solvents.
              They are resistant to acids and alkalis and are used in many decorative exterior
              applications.

               2.2.5.3 Red Iron Oxide
              Natural red oxides, mined as hematite ore, and synthetic red iron oxides are used as
              pigments. The presence of impurities together with the variation in the iron oxide
              content provides pigments with colors ranging from orange-red to deep brown. The
              natural oxides are used in timber stains and low-cost metal primers.
                  Synthetic oxides have softer texture and greater purity, giving brighter, cleaner
              colors, and greater tinting strength. Colors are determined by manufacturing condi-
              tion. Natural and synthetic oxides are resistant to alkalis and organic acids but may
              react to mineral acids and high temperatures. They absorb UV radiation and increase
              the resistance of paint films to fading.
                  Two other inorganic red pigments, red lead and basic lead silicochromate, were
              used in the past, primarily for their corrosion-protecting properties. They are seldom
              used today due to the environmental risks associated with such materials.

               2.2.6 BLACK PIGMENTS
               Black pigments are present in many paint formulas to adjust the lightness—darkness
               of the coating.

               2.2.6.1 Black Iron Oxide
              A synthetic pigment of low tinting strength, mainly used as a colorant for fillers,
              primers, and undercoats. The pigment is reddened by heat, but otherwise the oxide
              has good chemical resistance.


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               2.2.6.2 Carbon Blacks
               Pigments that are produced by the carbonization of hydrocarbon minerals, plants,
               and animals. Properties vary according to the source of the carbon and the impurities
               present. Purer carbons are of a finer texture, have better color and opacity than carbon
               of lower purity.
                   Carbon blacks are lightfast, insoluble in acids and alkalis, and are resistant to
               solvents. They provide good opacity, even at low addition levels. Carbon blacks are
               very common pigments used in paint formulations.

               2.2.7 METALLIC PIGMENTS
               Metallic pigments are very popular for paints that will be used on products such as
               automobiles, motorcycles, metal office furniture, and other products that require
               exceptional appearance characteristics. While aluminum is the most commonly
               used metallic pigment, stainless steel, lead, and zinc have also been used in paint
               formulation.

               2.2.7.1 Aluminum Pigment
               A pure metal that is rendered resistant to many aggressive agents by the presence of a
               surface film of alumina. It is available in two powdered forms, leafing and nonleafing
               grades.
                   Particles of the leafing grades, which are coated with stearic acid or a similar
               surface-active agent, tend to float toward the surface of a paint film and become
               oriented parallel to the plane of the film. The close packed layer of aluminum platelets
               provides the film with a reasonably efficient moisture barrier and functions as a
               protective pigment. Normally, low levels of aluminum are used, often with no other
               pigments. The aluminum may also prevent corrosion by being a sacrificial anode
               when the surface of the coating has been damaged.
                   The nonleafing grade does not migrate to the surface of the coating but is more
               randomly distributed throughout the film. Again, low levels of the nonleafing alu-
               minum are used and the pigment's main function is to provide a sparkle effect to
               the film.

               2.2.7.2 Mica
               A naturally occurring potassium alumino-silicate used in the form of fine platelets.
               The lamellar structure of mica results in a leafing effect like that in leafing-grade
               aluminum that reduces water permeability in the paint film. The incorporation of mica
               improves weathering resistance in paint by reducing the tendency to fail by cracking
               and checking. These properties permit mica to be used in exterior decorative coatings.


               2.3 EXTENDERS
               Extenders are paint additives that are insoluble in the binder and solvents of the
               formula and have little or no opacity or color effect on the film. They are added to

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               modify the flow and mechanical properties of the paint as well as the, permeability,
               gloss, and leveling characteristics of the paint film.

               2.3.1 BARITES
              Ahard, dense, naturally occurring inorganic mineral that is very resistant to the action
              of acids and alkalis. It is transparent in oil and resinous media so that it can be used
              in solvent based paints without affecting the color or opacity of the film. The high
              specific gravity of barites can result in settling problems in stored paint. It is used
              as chemically inert filler that reinforces the mechanical properties of the film. It will
              reduce the durability of the film, if used at high levels in a coating. A synthetic form of
              barium sulfate is also used as an extender and has properties similar to those of barites.

               2.3.2 KAOLIN CLAY
              A naturally occurring hydrated aluminum silicate used in a fine particulate form. It is
              used as filler in solvent-based paints but in small amounts, because the small particle
              size can adversely affect the flow characteristics of the paint. The fine particle size
              does help to prevent settling in storage. Kaolin clay is used as a flattening agent (gloss
              reducing) in undercoats and eggshell finish paints and widely used in emulsion paints.

               2.3.3 TALC
              A naturally, occurring hydrated magnesium silicate mineral. It occurs as a mixture of
              lamellar and fibrous particles, the latter providing a reinforcing effect while improv-
              ing film flexibility. The platelets have an effect similar to mica in reducing water
              permeability. As a result, talc is often used in protective paints where high durability
              is required. The exact nature of how talc and mica improve corrosion resistance is
              not fully understood.

               2.3.4 CALCIUM CARBONATE (LIMESTONE)
              Naturally occurring limestone that is (also produced synthetically) widely used in
              interior and exterior emulsion paints and undercoats. Acids will attack limestone, so
              it cannot be used in aggressive environments. Nevertheless, it has wide usage in both
              aqueous and solvent-based finishes.
                   There are many other pigments that will provide corrosion resistance and other
              properties such as improved adhesion, mechanical properties, and viscosity control.
              The precise blend selected for a coating is related to the needs of the end user.
              Color, performance, cost, and environmental concerns affect the particular blend
              of pigments used.
                   Figure 2.1 is a pictorial representation of the optimum pigment loading that can
              be calculated. The common term for this is the pigment to binder ratio. Although
              everyone talks about pigment to binder ratios, experience has shown that very few
              paint formulators can actually determine the pigment-to-binder ratio. The optimum
              pigment loading is generally based on empirical observations, trial and error, and
              history.

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                                    A                     B                      C
                                  Binder               Pigment                  Voids




               FIGURE 2.1    Three different pigment to binder ratios.



                                     TABLE 2.3
                                     Usual Variation of Film Properties with
                                     Increasing Pigment Levels
                                                                 Usual Effect of More
                                     Property                      Pigment Levels

                                     Viscosity                   Increases
                                     Adhesion                    Maximum at CPVC
                                     Tensile strength            Maximum at CPVC
                                     Moisture permeability       Minimum at CPVC
                                     Cost                        Increases
                                     Gloss                       Decreases
                                     Impact resistance           Maximum at CPVC




                    Figure 2.1 shows three different pigment-to-binder ratios. The pigment volume
               concentration (PVC) at which the pigment particles just touch each other with binder
               filling the space between them is called the critical pigment volume concentration
               (CPVC). The picture A in the figure has too little pigment, B is the correct CPVC,
               and C has too much pigment.
                    The percentage of pigment required to achieve the CPVC depends on the size and
               shape of the particles. Smaller particles can be packed together with greater efficiency,
               resulting in higher CPVC.
                    The significance of PVC is illustrated in Table 2.3. It shows how a number of
               important film properties vary with pigment level. The amount of pigment in paint is
               often a compromise between several of the properties listed in Table 2.3.


               2.4 SOLVENTS
               A solvent is a pure or mixed liquid that is used to make the paint flowable prior to
               its application. In practice, the term solvent, solvent blend, and thinner are often
               used interchangeably. Solvents are chemical substances that can dissolve, suspend,
               or extract other materials, usually without chemically changing either the solvents or
               the other materials. Solvents make it possible to process, apply, clean, or separate
               materials. Solvents work on the principle of "like dissolves like." Therefore, for a
               solvent to work, it needs to have similar chemical characteristics to the substance that
               it is trying to dissolve. Water is also a solvent, which is described as "inorganic" (not
               containing carbon).

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                  Some important terms relating to solvents are as follows:

                   • True solvent—A liquid that can dissolve the binder.
                   • Diluent—A liquid that cannot dissolve the binder by itself but can be added
                     to a solution to increase its capacity for the binder.
                   • Latent solvent—A liquid that cannot dissolve the binder by itself but
                     increases the binder's tolerance for a diluent.
                   • Thinner—Any pure or mixed liquid added to a paint to reduce its viscosity
                     (make it more flowable).
                   • Front-end solvent—A fast evaporating solvent that leaves the paint very
                     soon after application, usually before the part reaches the oven.
                   • Exempt solvent—Solvents that do not react with sunlight to form smog and
                     whose use is not controlled by regulation. A few chlorinated compounds
                     are now considered exempt as well as acetone and methyl acetate. Review
                     of the status of solvents in ongoing.
                   • Middle solvent—A medium evaporation rate solvent that leaves the paint
                     primarily during flash-off and oven warm-up.
                   • Tail-end solvent—A slow evaporating solvent that leaves the paint primar-
                     ily during the baking cycle.
                   • Retarder—A slow evaporating solvent added to a paint to prolong the
                     drying time. Typically used to reduce orange peel or blushing.
                   • Solvent blend—The particular mixture of liquids that gives a paint the
                     desired flow or evaporation properties. Skillful solvent blending allows a
                     paint shop to adjust purchased paint for local variation in temperature,
                     humidity, line speed, application equipment, and so forth. The selec-
                     tion of a solvent system is often a complex task, best handled by the
                     paint vendor. Important considerations in blending solvents are solvency,
                     viscosity, evaporation rate, safety, and cost.
                   • Solvency—The ability of the solvent to dissolve the binder. The solvent
                     must be able to keep the binder in solution.
                   • Evaporation rate—The solvent must evaporate within the time allowed by
                     the curing schedule. Available oven length and temperature, as well as
                     production volume is important. If the solvent is a mixture of two or
                     more liquids, their individual evaporation rates become very import-
                     ant. For example, if the solvent remaining on the workpiece should
                     become excessively rich in diluent, the binder might come out of the
                     solution as small sticky lumps, rather than the smooth even film that is
                     desired.
                   • Viscosity—The fluidity or flow-ability of the paint. Paint viscosity is
                     adjusted to provide good atomization and flow-out.

               The proper solvent for a given task will depend on the required properties of the
               formula and other considerations such as safety and cost.
                   Safety issues affect the solvents chosen for formulation. For example, naphtha-
               like hydrocarbons are very flammable and chlorinated hydrocarbons are very toxic,
               so they must be used with extreme care.

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                   Many times, the choice of a solvent system is dictated by simple economics. The
               purchase price of the solvent is not the only factor here. The cost of handling and
               disposal must also be considered. These factors help account for the current interest
               in waterborne and powder coating systems.
                   Solvents are volatile liquids added to paints to dissolve the binder (the resin com-
               ponent) and/or to modify the paint viscosity. The paint viscosity must be compatible
               with the storage and application methods.
                   The solvent must have an evaporation rate that works well in the application
               environment. Ideally, the solvent should also be nontoxic, of low cost, and have an
               acceptable odor.
                   The particular solvents that may work in a given formula will depend on their
               solubility characteristics. There are three classes of solubility: strongly hydrogen
               bonded, moderately hydrogen bonded, and weakly hydrogen bonded. Alcohols fit
               into the first category; ketones, ethers, and esters into the second; and hydrocarbons
               in the third class. The approximate ranges of these parameters for the various classes
               of solvent are given in Table 2.4.
                   The above selection criteria are valid for solvents used for convertible binders.
               In nonconvertible coatings, solvents have more complex functions, contributing to
               the coating application characteristics, the drying time, and the properties of the final
               film. In this case, a blend of solvents is used to dissolve the binder and provide a
               diluent. The diluent may not be a true solvent for the binder, but it can increase the
               capacity of the primary (or true) solvent to dissolve the binder. It also costs less than
               the true solvent so that its inclusion reduces the overall cost of the formulation.
                   Resins used as paint binders have a range of parameter values that affect solvent
               selection. The solvent and the binder must be compatible. Epoxy resins, which have
               a range of 8-13, are soluble in ketones, ethers, and esters but insoluble in hydrocarbons
               and alcohols because the values are zero.
                   If a coating needs to be solvent resistant, it will be formulated with a resin that
               has a solubility parameter significantly different from the solvent(s) that need to be
               resisted.



                                     TABLE 2.4
                                     Solubility Parameters for Classes of
                                     Solvent (Hydrogen Bonding)
                                     Solvent Class    Strong    Moderate     Poor

                                     Alcohols         11-13        —          —
                                     Ketones           —          8-10        —
                                     Ethers                       9-10
                                     Esters             —         8-9        —
                                     Aliphatic          —          —         7-8
                                      hydrocarbons
                                     Aromatic                                8-9
                                      hydrocarbons


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                  Typically, compatibility of two or more resins in a coating requires that there is
              no more than one unit difference in the midpoints of their ranges.
                  Usually, when selecting solvents for a particular resin, the solubility parameters
              of the solvents have to lie within the range of the resin. Other selection criteria include
              cost, paint viscosity, and drying time. A blend of diluent with the primary solvent will
              usually create a mixture with a mean that is within the mid-80% of the resin solubility
              range.
                  The evaporation rate of a solvent is particularly important for nonconvertible
              coatings. Slow-evaporating solvents may cause long drying times and create problems
              in batch coating operations or excessive flow and sag of the wet film. High evaporation
              rates may cause problems with flow and film integrity. Selection is affected by the
              method of application. Typically, slower evaporation rates are required for brush-
              applied coatings while faster rates are used for spray methods. Some properties of
              some common solvents are given in Table 2.5.


               2.4.1   HYDROCARBON SOLVENTS

              Aliphatic and aromatic hydrocarbons are commonly used to formulate and reduce
              a paint material. They are complex mixtures of different compounds with different
              flash points, density, and other properties.


               2.4.1.1 Toluene
               Toluene is an aromatic hydrocarbon used in solvent blends for air-drying vinyl and
               chlorinated rubber coatings as well as a diluent in nitrocellulose paints.



                       TABLE 2.5
                       Properties of Some Solvents
                                                     Specific     Boiling      Evaporation       Flash
                       Solvent                       Gravity     Point (°C)      Ratea         Point (°C)

                       Acetone                        0.79           56            944            —18
                       Butyl acetate                  0.88          125            100            23
                       Butyl alcohol                  0.881         118             36            35
                       Ethyl acetate                  0.90          77             480            —4.4
                       Ethyl alcohol                  0.79          79             253            12
                       Ethylene glycol monoethyl      0.93          135             24             49
                        ether (2 ethoxyethanol)
                       Methyl ethyl ketone            0.81           80            572             —7
                       Methyl isobutyl ketone         0.83          116            164             13
                       Toluene                        0.87          111            214            4.4
                       Mineral spirits                0.80        150-200          —18          38 (min)
                       Xylene                         0.87        138-144           73           17-25

                       a Evaporation rate values based on butyl acetate = 100; these values relate to pure
                       solvents and will be lower where dissolved solids or diluents are present.


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               2.4.1.2 Mineral Spirits
               Mineral spirits are largely aliphatic (but containing 15-18% aromatics) blend of par-
               affins of variable composition. They are slow-evaporating and dissolves most natural
               resins, oleoresinous varnishes, and medium- and long-oil alkyd resins. Mineral spirit
               is commonly used as the main (often sole) solvent for brush-applied decorative and
               protective paints based on these binders. It is also used as a cleaning and degreasing
               solvent.

               2.4.1.3 Xylene
               Xylene is an aromatic hydrocarbon widely used as a solvent for short-oil alkyd,
               chlorinated rubber, and polyurethane resins. The good solvating power and moderate
               evaporation rate permit xylene to be used for sag-resistant spray-applied coatings
               (even of relatively thick films) as well as for baking-cured coatings.

               2.4.2 OXYGENATED SOLVENTS
               Oxygenated solvents include alcohols, glycol ethers, ketones, esters, and glycol ether
               esters that are synthesized from other chemicals to form a desired solvent that is
               typically 99% pure.

               2.4.2.1 Butyl Alcohol
               Butyl alcohol is a slow-evaporating solvent for a wide variety of oils and resins, par-
               ticularly amino and acrylic resins and also, in solvent combinations for nitrocellulose
               resins.

               2.4.2.2 Ethyl Alcohol
               Ethyl alcohol is usually used admixed with methyl alcohol, dyes, and toxins in
               the form of industrial alcohol (methylated spirits). Ethyl alcohol, a fast-evaporating
               solvent, is used for poly(vinyl butyryl) as well as with other solvents for nitrocellulose.

               2.4.2.3 Ethylene Glycol Monoethyl Ether
               Glycol ether is a slow-evaporating solvent for many resins, which is often added to
               brush-applied formulations that cannot incorporate aliphatic hydrocarbons such as
               white spirit. The high-boiling ethers are widely used as coalescing aids (solvents) in
               emulsion paints.

               2.4.2.4 Acetone
               Acetone is a fast-evaporating powerful solvent used for vinyl copolymers and
               nitrocellulose. It is also blended (at low addition levels) with many other
               solvents, when its high solvating power and evaporation rate modify the prop-
               erties of the liquid paint and the film. They are treated just like water on the
               HEARS (Health, Environmental and Regulatory Services) program and will be
               reported as VOC-less exempt solvents.

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               2.4.2.5 Methyl Ethyl Ketone (MEK)
               MEK is a powerful solvent with a fast evaporation rate, widely used for vinyl copoly-
               mers, epoxy, and polyurethane systems. It is often blended with less powerful solvents
               to modify the film-forming properties and application characteristics of coatings.

               2.4.2.6 Methyl Isobutyl Ketone
              Methyl isobutyl ketone is a fast-evaporating powerful solvent used in similar applica-
              tions as MEK but where a somewhat slower evaporation rate is required. It is also used
              at low addition levels in solvent blends where its fast evaporation rate and high solvent
              power will benefit the properties of the liquid paint and film-forming characteristics.

               2.4.2.7 Butyl Acetate
               Butyl acetate is an ester solvent, with moderately fast evaporation rate, of general
               applicability. Formerly butyl acetate was the major solvent for nitrocellulose coatings;
               it is now used for a wide variety of synthetic resins but is less powerful than the ketone
               solvents.

               2.4.2.8 Ethyl Acetate
               Ethyl acetate is another ester solvent with rapid evaporation rate. The major applica-
               tion of ethyl acetate was formerly in nitrocellulose coatings, but it now has a somewhat
               wider application. It has a lower solvating power than the ketone solvents.


               2.5 ADDITIVES
              Additives are chemicals added to paint, usually in small quantities, to achieve special
              effects. Although additives have been used in paints for centuries, it is not always
              understood how they operate. Typical paint additives may be classified by their effect
              on the properties of liquid or dry paint.
                   Additives can affect the paint material characteristics and the finished film proper-
              ties . Examples of properties that can be adjusted with paint additives include viscosity,
              foaming, skinning, pigment dispersion, stability, flexibility/hardness, gloss, UV
              resistance, fire resistance, bacteria resistance, and many more.


               2.6 SUMMARY
              Industrial paints are engineered products that include a variety of ingredients to
              produce the desired results. The coating that works best for a given application is
              a balance between the needs of the finish and the cost of the coating. The specific
              requirements for coating appearance and performance are very important to the
              selection process.




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                  3 Liquid Organic Coatings
              The resins and other paint components that have been discussed in the previous
              chapter are used to provide properties to coatings for specific applications. These
              properties are determined by the substrate to be covered, the end use for the product,
              and the environment in which the coating will be applied.
                  There are a tremendous number of industrial and trade sales paints available.
              Paints are manufactured for industrial applications, building maintenance, house
              painting, architectural steel, tanks, and bridges. This text is focused on industrial
              coatings applied to manufactured durable goods.


               3.1 COATINGS SELECTION
              Virtually any desired property can be built into the coating if the need exists.
              Ultraviolet light resistance, chemical resistance, impact resistance, glossy appear-
              ance, smoothness, and many more characteristics can be part of the formula. It is
              important to carefully define the needs of the end product to be sure that the coating
              will perform properly. Keep in mind that any special characteristics will probably
              raise the cost of the paint.
                  The primary factors to consider in choosing a coating are the task to be performed,
              (appearance or performance) and the environment the product will be used in.


               3.1.1 APPEARANCE
                  • Gloss level—high, medium, low
                  • Finish appearance—smooth, slight texture or orange peel, heavily textured
                    or spatter coated


               3.1.2 PERFORMANCE
                  •   UV resistance
                  •   Corrosion resistance
                  •   Abrasion
                  •   Solvent/chemical attack
                  •   Hardness
                  •   Impact resistance

               3.1.3 OTHER FACTORS
                  • Manufacturing abuses (forming, machining, or welding after coating)
                  • Substrate to be coated: plastic, wood, steel, aluminum and castings

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                    • Value of the product and cost per square foot applied
                    • Exterior or interior use
                    • Product life expectancy


               3.2 PAINT CLASSIFICATIONS
               There are different ways to classify paint materials based on their formulations and
               use. The specific task they perform, the physical type of paint they are known as, and
               other factors may be used to identify a particular product.

               3.2.1 PAINTS CLASSIFIED BY TASK
               Paints are often identified by the task they perform, such as primers, sealers, surfacers,
               and topcoats. Each type of paint has a different function.

               3.2.1.1 Primers
               A primer is the first coat applied to a surface. Its usual job is to fight corrosion and
               enhance the adhesion of subsequent coatings applied over the primed surface. Most
               industrial primers are cross-linking or thermosetting type.
                   The binder used in the primer must be compatible with the substrate and the
               second coat. Thus, different primers are required for wood, stone, metal, and
               plastic surfaces. Primers must be able to tolerate the differences in thermal expansion
               between substrate and paint.
                   When primers are used for protection against corrosion, they are usually highly
               pigmented. They usually have relatively low gloss, because the primer particles extend
               up to the surface of the film and give it a rough, pebbled texture. The best corrosion
               resistance is usually achieved at a pigment level near the critical pigment volume
               concentration (CPVC). Primer film thickness is typically 1.0-3.0 mil.
                   Primers for metal are frequently alkyd systems that cure by a solvent reac-
               tion mechanism. A typical industrial primer might have the following approximate
               composition, as sprayed:

                    • Alkyd resin: 20%—binder
                    • Pigment: 15%—for corrosion protection
                    • Solvent: 60%—to liquefy
                    • Additives: 5%—viscosity control, antifoam, and so forth

                  In recent years, there has been a trend toward using epoxy-modified alkyd
               binders for primers. These resins have better adhesion and corrosion resistance than
               conventional alkyds.

               3.2.1.2 Sealers and Surfacers
               Sealers are paint films applied between a primer and a topcoat to improve
               adhesion. This is often necessary if the primer and topcoat have different adhesive,

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               thermal expansion, or impact resistance properties. When the interface between these
               films is stressed, the layers sometimes separate, and the topcoat can then chip, crack,
               or break off.
                   Sealers are also sometimes used to provide a barrier coat between a paint film and
               the solvent in a subsequent coat. This may be necessary if the pigment in the lower
               coat has a tendency to bleed into the solvent of the upper coat.
                   Sealers have special binders that stick well to both the primer and the topcoat.
               In addition, they are slightly elastic, acting as flexible glue to hold the primer and the
               topcoat together during periods of mechanical or thermal stress. Sealers are usually
               low in pigment. Typically, sealers are applied as thin films less than 0.5 mil thick
               when dry.
                   A surfacer is a coating used to fill irregularities in the primer. Since primers are
               often heavily loaded with pigment, they sometimes bake out with rough surfaces that
               are difficult to sand. A surfacer is designed to be sanded and provide a smooth surface
               before topcoat application. The typical film thickness for a surfacer is 1.0-3.5 mil.


               3.2.1.3 Topcoat
              The final layer of paint, the topcoat, is the one that provides the necessary appearance
              and possibly improves performance. Topcoat may be applied as a single coat, or it
              may be applied as more than one thin coat to achieve the final film build. When
              several coats are applied, it is not always necessary to completely dry each coat. The
              first coat is allowed to flash off before receiving the next coat. This is referred to as
              wet-on-wet application.
                   The topcoat provides the surface with the desired color, gloss, abrasion resistance,
              and weatherability. Usually, the corrosion resistance of the topcoat is minimal.
              The highly pigmented primer is expected to provide most of the paint's corrosion
              resistance.
                   Many binders are used for topcoats. The final choice of a topcoat usually requires
              a trade-off among several properties (Table 3.1). In the automotive industry, for
              example, it may be necessary to sacrifice some impact resistance to achieve the
              desired gloss.




                    TABLE 3.1
                    Comparative Properties of Common Paint Resins
                                  Moisture        Chip         Temperature       Light
                    Resin         Resistance    Resistance      Resistance     Stability     Cost

                    Acrylic       Medium        Low            Medium          High         Medium
                    Alkyd         Medium        Medium         Medium          Medium       Medium
                    Asphaltic     High          High           Low             Low          Low
                    Epoxies       High          High           High            Low          High
                    Urethanes     Medium        High           Variable        Medium       High
                    Polyester     Medium        Medium         Medium          Medium       Medium


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               TABLE 3.2
               Characteristics of Waterborne Formulations
               Property                 True Solutions      Colloidal Dispersions         Emulsions

               Molecular weight      15-50,000              20-200,000                Up to 1 million
               Viscosity             Depends on molecular   Depends on molecular      Independent of
                                      weight                 weight                    molecular weight
               Particle size         Molecules              Less than 0.1 µm          Greater than 0.1 µm
               % Solids              Low                    Medium                    High
               Physical appearance   Clear                  Hazy                      Milky
               Pigment stability     Good                   Variable                  Variable




               3.2.2      PAINTS CLASSIFIED BY PHYSICAL TYPE

               Paints are also grouped by physical type such as high-solids, waterborne, or powder
               coating. The following is a description and comparison of the most common types of
               industrial liquid coatings, high-solids, and waterborne coatings.

               3.2.2.1 Waterborne Coatings
               Waterborne coatings are materials in which water is the major solvent or dispersant.
               The coating may be a true solution, a colloidal dispersion, or an emulsion. The
               characteristics of these formulations are shown in Table 3.2.
                   Waterborne paints contain 5-40% organic cosolvent to aid in wetting, viscosity
               control, and pigment dispersion. Some systems, especially emulsions, may also
               contain a polymeric thickener.
                   Numerous resins are used for waterborne systems. Modified epoxies, polyesters,
               acrylics, alkyds, vinyl acetate-acrylics, and styrene-acrylics are available. Both
               thermoplastic and thermosetting (cross-linking) formulations are used. Some resin
               systems cure when heated while others require the addition of a cross-linking agent.

               Advantages of Waterborne Coatings

                    •   Reduced fire hazard (some are flammable because of the organic cosolvent)
                    •   Reduced solvent emission
                    •   Lower toxicity
                    •   Use equipment similar to solvent spray

               Limitations of Waterborne Coatings

                    •   Stainless steel or plastic pipe and fittings are necessary
                    •   Some formulations must be protected from freezing
                    •   Better control of booth temperature and humidity is required
                    •   Longer flash-off times are necessary
                    •   Requires better pretreatment

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                   Waterborne systems are available for most substrates although some plastics
               may be difficult to wet and have poor adhesion. Color, impact resistance, gloss,
               weatherability, corrosion resistance, and repairability characteristics of waterbornes
               are similar to conventional coatings.
                   There are certain differences from conventional coatings that will affect the
               plumbing, tanks, booths, and pumps used with waterborne products. These differ-
               ences are important enough to influence the installation cost and ease of application
               of waterborne coatings.
                   Pumps, tanks, and piping must be of noncorrosive material. Black iron systems
               will corrode, so plastic or stainless steel is recommended due to the composition of
               the paint. Screens and filters are an important part of the paint distribution system,
               especially when emulsions are used, and they should be generously sized and regularly
               serviced. Centrifugal pumps can be used, but positive displacement pumps give better
               control of pressure and flow rate.
                   Provisions should be made to keep waterborne coatings from freezing and to
               avoid storage above 90°F (32°C). The viscosity of many waterborne coatings is
               temperature sensitive, so paint heaters are often used to ensure good control of this
               important variable.
                   Spray booth air velocities for waterborne coatings can be lower than those used for
               solvent paints, because they contain little toxic, flammable, or bad-smelling solvent.
               This can provide savings in capital and operating cost. In some cases, booths may
               need to be longer than usual because of the slow evaporation rate of water. Line
               speeds may have to be reduced for the same reason.
                   Keeping the part surface and the spray equipment clean is particularly important
               with waterborne coatings, because they are less tolerant to oil and dirt. This is because
               water does not "wet" or "pick-up" these materials as readily as solvents. Even small
               amounts of oil or grease, which might find its way into tanks, pumps, or lines will
               not mix with the paint and can cause surface defects on the parts.
                   Dip systems and air spray systems are commonly used for the application of
               waterborne coatings. Electrostatic systems are less common. Since waterborne for-
               mulations are somewhat electrically conductive, it is necessary to isolate electrostatic
               systems from ground to avoid loss of current through the supply line.
                   Temperature and humidity control are more critical for waterborne coatings
               than for solvent paints, because water evaporates more slowly than many organic
               solvents.
                   The slow evaporation rate of water affects several areas of the system:

                  1. Longer flash-off times are needed
                  2. Sagging and popping are more likely
                  3. Wet-on-wet coating may not be possible

                  In areas where the humidity is very high for an extended period, it may be
              necessary to air-condition the spray booth to avoid excessive sagging or popping.
              Air pressure, wet-film build, and gun-to-part distance may also require extra-close
              attention.

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                    The cure of waterborne coatings is similar to that of solvent paints. The liquids
               in the film must be driven off in a reasonable time and, in the case of thermosetting
               enamels, cross-linking is accomplished in an oven.
                    Waterborne paints must have somewhat longer flash time than solvent-based
               paints. Sometimes, it is also necessary to use a slower heat-up rate in the oven.
               If temperature is applied to the wet film too quickly, it may cause popping.
                    Since water from the paint may be corrosive, it is necessary to use rust resistant
               panels in the oven and exhaust system.
                    Once cured, waterborne films are much like other coatings. Overbaking leads to
               cold-cracking and poor adhesion of subsequent coats. Underbaking means reduced
               durability and lowered corrosion resistance. The repairability of the finished film is
               related to the resin and additives in the paint rather than the fact that it is a waterborne
               formula.


               3.2.2.2 High-Solids Coatings
               High-solids coatings are solvent-based paints that contain greater amounts of pigment
               and binder than traditional solvent-based paints contain. At least 65% and as high as
               85% of the formula is solids content. Ultra-high solids paints may have an even
               higher percentage of solids. The much lower solvent content of high-solids paints
               offers some advantages over traditional materials.


               Advantages of High-Solids Coatings

                    • Less paint must be shipped, stored, pumped, and sprayed compared to
                      traditional solvent-based paint.
                    • Lower oven-air volumes are required.
                    • Less paint must be sprayed to provide a given film build.
                    • Booths may sometimes be shorter.
                    • Less oven exhaust volume is necessary.
                    • Less solvent is emitted to the atmosphere. This means less difficulty in
                      meeting regulatory requirements.


               Limitations of High-Solids Coatings

                    • High viscosity. Paints must often be heated to around 100-120°F to achieve
                      sprayability.
                    • High viscosity does not perform well in dip tanks or flow-coaters.
                    • Difficulty in pumping and atomizing, especially when cold.
                    • Cleaning and phosphating quality may be more important than for con-
                      ventional paints, because there is less solvent present to "clean as
                      it coats".
                    • Sticky over-spray which is messy to clean up, because it remains in the
                      uncured state.

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                 High-solids paints are baking enamels. Alkyds are the most common resins used
             for high solids, but there are also polyester and acrylic products. Once the paint
             has been applied and cured, film properties are essentially the same as for other
             solvent formulations based on the same resin.
                 Because of the high viscosities involved, high-solids paint lines are usually
             equipped with paint heaters. Heaters are usually located near the guns and are set to
             keep the paint in the range of 110-150°F (43-95°C) with tolerance of a few degrees.
             The elevated temperature drops the paint viscosity enough so that good atomization
             is possible.
                 Most spray guns can handle the additional air pressure required for breaking up
             high-solids paints. However, the capacity of lines, pumps, and filters may have to
             be increased to ensure trouble-free performance. Pressure-feed pumps are usually
             required. Paint agitators should be of low-speed, high-torque design rather than the
             other way around.
                 Since high-solids paints are heavy (up to 360 kg or 800 lb per barrel), it may be
             necessary to increase hoist and forklift capacities.
                 Cure oven exhaust volumes can be lower than conventional solvent-based
             coatings, because there are less volatile gases in the oven.
                 Filters and floor papers may need to be changed more often and they are difficult
             to handle due to the fact that the material may not air-dry.
                 High-solids coatings are applied with air, airless, conventional, or electrostatic
             spray. Electrostatic disks and bells are also commonly used. Atomization with these
             devices is usually excellent at speeds of at least 25,000 rpm.
                 Film buildup of less than 12.5µm (1/2 mil or 0.0005") are possible with 15-30 cm
             (6-12") discs. Film builds up about twice as rapidly with high-solids paints as it does
             with conventional products, so there may be an initial tendency to apply too much
             paint.
                 Overspray can be a real nuisance, since it contains about twice as much solids as
             conventional paint.
                 Like all liquid coatings, it is important to control the application process and use
             the right equipment to reduce overspray. Fluid and atomizing pressures, fluid tips,
             and air caps should be carefully chosen to maximize application efficiency.
                 Some equipment modifications and operator retraining will be required when
             converting to higher solids coatings. Larger diameter lines and more powerful pumps
             are the most common changes required.
                 The cure of high-solids coatings is similar to conventional enamels. Thirty minutes
             at 300°F (150°C) is typical although cure schedules can vary considerably. No special
             ovens are required for high-solids coatings.
                 Before the paint can be applied, it must be prepared and set up for delivery to the
             spray system. Good paint preparation and system set up can help to avoid application
             problems.
                 When the paint container is first opened, the paint should be checked visually for
             kick-out. Kick-out refers to the binder coming out of solution as small lumps of soft
             or hard material. Sometimes, the process can be reversed by agitation, but in many
             cases the paint is no good. Kick-out results when the binder and solvent are no longer
             compatible.

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                  The paint should be thoroughly mixed so that there is no separation of the
             ingredients. Normally, over the course of time, the paint solids will tend to settle
             to the bottom while the solvents will rise to the top. If applied unmixed, an uneven
             film will result with differences in film properties. In small batches, the paint can be
             stirred and in larger operations it is mixed with apowered agitator. To avoid application
             problems and surface defects, it must be blended to consistent, uniform viscosity.
                  Proper paint viscosity is critical for obtaining a quality finish. Viscosity is the
             resistance to flow exhibited by fluids, a result of the internal friction of molecules
             against each other during movement. In conjunction with air and fluid pressure,
             viscosity controls the size of the paint droplets when the paint is spray-applied.
                  Excessive viscosity can cause orange peel while a low viscosity can create a film
             that is too "wet" and creates runs. A general rule of thumb for application viscosity is
             20-25 s on a #2 Zahn cup for conventional air spray and 25-40 s for airless application.
             However, the product data sheet should always be referred to before application. For
             high-solids paints, the spray viscosity is usually between 13-20 s on a #3 Zahn cup.
             Materials and applications vary widely, so viscosity adjustments should be made
             according to the manufacturers' recommendations.
                  The viscosity of the paint should always be checked before and during application.
             An important factor in checking viscosity is the temperature of the paint. Significant
             changes in viscosity will occur with relatively small changes in temperature. For
             example, a coating that has a viscosity of 40 s on #2 Zahn at 70°F could drop to 25 s
             at 90°F. Viscosities should always be tested at 77°F (25°C).
                  Viscosity is measured with a viscosity cup and a stopwatch. Viscosity is expressed
             in terms of seconds of time it takes to flow through the cup that has been filled to
             a specified level. To take this measurement, the cup is immersed in the paint, filled,
             and then withdrawn. When the cup is withdrawn from the liquid level of the paint,
             the stopwatch is started. Paint will flow out of the orifice in the bottom of the cup.
             The watch is stopped when a definite break in paint flow is seen.
                  Viscosity is sometimes lowered by reduction with solvent. In some cases, a com-
             pliant coating may be delivered ready to spray. Reduction of compliant coatings will
             reduce the solids content as sprayed and may constitute a violation of an air qual-
             ity permit. In some cases, it is best to have the coating supplier adjust the material
             viscosity to make sure that it is not out of compliance.
                  The relationship of viscosity to temperature can be problem if the spray area
             does not have climate controls. The plant temperature and humidity will change with
             the seasons and time of day. This can affect paint viscosity and paint cure charac-
             teristics. Different solvent blends may be needed to provide the proper cure during
             different seasons. Temperature control of the paint can provide the paint consistency
             needed to maintain proper application viscosity throughout the day. This temperature
             relationship is illustrated in Figure 3.1.



             3.3 FILM FORMATION
             The resin is the primary ingredient of an organic coating, the part of the coating
             that forms a film when it dries. The resin is mixed with other ingredients to create an

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                                           50   60   70   80   90 100 110 120
                                                     Paint temperature (°F)

             FIGURE 3.1 Paint viscosity at different temperatures.

             engineered product for application. As the coating is applied, it will flow and stabilize
             into a relatively uniform film. This stage is referred to as fixation. After the coating
             has stabilized, it will be cured by time, temperature, or some other means.

             3.3.1 APPLICATION
             Application is the spreading of the composition into a thin layer over the surface of a
             product. Many methods of application can be used including a brush, a roller, a spray
             gun, curtain coating processor, or electrodeposition system.
                 The method of application and effective process control will determine the thick-
             ness of the coating, uniformity, and efficiency. The application equipment and set-up
             must be compatible with the particular viscosity and flow characteristics of the coating
             to provide uniform and consistent results.

             3.3.2 FIXATION
             During fixation, the coating is stabilized so that it will not run off or form an uneven
             layer on the painted surface. Fixation usually occurs by evaporation of volatile solvent
             from an organic solvent system or of water from a latex system. Rheological resistance
             to flow grows within the film as the nonvolatiles concentrate. Fixation may also result
             from thixotropy built into the paint by the formulator.
                  An ideal liquid paint would be free flowing during application, flow evenly over
             the work surface, stabilize quickly, and remain in place. In reality, there is a time
             interval between the flowing and the nonflowing states. A paint material may never
             actually be completely free flowing. In many cases, some resistance to flow has to be
             built into the paint to avoid sagging on the work surface.
                  Several conditions affect the formulation for flow.

                 •   The solvents used must have sufficient dissolving power for the resin in
                     the paint.

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                  •   The desired final dry-film thickness and the number of coats.
                  •   The amount of surface texture that can be tolerated.

                The behavior of the film is affected by the rate of evaporation of the solvent mix
             and the rheology built into the paint.


             3.3.2.1 The Evaporation Factor
             Some house paints that are formulated with raw and modified vegetable-type oils are
             low enough in viscosity to be free flowing without solvent addition. However, most
             other coating compositions need solvent to fluidize the solid resins in the binder. The
             solvents used to blend the coating evaporate at different rates during application and
             drying.
                 In the simplest model, evaporation takes place through at least two mechanisms.
             One is solvent evaporation from the surface of the film that is similar to the same
             factors as evaporation from the surface of the pure solvent by itself. The other is solvent
             diffusion from within the body of the film from the lower depths to the surface. 'Be
             rate of solvent evaporation can affect fixation.
                 Some problems can occur during solvent evaporation. The rapid cooling effect
             that occurs as solvent evaporates from the applied film will also cool water vapor
             in the atmosphere around the paint film. If its vapor pressure is higher than the
             saturated vapor pressure of water at the surrounding ambient temperature, it will
             cause condensation on the paint film. The condensed moisture is trapped in the coating
             where it can cause a white discoloration called solvent-blush.
                 Another problem sometimes experienced during spray application is dry spray.
             If a particular solvent evaporates in the atomized paint stream before it reaches the
             surface of the part, it may affect the flow-out of the coating and create a grainy
             appearance. Dry spray is often caused by problems with spray technique (gun too far
             from target), but it can also be a result of using the wrong solvent or the incorrect
             volume of a particular solvent.


             3.3.2.2 Rheology
             Even a material with high viscosity will tend to flow downward on a vertical surface.
             A paint material needs some physical structure to prevent sagging. Finely divided
             powders that make up the pigments and extenders in the paint can provide physical
             structure through thixotropy.
                 When stirring causes a temporary decrease in viscosity, the paint is said to be
             thixotropic. The more vigorously a thixotropic paint is stirred, the less viscous it
             becomes. The viscosity will go up again if the stirring is stopped.
                 Thixotropy is often due to reversible flocculation of pigment. If the pigment
             flocculates without settling, the network of loosely associated particles resists
             the movement of a brush or stirring paddle. As the brush or paddle is forced through
             the liquid, the flocculated structure breaks down and allows the liquid to flow more
             easily. Once the stirring has ceased, the particles again form a network in the container.
             The network restores "body" to the paint and the viscosity increases.

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                 When mechanically disturbed, such as agitation during application, a thixotropic
             composition thins out to become comparatively free flowing. Left in an undisturbed
             state, it will build up structure over time. The time, depending on the actual com-
             position, may be a fraction of a second, minutes, or even hours, and the ultimate
             level of structure may be low or high. Thixotropy may therefore be harnessed to
             provide a nearly ideal coating, free flowing during application but rigid immediately
             thereafter.
                 A coating needs to be uniformly mixed to perform properly. There are other
             conditions commonly encountered in a coating where ingredients separate due to
             flocculation, settling, or kick-out.


             3.3.2.3 Flocculation and Settling
             Flocculation is the formation of loose clusters of pigment particles in a liquid paint.
             A certain amount of flocculation is desirable in a paint, because it gives the liquid
             more "body" than what it has with isolated pigment particles and helps resist sagging.
             Flocculated pigments that have settled to the bottom of the paint container may some-
             times be successfully blended back into the material unless they form hard, compact
             layers.


             3.3.2.4 Kick-Out
             The term "kick-out" refers to the binder coming out of solution as small lumps of
             soft or hard material. Sometimes the process is reversible, but more often the paint is
             ruined. Kick-out results when the binder and the solvent are no longer compatible. The
             binder may kick-out if the wrong thinner is used. Kick-out usually occurs because
             a paint is too old and the binder has chemically changed to the point where it is
             incompatible with the original solvent blend. This is one reason why the oldest paint
             in stock should be used first.


             3.3.3 CURE
             Fixation is followed by cure. Fixation and curing may be combined or overlapped.
             Common lacquers combine fixation and cure in the evaporation of solvents during and
             after application. A catalyzed paint material begins to combine fixation with curing.
                 Some coatings are in or near their final state of cure when they complete the fixation
             period. Lacquers are a broad group of coatings that cure by solvent evaporation alone.
                 Many coatings need thermal energy or light energy to cure. Thermosetting
             products are very common for industrial applications.


             3.3.3.1 Air Dry
             In an air-dry coating, the formulator sets the period of cure with the proper blend of
             drier catalysts. As a rule, the oxidation process does not start as soon as the paint
             is spread and exposed to the air. An introduction period is involved, after which the
             unsaturated vegetable-type acid esters in the paint start to absorb oxygen to create

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             chemically reactive sites in the constituent molecules. These molecules combine to
             form larger molecules, which result in a paint film.
                 Actually, the drying process never stops. It slows down greatly and must be
             controlled to avoid the ultimate formation of an excessively brittle film.
                 An increase in temperature will increase the rate of the chemical reaction. Curing
             processes that take place at normal temperatures do so much faster under the influence
             of heat.


             3.3.3.2 Catalyzed Materials
             Catalyzed materials have two major or more constituents that will begin a curing
             reaction when they are mixed together. The cure time varies and temperature may vary,
             but is possible to reach full film properties, even at room temperature. Application of
             heat will accelerate the cure cycle.
                 Obviously, the coating components are separately packaged until they are blended
             for application. A catalyst may be added, if it cannot be included in one of the
             components. Catalyzed materials are typically very durable coatings.
                 One example of a two-component coating is the epoxy-polyamide system. Epoxy
             resins are chemically reactive oxygen atoms that are bound in the molecule to two
             adjacent carbon atoms to form a three-part ring. Such rings are sensitive to a number
             of other reactive groups. The polyamide resins are low-molecular-weight relatives of
             the nylons. Their amide groups can tie up rapidly at room temperature with epoxy
             groups to form large, bulky molecules that are excellent binders in coatings.


             3.3.3.3 Baking Enamels
             Some coatings do not cure at room temperature and fortunately remain stable in the
             paint container for extended periods. They convert rapidly (in a fraction of an hour)
             when exposed to heat. Typical temperatures for baking enamels range from 280 to
             350°F (135-175°C) for 10-30 min.
                 Amine resins are one of the many convertible coatings of this type. Broadly speak-
             ing, they divide into urea—formaldehyde derivatives and melamine—formaldehyde
             derivatives. When heated, these products can become brittle, so many common baking
             enamels are formulated with plasticizers, such as alkyd resins.
                 High molecular weight variations of certain resins are tougher and more dur-
             able but unfortunately much less soluble than their chemical counterparts of lower
             molecular weight. Therefore, even though they would provide excellent finished
             films, these high molecular weight materials cannot be dissolved in solvents.
                 These high-molecular-weight resins in fine powder form can be mixed with pig-
             ment and with a nonvolatile liquid to yield a tough, durable coating. The nonvolatile
             liquid serves as a plasticizer for the resin. When it is heated, the resin will soften
             and create a matrix that includes the plasticizer and the pigment. These materials
             are called plastisols and are commonly based on high-molecular-weight polyvinyl
             chloride and related polymers. This is cure by fusion.
                 If the plastisol mixture is too high in viscosity to be properly applied by the
             selected method, it may be thinned with a minor amount of solvent for the plasticizer.

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             These variations are called organosols. After the solvent evaporates from the film, the
             cure is also by fusion.
                 A coat of latex paint dries in two stages. First, the water evaporates and all the
             ingredients, other than the latex globules, are concentrated in the space between the
             globules. These become more closely packed in a geometric array and ultimately
             touch each other. The film at this juncture has no particular strength and may be
             easily wiped away.
                 Second, if a latex film is warmed sufficiently, the globules will sinter at their
             points of contact and form a hardened coating. Of course, it is not practical to apply
             heat to paint on a wall. Fortunately, it is possible to design latex compositions that
             coalesce at ordinary ambient temperatures. It is possible to create latex-based systems
             in which coalescence does not take place in the bulk package in storage but proceeds
             smoothly once the coating has been applied as film.
                 Cure is a relative term. What may be an adequately cured film for gentle hand-
             ling may still be raw in respect to solvent attack. Many methods are available for
             testing the degree of cure. The individual end use will dictate the most appropriate
             method.


             3.3.4 DRY FILM PROPERTIES
             Once the paint is cured, the concern switches to dry film properties. In some
             respects, the properties of a dry paint film are the most important of all since it
             is the dry film, which is exposed to the service environment and to the customer's
             inspection.


             3.3.4.1 Gloss
             Ahigh-gloss surface reflects nearly all of the light that falls upon it. Reflection of more
             than 90% of the incident light is possible with modern industrial finishes. High gloss
             requires a smooth surface. Surface roughness results in scattering of incident light and
             low gloss. Smoothness can be obtained by polishing or by using processes that allow
             the paint to dry smoothly without cracks, wrinkles, pinholes, or protrusions. Highly
             pigmented paints often have low gloss, because pigment particles extend through the
             surface and reduce smoothness.
                 Gloss can be manipulated by addition of ingredients that provide hazing to reduce
             reflection or smoothness to increase reflection.


             3.3.4.2 Hiding Power (Opacity)
             The ability of a paint to cover a surface and mask it from view is referred to as hiding
             power. Since most paint binders are transparent, the job of hiding the surface falls
             primarily to the pigment. Pigments contribute to hiding power in three ways. They
             may reflect, refract, or absorb the light that enters the paint film.
                 With reflection and refraction, the light is turned back out of the film before it
             reaches the painted surface. Figure 3.2 illustrates reflection, refraction, and absorption
             by a paint film.

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                  A: Reflected at the surface; B: Reflected by the pigment; C: Absorbed by the pigment;
                  D: Refracted by the pigment; E: Reflected by the substrate

             FIGURE 3.2       Light behavior on a painted surface.


             3.3.4.3   Color

             The color of a paint material is primarily due to the pigment interaction with light.
             Ordinarily, white light is composed of all the colors visible to the human eye. Pigments
             have the ability to absorb some of these colors and reflect or transmit others. The paint
             film will be the color of the reflected or transmitted light. Therefore, the pigment in
             a red paint absorbs all colors except red.
                  Pigments can be mixed to give colors different from the pigments themselves.
             A white pigment is often added to a paint to give a lighter color. The difference between
             a light and a dark blue is often the presence of white titanium dioxide particles in the
             film with dark blue pigment.


             3.3.4.4   Strength, Hardness, and Brittleness
             These terms describe important properties of a dry paint film. They depend on how
             effectively the binder molecules, pigment particles, and additive materials attract one
             another. When there is high attraction between components of a paint material, the
             film will be strong, hard, and able to resist bending and stretching. This is not always
             desirable. Such strong, hard films may not be able to bend or stretch and recover
             under ordinary use conditions. The paint must have some resiliency or stretchiness,
             because the solid surface under the film may shrink and expand due to temperature
             changes in the surrounding atmosphere.
                  Brittleness is the tendency to crack under impact. Paint is brittle when it cannot
             deform in response to a mechanical stress. This inability to deform, results from
             excessively high attractions between the paint components.
                 The degree of attraction between the binder and the pigment can be controlled by
             the nature of the materials themselves and by the use of additives.
                  Paint binders may be linear or cross-linked. Linear binder molecules are like ran-
             domly intertwined strands of spaghetti. They are generally softer, more flexible, less
             brittle, more soluble, more water permeable, and less heat resistant than cross-linked
             binders. Cross-linking means that the linear, threadlike binder molecules have become
             laterally bonded together at various positions along their length. The resulting 3-D
             networks are usually stiffer, harder, more brittle, less soluble, less water permeable,
             and more beat resistant than linear binders are.
                  Binders are often classified on the basis of their heat behavior. Linear binders
             that can be melted are called thermoplastic. Cross-linked binders that do not melt are

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             called thermosetting. Most primers and many industrial topcoats have thermosetting
             binders while sealers and some topcoats are linear binders.
                 A high degree of pigmentation gives strength and stiffness to a paint film. This
             is because the pigment particles can act as a load-bearing part of the film and also
             because the particles resist movement within the film.
                 Another means of controlling strength, hardness, and brittleness is by the use of
             additives. Plasticizers weaken, soften, and decrease the brittleness of a paint film.
             They are small molecules that are thoroughly mixed throughout the film and separate
             the binder molecules and pigment particles from themselves and from each other. This
             separation reduces the attractive forces between the paint components and provides
             a more flexible, softer, less brittle film. Because plasticizers are small molecules,
             they have a tendency to slowly evaporate from the film over a period of months
             or years. 'Be result is that many paints tend to become harder and more brittle
             with age.


             3.3.4.5 Depth of Color (Metal-Flake Paints)
             Some industrial paints are formulated to give an appearance of depth. Automobiles
             are usually finished with metallic coatings designed for depth of finish. The depth-
             of-color look comes from small metal flakes scattered throughout the paint. These
             flakes, which are usually aluminum, reflect light back to the surface and out of the
             film. Although the flakes are too small to see individually, they give the effect of
             light coming from various depths within the film. The paint will have a dazzling or
             sparkling appearance.


             3.3.5 How PAINT WEARS OUT
             All paint films are semipermeable layers that are susceptive to wear. Exposure to
             the atmosphere, physical abuse, sunlight, water, corrosives, and general wear will
             cause discoloration, loss of gloss, cracking, chipping, or peeling from their sub-
             strate. The three greatest natural enemies of a paint film are sunlight, moisture, and
             temperature changes.

                1. Ultraviolet radiation degrades the binder molecules by breaking bonds
                   between atoms.
                2. As binder molecules shrink, film strength declines and moisture penetration
                   increases.
                3. With temperature cycling, the moist paint film is first heated and then
                   cooled. The accompanying expansions and contractions put a strain on the
                   film that is poorly resisted, because the binder molecules are now smaller
                   and mechanically weakened.
                4. The weakened film surface is now subject to mechanical rub-off and water
                   wash-off.
                5. As the unpigmented surface film wears away, the pigment particles become
                   exposed to the elements. Continued degradation of the binder may actually
                   set the pigment mechanically free, at which point the paint begins to chalk.

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                    Once exposed to sunlight and moisture, many pigments begin to fade and
                    lose gloss.
                    These changes occur because of a gradual loss of plasticizer from the film
                    that makes it more brittle. The stiffening film is less able to resist the
                    strain of thermal expansion and contraction. Microcracks form and allow
                    moisture to penetrate. This exerts a lifting pressure when warmed by an
                    increase in the surrounding air temperature.

             Water can more easily penetrate a weakened film. The overall result is that the paint
             film gradually erodes away.




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                   Paint Manufacturing
                 4 Process
             When paint was first discovered in ancient days, it was produced by mixing
             a natural resin from a plant or tree with natural colorants from the earth or plants.
             The ingredients were mashed together in some type of container. It was not very
             durable, but it allowed people to create art and illustration. Modern paint manufac-
             turing is much more sophisticated, but it still involves a blending process to disperse
             pigment into a vehicle system.
                  The vehicle system, typically a resin or a varnish type material, is first charged
             into a mill with thinner and grinding aids. Pigments and extenders are added. The mill
             is then operated until the pigment particles are broken down and uniformly dispersed
             to create a grind paste. The grind paste is extended with additional resins and thinner
             and dropped into a thin-down tank. There, other materials are added to the tank to
             make the finished product. At this point, a sample of the material is brought into the
             quality control laboratory and a number of tests are conducted to compare the batch
             versus the standard parameters it is designed to meet. Trained technicians evaluate
             the results and then make adjustments for color matching and other characteristics
             such as viscosity and gloss. In addition to the normal adjustments made to batches,
             quality checks are performed throughout the manufacturing cycle.
                  When the paint in the tank meets all the prescribed specifications, quality control
             approves it for filling. The paint is then filtered to strain out any large or unwanted
             particles and filled into containers.
                  The most critical operation in the manufacturing process is the paste grinding
             process. This is where the solid pigments are broken down into their finest particle
             size in the resins, solvents, and additives (the vehicle system).


             4.1 EQUIPMENT USED FOR PIGMENT PASTE
                 MANUFACTURING
             The equipment used to grind the pigment is an important part of the process. Different
             mills work well with different pigment materials.


             4.1.1 HIGH-$PEED MIXERS (HSD, HIM)
             Among the different types of mills used for grinding, the most widely used is the
             high-speed disperser (HSD). This mill consists of a tank that is jacketed for cooling
             water, a motor, and a shaft with an impeller that resembles a saw blade with teeth that
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             are bent 90    .




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                 The dispersion is achieved at or near the surface of the impeller by the violent
             changing of direction of the mill paste. This shearing action is used to handle easily
             dispersed pigments such as those found in whites and light pastel colors.
                 An HSD is used in conjunction with the continuous mill (COM) to premix the
             mill paste. Both the sand mill and COM are used for the more difficult dispersing
             pigments such as those found in blue, green, and red colors.
                 These mills use a variable speed saw-tooth blade rotating at high speed. Peripheral
             speeds range from 3000 to 6300 ft/min. HLM mixers also have a slow speed sweep
             agitator at the tank wall to aid in movement from the tank walls.

                  • Critical parameters: paste viscosity, RPM of shaft, and level of paste in
                    the tank (optimum range 2.0-2.5 times blade diameter)
                  • Advantages: requires least amount of labor, easy cleanup, and low
                    maintenance
                  • Disadvantages: high power consumption, easy dispersing pigments
                    needed, and generates heat
                  • Typical products: latex, some primers, plastisols, high solids polyesters,
                    polyurethanes, and acrylics


             4.1.2 VERTICAL OR HORIZONTAL CONTINUOUS MILL
             Another device is a COM. It is also charged with glass or ceramic media and disperses
             by shear and attrition. In this case, the degree of dispersion is determined by the flow
             rate of the premixed paste through the COM. These mills have a high-speed shaft
             with multiple discs of various configurations rotating in a long chamber filled with
             beads.

                      Critical parameters: high-throughput rates, easy to clean, low yield losses,
                      and large batch size
                      Disadvantages: requires premix tank, expensive to maintain, and cannot
                      grind tougher pigments in one pass
                      Typical products: primers, polyurethane, water reducible (W/R) primers,
                      clean colors, alkyds, and lacquers


             4.1.3 SAND MILL
             Another type of grinding device is a sand mill. It uses a different type of impeller,
             and it is charged with glass or ceramic as a grinding media. Pigments are ground by
             shear and attrition and the finesse of the dispersion is determined by the length of
             time the paste is in the mill, or residency time. This mill consists of a high-speed shaft
             with one or two solid disc impellers rotating off center in a cylindrical tank with a
             cone-shaped bottom, filled with small grinding beads.

                  • Critical parameters: ratio of paste volume to media volume and paste
                    viscosity; impeller speed = 3500 ft/min
                  • Advantages: can grind most pigments, low maintenance

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             Paint Manufacturing Process                                                             93


                 • Disadvantages: batch operation—requires many mixes, slow discharge,
                   yield loss high, and cleanup is difficult
                 • Typical products: high-solids polyesters, plastisols, water-based baking
                   enamels, alkyds (light colors), and lacquers (light colors)

             4.1.4 ROLL MILL
             A roll mill, another milling device, can use two or more rollers to blend the paint
             ingredients. The material to be milled is placed between the feed and center rolls.
             Each adjacent roll rotates at progressively higher speeds. For example, the feed roll
             may rotate at 30 rpm, the center roll at 90 rpm, and the apron roll at 270 rpm. Material
             is transferred from the center roll to the apron roll by adhesion. The dispersion is
             achieved by the shear forces generated between the adjacent rolls. The milled material
             is removed from the apron roll by a knife that runs against the roll.

                 • Critical parameters: roll pressure, roll clearance, paste viscosity, and tack
                 • Advantages: can grind concentrated pastes with high polyvinyl chloride
                   (PVC) loadings, no wash needed, very fine dispersions obtained, and no
                   metal contamination
                 • Disadvantages: requires premix operation, slow process, and expensive to
                   maintain
                 • Typical products: electrodeposition paste, high-solids polyesters, alkyds,
                   and acrylics

             4.1.5 BALL MILL
             One of the older types of milling equipment that is still used is the ball mill. This
             mill consists of a cylindrical tank mounted horizontally. It is loaded to one-third of
             its apparent volume with 5/8" steel balls as a grinding media. There are lifter bars
             located on the inside wall of the mill and as the mill rotates the balls are lifted and
             then cascaded downward, dispersing the pigment by attrition and shear. These mills
             are used for the most difficult pigments to disperse such as blacks and organics.

                 • Critical parameters: ball charge = 33% of mill volume; normal paste
                   charge = 25-40% of mill volume
                 • Advantages: no premixing required, no solvent loss, low maintenance, and
                   can handle hard grinding pigments
                 • Disadvantages: long grind times, limited batch size, discoloration from
                   metal, yield losses, and difficult to clean
                 • Typical products: primers, high solids polyesters, alkyds (dark colors),
                   acrylics (colors), acrylics (colors), and lacquers (dark colors)

             After the paint is milled, it is filtered and put into containers. Filtration methods vary,
             depending on the paint material and the needs of the customer.




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                 5 Color Matching and
                   Color Control
             The appearance of a finished product is often one of the most critical aspects of quality.
             The way it looks has a significant psychological impact on the perception of quality
             by the potential customers and on their willingness to buy the product. Color is the
             most important appearance attribute of an object. There are other attributes such as
             size, shape, gloss, and texture, but color is by far the most important.
                 Color, gloss, and texture are imparted to a product by a coating. The coating
             manufacturer has the responsibility for formulating an accurate color match based
             on the customer's sample. The applicator also plays a role in accurate color match,
             since mixing, storage, application, and curing can impact color. It is necessary for the
             manufacturer to have a quality control program for the desired color and appearance
             of their product. But it is equally important to be able to detect all sources of error
             that affect color and appearance.
                 Color match is usually judged by visual evaluation in standard lighting. Some
             will use color difference measurement devices as well. An inspector will compare the
             color of the product to a color standard sample.
                 If there is some color difference, it will be necessary to judge if it is within accept-
             able tolerance levels. When there are guideline panels that represent the maximum
             allowable color difference limit, the task is a little less difficult. Any difference in
             gloss or texture will further complicate the visual process, because the color match
             will vary as the angles of view and illumination vary.
                 Usually, the coating is checked for color by the quality control lab before the
             customer uses it. A number of sources of error can cause a poor match.

             Examples of sources of error:

                 1.   Different color standard
                 2.   Metameric color standard
                 3.   Metameric batch
                 4.   Gloss difference
                 5.   Texture difference
                 6.   Observed metamerism
                 7.   Panel preparation differences
                 8.   Substrate differences
                 9.   Film thickness variance
                10.   Disagreement between color measuring instruments

                In addition to these items, it is possible that the paint needs to be adjusted for
             accurate shading.

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                  A color difference measurement can provide accurate numerical color match or
             define a difference from the specification. When measurement equipment is not used,
             it is hard to describe the visual difference and make an adjustment.


             5.1 COLOR VARIABLES
             Color has three visual variables: hue, saturation, and lightness. Hue is a color variable
             denoted by red, orange, yellow, green, blue, violet, and purple. Saturation is the
             variable of color that denotes its purity or its degree of departure from grayness.
             Lightness is the variable of color that distinguishes black from white, without regard
             to hue, as represented by a neutral gray scale ranging from black to white.
                 Hue, saturation, and lightness are often called the three dimensions of color,
             because it takes a three-dimensional space to represent them. Lightness is distance
             along the vertical axis, saturation is radial distance away from the vertical axis, and
             variation in hue is angular distance around the vertical axis.
                 Color matching is the process of selecting colorants to match a given color and
             adjusting their concentrations until the hue, saturation, and lightness of the trial (batch)
             match the hue, saturation, and lightness of the given color sample.
                 Knowing that color has three variables, leads to the four-colorant principles of
             color matching. To match a color, hue, saturation, and lightness must be adjustable or
             controllable and can only be done with a minimum of four colorants. For example, if
             only one colorant—white—is used, there is no way to change it. It can only be white.
             By adding black as a second colorant and varying the concentration of the white and
             black, any number of colors, varying essentially only in lightness can be made. By
             adding a third colorant, for example red, any number of colors can be made, varying in
             lightness and saturation but all having essentially the same red hue. By adding a fourth
             colorant, yellow, then all three color variables—hue, saturation, and lightness—can
             be varied, and a color can be matched exactly.
                 If a color is formulated with less than three, then the match can only be obtained
             when all of the colorants are exactly as they were originally. There is no latitude
             for production variation. If more than four colorants are used, then it becomes more
             difficult to determine which colorant will correct a hue difference, a saturation differ-
             ence, or a lightness difference, because two colorants in a five-colorant formula will
             control the same variable. For example, a green made with white, black, blue, and two
             different yellow pigments, needs to be more yellow. Which yellow is added? Some
             yellow pigments will make it more yellow but also less saturated. Other unsaturated
             pigments may be more effective in correcting the hue without affecting the saturation.
             To correct the hue, the effect on saturation must be considered.


             5.2 METAMERISM
             Another reason why a five- or more-colorant formula should not be used is metamer-
             ism. Metamerism is when the colors match under one set of illuminants, observer,
             and viewing conditions, but do match under another. To prevent this, the match
             must not only contain the same colorants but also the concentration must be

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             Color Matching and Color Control                                                   97


             the same. In a five or more colorant formula, it is almost impossible to produce
             batches repeatedly, with the colorants at the same concentrations. Color may not
             always be controlled. A four-colorant formula is unique, because only one set of
             concentration of the colorants will produce a match and therefore no batch-to-batch
             metamerism is possible.
                 When matching colors by the visual approach, the color matcher selects the
             colorants by trial and error, experience, and knowledge of subtractive color mix-
             ture. It does not take long to learn that mixing blue and yellow together can make
             a green color. Colorant adjustments are made until the appearance is correct. Blue,
             black, or some other color is added until a match is made. A quantity of a colorant is
             added and the change in color is evaluated. If more is needed, the amount is estimated
             by that change. This process is repeated until a satisfactory match is obtained. With
             good technique and accurate weighing of colorants, an experienced color matcher
             can make a match fairly quickly.
                 The problem with the visual approach is that the matches may be metameric,
             which may or may not be acceptable. The metamerism occurs because the colorants
             used are different from those that were used to produce the color sample.
                 There are three types of metamerism: illuminant, geometric, and observer.
             Illuminant metamerism is what is normally thought of when the word metamerism is
             mentioned, a change of light that causes a change of color.
                 Geometric metamerism is when the colors will match only at a certain angle of
             viewing and illumination. This is caused by difference in gloss and/or texture. A flat
             color will only match a gloss color at one viewing angle.
                 Observer metamerism is when colors are a match for one observer and not for
             another. It is caused by differences in the color vision of the observers and is quite
             evident when illuminant metamerism also exists. When there is difficulty in getting
             a match accepted by a customer, it may very well be observer metamerism.
                 Dr. Henry Hemmendinger is a leader in understanding the breakdown of a color
             match by change of either illuminant or observer. Hemmendinger and Davidson
             developed the D&H Color Rule, a device to quantify the extent of observer meta-
             merism, which is still viewed as an indispensable aide in teaching the principles of
             observer metamerism. Dr. Hemmendinger, also developed methods to use metameric
             pairs as tools to assess instrument performance. An observer can readily get a match
             with highly metameric samples. The pairs chosen are noted and compared to the pairs
             chosen by another observer. If the pairs are the same under the same light source,
             the observers have the same color vision. If the pairs appear different under the same
             light source, it indicates a difference in color vision between the observers.
                 Visual color measurement is done in a light booth such as a Macbeth Spectralite.
             This light booth provides three light sources that are commonly used to visually
             evaluate color and color differences. They are North Daylight, Incandescent, and
             Cool White Fluorescent (CWF). The International Commission on Illumination (ICI)
             has standardized on North Daylight and Incandescent and given them the designations
             illuminant D65 and illuminant A, respectively. CWF has no standard as yet.
                 The important feature about the booths is that they supply a light source that
             is constant. Natural daylight varies with the time of day. In addition, metamerism
             can be evaluated very readily, because two different light sources are provided.

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             Two ASTM (American Society for Testing Materials) standard practices—D1729,
             Visual Evaluation of Color Difference of Opaque Materials and D4080, Visual
             Evaluation of Metamerism—are methods that recommend the use of light booths.
                 When matching a color where metamerism is obvious, the match under daylight
             may look like it requires red to correct it, but under incandescent it needs green.
             When there is no concern about metamerism, color match is done under one light
             source, preferably the one under which it will be viewed. When metamerism cannot
             be tolerated, other colorants are selected and tried until the combination does not
             produce a metameric match. This trial and error method can be very time consuming
             and is outmoded by methods using color measuring instruments and computer color
             matching (CCM) systems.



             5.3 COLOR MEASUREMENT EQUIPMENT
             Intelligent use of color-measurement instruments will increase the efficiency of
             matching colors. They measure color difference in terms that allow description of
             hue, saturation, and lightness, and also quantify these differences. This makes it
             possible to estimate the amount of colorant to add to correct the color.
                 Colorimeters measure color in terms of three numbers called tristimulus values—
             X, Y, and Z. These values are the amounts of three primary colors—red (X), green (Y),
             and blue (Z)—needed to match or specify a color under illuminating and viewing
             conditions as standardized by the ICI. Each color has its own tristimulus values, and
             identical values are identical colors. Differences in tristimulus values between colors
             can be analyzed to determine the direction and magnitude of the color difference.
                 To facilitate the translation of the color difference from numbers to the more
             meaningful visual descriptive terms and quantify color difference, the XYZ values are
             converted into the Hunter L, a, b Scale. This transformation is simple, and all modern
             instruments offer it as an option. L is lightness—darkness, a is redness—greenness, and
             b is yellowish—bluish. If the difference between the trial values and given color in
             L, a, b values was —0.5, —0.5, and +0.5 respectively, the trial values indicate that
             the color is darker, greener, and yellower than the given color. If the color difference
             is unacceptable, then the trial must be corrected by adding white to make it lighter,
             adding the bluest colorant to make it bluer or less yellow, and adding the reddest
             colorant to make it redder or less green.
                 By keeping records of the readings and the addition of the colorants, it is possible
             to estimate the amounts of the colorants for a correction. For example, one pound
             of blue lowered b from +0.5 to +0.25. The goal is to minimize b. Therefore, if
             one pound of blue changed b by 0.25 units, then another pound of blue would lower b
             to 0. The other colorants are estimated similarly.
                 Some instruments indicate color difference in the tristimulus values. The color
             difference is in terms of XYZ ratios, expressed as percent between the values of the
             batch and the standard. XYZ ratios of 100, 100, 100 indicate that the values of the
             standard and the batch are the same and the colors match. Any values other than 100
             indicate that a color difference exists. It is much more difficult to translate these values
             into visual descriptive terms as opposed to L, a, b values.

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                 As an example, green reads 101.5, 100.5, 100.5. The Y ratio, which is a measure
             of lightness, is greater than 100 indicating the batch is lighter. In order to determine
             the hue and saturation difference, it is necessary to compare the relative values of
             XYZ ratios. The hue of a green can only be yellower or bluer so the Z ratio is the hue
             indicator. However, it must be compared to the X ratio that is the saturation indicator
             for a green. In the example, Z is lower than X meaning that the batch is yellower.
             For saturation, the X ratio must be compared to the Y ratio and since the X ratio is
             greater than the Y ratio, the batch is less saturated or grayer. Another way of looking
             at this is that there is more red than needed. Red is the complementary color of green.
             Complimentary colors when mixed produce gray. The logic is similar for analyzing
             the remaining category of colors blue, yellow, and red.
                 XYZ values are the basic measurement of color, and for this reason estimating a
             correction to a batch is easier and more reliable than other color scales but still requires
             experience. A green reads 110, 110, 110 and is made with white, blue, yellow, and
             black. An addition based on experience of one pound of blue, one pound of yellow,
             and 0.1 pound of black is made. The result of the addition was 105, 104, 105 and
             another addition is necessary to correct the match. To estimate the amount of blue,
             the ratio affected the most is used to compute the addition.
                 Although this can be determined experimentally by adding some blue by itself
             and seeing which ratio has changed the most, it is more expedient to use the following
             rule. The bluest colorant will lower the X the fastest, the reddest colorant the Y, and
             the yellowest the Z. Therefore, X will be used to estimate the amount of blue, Y the
             black, and Z the yellow. One pound of blue lowered the X ratio by 5 and to get 100,
             another pound is added. A pound of yellow will lower the Z by 5 so another pound
             of yellow is needed. The black lowered Y by 6, so 0.06 pounds more is needed.
                  This method works very well, but experience is needed for the first addition and
             all colorants must be added simultaneously or too much of the colorants will be
             estimated. Once a batch is shaded using this method, and the readings and colorant
             additions are recorded, the information can be used for succeeding batches. This has
             been called the "historical" method and has proven to be very successful.
                  This method would not have been possible without color measurement. The most
             difficult decision to make when matching a color is deciding when to stop.
                  Viewing colors that differ and judging whether or not it is a close enough match
             is very subjective. No two people see color alike. It is a rare occasion when total
             agreement will occur, and this is especially true when colors are metameric. Every
             individual has his or her own idea as to what is an acceptable match, and this may
             change from day to day because of deadlines imposed to get the job done. This is
             where instruments perform well. Measurements are objective and consistent and not
             influenced by external pressures.


             5.3.1 COLOR DIFFERENCE EQUATIONS
             Quantification or color difference makes it possible to establish a meaningful meas-
             urement of the closeness of a color match. The basic unit is a just noticeable
             difference (JND). One JND is a very close match whereas three would be easily
             perceptible.

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                 Color difference equations calculate the color difference in units of E, the error
             of the color match.



             5.3.2 TRISTIMULUS FILTER COLORIMETERS
             The Hunterlab D25 and the Gardner XL 805 are useful for color correction (shading)
             and quality control, where the colorants are known and there is no metamerism of
             any sort. The tristimulus data they provide is for only one illuminant (usually C), and
             therefore, metamerism cannot be identified or checked.



             5.3.3 SPECTROCOLORIMETERS
             Sherwin Williams Macbeth MS2020/TRS-80 system, Spectroard, Macbeth
             MC 1500, and Applied Color System (ACS), Spectro Sensor compute XYZ values
             from the spectrophotometric curve of the color, making it possible to get tristimu-
             lus values for any and all of the Commission Internationale de L'Eclairage (CIE)
             standard illuminants, including CWF. Metamerism is detected by measuring E of the
             samples under the various illuminants. If the FMC2 E is 1.0 for D65 and 2.0 for A,
             there is metamerism, because the color difference is not the same. Visual evaluation
             should confirm it.
                  When a nonmetameric match is needed, the trial and error method of selection of
             the proper colorants is very inefficient compared to spectrophotometric curve analysis.
             The spectrophotometric curve of a color is a plot of reflectance of light at each
             wavelength of the visible spectrum. It is the primary physical measurement of a color
             and is often referred to as the fingerprint of a color, because identical curves are
             identical colors and nonmetameric.
                  The instrument that gives spectrophotometric curves is called a spectrophoto-
             meter. Spectrocolorimeters are spectrophotometers and when equipped with a plotter,
             will provide spectral reflectance curves that are used to identify colorants.
                  Each colorant has its own characteristic spectral curve that remains identifiable
             in a mixture, making itpossible to ascertain the colorants in an unknown. The colorants
             are identified by comparing the absorption maximum (reflectance minimum) of the
             curves of the known to that of the unknown, a method that is only as good as the
             library of known. If the unknown contains a colorant for which there is no curve, then
             it cannot be determined. This method easily outperforms experienced visual trial and
             error. It can readily discern the difference between a red and a green shade phthalo
             blue pigment, which is difficult by visual means.
                  There are times when a colorant cannot be determined, because the concentration
             is very low, or the difference between the curves is insufficient to identify the colorant
             with any degree of certainty. In these cases, a trial match is made and the spectral
             curve compared to the unknown. It will be obvious if the wrong colorant was selected.
             This trial and error method is continued until the curve indicates the proper colorants
             have been chosen.


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             5.3.4 COMPUTERIZED COLOR MATCHING
             CCM is the best tool for matching colors. In the hands of a skilled color matcher, the
             quality of matches and gain in efficiency can be quite dramatic. It is a big improvement
             over visual trial and error and the instrumental methods mentioned previously.
                  CCM systems are available from Diano, Macbeth, ACS, Universal Color Sys-
             tems, X-Rite, and Instrumental Color Systems. All are good and all have advantages
             and disadvantages as far as user friendliness is concerned. None of them will do
             exactly what you would like them to do, but this is true of any software that is
             not custom designed. Several companies, DuPont, Sherwin-Williams, PPG, and
             Benjamin Moore, to name a few, have developed proprietary software to satisfy
             their own needs.
                  Color matching is a science that is best left to formulators and quality control
             experts. For the applicator, it can be expressed in more general terms. There are many
             pigments that can be used to obtain a color. All these pigments vary from one another
             within the same color group. For example, there are red pigments with yellow cast,
             orange cast, blue cast, and so forth. The pigments can be clean, meaning that they
             reflect light in a very limited wavelength range, or they can be dirty and reflect light
             in a much wider wavelength range.
                  Pigments are not pure compounds and many are naturally occurring compounds.
             This means they can vary from one production lot to another. What this all means
             is that the color will vary slightly from one batch of paint to another, but fortunately
             the human eye cannot detect very slight differences. For most applications, a DE of
             0.5-1.0 is an acceptable color match.
                  It is important to have a color standard program for consistent color match from
             one batch of paint to another within established limits. The company that will use
             the material and the manufacturer of the paint must agree on a color standard that is
             practical and reproducible in a paint production facility. This is necessary to maintain
             color consistency and reduce manufacturing errors. Consider, for example, that a paint
             color cannot be exactly duplicated with a printed catalog color. Similarly, some lead-
             bearing pigmented material cannot be nonmetamerically duplicated with lead-free
             pigmented material.
                  For a new color, the paint supplier should be consulted to see if the color is feasible.
             They can usually determine how easy it will formulate a color match. If a color
             standard is already available, the paint supplier can match the established standard
             and submit a sample. When the sample is approved a master standard is prepared.
             The painted panels can be used as the master standard and working standard. Color
             tolerance charts can be prepared to monitor differences.
                  Since color standards change with time and use, the Macbeth color program
             ensures a consistent standard. They can also generate color tolerance charts that
             establish a range of color variation that is acceptable for production color matching
             and establish the visible limits of an acceptable color match.
                  If colorimetric instrumentation is used for color matching, the applicator and
             the manufacturer must use the same programs for color measurement (e.g., Fri-
             ele, MacAdam, Chickering [FMC] II or LAB) and both machines must agree with


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             one another. An accepted color variation should be established from one batch to
             another, since there is usually batch-to-batch variation. In general, using an FMC II
             program, a AE of less than 1.0 is acceptable for a production batch.
                 For visible color match system, the following parameters should be included in
             color control:

                      Light source to be used for viewing, that is, daylight or CWF. By using
                      only one light source one can eliminate metamerism from one light source
                      to another. The light should be the one that the product will normally be
                      seen in.
                      Angle at which panels will be viewed.
                      Viewing distance from panel. At 50 ft, all colors look good. At 6 in, color
                      matches are very difficult.

                 Remember, when comparing colors, that the appearance of the panels must be the
             same, that is, both smooth or both textured. In addition, the gloss should be the same
             within limits, generally ±5 gloss units.



             5.4 COLOR GLOSSARY
                   • Appearance—the way an object looks. It involves not only color but also
                     other visual attributes such as gloss and texture.
                   • Color—a visual response to light consisting of three variables; hue, sat-
                     uration, and lightness. The most important appearance attribute of an
                     object.
                   • Color difference—magnitude and character of the difference between two
                     colors.
                   • Color tolerance—limit of color difference from a standard that is accept-
                     able. It is generally expressed in terms of a particular color difference
                     equation.
                   • CIE LAB of L * a * b * E—the color difference based upon the 1976 CIE
                     color difference equation. One CIE LAB E is approximately 2 JND units
                     of color difference.
                   • AL—designates lightness differences.
                   • Au—designates redness—greenness.
                   • Ab—designates yellowness—blueness.
                   • AE—a unit of color difference. It constitutes the total differences in hue,
                     the differences in saturation, and the differences in lightness.
                   • FMC2 E—the color difference based upon the Friele, MacAdam, Chick-
                     ering color difference equation. One FMC2 E is approximately 1 JND unit
                     of color difference.
                   • Gloss—subjective term used to describe the relative amount and nature of
                     mirror-like (speculate) reflection. Different types of gloss are frequently
                     arbitrarily differentiated, such as sheen, distinction-of-image gloss, and
                     so forth. Trade practice recognizes the following stages, in increasing

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                         Glossy panel         Low gloss panel             Textured panel
                           surface                surface                    surface

             FIGURE 5.1 Geometric metamerism.

                     order on gloss; flat (or matte)—practically free from sheen, even when
                     viewed from oblique angles (usually less than 15 on 85 degree meter);
                     egg-shell—usually 20-35 on 60 degree meter; semi-gloss—usually 35-70
                     on 60 degree meter; full-gloss—smooth and almost mirror-like surface
                     when viewed from all angles, usually above 70 on 60 degree meter.
                 •   Geometric metamerismphenomenon exhibited by a pair of colors that
                     appear to be a color match at one angle of illumination and viewing but
                     which are no longer a match when the angle of illumination or viewing is
                     changed, caused by gloss and/or texture differences (see Figure 5.1).
                 •   Hunter Lab E—the color difference based upon Hunter's color differ-
                     ence equation. One Hunter Lab E is approximately 3 JND units of color
                     difference.
                 •   Metamerism—when two or more samples match under one set of viewing
                     conditions (kind of light source and angle of view) for an observer, but
                     do not match under a different set of viewing conditions for the same
                     observer. Those samples may not match for a different observer under
                     either viewing condition.
                 •   Master color standard—the absolute reference color standard; a color
                     standard panel to which all standards of a given color are compared.
                 •   Primary working color standard—a color standard that is compared to
                     painted items (usually) such as paint test panels and finished goods. It is
                     used to color check everything, where the Master Standard is used only to
                     check color standards and settle color disputes.
                 •   Secondary working color standard—a back-up to the primary working
                     color standard. It becomes the primary working standard when the original
                     primary working color standard is determined to be unusable.
                 •   Texture—nonuniform surface. Like gloss, texture affects the appearance
                     of color.

                 The visual evaluation of a color match is a very subjective human judgment. If the
             nature of the process is not fully understood and appreciated, poor color control will
             result, or much more time than that is necessary will be spent in getting acceptable
             matches.


             5.5 COLOR STANDARDS AND METAMERISM
             The color standard is the most important part of a color control program. Whether
             the color is controlled by visual observation, color measurement, or a combination of

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             both, it is important that the color standard and the product are not metameric to one
             another.
                Metamerism is when colors match under certain viewing conditions and mismatch
             when the conditions are changed. The various viewing conditions that can cause
             metamerism are

                   • The type of light source
                   • The angle of illumination and angle of view
                   • The human observer

                Metamerism can occur with all three conditions. Classification of the metamerism
             depends on the source.

                1. Light source metamerism—colors will match under one light source
                   (daylight) but do not match under another (incandescent).
                      Cause: colorants different than those in the color being matched were used.
                      Solution: use the same colorants.
                2. Geometric metamerism—colors will match at only one angle of illumin-
                   ation and viewing. For example, samples will match when they are oriented
                   so that they are illuminated at a 0° angle to the surface and viewed at the 450
                   angle, but will be mismatched when the viewing angle is changed to 750 .
                      Cause: the gloss and/or texture is different.
                      Solution: control gloss and/or texture.
                3. Observer metamerism—colors will be a match by one observer but not by
                   another.
                      Cause: individuals have different color visions, and it becomes evident
                      when light source metamerism exists.
                      Solution: eliminate light source metamerism.




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                 6 Liquid Paint Application
                            Systems

             Liquid paint can be applied in many different ways. The three major components of
             a paint line are pretreatment, application, and cure. The type of industrial application
             process will be determined by the product, the volume, the quality requirements,
             and other factors. It may be as simple as a dip tank and a method of hanging parts,
             or it may be a fully enclosed automated system that allows continuous pretreat-
             ment, application, and curing. A basic conveyorized paint line layout is illustrated in
             Figure 6.1.
                 The actual layout and specific equipment vary widely, but all paint lines have the
             same general stages: a loading area, pretreatment or cleaning stage, application stage,
             curing stage, and unloading area.
                 The loading/unloading stages are where parts are put on and taken off the paint
             line. The pretreatment stage is where the parts are prepared for the coating application
             stage. Cleaning can be done mechanically, such as blasting, or chemically by solvent
             washing, solvent wiping, power washing, or dipping. After cleaning, the parts are
             dried by heat or forced air or a combination of the two so that they are ready to be
             painted.
                 Paint can be applied by spray method using conventional handheld spray guns,
             high-volume-low-pressure (HVLP) guns, automatic guns, automatic rotary bells,
             or disks. The spray equipment can be either nonelectrostatic or electrostatic. Dip
             systems, flow coaters, curtain coating, or roll coating are other application methods.
                 The curing stage is where the paint film is formed. Paints can be cured by air
             drying or heating. Ovens for heating are conventional gas-fired, high air velocity gas-
             fired, electric, infra red, UV energy, electron beam, or induction. The ovens can be




                                     Pretreatment system          Dry off oven

                         Load                                      Paint application
                         area I                                          area


                              L-_-
                                                                           -
                                    Unload area
                                                               Cure oven

             FIGURE 6.1    Basic paint system layout.

                                                                                                105

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             either batch type or continuous. Parts are moved from one stage to another by manual
             or automated conveyor systems.


             6.1 PART PREPARATION
             As discussed in Chapter 1 on pretreatment, a properly prepared surface is critical to
             the success of the coating. Paint does not hide defects or clean a substrate. If the
             substrate is dirty or has a film on it, the paint will adhere to the dirt film, since it is
             the first surface it comes in contact with. If that film adheres poorly to the substrate,
             then the paint will lift off.
                 In many cases, the dirt or film may not be compatible with the paint. This will
             cause the paint to pull away from that area and cause fish eyes or crawling on the
             surface of the substrate. With the need to use high-solids, solvent-based paints,
             or water-based paints, the cleaning step becomes more critical. Prior to the reg-
             ulation of organic solvent emissions, paints were commonly 20-30% solids—the
             remainder being solvent. In many cases, this excess of solvent could attack the
             surface film and allow the paint to adhere through it to the substrate. Today this is not
             the case.
                 With regard to surface defects such as scratches, welding marks, porosity, and
             so forth paint will only flow over a surface in a uniform manner and will not hide a
             defect as shown in Figure 6.2. The only way to hide the defect at this point is to sand
             the paint until smooth and then recoat.
                 Surfaces to be painted must be clean and dry to ensure paint adhesion. They must
             also be nearly as smooth as the desired final finish. Generally, paint cannot be used to
             hide surface defects. Paint will often highlight surface defects by reflection and make
             them more noticeable.
                 In addition to cleaning and smoothing, surfaces are often converted to a mater-
             ial different from the original before painting. Phosphated steel and flamed plastic
             surfaces are examples. Surface conversion is generally used to improve paint
             adhesion, reduce corrosion, or both.


                                       A         Defect

                                   Substrate                      With one coat of paint


                                        C


                             With two coats 01 lain[             With three~c    of paint




                                    Sanded                       Repainted after sanding


             FIGURE 6.2     Repair of a paint defect caused by particulate on the surface.
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             6.1.1 SMOOTHING
             Some surfaces require grinding, filing, or sanding to make them smoother before the
             paint is applied. Grit blasting or heavy grinding can be used to remove burrs or scale.
             In some cases, the substrate will require a combination of these processes. Large pits,
             holes, seams, or scratches in a surface can be filled with a liquid or paste material and
             then sanded after they harden.
                 Typical grinding papers use aluminum oxide or silicon carbide (carborundum)
             abrasives. Blasting abrasives may be sand, glass, metal grit, or walnut hulls. These
             media are available in a variety of grit sizes. Abrasives must be replaced or cleaned
             regularly so that they do not become oily and contaminate the surface.


             6.2 SPRAY APPLICATION OF PAINT
             Paint can be applied to a substrate in many different ways. Each method has advant-
             ages and limitations. The needs of the product and the manufacturing process will
             help determine the correct application method. An understanding of the different
             application processes is necessary in order to evaluate them for a specific task.
                 Most industrial paint systems apply liquid coatings with spray equipment. The
             liquid coating is delivered from a container to a spray device that uses pressure to
             break the liquid stream into fine droplets. The even distribution of the liquid paint
             into a finely divided mist of droplets is called atomization. There are several different
             types of spray guns and different methods of atomization and pattern control that can
             be used to control quality and efficiency.


             6.2.1 METHODS OF ATOMIZATION
                    Air-spray is one of the earliest methods of atomization. An air-spray device
                    mixes a high-velocity air stream with a low-velocity fluid stream and the
                    resulting friction creates the paint droplets.
                    Hydraulic atomization occurs when a high-velocity fluid sheet that is
                    formed by a small orifice at the spray gun tip exits into a stationary
                    atmosphere. The resulting friction causes atomization into droplets.
                    Centrifugal atomization occurs when a fluid stream is introduced at the
                    back of a disk that is rotating at high speed. The centrifugal force of the
                    rotating disk delivers the paint to the edge of the disk and breaks it into a
                    fine mist.

                 There are certain features that all spray applicators have in common, but each
             different spray device has particular differences that make it fit with a certain applic-
             ation. An understanding of the different applicators and their strengths is useful in the
             selection of the correct device for a particular application.


             6.2.2 MANUAL SPRAY GUNS
             There are a number of different spray gun technologies used for manual spray applic-
             ation of industrial coatings. Most coating systems use manual spray guns, alone
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             or as reinforcement for automated application. Manual spray equipment provides the
             freedom to spray in hard to reach areas at different angles that would be difficult to
             reach with a stationary automatic gun.
                 Manual spray technology is available with or without electrostatic capability for
             better transfer efficiency. Handheld spray guns are typically identified by the following
             names:

                   • Conventional air-spray
                   • HVLP
                   • Airless
                   • Air-assisted airless (AAA)
                   • Electrostatic HVLP
                   • Electrostatic air-spray
                   • Electrostatic AAA

                 Each of these devices has features that make it work well in a given situation.
             Selection often depends on the cost of the device, the coating(s) to be used, and the
             difference in application efficiency. Other factors may also influence the specific gun
             used in a certain application.


             6.2.3 AUTOMATIC SPRAY EQUIPMENT
             Automatic spray equipment is used when the volume of work exceeds the capabilities
             of manual operators, the product is too large for men to reach, there is an interest in
             reduced labor, or there is an interest in automation for more precision. It is available
             in all standard forms of air atomization and also uses centrifugal or rotary devices for
             atomization.
                 Most automatic spray systems use a device that moves the spray guns and controls
             application. Programmable logic controllers (PLCs) use part recognition systems
             to trigger guns on, initiate color change, and adjust the equipment for optimum
             efficiency. In addition to control of paint application, PLCs are used for paint mixing,
             color changes, and other control tasks.


             6.2.4 SPRAY SYSTEMS
             Conventional air-spray guns are common spray tools that can be used with and without
             electrostatics. A conventional air-spray gun is a precision tool that uses energy in the
             form of compressed air to atomize the material. Air and paint enter the gun at different
             points and meet at the head of the gun. The high-velocity air stream from the annular
             hole around the nozzle passes the low-velocity fluid stream and the resulting friction
             creates a pattern of fine droplets. The pattern of fine paint particles provides a uniform
             thin film of coating on the part surface.
                 When the gun trigger is pulled back slightly, an air valve, usually located in the
             upper portion of the handle, will open and allow air only to reach the gun tip. When
             the trigger is pulled back further, the fluid needle is retracted and paint begins to flow
             from the fluid nozzle. Immediately upon leaving the nozzle, it is mixed with air from

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                        Pa
                adjustment 4                                                               Air cap
                      Fluid
                adjustment                                                                Fluid
                      knob                                                                nozzle




                   Air inlet

             FIGURE 6.3 Spray gun components.


             the air nozzle, and the spray pattern is formed. Figure 6.3 shows the inside of a typical
             air-spray gun.


             6.2.4.1 Suction or Siphon Systems
             A suction or siphon feed gun uses a stream of compressed air to create a vacuum,
             allowing atmospheric pressure to force the fluid material from an attached container
             to the spray head. A siphon cup is a simple system for testing, for very short runs,
             for shading operations, or similar situations that require a small amount of paint and
             a short run. These systems typically use a one-quart container, and they are not very
             effective for high-viscosity materials. A siphon cup system is shown in Figure 6.4.
                 Another system that works well for small volume applications uses gravity to feed
             the paint to the gun tip. It is lightweight and uses virtually every drop of paint in the
             cup so that almost no paint is wasted in the cup. A gravity cup is shown in Figure 6.5.


             6.2.4.2 Pressure Feed Systems
             A pressure feed system applies paint that has been forced to the gun by pressure,
             either from compressed air or a pump. Pressure-feed systems are used in situations
             requiring more volume, delivered from a larger vessel, rather than the small cups
             used in gravity and siphon systems. It is also suitable for paints with higher viscosity.

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             FIGURE 6.4 Siphon feed system.




             FIGURE 6.5 Gravity feed system.

                 Pressure pots use compressed air to create fluid pressure and force the paint
             through the fluid hose to the spray gun. There are many sizes of pressure vessels
             that can be used depending on the size of the operation. Five-gallon pots are fairly
             common. A system with a 5-gal pot is shown in Figure 6.6. A pump is often used to
             supply coating material from a larger container such as a 55-gal drum.

             6.2.4.3 Circulating Systems
             Some systems deliver paint to the booth but do not circulate it back to the container.
             Circulation systems are more effective for maintaining a stable paint material and
             limiting waste materials.

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                                                                  Oil and water extraction
                                                               Regulator .......                        /'
                                                             Airline                      `''




                                                                                   Y Main line outlet

                                                                                   L    Pressure tank


             FIGURE 6.6      Air-spray pressure feed system.




                                                                                                 id
                                   Fluid supply line
                   Air regulator
                                                                                                                       0
                   Piston Bypass valve                                                                                 N-
                   pump    -~
                                                                                         Spray gun-IJ
                                                                                                                       0


                                            V- Fluid filter
                                                      Shut-off valve           1

                                                           Fluid return line
                                           n           "


                  Fluid siphon line        11
                                                           Material supply container


             FIGURE 6.7      Paint circulation system.



                 Many paint lines are installed with paint supply systems that bring fluid to the
             booth and circulate it back to a supply container in a "paint kitchen." A typical
             circulating system is shown in Figure 6.7.
                 Circulation systems have several advantages over pressure tanks. The material
             volume is not limited to the pressure pot size. Material is supplied directly from the
             container it was shipped in or a large tote. If a container is running low, a new one
             can be attached without any lose of production time.
                 There is very little waste with a circulating line. The material in the hose from
             the color manifold to the applicator is usually a very small volume, often as low as
             6-8 oz of material. A circulation line is only useful when the paint can be consumed

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             in a reasonable period. If it is circulated through the system for more than a week
             without any consumption, the material may become unstable and create appearance
             and performance problems.
                  Circulating systems often use a manifold of independent valves for different
             colors and supply of solvent and compressed air. Automatic color changers are often
             used to speed up color change and minimize wasted paint. These systems usually
             have different valve arrangements that facilitate efficient color change options. The
             valves are normally closed and interlocked to prevent any flow of material into
             the manifold or other color valves. The color valves open in sequence to shut off
             the color in use, purge the system using solvent and air, and introduce the fresh
             color.
                  The supply containers are often located in an isolated room and material is pumped
             to the booth or series of booths through a hard pipe system. These rooms are often
             called paint kitchens, red label rooms, or paint lockers. They contain any number of
             containers depending on the number of colors required. Each system has an inde-
             pendent pump, material agitator, pump surge chamber, paint filters, backpressure
             regulator, and other components of a circulation line. They can provide material to
             one or more spray stations at the same time in addition to providing good material
             circulation while the specific color is not being sprayed.
                  Circulation systems route the paint to the booth and circulate it back to the
             container. Regulators are used to control the flow and make sure that the material
             maintains pressure and does not settle or separate in the line.
                  Systems that use a paint kitchen with multiple colors could have a two pipe
             circulating system similar to the one shown below. A regulated flow of material is
             supplied to each station from a central location. The supply line passes through the
             spray station and returns to the drum to close the loop. Circulation of paint in this way
             provides a consistent flow and homogenous blend of paint. It reduces the labor of
             mixing and transporting pots and improves control of the process. However, this type
             of system has many components to maintain and has greater potential for material
             degradation.
                  Some circulation systems use graduated pipe designs. The graduated pipe system
             is typically used in automotive final assembly and tier-one finishing plants where
             material flow; pressure and velocity consistency are most important. The gradu-
             ated pipe system uses the material viscosity and pipe and hose diameters to create
             the system back-pressure and material flow. The system typically incorporates a
             pump, high-flow surge chamber, filter housing, and back-pressure regulator. The
             only adjustments are the pump output pressures and material return pressures to the
             paint kitchen.
                  Pig-able systems are fast becoming the choice of design for frequent color changes
             where material recovery and reduced solvent usage are imperative.
                  The pig-able system incorporates special color valves that allow for cleaning
             (pigging) as part of the circulation system. While traditional circulation lines are
             difficult and costly to color-change, a pig-able line can be color-changed fairly quickly
             and inexpensively. When a line is color-changed a small diameter plug, referred to as
             a "pig," is passed through the fluid delivery line to clean out any paint solids that are
             still present after a solvent/air purge.

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                 The typical pig-able paint system allows faster color-changes, recovery of more
             material, and reduced solvent usage during flushing. A pig-able type system can
             provide large cost savings for users responsible for numerous colors.
                 The traditional approach to paint circulation line design did not provide simple or
             fast color change. In order to color-change them, the user had to flush main circulating
             lines or provide booth mounted mini systems. The waste material to flush this type of
             system could include 2+ gallons of paint and 30+ gallons of solvent per flush. The
             return on investment by utilizing pig-able technology is generally 6 months or less
             and provides a more flexible material-friendly circulating system.


             6.2.4.4 Plural Component Mixing Equipment
             Two component materials must be mixed prior to spray application. Mixing can
             be as simple as mixing the two materials at the desired ratio into a siphon cup or
             pressure feed tank in an appropriate batch size. For high-volume mixing requirements
             a mechanical proportioner, gear driven mixer, or an electronic mixer may be the
             better choice. In all cases, the objective is to consistently mix two or sometimes three
             materials at the recommended mix ratio while always generating little or no waste.
             Mix ratios may range from 1:1 to 50:1 or greater. It all depends on the coating and
             the application requirements.
                 Mechanical proportioners are typically one or two pumps that are mechanically
             connected together in either a fixed ratio or variable ratio configuration. A fixed ratio
             pump system with a 1:1 ratio has one pump air motor with two identical pump-
             lowers that deliver the same volume of material when the pump is actuated. Fixed
             ratio systems are available in many sizes and the pumps are sized to produce the
             particular ratio needed. A variable ratio system has one pump to deliver the resin
             material with an adjustable arm that actuates a smaller catalyst pump at the desired
             cycle rate to deliver the correct material mix ratio.
                 Mechanical systems, like the dual piston pump system shown in Figure 6.8, cost
             less money than the cost of more sophisticated systems, but they are maintenance
             prone and flushing is difficult and expensive. Ratio is adjusted by move the fulcrum
             position by trial and error.
                 A gear-driven system uses a PLC or PC to control the speed of each pump to
             establish a mix ratio. The gear driven system requires a low-pressure material delivery
             source to supply the two different gear pumps, then the gear pumps supply the desired
             output and ratios to the spray gun.
                 There is typically one system for each spray booth and spray application. These
             systems can be more complex with the amount of components required, but they are
             accurate, flexible, and can consistently deliver very low material flow rates with less
             concern for mix ratio variances.
                 Some gear-driven systems use two gear pumps on a common drive. Some gear
             systems use independent motors for the two gear pumps. Mix accuracy depends on
             the speed of the drive motor. These systems are sensitive to the coating viscosity, and
             they do not provide verification of mix accuracy.
                 The electronic mixer requires a separate material delivery source that could be as
             simple as two pressure tanks to a large circulation system. The electronic mixer has a

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                                                                          Piston




             FIGURE 6.8 Dual piston pump mixing system.


                      A
                                              B


                   Supply
                                                                                              Control
                                                                                              signal

                      A                                C    f   ~:
                                              B

                                                                                   A. Material supply
                   Suppy
                                                                                   B. Flow control valves
                                                                                   C. Flowmeters


             FIGURE 6.9 Two component proportioning system.

             back plate that may be mounted outside the booth, inside the booth if hazardous rated,
             or mounted directly on the gun mover or robot. It typically includes an A and B material
             flow meter, fluid flow regulators, and a mix manifold and static mixer. These systems
             can be used on one spray booth with one spray gun or can be networked together
             with other systems in multiple spray booths. It is recommended that one back plate
             be used with only one applicator.
                  Electronic systems provide precision mixing and information such as notification
             if the material supply is low. A well-designed system can supply reliable mix ratios
             and provide alarm conditions so that problems are quickly identified and corrected.
             A typical system is shown in Figure 6.9.
                  The right proportioner is dependent on the application, material, and production
             speed.
                  Electronic mixers use a small PLC to control the mix ratios and often the material
             delivery rates. These systems are very flexible, have a wide range of mix ratio options,

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             provide documentation for environmental reporting, and are very consistent. Many
             electronic mixers use a PC, which is more flexible and allows a windows format for
             ease of control.


             6.2.4.5 Air Nozzles
             The air nozzle directs the flow of compressed air through a series of holes into the
             paint stream at the gun tip. The air atomizes the paint and directs the flow of atomized
             paint into the pattern. A profile is shown in Figure 6.10 with fluid flowing around the
             fluid needle and air introduced by the air horns at the gun tip. Figure 6.11 shows the
             air nozzle.
                  Some air nozzles are referred to as internal-mix. With an internal-mix nozzle, the
             air and paint are mixed inside the nozzle and the pattern is formed as the mixture exits
             through a hole in the nozzle tip. An air nozzle introduces the compressed air to the
             fluid stream at the gun tip.

                             Air




                                                                               Fluid




             FIGURE 6.10 Spray gun air nozzle.




                                                                1. Annular ring
                                                                2. Containment holes
                                                                3. Horns
                                                                4. Fan pattern holes
                                                                5. Angular converging holes




             FIGURE 6.11 Air-spray air nozzle.

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             6.2.4.6 Fluid Nozzles
             The fluid nozzle and needle combination is used to control the volume of coating
             material delivered at the spray tip. The fluid needle is pulled back when the gun is
             triggered and fluid flows through the nozzle. When the trigger is released, the needle
             slides back into place and shuts off the flow. Atomization occurs at the gun tip when
             compressed air is directed into the paint stream as it exits the fluid nozzle. The fluid
             orifice in the nozzle assembly provides the lowest possible velocity fluid stream.
             A properly sized air cap will provide a high-velocity air stream from the annular
             holes to provide atomization at the gun tip.
                 Atomization is measured by micron size and distribution in a given area by a
             Malvern or similar in-flight particle analyzer. The size of the paint droplets will
             depend on the particular material being sprayed and may vary widely from a low of
             around 5µm to above 100 µ,m. The particle size distribution needed to achieve a
             particular finish with a particular paint will depend on the product being painted and
             the film build requirements. Typically, a finer droplet size will provide a smoother
             finish.
                  Selection of a particular fluid nozzle depends on the viscosity of the coating
             material and the required level of atomization. Different sized fluid nozzles are
             available for materials including paint, adhesives, mastics, flocking materials, and
             so forth.
                  Hardened steel fluid nozzles are commonly used for solvent-based paints. For
             paint materials that are abrasive, the fluid nozzle may be an alloy. Stainless steel
             is required for water-borne coatings or other corrosive fluids. For materials that are
             unusually abrasive, the tip can be fitted with a carbide insert. Some plastic fluid
             nozzles work well due to their low surface friction and their ability to conform to
             worn fluid needles.
                  Usually, a nozzle with a smaller orifice will work fine with a lower viscosity
             material while a higher viscosity material may require a larger nozzle. If the nozzle is
             too small to deliver the volume of paint needed, the fluid pressure must be increased
             in order to compensate. Excessive pressure can create application problems so it is
             important to select the correct nozzle for the material being sprayed.
                  Nozzle size, fluid flow, and pressures are related. Selection of a fluid nozzle should
             consider the viscosity of the material, the amount of material required to achieve the
             desired film thickness, and the maximum desired fluid flow rate.
                  Table 6.1 shows some examples of different fluid tip orifice sizes and the types
             of products that they are likely to be used with them.
                  Materials with high viscosity will flow slower than thinner fluids, usually
             requiring a larger orifice and higher fluid pressure to achieve the desired fluid
             flow. Low-viscosity materials flow more readily at lower pressure through smaller
             orifices.
                  To determine a fluid flow rate for a specific orifice size, turn off the atomizing
             air, trigger the gun, and fill a graduated beaker for 30 s. Measure the amount in
             the container and multiply it with 2 to determine the volume in ounces or cubic
             centimeters per minute. Record the fluid pressure, material viscosity, and orifice size
             for reference.

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                                   TABLE 6.1
                                   Fluid Tip Orifice Sizes
                                   Orifice           Viscosity
                                   Range              Range               Example
                                   0.022-0.028      Very thin         Solvents, stains
                                   0.040-0.052      Thin              Lacquers, primers
                                   0.059-0.070      Medium            Varnish, urethanes
                                   0.086-0.110      Heavy             Epoxies, vinyls
                                   0.125-0.500      Very heavy        Block fillers




                                    TABLE 6.2
                                    Delivery in Ounces per Minute at
                                    Different Pressures
                                    Orifice
                                    Size         At 8 psi   At 12 psi        At 18 psi

                                    0.040          14            18              24
                                    0.046          18            22              30
                                    0.052          22            28              36
                                    0.059          31            36              48
                                    0.070          40            48              60




                 Table 6.2 shows the difference in fluid flow at different pressures for a material
             with a viscosity of 21 s in a #2 Zahn viscosity cup.
                 Control of fluid flow can be adjusted by changing the fluid nozzle, by turning the
             fluid adjustment knob located on the rear of the gun handle, or by changing the air
             pressure through the fluid regulator.
                 The fluid control knob on the gun is provided so that the gun can be adjusted when
             used with a siphon feed system. A pressure feed system should typically be adjusted
             by air pressure regulation with the fluid control knob left in the full-open position.
             Fluid control by adjustment of the needle position is not recommended.
                 Triggering a spray gun with no atomizing air can be useful for setting the proper
             fluid pressure. The resulting paint stream should flow in a solid stream for approxim-
             ately 1'0" to 2'0" before falling off. Anything in excess of 2 ft indicates that the fluid
             pressure is too high.

             6.2.4.7 Proper Fluid Pressure
             The fluid needle fits into the orifice of the fluid nozzle. When the gun trigger is pulled,
             the fluid needle is pulled back from the orifice and paint material is allowed to flow
             from the gun. When the trigger is released, the fluid needle moves forward and stops
             fluid flow.

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                 Fluid needles are machined from hardened steel or stainless steel with a tapered
             end. Fluid needles are also made of engineered plastics. The tapered end is designed
             to match the orifice of a family of fluid nozzles.
                 The fluid nozzle and needle is a pair. If a needle does not match a particular fluid
             nozzle, the taper will not match and fluid will leak from the nozzle tip, the gun will
             spit and drip. The nozzle and needle should be replaced. The manufacturers catalog
             will list the correct needle and nozzle families.
                 Sometimes it is necessary to make a needle adjustment to compensate for wear.
             Every time the gun is triggered, the needle slides back across the inner surface of the
             fluid nozzle and causes a small amount of wear. Eventually, there is enough wear to
             create a gap between the needle and the seat of the orifice and the gun will leak.



             6.3 AIRLESS SPRAY GUNS
             Airless spray systems use hydraulic pressure to force the fluid through a spray tip or
             orifice at high pressure. The combination of pressure and orifice size creates a pattern.
             Orifice sizes are catalogued by flow capacity and degree of spray angle.
                 An airless spray gun does not use compressed air for atomization, so there is no
             air nozzle with atomizing ports like those found on an air-spray gun. There is only
             one trigger position, full open.
                 An airless system works with a high-pressure pump that delivers fluid to the gun
             tip at 500-6000 psi and forces the fluid through the orifice.
                 Airless systems can be used with heaters to reduce the spray viscosity and improve
             finish quality. The heater helps to control spray viscosity for consistency and may be
             particularly helpful with thicker materials. Figure 6.12 shows an airless spray system.


             6.3.1 FLUID NEEDLES AND TIPS FOR AIRLESS SYSTEMS
             Usually an airless needle will be a permanent assembly having a ball, approximately
             1/8" diameter, silver soldered to the end. This ball will "seat" or act as a seal to
             prevent fluid from leaking through the fluid tip when the gun is not in use.


                                       Pump           Air supply line

                                                                            Air compressor
                                                       Siphon line

                                                                              0

                     Filter




             FIGURE 6.12 Airless spray system.

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                                    TABLE 6.3
                                    Orifice Sizes for Airless Systems
                                    Orifice Size   Viscosity Range      Material

                                    0.009-0.010    Very thin          Acetone
                                    0.011-0.013    Thin                Water
                                    0.015-0.021    Medium              SAE #10 oil
                                    0.026-0.036    Heavy               SAE #50 oil
                                    0.043-0.072    Very heavy          Vaseline
                                    0.072-0.081    Extra heavy         Mastics



                  The reason an airless needle is not smooth and tapered like an air-atomized needle
             is that the high fluid pressures would unseat a tapered needle and cause a leak.
                  The ball at the fluid needle tip provides a surface for the fluid to push ball into a
             seated position at the fluid tip and prevent the needle from lifting or retracting. It is
             rounded so that when the trigger is pulled, the fluid is deflected and it can retract. If it
             were flat, you would have to exert considerable force on the trigger to overcome the
             resistance generated by the high fluid pressure. Typically, there is only one size fluid
             needle for all tip sizes for an airless gun.
                  The orifice size in the fluid tip will start around 0.009" and range upward in excess
             0.081". The larger orifices can handle heavier materials that require higher pressures.
             Table 6.3 will give a general idea of orifice size for typical materials.
                  The orifice size and the spray angle will define the pattern size. The pattern size
             can only be adjusted by changing fluid tips. A fluid tip with the widest possible angle
             and the smallest orifice size that will work well with a given fluid viscosity will
             provide a wide area of coverage and controlled film build.
                  With an air-atomized gun, the operator can adjust the pattern size, alter the atomiz-
             ation, and increase or decrease fluid flow. There is no way to make similar adjustments
             on an airless gun.
                 An airless spray gun works like a typical spray nozzle. Atomization is achieved
             when the fluid is forced through the orifice at high pressure. The orifice will provide
             a specific pattern size and a specific fluid delivery at a designated pressure.
                 Airless systems can operate at pressures up to 6000 psi. 'Be systems are manu-
             factured with safety features to protect the operator from the high-pressure discharge.
             Operators of airless systems need to be careful not to trigger the gun toward any part
             of their body.
                 Airless units and all connected components must be grounded to prevent static
             discharge. Electric units have three-wire grounded plugs, air driven pumps have
             ground straps, and a proper airless hose has a ground wire built into the jacket of
             the hose.
                  Solvent should not be sprayed under pressure through the airless tip and/or
             diffuser. An explosion or fire could result from static buildup in the presence of
             flammable vapors.
                  Never attempt to remove a hose, gun, or any piece of the system without first
             releasing the pressure and disabling the pump.

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                 An airless spray gun does not produce the fine atomization required for class A
             surfaces. It is used primarily in wood finishing, leather tanning, fabricated metal
             manufacturing, and painting contractor applications. Transfer efficiency can be very
             good and a lot of fluid can be delivered per minute making the airless system a good
             device for field applications. An airless spray gun delivers more fluid with less fog
             than a conventional air-spray gun.
                 If finer atomization is required, a fine finish tip and the use of a diffuser may help.
             The diffuser will shear the material by disrupting the fluid flow before it gets to the
             fluid tip where it is atomized.



             6.4 AIR-ASSISTED AIRLESS SPRAY GUNS
             TheAAA gun uses a lower fluid pressure (typically 400-800 psi) with an airless tip and
             an air nozzle for atomization. This combination of elements provides faster applic-
             ation of material than air atomized spray provides, reduces overspray and rebound,
             and provides enough forward velocity to penetrate some recesses and cavities. The
             pressure range used with AAA spray guns is much higher today for high solids and
             ultra high solids materials. A picture of an AAA gun is shown in Figure 6.13. Note
             the "duck bills" at the gun tip that provide protection against accidental exposure to
             the high-pressure spray.
                 AAA does not provide the fine atomization necessary for extremely high-quality
             finishes. It is very popular in the wood finishing industry where stains, sealers, fillers,
             glazes, lacquers, and polyurethane materials are common. It is also very effective
             for applications that require high-TE, low overspray, fast application, and modest
             appearance standards.




             FIGURE 6.13 Air-assisted airless spray gun.


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                  AAA spray guns are often used in systems with very high line speeds, but they
             are particularly well suited to systems with slow to medium line speeds and coating
             materials that are thin to medium in viscosity, a typical maximum of 28-32 s on a
             #2 Zahn cup. Material is typically delivered with a conventional air driven pump in
             a range of 10:1 to 30:1 power ratio.
                  Unlike airless, this type of gun relies heavily on the correct air pressure in relation
             to fluid pressure. AAA uses an air cap that is similar to the one that would be used with
             a conventional air-spray gun, but the air is used primarily to distribute the droplets
             more evenly and to assist the air in remaining stationary in relation to the fluid stream
             or sheet. The fluid is at a higher pressure in an AAA gun. Primary atomization is
             still achieved by fluid flow through an orifice. The compressed air helps to create a
             more uniform pattern, better paint particle distribution, and finer atomization than an
             airless spray gun.
                  Airless and AAA systems are often used with heaters to reduce the spray viscosity
             of materials that are higher in solids.
                  Airless systems are often used for field painting or shop painting that does not
             require fine atomization. AAA systems are suitable for a wider variety of applications.
                  Like an airless system, atomization is achieved by the choice of fluid tips and
             the pressure used to propel the coating through it. The added feature of compressed
             air has very little effect on atomization. Its main function is to fill the pattern so that
             the coating is uniformly deposited on the surface. Figure 6.14 shows a typical AAA
             system with a heater.
                  A comparison of the three gun types that have been discussed is outlined in
             Table 6.4.


                                                                                        .~Iy




                                                                                        r




             FIGURE 6.14 Air-assisted airless system with heater.


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             TABLE 6.4
             Comparison of Different Spray Guns

                                           Air Atomized Spray            Airless Spray                 Air Assisted Airless

             Finish appearance         Excellent                    Coarse                             Very good
             Transfer efficiency       Low                          Good                               Good
             Fluid flow rates          Very low to medium,          High or very high                  Wide range,
                                        usually less than            flow rates, over                   7 fluid oz/min to
                                        30 fluid oz/min              80 fluid oz/min                    78 fluid oz/min
             Booth maintenance         Lot of rebound and           Less rebound and                   Least rebound and
                                        overspray, booth             overspray, less                    overspray,
                                        maintenance is high          maintenance                        maintenance is low
             Pattern adjustment        Yes                          Tip selection                      Yes (limited)
             Tip plugging              Virtually none               Yes                                Yes
             Equipment life            Very long due to very        Very high fluid                    Less tip wear, lower
                                        low fluid pressure           pressure, high tip wear            fluid pressure
                                                                     and shorter pump lifea
             Noise                     Noisy                        Quiet                              Quiet
             Emission level            High                         Lower                              Low

             a Tithe pump is sized properly to reduce cycles, the wear is not different than the AAA.




                                                                       Regulator                 Oil and
                                                                                     \   ti,.    moisture
                                       ^                                         }           j-! extractor

                                     Yy 7
                                                                1                        \      r''




                                                                Pressure pot

             FIGURE 6.15           High-volume, low-pressure spray system.


             6.5 HIGH-VOLUME LOW-PRESSURE (HVLP)
             HVLP gun technology is a form of air-spray that uses a restrictor to reduce the velocity
             of the coating material for increased transfer efficiency. It has become a favored
             technology by environmental agencies, because it uses about the same volume of air
             as a conventional air atomized gun, but it operates at much lower air cap pressures.
             An HVLP system is shown in Figure 6.15.
                 HVLP can provide higher transfer efficiency compared to other conventional
             spray guns without electrostatic charging. This makes it particularly useful for
             nonconductive surfaces such as plastic and wood.

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             FIGURE 6.16 HVLP versus conventional air-spray gun.

                  It takes a specific velocity of air to effectively overcome the cohesiveness of a
             paint material and atomize a coating. With air-atomized systems, more compressed
             air volume will increase the breakup of the material and produce finer atomization.
             The illustration in Figure 6.16 shows the difference in the spray pattern between an
             HVLP and a conventional air-spray gun.
                  HVLP technology delivers the same air volume at a lower pressure. This is
             intended to reduce the forward velocity of the sprayed material for reduced rebound
             and increased transfer efficiency. The lower tip velocity creates a softer fluid delivery
             with less overspray. Electrostatic capability can be added to an HVLP spray gun to
             further enhance transfer efficiency.
                  The amount of fluid flow and the method of applying the compressed air for
             atomization are what differentiate HVLP from other forms of air-atomized equipment.
                  Many of the early versions of HVLP equipment used electric motor driven tur-
             bines as a source for air. Unlike a compressor, a turbine works against very little
             backpressure so the horsepower to cubic feet per minute (CFM) ratio is reduced. Tur-
             bine systems are expensive and noisy. They can generate discharge temperatures as
             high as 225°F from a seven-stage turbine. This can be useful if a fast flash or accel-
             erated cure is desired for materials such as waterborne adhesive or contact cement.
             However, high air temperature can also cause dry spray and other undesirable surface
             effects.
                  Turbine systems usually have a large and bulky air hose for heat resistance. The
             large hose makes the gun bulky to handle and inflexible. The gun handle may require
             insulation, making it bulky and tiresome to hold over long periods.
                  The turbine system can be useful for very small installations as an alternative to an
             air compressor or in field painting operations. Where an air compressor is present with
             sufficient air volume and the proper air quality (filtration and moisture elimination),
             it is better to work with an HVLP gun that does not require a turbine.
                  Most HVLP guns are run on standard compressed air. The air supply is passed
             through a high-volume, low-pressure, air regulator with reasonable accuracy at low
             pressure.
                  Compressed air HVLP guns use a restrictor or vortex, built into the air passage
             of the gun. The restrictor reduces the air output at the nozzle. A regulated inbound
             air pressure of 50 psi will typically produce 10 psi at the air cap. Typically, the gun

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             is intended for operation in the range of 2-10 psi at 15-18 ft3 /min. If the rated input
             pressure is exceeded, the air volume and pressure will increase and the benefit of the
             HVLP is limited.
                  The regulator must be capable of controlling a large volume of airflow in a
             pressure range of 0-100 psi. Typically, the air hose for the HVLP system is lar-
             ger in diameter than that of an air-spray gun. A minimum of 5/16" diameter hose is
             recommended.
                  These guns resemble an air-atomized gun in shape and size and they can be used
             with the same equipment setup as the air-spray gun. They use a common 1/4" or 5/16"
             airline running to the handle directly from a compressed air line. The compressed air
             powered HVLP gun is more easily accepted by a hand spray operator, because it
             closely resembles an air-atomized gun in control, size, and appearance. An HVLP
             can provide good atomization for most coatings, but it may be difficult to atomize
             some materials with high viscosity. In some cases, air heaters are used to help control
             spray viscosity and improve atomization with thicker materials.
                  HVLP guns can be used with pressure pots or with gravity feed systems, but they
             do not work as well with a siphon cup.
                  The HVLP spray gun does produce a very soft paint pattern, and it can improve
             transfer efficiency when compared to an air-atomized gun. An HVLP gun may not
             atomize high-solids coatings well enough for class "A" surfaces, and some experi-
             enced painters complain that it is slower than a conventional air-spray gun due to
             lower fluid outputs. These issues are related to the restrictor. The amount of fluid
             output is limited by the ability to atomize. If the fluid output is too high, there is
             not enough velocity to break it up, and the paint droplets are coarse, so fluid volume
             is somewhat limited. The same issue affects the ability to atomize a material with
             heavy viscosity. The heavy paint material will require more energy to break it up
             into fine droplets. A high-solids coating applied with an HVLP may have too much
             orange peel.
                  In some situations, it is possible that the HVLP may not have sufficient output to
             keep up with a high-volume production operation. In other cases, the perception that
             an HVLP gun is too slow may be caused by the use of the wrong gun, the wrong fluid
             tip, or the wrong technique. Following these rules will make sure that the HVLP gun
             will work as designed:

                   •   Several guns should be tested before a purchase is made to make sure that
                       the chosen spray gun handles the coatings to be sprayed.
                   •   Different fluid tips and air cap combinations need to be tested to find the
                       one that works best with a particular coating material.
                   •   Heaters can be used to help maintain a spray viscosity that will atomize
                       with an HVLP spray gun.

                 Spray technique with an HVLP has subtle differences from using an air-spray
             gun. The gun should be held closer to the part due to the slower forward velocity of
             the droplets; 6-8" is the typical gun-to-target distance. Material will build quickly
             with fewer and slower strokes than an air-spray gun.


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                 Used correctly, the HVLP spray gun reduces overspray and fog in the booth,
             improves transfer efficiency, reduces volatile organic compound (VOC) emissions,
             extends the life of the filters, and reduces clean-up time.


             6.6 ELECTROSTATIC APPLICATION
             Electrostatic application is designed to enhance the attraction of the paint material
             to an earth-grounded surface. The basic features of the spray gun are the same, but
             a power supply is used to provide voltage and charge the sprayed coating material.
             Electrostatic attraction uses the elementary science where two surfaces that have
             the same charge will repel each other and unlike charges attract. Figure 6.17 shows a
             hand-held electrostatic spray system with an air-spray gun and Figure 6.18 is a system
             with an airless gun.
                 High-voltage electric charge is added to the atomized paint particles as they leave
             the gun. A voltage generator is connected to an electrode at the gun tip. The voltage
             source can be external or internal. When the gun is triggered, the electrode discharges
             a concentrated field of negative ions. Paint particles travel through this ionized area
             and become charged with negative ions.
                 The charged particles of atomized paint are directed toward the earth grounded
             part from the spray gun. As they approach the target surface, the electrostatic charge
             creates a strong attraction to the part surface. The charged particles are strongly
             attracted to all bare surfaces of the grounded part as shown in Figure 6.19.
                 Some of the particles that are carried wide of the part by compressed air are drawn
             to the back and edges, a phenomenon referred to as "electrostatic wrap." Coating that
             wraps around edges may be beneficial on some parts, but it may have a limited benefit
             if no coverage is required on the back of the part.
                 The atomized paint droplets will be attracted to the best available ground. It is
             important to maintain a clean conveyor and clean hooks, and the ground should be
             checked regularly.




                             Air supply

                                                     Air                      Spray gun

                                                       Fluid   J     ~


                             H
                                                           .   High voltage cable
                                                 i




                              Pressure tank                    Power supply

             FIGURE 6.17 Electrostatic handheld air-spray system.


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                                             u..
                                               f,
                                  Pump
                                         i       t                        Spray gun
                                                            Fluid




                                                                    Heater
                           Air suppl                                (optional)




                                                                                      High voltage
                                                                                      cable


                                                                                  Power supply

             FIGURE 6.18        Airless electrostatic system.




                                                        Paint         Voltage
                                                     droplets           lines



                   Spray gun
                    electrode
                                1
                                —~                                                           Grounded part




               Negative ions--           — 0



                                       Airflow


             FIGURE 6.19        Electrostatic attraction.


                Effective use of electrostatic systems requires certain conditions to be met.

               1. The coating must be in the proper conductivity range. The majority of
                  solvent-borne coatings will work with electrostatic systems.
               2. The atomized droplets should be round and remain as wet as possible.
                  Sometimes a slow evaporating solvent is added to maintain this wetness.

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                3. An electrical field must be established and maintained in the proper position
                   to direct the charged particles toward the part.
                4. Forces such as excessive spray booth velocity and abnormally dry air will
                   interfere with the electrostatic attraction process.
                5. The parts to be coated must be electrically conductive to earth ground.

                 Earth grounding of the part is very important to provide the maximum benefit from
             the electrostatic spray applicator. The National Fire Protection Association (NFPA)
             states that all conductive objects in an electrostatic coating area must be grounded
             and have a resistance of no more than 1 meg-ohm.
                 In a well-grounded application, the charge of the paint at the surface induces an
             opposite charge in the part that is equal to the field strength of the arriving ions and
             paint droplets. When a part is not conductive to ground, it will initially attract coating,
             but as more and more coating is applied, the field strength at the part surface increases
             rapidly and may begin to repel paint droplets. With no path to ground, the charge may
             build to a point where the voltage discharges and a spark occurs. Volatile solvent
             vapors in the immediate area can get ignited.
                 The process can be compared to that of a bolt of lightning that strikes the tallest
             object in its vicinity. As clouds move through the atmosphere, they sometimes develop
             a charge. The charge builds up in the cloud and then moves downward, building a
             channel with charge deposited along its length. Eventually, it encounters something
             on the ground that is a good connection. When a good connection is made, the circuit
             is complete and the charge is lowered from cloud to ground. The return stroke is a
             flow of charge (current) back to the cloud.
                 It is essential to have a good path to ground and maintain it religiously to avoid a
             discharge. Earth-ground is measured with an electrical megohm meter. A good ground
             has a resistance of less than 1.0 meg-ohm as recommended by NFPA. The meter
             uses two probes to measure resistance between the conveyor and the parts hanger
             and between the hanger and the part. All paint systems must have good ground to
             avoid static electric discharge. It is particularly important in electrostatic systems
             due to the high voltage of the system. The use of a megohm meter that can generate
             500-1000 VDC is essential. Devices powered by small batteries are not an acceptable
             way of determining earth ground.
                 If parts are sprayed on a cart or a support other than a conveyor, they should
             have a cable attached to provide a path to ground. Lack of ground reduces transfer
             efficiency and creates an unsafe environment. All electrostatic operations should work
             efficiently to be sure that the parts are grounded.


             6.6.1 MANUAL ELECTROSTATIC SPRAY EQUIPMENT
             There are several types of handheld, manually triggered electrostatic spray guns used
             for industrial application.

                 • Air-spray electrostatic guns
                 • Airless electrostatic spray guns
                 • AAA electrostatic spray guns

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                   • HVLP electrostatic spray guns
                   • Electrostatic rotary atomizers

                 Electrostatic spray guns have an electrode inside the barrel of the gun that extends
             to the tip. The electrode may be in the material stream or near it on the cap.
                 Electrostatic systems have a safety monitoring circuit that reduces the voltage
             output in direct relation to the approaching ground. At a closer distance to ground,
             the voltage drops and the current draw increases. The equipment can monitor the
             "closing speed" and will shut the entire system down if the rate of approach is too
             great. This is helpful on an automatic system where a part may be swinging free in the
             booth or if the high-voltage cable to the gun breaks. All resistive systems do this with
             no monitoring circuit. Most systems today are fully resistive and require no monitor.
             Bells or discs are an exception.
                 Automatic systems typically operate at a maximum of 90,000 V, while handheld
             units can operate between 20,000 and 90,000 V. Although the voltage is high, the
             amperage is very low. Current draw increases as the electrode nears a ground path.
             Safety monitoring circuitry will shut down the generator if the current draw reaches
             approximately 150 µ,A. It would take much more current draw to create a potential
             great enough to present a risk of injury.
                 The high voltage at the electrode will vary depending on the amount of current or
             resistance encountered between the generator and the electrode. With a resistance-free
             system, the voltage measured at the tip and at the generator are the same. In actual
             practice, the cable, the electrode, and the coating itself provide some resistance.
                 Not all coatings have the correct resistivity needed for electrostatic application.
             When a company changes from conventional air-atomized spray to electrostatic spray,
             they should inform their paint supplier(s) of the change so that they can confirm that
             the paint material is compatible with electrostatic application. If the resistance is too
             low, it will draw more current from the power supply, reducing the electrode voltage.
             If the resistance is too great, the electrostatic attraction is diminished and coating
             transfer efficiency and wrap will be poor.
                 With some equipment, the generator is located in a control panel and the signal
             to the gun is a high-voltage signal. Some systems use a cascade multiplier in the gun
             barrel. A low-voltage signal, typically 20-25 VDC, from an external power source
             is carried to the gun barrel where it is multiplied to the required gun tip kV. The
             low-voltage cable is much more lightweight and more flexible than a high-voltage
             cable used in external systems. Some spray guns have an alternator in the spray gun
             that puts out low AC voltage that is converted to the same low-voltage DC that other
             units send from the power supply. These systems typically have an on/off switch on
             the back of the spray gun, so voltage can be shut off for flushing and maintenance.
                 The use of electrostatic systems with waterborne coatings presents a challenge.
             The coating material is so conductive that it will carry current through the fluid
             supply lines to the coating container, creating a potential hazard and reducing transfer
             efficiency.
                 Isolation systems are used for safety reasons and for optimum system per-
             formance. Isolation stands were first used to protect workers from the "hot"
             container. An isolation stand is constructed of a nonconductive material that keeps

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                        Spray booth
                                                           '; i--                Isolation
                                                                                     cage




                                                                          t                  i1




                                                                                Paint
                                                                 Power        supply
                                                                 supply

             FIGURE 6.20 Isolation cage for waterborne electrostatic spray application.

             the container and the fluid supply hose away from ground and typically, they are
             enclosed in a cage where operators cannot access the container without automatically
             grounding the system. An isolation cage used with a waterborne coating is shown in
             Figure 6.20.
                  An alternative to isolation of the fluid supply is a voltage-block system. One type
             of voltage-block system features two single-stage, pneumatically operated reservoir-
             type pumps, one as a transfer pump and the other as a spray pump. Shuttle valves
             with quick-connect couplings connect the pumps during operation. The electrostatic
             generator supplies voltage to the spray pump and the pump transmits a charge to the
             coating material. During operations, the shuttle valves alternately connect the transfer
             pump to either the grounded paint-supply source or to the electrostatically charged
             spray pump.
                  Another type of voltage block system has a pneumatically actuated rotary valve
             that works in conjunction with a material supply chamber to fill the valve and rotate
             it to an isolated area in the valve to supply coating to the electrostatic applicator.
             An isolation material is used to constantly wash the rotary valve and create isolation
             between the coating supply containers.
                  In both cases, the shuttle valves provide an air gap to maintain electrical isolation
             between the charged coating material and any grounded material or equipment. These
             arrangements provide a continuous flow of charged material while keeping the charge
             isolated from the fluid supply.
                  Another alternative to an isolation system is an externally charging electrostatic
             gun or bell. This type of applicator has charging probes located on the exterior
             of the applicator. The external probes allow the application of waterborne paints
             electrostatically without isolating the paint supply.
                  In many cases, the voltage is adjusted to its maximum output level. However,
             many coatings, particularly, light metallic coatings, operate better at lower voltage.
             Coverage problems, such as edge build-up, can usually be resolved by adjustments
             to triggering points, shaping air, gun-to-target distance, and so forth.

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                            TABLE 6.5
                            Solvent Polarity
                            Non or Low Polarity    Medium Polarity       High Polarity

                            Mineral spirits        Ethyl acetate      MEK, MIK, acetone
                            VM and P naphtha       Butyl carbitol     Isopropyl alcohol
                            SC- 100, SC-150        Ethyl alcohol
                            Xylol, toluol          Methyl alcohol
                            Butyl acetate          Methyl acetate




             6.6.2     COATING FORMULATION FOR ELECTROSTATIC APPLICATION

             In handheld systems, the polarity of the solvent should provide a coating that is
             stable under voltage at above 10 meg-ohm cm3 (typical). For efficient application, it
             is usually recommended not go beyond 200 meg-ohm cm3 (see Table 6.5).
                 Addition of polar solvents may be necessary when the coating is so dead, or so
             nonconductive that without the solvent it will not accept a charge.
                 Electrostatic systems require special care and maintenance practices. All parts of
             the system must be kept clean, including the outside surfaces of the fluid hose and
             spray gun. Any possibility of a direct path to ground, resulting in a system shut down,
             must be eliminated. The exterior of the gun must be kept clean of overspray that
             will allow the voltage to "track back" to the operator who provides a great ground
             path. Automatic systems are even more demanding with regard to system cleanliness,
             because they operate at even higher voltages.
                 Advantages and disadvantages of electrostatic spray.


             6.6.3     ADVANTAGES

                   • Material savings due to electrostatic attraction and wrap; more material on
                     the parts, less on the filters
                   • Reduced VOC emissions
                   • Reduced booth cleaning and frequent filter changes
                   • Increases in production rates
                   • Reduced equipment wear because of lower fluid and atomizing air pressures


             6.6.4     DISADVANTAGES

                   • Minor coating adjustment may be necessary.
                   • The part must be conductive to ground or must be prepped with a solution
                     that will provide a ground path.
                   • Conveyors and parts carriers must be well grounded and kept clean.
                   • The relatively high cost of an electrostatic gun compared to that of a conven-
                     tional air atomized gun or and HVLP gun. Efficiency should still provide
                     the necessary return on investment (ROI).

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                 An electrostatic spray system can be a great advantage in increased transfer effi-
             ciency, reduced VOC emission, reduction of labor, and reduced coating usage. On
             the other hand, if it is not fully understood, not properly used, or not maintained, it
             can become an expensive air-spray gun.
                 There are a few simple rules to remember in order to use an electrostatic system
             effectively and safely.

                 • The parts being coated must be electrically conductive to ground.
                 • Part carriers, racks, fixtures, carts, and so forth must be designed to provide
                   a consistent ground path, and must be kept clean in order to maintain a good
                   ground path.
                 • All items in the vicinity of the spray booth must be grounded. They can
                   develop a static charge and discharge it to ground. A spark may ignite
                   volatile vapors.
                 • The spray operator should never wear gloves that isolate them from the
                   grounded gun handle. If gloves are worn, they should be designed with a
                   conductive palm or a hole should be cut that allows skin to contact the gun
                   handle. In addition, metallic objects, coins, watches, keys, and so forth that
                   are normally kept in pockets should be removed as they, also, can build up
                   a static charge. Rubber boots or insulated shoes should not be worn; leather
                   soles will dissipate any static charge.
                 • Flooring in and near the spray booth should be conductive. In older build-
                   ings where wooden floors are still found, sheet metal should be used as a
                   covering, making sure all pieces are mechanically connected to one another
                   and the booth walls.
                 • It is very important that only items designed for electrostatic spray be used.
                   Air hoses should contain a ground wire built into the jacket. Air or fluid
                   moving through the hose can create a static charge. Be sure to use the
                   proper high or low-voltage cable for your gun. Do not mix brand "A" with
                   brand "B".
                 • The voltage should be turned off before servicing or cleaning the
                   electrostatic device. If the gun has a built in cascade type generator or
                   multiplier, the atomizing air must also be turned off. Be sure the gun is
                   wiped clean and that no solvent remains in the fluid line before turning on
                   the voltage.


             6.6.5 AUTOMATIC SPRAY EQUIPMENT
             Automatic spray equipment can add substantial capability to a system by increasing
             the amount of coating that can be delivered in a given time and controlling the volume
             of output. Automatic application reduces the labor required for application and it
             contributes to the consistency and quality of the product. Many factors enter into the
             design of a paint application system and contribute to the decision to apply paint with
             manual equipment only or add automation to the process.
                 The benefit of using automatic equipment is the ability to use any number of
             applicators in one spray zone and the consistency and repeatability of an established

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             automatic application program. An individual sprayer can apply a limited amount of
             material to a surface in a given amount of time. An automatic spray station is limited
             only by how many applicators are in use for that spray station. The chief reasons
             why a company will invest in automation are to produce more volume, achieve more
             consistency, and save money through reduced material usage and reduced labor cost.
                 Operation and maintenance of an automatic system requires a higher skill level
             than a manual spray operator. Instead of a quick adjustment of the fluid and air pressure
             from a pressure tank or the fan spray pattern at the back of the gun, the operator will
             be responsible for several important controls. Depending on the level of automation
             and electronically controlled functions, the operator will need to at least monitor and
             maintain

                   •   Applicator operation
                   •   Fluid flow controls and components
                   •   Equipment programming
                   •   Applicator movers
                   •   Material supply system
                   •   Safety interlocks

                 Once they have been properly set, automatic gun settings should not be continually
             adjusted, but they should be routinely monitored. In spite of the added responsibility
             and skills required for their operation, automatic application equipment can provide
             needed volume and superior control. An automatic application system can cover
             substantially more area than a single manual operator.
                 In order to take advantage of the additional capacity, the application equipment
             must be installed with complimenting control equipment and it must be well main-
             tained, workers must be well trained, and good scheduling practices must be in place
             to ensure that the system capacity is used. Racking arrangements must be more pre-
             cise and consistent to get the best transfer efficiency. Part recognition systems must
             be well designed and maintained to make sure that the guns are triggered accurately.
                 There are many different models and types of automatic application equipment
             from many different manufacturers, but they break down into three main categories;
             air-spray guns, bells, and disks.


             6.6.5.1 Automatic Air-Spray Guns
             An automatic air-spray gun closely resembles a manual spray gun without a handle
             and manual trigger. It may be mounted in a stationary position or designed for use with
             a reciprocator or robot. They have one or dual spray heads and different spray angles
             to best fit the application. Automatic spray guns are triggered by a part identification
             system that "reads" the position and size of the part as it approaches and turns the
             guns on and off at the appropriate times. A more detailed triggering system uses
             a manually entered part number or style code at a manual input station (MIS) that
             utilizes a detailed application program that is specific to that part style and color.
                  Fluid tips and pattern shapes can be changed for different applications, making
             these guns flexible for a variety of products and paint materials. Air-spray guns will

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             typically provide better penetration into recesses than a bell or disk. Typical transfer
             efficiency can be very good, if parts are properly racked and the triggering programs
             are well defined. However, the air pressure required for atomization can result in
             more overspray than a bell. The bell atomizes the paint in a finer droplet and more
             narrow range, so the grounded part is able to attract a higher percentage of the paint
             sprayed. The bell also has a lower forward velocity, so the paint is less likely to be
             carried past the target by the force of the spray.


             6.6.5.2 Rotary Atomizers
             A system that uses a "bell" (rotary atomizer) or a disk is sometimes referred to as a
             true electrostatic system. The rotating bell or disk provides the atomization, and the
             high voltage causes the coating to go to the part. The rotation of the bell or disk causes
             the paint to move parallel to the target with the voltage off and the high-voltage field
             redirects the atomized droplets toward the target. Shaping air is also used with bells to
             control paint pattern size and aid penetration into recessed areas. Shaping air is used
             to direct the droplets toward the part where electrostatic attraction helps to draw the
             paint droplets onto the target. Figure 6.21 shows atomized paint at the edge of a bell.
                 Bells range in size from about 15-70 mm in diameter. Rotational speeds are
             anywhere from 10,000 to 60,000 rpm. Usually, a smaller bell diameter will have a
             faster rotational speed. The bell can be fed from a pressure pot as shown in Figure 6.22
             or from a larger container.
                 Typically, a faster rotational speed will provide more finely atomized paint. High
             solids and waterborne coatings may be difficult to atomize at rotational speeds below
             15,000 rpm.
                 The charged paint droplets will take the shortest path directly to the part. Although
             this provides high transfer efficiency, it can cause some difficulty in coverage




             FIGURE 6.21     Paint filaments from the serrated edge of a rotating bell.

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                                              \   E
                                     Air,   J.                            Air
                                                                       High
                                                                       voltage
                                                                       cable

                                                                                        110v
                   Bell        _ _
                                                                         Flectio-
                                                           Fluid         static high
                                                                         voltage
                                                                         supply
                                                  High voltage cable

             FIGURE 6.22 Electrostatic bell system.


             inside recesses. When the paint takes the shortest, most direct route to ground, it will
             be more likely to build on the flatter surfaces and the edges. Any crevices, interior
             corners, or complex shapes will be difficult to coat due to electrical resistance.
                 With a bell, the charged droplets in the air do not travel to the part with much
             velocity. Without the force of compressed air to drive them into the crevices and
             corners, manual touch up may be the only way to achieve the necessary coverage.
                 If the product is flat sheet steel, the transfer efficiency will be extremely high and
             the film buildup will be very even without touch up. Voltage or triggering adjustments
             can be made to overcome excess buildup on the edges.
                 Most bells use air as the bearing surface for the shaft that turns the bell. Air is
             pressurized between 60 and 100 psi and delivered between the high precision bearings
             and the shaft, creating a thin but very stiff cushion of air. The shaft can rotate on the
             air cushion, free of metal-to-metal contact.
                 On a bell, the fluid is normally fed through a tube down the center of the turbine
             shaft where it flows evenly over a cone at the back of the cup. The centrifugal force
             of the rotating bell evenly disperses the fluid to the edge of the rotating cup. The fluid
             passes through small holes on the outside of the bell, it is centrifugally atomized and
             attracted to the grounded work surface by electrostatic attraction. The shaping air is
             directed from an opening behind the bell to provide pattern control from 15" to 48"
             in diameter. The inside of the bell is shown in Figure 6.23.
                 A bell is often used on applications where the best appearance on the part is
             required. A bell atomizer virtually eliminates "mottling" and produces less "orange
             peel" than other automatic applicators. The bell can be mounted on a single or mul-
             tiaxis gun mover or it can be used on a robotic arm to obtain more than three axis of
             motion.
                 Disks are much larger in diameter and they spray perpendicular to the target.
             Increasing or decreasing the rpm of the rotary atomizer controls the droplet size of
             atomized paint. The disk sizes can range from 6" to 12" in diameter. Like the bell,
             the larger diameter disk usually has a slower rotational speed.
                 As mentioned previously, an automatic spray gun employs compressed air to
             deliver the paint to the part. It will provide somewhat better penetration of the Faraday
             areas and deep recesses buthas the potential to generate more overspray. It is important

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             FIGURE 6.23 Inside of a rotary bell.


             to consider this and compare the efficiency of a bell or disk and the related touch-up
             required to that of an automatic electrostatic spray gun when planning a system.
             Testing is important to see just what device works best.
                 Typically, a bell works well for simpler geometries requiring high transfer effi-
             ciency and even film or for the first application in a multiple application process. An
             air-spray gun may be the best application device for more complex geometries or for
             cut-in and touch-up.
                 The combination of automatic electrostatic and hand spray will always be more
             cost effective than a hand-spray-only operation. The return on investment for the
             automatic equipment will vary with the application. Jobs that have very low pro-
             duction rates may not be candidates for automation. However, process consistency
             improvements can provide greater first time quality and often justify the cost.


             6.6.5.3 Automatic Spray Supporting Equipment
             Automation requires much more than just the correct selection of application
             equipment. There are many small but important application equipment and fluid
             flow control components. Multiple gun stations must be designed for accurate and
             controllable flow of air, fluid, voltage, and movement. Hoses must be kept as small
             and as short as possible for quick color change and low material waste. Color change
             manifolds should be located near the spray station so that the purge of material from
             the supply line is quick and there is very little material in the line. Color change pro-
             grams should be written to fully utilize the material from the color change manifolds
             to the applicators to further reduce waste and color change time.


             6.6.5.4 Gun Movers
             Automatic guns are sometimes mounted in a stationary position. More often, they
             are mounted on a reciprocator or robot. There are long-stroke (Figure 6.24) and
             short-stroke reciprocators with vertical or horizontal movement. There are multiaxis
             gun movers that can move the guns in three dimensions: in/out, up/down, and in
             the direction of the conveyor. Moreover, there are robots (Figure 6.25) that can

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             FIGURE 6.24      Long stroke reciprocator with bells.


                                                                              Grid scale:
                                                                              1 block= 100 mm (3.9")




             Pedestal mounted robot with
                 six axis of motion



             FIGURE 6.25      Movement of robotic arm.


             move the gun in multiaxis patterns similar to a manual operator but with much more
             precision.
                The use of a gun mover is product dependent. They can help the guns to cover
             more surface of product and get into deep recesses, such as cars, office furniture, or
             appliance shells.
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                 One important thing to consider is that the machine selected is a durable piece
             of industrial equipment. Examine the construction and motion design to make sure
             that it is solid and will last. These machines will be expensive, so the testing must be
             thorough.
                 The stroke of the machine must be electronically integrated with the product
             and the line speed and controlled accordingly to avoid irregular patterns on the part
             surface. Establishing the correct stroke distance and stoke speed based on the line
             speed, surface to be covered, and desired film thickness will provide uniform coating
             application.
                 Reciprocator mounting bars can be configured with a variety of patterns for dif-
             ferent products. They can be mounted over the top of product on a floor-mounted
             conveyor or in vertical positions to coat from the side. One short stroke reciprocator
             can hold a double bar of three or four spray guns or bells each. This kind of versatility
             is one of the advantages of automation. Several guns can be brought to bear on the
             parts in a very short time span. The number and position of the guns can be designed
             to provide excellent coverage with low overspray.

             6.6.5.5 Robotic Painting
             A spray gun or bell mounted on a robotic arm provides the advantages of manual
             application (focused application and multiaxis movement) with much more accuracy
             and consistency. This provides an opportunity for improved quality, productivity, and
             reduced labor.
                 Robotic arms come in many different sizes with different control options. Atypical
             software driven controller can manage color change, provide analog fluid and air
             control, part queuing, arm homing, conveyor synchronization, path and function
             editing and simple lead through, and Cartesian teaching methods.
                 With a slim wrist design, the robotic arm can provide 360° of roll and 90° of pitch
             and yaw with flexible spatial coverage. Large, complex parts can be painted very
             effectively with exceptional precision using a robotic arm.

             6.6.5.6 Summary
             There is a wide variety of automatic spray equipment for liquid paint application. It is
             very important to conduct testing of the equipment to determine the best system for
             a given application.
                 When the application devices are tested, it is also important to evaluate the fluid
             flow control devises. A fluid flow control system or device may work very well with
             one type of material and work poorly with a different material. The equipment must be
             compatible with the flow rate and viscosity of the material being sprayed. For example,
             a very low flow rate with a lower solids material, such as two-component urethane
             on plastics, will need a small, sensitive regulator to provide the necessary control. If
             the material type and flow rate are changed, it may be necessary to change regulators.
             Remember that all of the fluid handling devices (regulators, static mixers, and flow
             meters) are not infinitely adjustable or interchangeable. They will work well within a
             certain range of flow, so you need the correct size for the flow rate that will be needed
             for a certain production line.

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                Always make sure that employees are well trained in the operation and mainten-
             ance of the spray equipment. Follow safety guidelines and keep up to date on new
             innovations in equipment and control options.


             6.7 ALTERNATIVE APPLICATION METHODS
             In addition to spray application, there are several alternative ways to apply liquid
             paint to industrial products.

             6.7.1 Dip COATING
             In a dip coating application, the part is simply immersed in a tank of paint. Excess
             paint drains back into the tank once the part is removed. Parts may be handled in
             batches or with a conveyor.
                 Dip tanks can be built in any size needed for small or large parts. Provisions must
             be made for circulation, filtering, and control of temperatures and viscosity. Because
             of the fire hazard involved, dip operations using flammable paints must be equipped
             with CO2 fire extinguishing systems and dump tanks.

             6.7.1.1 Advantages of Dip Coating
                   •   Simple equipment
                   •   Low-skilled labor requirement
                   •   Easily automated
                   •   Close racking of parts
                   •   Various part shapes can be mixed
                   •   Little paint is wasted if the part is allowed to drip over the tank

             6.7.1.2 Limitations of Dip Coating
                   • Viscosity control is critical. If the paint is too viscous, too much paint is
                     used (wasteful) and film thickness is too high. Low viscosity results in
                     paint films that are too thin. Consequently, corrosion resistance may be too
                     low for primers and hiding power may be inadequate for topcoats.
                   • Possible settling of the paint in the circulation system.
                   • Gradual tank contamination is possible. Parts entering the tank must be
                     clean and dry to avoid carrying in contaminants.
                   • Some parts are hard to immerse, because trapped air keeps them afloat.
                   • Tanks must be large enough to immerse the entire part.
                   • There is a fire and toxicity hazard associated with large volumes of paint
                     solvents.
                   • Film thickness control is a problem. Paint may become trapped in recesses
                     and drain slowly or not at all. On vertical surfaces, the paint tends to be
                     thicker at the bottom of a panel than at the top. This is caused by an increase
                     in viscosity as the paint loses solvent while draining. It often results in fatty
                     edges that can later break off under thermal or mechanical shock.

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                                                 t   j   Conveyor


                                                              ---            Nozzle

                                                                       _. Part

                                                                   -         Spray riser




                                                              --
                                                                            Enclosure


                                                                           Pump
                                                                       Paint reservoir

             FIGURE 6.26     Flow coating.


                 • The drain-off area must be cleaned regularly. Since this is usually done
                   manually, some dried paint may fall into the circulation system and clog
                   the filters, pumps, and nozzles.

             6.7.2 FLOW COATING
             In a flow coating operation, the part is held over a tank and a stream of paint is pumped
             over the part through a nozzle (see Figure 6.26). The excess paint drains into the tank
             and is recirculated over the parts. The variables that are important for flow coating
             include pumping, filtering, viscosity, temperature, ventilation, and fire control.

             6.7.2.1 Advantages of Flow Coating
                 • Simple equipment
                 • Little labor required
                 • Easily automated
                 • Dead air spaces can be coated if a stream of paint can be directed upward
                   into the recess
                 • Smaller volumes of paint are required, because the parts need not be
                   immersed
                 • Little paint is wasted if the parts are allowed to drain over the tank

             6.7.2.2 Limitations of Flow Coating
                 • High solvent loss by evaporation. Solvent must be replenished on a regular
                   basis.
                 • Possible settling of the paint in the circulation systems.
                 • Fire and toxicity hazards associated with the high solvent loss.
                 • Inability to coat certain recesses and inside surfaces.
                 • Gradual paint contamination if the paint rinses dirt, salts, oils, and so forth
                   from the parts.

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                   • Film thickness control is a problem. Paint may become trapped in recesses
                     and drain slowly or not at all. On vertical surfaces, wedging may occur
                     resulting in fatty edges.
                   • The drain-off area must be cleaned regularly. Since this is usually done
                     manually, some dried paint may fall into the circulation system and clog
                     the filters, pumps, and nozzles.

                 Dip and flow coating methods should be considered when high production painting
             of relatively simple shapes is required and quality appearance and corrosion resistance
             is not important. Viscosity and film thickness control are the major problems to be
             expected. Efficient use of paint and low labor rates are the primary advantages.
                 These processes are limited to waterborne coatings because of environmental con-
             siderations. High-solids coatings do not lend themselves to these types of application
             because of the higher viscosities that cause poorer flow characteristics and high film
             builds. Paints with high solvent content produce too much VOC for most installations
             and they create an unsafe working environment.

             6.7.3 ROLLER COATING
             A roller coating operation is capable of coating large areas in the form of sheet or
             strip at high speed and with a continuous and even thickness of paint or varnish. The
             rollers can also be used to laminate plastic film to metal substrates.
                  There are two methods of liquid transfer for roll-coating systems on flat sheets.
             One system uses three rollers and the second uses four rollers. In the first process, the
             liquid is fed between the feed and applicator rollers rotating in opposite directions.
             The stream of paint is then fed through the rollers onto the sheet. The third roller acts
             as a pressure roller to ensure that the sheet comes into correct and even contact with
             the wet applicator rolls (see Figure 6.27).
                  In the four-roller process, a fountain roller picks up liquid from a trough, transfers
             it to the feed roller, which in turn presses it to the applicator roller. The fourth roller
             acts as the pressure roller, as in the three-roll system. In coil coating applications,
             where both sides of the sheet are coated, the four-roller system is used. The applicator
             rollers act as pressure rollers.
                  Fountain and feed rollers are normally made of stainless steel, while the
             applicator roller has a steel core covered with a rubber, gelatine composition, or



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                                  1. Feed roller              3
                                  2. Application roller
                                  3. Pressure roller

             FIGURE 6.27     Roll coating.

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             polyurethane face. These surfaces become deformed during use and need to be
             remachined to offer a continuous smooth surface. Gelatine rollers are resistant to
             many organic coatings but are not resistant to water-based coatings. Polyurethane
             rollers produce a solvent and abrasion resistant surface. They are normally found as
             applicator rollers on fast running coil coat lines.

             6.7.3.1 Advantages of Roller Coating
                 •   Smooth, even, dust and "fat edge" free films can be produced
                 •   Films dry relatively quickly
                 •   No excessive solvent or paint losses due to evaporation occur
                 •   There is no fire hazard

             6.7.3.2 Disadvantages of Roller Coating
                 • Limited to thin sheet stock
                 • Not able to apply the variety of finishes used in spray coating

             6.7.4 CURTAIN COATING
             Curtain coating is a sophisticated method of pouring a continuous film of lacquer
             or paint over flat sheets. The sheets are conveyed under a trough with an adjustable
             slot. The trough acts as a pouring head and control of the gap regulates the volume
             of material, controlling the film thickness deposited on the sheets. Curtain coating
             works well for coating flat sheets of metal or wood.
                 A second conveyor moves the coated panel away from the gap. Initial applica-
             tion efficiency is excellent and any material that does not adhere to the product is
             recirculated to the trough by means of a pump.
                 In some instances, moisture-containing substrates are prewarmed in a tunnel prior
             to coating. The warm panel aids the set-up characteristics of the paint or lacquer. An
             alternative is to heat the lacquer with a heat exchanger located between the reservoir
             and trough.
                 The most important part of curtain coater is the adjustment slot (or gap) in the
             trough. The gap can be accurately controlled to develop predetermined film weights.
             The trough and slot must be kept scrupulously clean, because any dirt or solid material
             will break the curtain and cause a surface defect.




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                    Transfer Efficiency and
                  7 Spray Technique
             Transfer efficiency is the measurement of the percentage of the paint material sprayed
             that provides coating on the parts versus the percentage that is lost in the spray process.
             The type of spray gun is very important, but it is only part of the picture. The extent of
             automation and electronic control equipment, the cleanliness and maintenance of the
             system, the skill and training of the operator, the coating material, the product being
             sprayed, the flow rates, and spray booth air velocities will affect the transfer efficiency
             of any spray equipment. Table 7.1 provides a comparison of different technologies in
             field and lab tests, and shows the relative transfer efficiencies of each.


             7.1 SPRAY GUN CONTROLS
             There are several related adjustment points on a gun that allow the operator to control
             the size and shape of the pattern, the amount of atomization, and the amount of fluid
             coming out of the gun.
                 For manual guns, there are typically two adjustments located at the rear of the
             gun handle. One knob will adjust the amount of air going to the air nozzle, providing
             control of the size and shape of the pattern. The other knob adjusts the fluid needle
             travel, allowing more or less fluid flow. The fluid volume should not be adjusted with
             the knob on the gun unless the gun is being used with a siphon system. Adjustment



                             TABLE 7.1
                             Transfer Efficiency of Liquid Paint Spray Equipment

                             Spray Process                        Transfer Efficiency(% )

                             Conventional air spray                       15-40
                             Conventional airless                         20-50
                             Conventional air-assisted airless            30-60
                             Conventional HVLP                            30-60
                             Electrostatic airless                        40-70
                             Electrostatic air spray                      40-80
                             Electrostatic air-assisted airless           50-85
                             Electrostatic HVLP                           60-90
                             Electrostatic bell atomization               70-95
                             Electrostatic disk atomization               80-95
                             Electrical atomization                       95-98



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             by fluid needle travel is unstable and causes premature wear to the needle and seat. If
             a spray gun is used with a pressure system, then the fluid flow should be controlled
             with the fluid regulator, and the knob should be left in the full open position.
                 Adjustment starts by following the manufacturer's recommendations for needle
             and nozzle selection from their charts. The charts will indicate the proper range of
             fluid and air pressures.
                 The fluid pressure is set from the chart and the atomization pressure is added
             until the pattern is uniform and consistent. A good starting point for the atomization
             pressure could be as low as 5 psi. The pattern can then be tested to see if the paint
             is properly atomized and additional pressure can be added if it is needed. Excess
             atomization air will generate more velocity and reduce transfer efficiency.
                 If the atomization is not fine enough, the air pressure should be increased about
             two or three pounds at a time and tested each time it is increased. Once the correct
             amount of atomization is reached the pattern size and shape can be adjusted with the
             pattern adjustment knob on the spray gun.
                 The normal position for the ears on the air cap is parallel to the floor to produce
             a vertical fan pattern. This assumes spray gun movement from left to right. To create
             a horizontal fan spray pattern, the operator can turn the ears or turn their wrist 90 0 .
                 Usually, when the fluid pressure is increased it is necessary to increase the atom-
             izing air pressure. The two air pressure controls are adjusted to provide the correct
             volume of material with uniform atomization and a minimum of velocity. The best
             overall delivery pressure is always the lowest pressure that will adequately provide
             the correct volume of paint and the correct atomization.
                 If the atomizing air is too high relative to the amount of fluid being delivered,
             it may produce excess velocity and dry spray. If it is too low, the fluid droplet size
             may be too large (inadequate atomization) and the surface may have orange peel.
                 If too much fluid is applied, the film may be too heavy with more risk of sags. If
             the amount of fluid applied is too low, it may cause lightly coated areas on the part
             and dry spray.



             7.2 APPLICATION TECHNIQUE
             It is possible to do several things wrong and still produce a good finished product.
             However, proper technique will improve the quality of the finish, reduce overspray,
             reduce labor, and increase the life of the spray equipment.
                  Proper technique begins with an examination of the spray gun. A brief inspection
             of the system may find some detail that needs to be adjusted before the gun is triggered.
             Some of the things to look at include

                1. Is the trigger easy to pull back, and does it return smoothly and quickly
                   when released?
                2. Are the air and fluid nozzles properly installed?
                3. Are the fluid and air hoses the correct size?
                4. Is the fluid hose free of pinch points?
                5. Are the hose connections tight?

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             Transfer Efficiency and Spray Technique                                            145


             7.2.1 ATOMIZATION
             After the system inspection has confirmed that the gun is ready for spraying, a test
             pattern should be sprayed on cardboard. A full oval shape with an even distribution
             of paint is needed to produce a quality finish. Spray enough paint on the cardboard
             to allow it to run. The runs should be equal all across the pattern. If the runs are
             heavier on one side of the pattern, the air cap may be defective. Rotate the air cap
             180° and respray the cardboard to see if the heavy runs shift sides. If they do, replace
             the air cap.
                 The amount of paint delivered to the gun tip is determined by the amount of
             product to be painted and the time available to spray it. The amount of atomizing
             pressure is determined by how much energy it takes to break up the paint stream into
             a uniform pattern. The best spray pressure is the lowest possible level at which the
             job can be done.

             7.2.2 GUN POSITION
             A spray gun needs to be held at a constant angle to the part to help apply uniform
             film buildup. If the spray gun is tilted, the distance between the nozzle and the part
             surface is not consistent, and film deposition will not be uniform. More paint at a
             greater velocity will contact the part in the one area of the pattern. This causes poor
             hiding and dry spray at one end of the pattern and heavy film at the other. This tilted
             position is sometimes referred to as heeling or toeing the gun (see Figure 7.1).




             FIGURE 7.1 Improper stroke, tilting.

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             FIGURE 7.2    Improper stroke, fanning.




             FIGURE 7.3 Proper spray stroke.

                 Heeling/toeing is an easy way to recognize technical error and one that is easily
             corrected. Figure 7.1 shows the incorrect position. Proper application requires a level
             stroke.
                 Another common error is arcing or fanning the spray gun from side to side
             (see Figure 7.2). This will occur when the operator hinges the spray gun from the elbow
             instead of the shoulder and wrist. The pattern is not kept at the same distance from
             the product during the entire spray stroke, and the film deposits heavy in the center
             and light at the edges.
                 Proper spray application requires the use of the wrist, elbow, and shoulder working
             together during the stroke. The average spray stroke is 36". The arm moves side to
             side in a horizontal motion. The wrist must be flexed as the arm strokes from side to
             side, attempting to maintain a consistent gun-to-target distance (see Figure 7.3). The
             proper spray stroke will produce the most uniform film with the least risk of runs,
             sags, or dry spray.


             7.2.3 GUN DISTANCE
             Gun distance and gun speed are also very important factors in spray accuracy and
             uniform paint application. The distance from the nozzle tip to the product affects the
             wetting of the paint and the appearance of the coating.

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             FIGURE 7.4 Improper gun-to-target distance.


                 Solvents evaporate as the coating leaves the gun. The correct gun-to-target
             distance works in harmony with the specific solvent blend in the coating and provides
             the proper "wetness" when the coating hits the target. If the gun is too far from the
             product, there is more risk of dry spray. If the gun is too close to the target, the film
             may sag (see Figure 7.4).
                 If the distance between the spray gun and the target increases or decreases, the
             wetness of the paint film will be affected by the evaporation rate of the solvents in
             the paint blend. The typical distance from the target for hand spray is 6"-12". Each
             coating may have a slightly different distance that seems to work best, and the spray
             gun and gun adjustment will also affect the wetness of the film. It is important to be
             as consistent as possible while stroking the gun.


             7.2.4 GUN SPEED
             Another important factor in accurate film deposition is speed of the stroke. The stroke
             speed of the spray gun should be kept consistent for the best material utilization and
             to conserve the energy of the operator.
                 The "gyroscopic painter" technique should be avoided. Excessive pivoting of the
             spray gun uses more paint material than necessary, makes a mess of the booth walls
             and ceiling, and wastes energy.
                 The correct speed allows for an even wet film of material to be applied in one
             stroke. If the stroke is too slow, it may cause sags and runs, solvent pop may occur,

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             and it is more difficult to keep up with production. If the stroke is too fast, it may
             cause dry spray, uneven film buildup, and exhaustion of the operator.
                Gun speed should be maintained at a comfortable and even pace. The fluid pressure
             and the air nozzle pressure are set to work in harmony with the speed of the stroke.


             7.2.5 LAPPING
             The gun stroke should be overlapped in a precise pattern to ensure complete and
             uniform coverage. The amount of the spray pattern that is overlapped should be 50%
             of the total pattern width. If the gun delivers a 12" pattern for each spray stroke and
             each stroke overlaps by 6", it is called a 50% overlap. The center of the spray pattern
             is aimed at the wet edge of the previous stroke (see Figure 7.5).
                  Sometimes a spray pattern is "crosshatched" to build additional film thickness and
             to provide uniform thickness and coverage. Crosshatching refers to a pattern that is
             stroked vertically and then horizontally.
                  The spray gun should be triggered before the pattern reaches the part and released
             after the pattern leaves the part to avoid a heavy area. Triggering on the part will leave
             a large deposit of material in one area, because the coating will not be fully atomized
             for a split second after the trigger is pulled.
                  The size of the spray pattern should be related to the part being coated. Large
             panels can be efficiently coated with a full pattern. For slender work, the pattern
             should be small enough to avoid excessive overspray.
                  In order to apply an even film, the spray pattern must be uniform. It is useful to
             spray a sample pattern on a piece of cardboard to make sure that there is no problem
             with the fluid nozzle or air cap. Some examples of faulty spray patterns are shown in
             Table 7.2.
                  When coating a large panel, the conventional method is to cover the surface with
             horizontal strokes. The stroke starts about 6" off the part, and the trigger is pulled


                                The first stroke is aimed at the
                                edge of the panel




                                                          The center of a stroke is aimed at the
                                                          wet edge of the last stroke


             FIGURE 7.5    Proper overlap stroke.

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             Transfer Efficiency and Spray Technique                                                         149



             TABLE 7.2
             Spray Pattern Problems
             Pattern                                         Cause                         Correction

                                                 1. One of the side ports of      1. Use paint thinner to
                                                    the air nozzle is clogged        remove dried paint; do not
                                                                                     probe into the holes with
                                                                                     anything harder than brass


                                                 1. Fluid build up on one side    1. Remove air nozzle and
                                                    of the fluid nozzle              wipe off fluid nozzle
                                                 2. Damaged fluid nozzle          2. Replace damaged fluid
                                 ?????
                                   66ff6ff   .
                                                                                     nozzle



                                                 1. Air pressure is too high      1. Reduce air pressure
                                                 2. Spray pattern is too wide     2. Reduce fan width
                                                 3. Fluid pressure is too low     3. Increase fluid supply



                                                 1. Air pressure too low          1. Increase air pressure
                                                 2. Excessive fluid velocity or   2. Use smaller fluid nozzle
                                                    too much fluid                   orifice, reduce fluid
                                                                                     pressure


             Spitting                            1. Loose fluid nozzle            1. Tighten fluid nozzle
                                                 2. Fluid needle not seating      2. Clean fluid nozzle seat
                                                    (dirt)                           area
                                                 3. Loose or missing packing      3. Tighten packing nut or
                                                    nut or dried fluid packing       replace missing or dried
                                                                                     fluid packing
                                                 4. Fluid connection is loose     4. Tighten all fluid supply
                                                                                     connections leading to the
                                                                                     spray gun




             just before the gun tip reaches the edge of the part. The trigger is released just after
             the gun tip moves off of the other end, and a new stroke begins in the other direction
             with the gun moved down to produce a 50% overlap.
                 The strokes can be vertical if the operator is comfortable with the motion and able
             to produce consistent and uniform film build.
                 Coating the edge of the panel with parallel strokes can reduce the amount of
             overspray. The gun does not have to be moved off the edge of the part. An illustration
             in Figure 7.6 shows this technique.
                 A box shaped part should be coated on the corners first, and then the flat surfaces
             are covered with the same technique as a panel (see Figure 7.6).

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             FIGURE 7.6 Paint application on a corner.




                                             Cold paint inlet              r•     Heat transfer fluid
                                                                           —      Paint

             Pump

                                                                     Heat
                Heating                    ~~ `          I        ✓'exchanger       I~ J/
                element                                              Heated
                                                                     paint outlet l
                                                                             Heat transfer
                                    0        J                                         fluid


                                        Thermostat
                                        control
                                                                                        Heated paint
                                                                Heat transfer fluid     to spray gun

             FIGURE 7.7 Paint heating system.


             7.2.6 HEATED SPRAY

             The addition of an in line paint heater can provide several advantages, particularly
             considering the high-solids content of a compliant liquid coating. The heater will not
             only help to achieve a correct spray viscosity, but will also provide consistency so that

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             Transfer Efficiency and Spray Technique                                            151


             the paint is less sensitive to temperature, and the operator can apply a more uniform
             film without adding additional solvents.
                 The spraying of heated paint enables the low boiling solvents to evaporate between
             the spray gun and the surface, leaving the high boilers to level the material. The
             increased viscosity of the paint will allow more material to be deposited without
             sagging.
                 Paint heaters can be fitted for different types of application systems; they can be
             attached to a booth, or they can be portable for field applications.
                 There are several types of paint heaters that can provide consistent paint temper-
             atures at a specific flow rate. A typical heater circulates heated water or oil through
             a heat exchanger. The paint is heated as it passes through the heat exchanger on its
             way to the spray device (see Figure 7.7).
                 Electric paint heaters are often used in medium to small paint supply and
             circulation systems. Paint heaters are typically capable of raising thepaint temperature
             to 70°F from the temperature on the inbound side of the heater.




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                   8 Spray Booths
             A liquid spray booth is an enclosure around the spray operation that provides
             containment of the oversprayed paint and controls the spray environment. The spray
             booth includes an exhaust fan to create negative air pressure inside the booth. The
             exhaust air contains the overspray, directs paint solids to the filters, and directs the
             solvent vapors to atmosphere or an abatement system. The booth provides a clean
             and safe environment for the operator and smooth airflow to enhance paint transfer
             efficiency.
                 For liquid spray systems, the airflow can be either vertical in a down draft design
             or horizontal in a cross draft design (see Figure 8.1). Airflow is necessary to contain
             the paint overspray by creating a slight negative pressure inside the spray booth.


             8.1   NFPA REQUIREMENTS
             The agency that produces the standards that govern spray booth design and operation
             is the National Fire Protection Association (NFPA). NFPA 33 provides the safety
             guidelines for spray booth construction and sets the standards for airflow and electrical
             requirements.
                 NFPA 33 requires that spray booths be substantially constructed of non-
             combustible materials and prohibits the presence of an open flame or spark-producing
             equipment in a spray area. The dimensions of the "spray area" are defined differently,
             if the ventilation system is interlocked to the spray equipment in a way that pre-
             vents operation of the spray equipment without ventilation. If the booth exhaust is


                                                                    Booth inlet
                                                                    airflow
                                                                                          Exhaust
                                                                                  rn
                                                                  Down draft

             FIGURE 8.1 Dry filter spray booths.

                                                                                                      153

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             interlocked with the spray equipment, then electrical wiring or equipment within 5 ft
             (1.5 m) of the booth openings must be explosion proof or intrinsically safe. If the
             exhaust is not interlocked, the hazardous area extends to 10 ft (3 m).
                 Spray booths are designed with sufficient air turnover to maintain a solvent con-
             centration that is below 25% of the lower flammable level (LFL) of the material being
             sprayed. The LFL is the lowest flammable concentration of a gas in air in which a
             flame can be propagated when given a source of ignition. This is also called 100% LFL
             and can be used interchangeably with %LEL (lower explosive limit) (see Table 8.1).
             Different solvents have different LFL values.




                    TABLE 8.1
                    Lower Explosive Limit of Some Commonly Used Solvents
                                                   ft3/gal of Vapor of   LEI in % by Volume of
                    Solvent                           Liquid at 70°F           Air at 70°F

                    Acetone                               44.0                     2.6
                    Amyl acetate (iso)                    21.6                 (1) 1.0
                    Amyl alcohol (n)                      29.6                     1.2
                    Amyl alcohol (iso)                    29.6                     1.2
                    Benzene                               36.8                 (1) 1.4
                    Butyl acetate (n)                     24.8                     1.7
                    Butyl alcohol (n)                     35.2                     1.4
                    Butyl cellosolve                      24.8                     1.1
                    Cellosolve                            33.6                     1.8
                    Cellosolve acetate                    23.2                     1.7
                    Cyclohexanone                         31.2                 (1)1.1
                    1,1 Dichloroethylene                  42.4                     5.9
                    1,2 Dichloroethylene                  42.4                     9.7
                    Ethyl acetate                         32.8                     2.5
                    Ethyl alcohol                         55.2                     4.3
                    Ethyl lactate                         28.0                 (1) 1.5
                    Methyl acetate                        40.0                     3.1
                    Methyl alcohol                        80.8                     7.3
                    Methyl cellosolve                     40.8                     2.5
                    Methyl ethyl ketone                   36.0                     1.8
                    Methyl n-propyl ketone                30.4                     1.5
                    Naphtha (VM&P) (76° naphtha)          22.4                     0.9
                    Naphtha (100° flash) safety           23.2                     1.0
                     solvent-Stoddard solvent
                    Propyl acetate (n)                    27.2                    2.8
                    Propyl acetate (iso)                  28.0                    1.1
                    Propyl alcohol (n)                    44.8                    2.1
                    Propyl alcohol (iso)                  44.0                    2.0
                    Toluene                               30.4                    1.4
                    Turpentine                            20.8                    0.8
                    Xylene (o)                            26.4                    1.0


                                                                                 G-P PG001135




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             Spray Booths                                                                         155


                 NFPA also states that spray booth exhaust must have an adequate supply of
             make-up air to maintain proper operation of the exhaust system. Without air supply,
             there is a risk that the booth will lose its negative pressure and solvent vapors or paint
             solids can escape the booth.


             8.2 AIR MAKE-UP
             Air make-up (AMU) systems are designed to supply air into the building or directly
             to the spray booth. A fan draws outside air into the AMU housing and directs it
             through a discharge outlet into the building or directly into an air inlet plenum that is
             connected to the booth. The volume of air should be adjustable for booth balancing
             purposes. Dampers or variable frequency drives can be used for adjustment. The
             air can be cooled or heated as needed. Humidity controls are also sometimes added
             to the supply air. The AMU heater is often located on the roof of the building, but
             it may be mounted on the ground or suspended above the spray booth. The AMU
             should be located far enough from the spray booth exhaust stack and in a position
             where the vapors from the booth exhaust cannot be entrained in the AMU intake air
             stream.


             8.3 BOOTH EXHAUST STACKS
             The exhaust stack height is affected by local environmental regulations, building
             height, and the surrounding area. The exhaust stack should extend above the roofline
             for 30-50% of the building height to make sure that the exhaust is carried up into
             the prevailing winds. A 20-ft building should have a stack height of 6'-10' above
             the roof.
                 Stacks should be longer in areas with high buildings, tall trees, or other nearby
             vertical obstructions. High neighboring obstructions can create low-pressure areas
             and interfere with the exhaust stream so that vapors and fine paint solids may not be
             carried up into the prevailing winds.


             8.4 SPRAY BOOTH SIZING
             The interior work area of the booth can influence the transfer efficiency of the sprayed
             coating and the ability of the spray booth to contain overspray. Spray booth sizing
             depends on the size of the products to be sprayed, the equipment used to apply the
             paint, and time required to achieve full coverage. Booths come in a variety of stock
             sizes from 4'0" W x 7'0" H x 6'0" D (work chamber) to 20'0" W x 10'0" H x 9'0" D.
             Many spray booths are custom fabricated to fit the products that will be coated and
             paint system.
                 It is very important to make sure that a spray booth has enough area to efficiently
             apply the coating and maintain containment of the overspray. There are some very
             practical guidelines to booth sizing that can help with selection.
                 In some spray operations, the part is moved into the booth without an overhead
             conveying system. A small batch operation may use carts to bring parts into the booth.

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             A large truck frame or a piece of heavy equipment may be moved into a booth on
             track in the floor. These batch systems require a booth that is large enough to allow
             freedom of movement around the part and clear access to all surfaces with enough
             room for the equipment, the part, and the operator.
                 Conveyorized systems will have an overhead or floor mounted conveyor that
             affects the booth sizing. Adequate vertical height, width, and depth are required to
             make sure the booth functions properly.


             8.4.1 SPRAY BOOTH HEIGHT
             The product being painted should be no lower than 30" off the floor so that the operator
             does not have to bend too much and the bottom of the part is accessible. From the top
             of the part to the hook site should be at least 30" in an electrostatic operation to avoid
             painting the hook, and 36" is preferred. In a nonelectrostatic operation, the conveyor
             should be at least 30" above the spray zone to avoid painting it.


             8.4.2 SPRAY BOOTH WIDTH
             The width of the booth is related to the number of spray stations in the booth and
             the size of the part to be coated. Each automatic spray station should be at least 4'0"
             away from the booth walls or another station. Therefore, the minimum booth width
             (working chamber) for one automatic spray station is 8'0". The minimum for two
             spray stations is 12'0" wide. This applies to conveyorized systems running at some
             production line speed. Very small batch operations, or conveyors at very slow speeds,
             can use a 6'0" wide booth for manual application.


             8.4.3 SPRAY BOOTH DEPTH
             The depth of the work chamber is related to the thickness of the product. The product
             needs to be kept at least 3' away from the exhaust filter bank in a cross draft booth,
             and there must be adequate space for spray stations or manual operators to move
             freely.


             8.4.4 INTERIOR WORKING DIMENSIONS
             The sizes indicated above are minimums. In most cases, it is helpful to provide more
             work space so that no paint is lost from the booth interior and the filters are not too
             close to the spray guns.
                 Containment of paint overspray can be assisted by the addition of entrance and
             exit vestibules that profile the opening into the booth.
                 In manual operations, the part size and line speed make a larger width necessary
             to give the operator time to spray. In the case of two manual sprayers in the same
             booth, 5-6 ft should be left between the sprayers and 5-6 ft from the booth wall. Also,
             manual spray operators tend to start spraying as soon as the part enters the booth, so
             an entrance and exit vestibule of at least 3'0" is recommended to help keep overspray
             inside the booth.

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             Spray Booths                                                                         157


             8.5 SPRAY BOOTH EXHAUST SIZING
             The spray booth exhaust, measured in cubic feet per minute (CFM), is determ-
             ined by multiplying the width of the working chamber times the height, times
             the recommended air face velocity. Typical face velocity in a spray booth is
             100-120 feet per minute (FPM) for manual spray operations and 50-80 FPM for
             automatic spray operations.
                 Fans are often sized bigger to allow for paint load in the filters during production.
             As filters load with paint, the face velocity drops and the booth may not be able to
             properly dilute the air and prevent solvent accumulation or contain overspray.
                 A booth that is 10'0" wide x 10'0" high used for manual painting would require
             12,000 CFM with clean filters (10' x 10' x 120 FPM = 12,000 CFM). If the booth has
             product openings, the square footage of opening should be multiplied by 100 FPM
             and added to the total CFM. For example, with a 2' x 5' product opening in each side
             of the booth, the additional air needed for the booth is 2000 CFM.

                  2' x 5' product opening x 2 (one on each side) x 100 FPM = 2000 CFM

                 The air volume for the booth openings is added to the volume needed to supply
             the required face velocity to get the total exhaust volume.

                                      12,000 + 2,000 = 14,000 CFM total



             8.6 FILTRATION
             Exhaust filtration is designed to capture paint solids and allow solvent vapors to
             pass through into the exhaust air stream. The exact filter arrangement is related to
             the process requirements, the material being sprayed, application equipment transfer
             efficiency, and amount of overspray.
                  Bulk media is less expensive and easier to deal with than filter pads or bag filters.
             Many systems use two layers of filters to provide the needed particulate arresting
             efficiency while keeping the overall cost down and simplifying filter change. The
             first layer of filters is less expensive. It is designed to collect the bulk of overspray
             and is less efficient on the small particle sizes. The second filter layer is much more
             efficient on the small particle sizes and initially more expensive. This arrangement
             allows the operator to replace the lower cost media more frequently while extending
             the life of the high efficiency second-stage filter. A typical arrangement would be
             a 90% + efficient bulk media over 99% + efficient bag type filter. The filtration
             efficiency must effectively remove nearly all of the particulate from the air stream to
             protect downstream equipment and the environment.
                  In a dry filter booth, NFPA requires that a manometer or magnahelic filter gauge
             be installed on the exhaust filters to measure pressure drop. A typical setting for this
             filter gauge might be 0.25" of water, as measured in inches of water column (WC),
             although this will vary dependent on bow the fan was sized, booth velocity, and filter
             resistance.

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             FIGURE 8.2 Dry filter spray booth.




             FIGURE 8.3 Water wash spray booth.
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                 As the filters become loaded, the pressure will drop and the gauge will move up.
             When the filters reach a load level that restricts airflow, they are overloaded and need
             to be replaced. The point at which this happens should be noted on the filter gauge and
             the filters should always be changed before they reach that level. If the filters seem to
             need changing too frequently, the coating material may have changed, the spray gun
             transfer efficiency could be going down, there could be a problem with the exhaust
             fan, or other filter materials should be evaluated.
                 The exhaust portion of the spray booth may use dry filters, or it may use a water
             curtain to capture paint solids. As the filter media gets loaded with oversprayed paint
             solids, the air volume will decline, and the filters will need to be changed to maintain
             optimum airflow and transfer efficiency and to prevent loss of containment of the
             oversprayed paint solids and vapors. Dry filter booths are much less expensive than
             water wash booths, they require less maintenance, and they are also recognized as
             best available technology. Used filters are typically less difficult to dispose of than
             liquid paint sludge (Figure 8.2).
                 A water wash booth has a curtain of water that flows at the back of the booth or
             in the floor of the booth, a pump, and some type of sludge separator with chemicals
             to neutralize the coating material. Maintenance is typically higher than a dry filter
             booth, and the wet sludge is a hazardous waste. The primary advantage of a water
             wash booth is that the airflow remains constant, because the overspray is collected
             in the sludge where it cannot restrict the exhaust. This also means that production is
             not interrupted for a filter change in the middle of the day that requires large gaps or
             down time in the line to minimize the risk of part contamination (Figure 8.3).




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                 9 Curing
             Curing is the process of converting the applied wet paint to a dry film. The paint
             may cure by solvent loss (lacquers and emulsions), chemical reaction (enamels),
             oxidation (oil base house paints), melting and resolidifying, or melting and cross-
             linking (powder coatings). Energy is usually required for dependable and consistent
             drying of industrial coatings.
                 Air-dry paints rely on solvent evaporation into the surrounding atmosphere. The
             temperature and humidity will have a profound impact on the drying time. Low
             temperature and/or high humidity will not provide sufficient atmospheric heat to
             rapidly dry the paint. Ovens or dehumidification equipment can be used to speed up
             the drying time and make it more predictable.
                 Paint cure ovens are enclosures in which the coating on the painted parts is forced
             to cure more rapidly than by air-drying alone. Usually, they are insulated and provided
             with a means of exchanging solvent-rich air for fresh air. They range from small batch
             type boxes to large conveyor equipped structures that can be hundreds of feet long.
                 Finishing systems often use convection ovens, infra red (IR) ovens, and ovens
             that combine convection and IR equipment for drying and curing. Various oven
             suppliers have their own design methods that can be effective. However, a few
             standard concepts should always be considered, regardless of the manufacturer.


             9.1 CONVECTION CURING
             A convection oven cures by circulating heated air around the part to heat the substrate.
             The part conducts heat into the paint and the paint dries from the heat. The convection
             oven uses a heating system that recirculates hot air through supply duct and distrib-
             utes it throughout the oven. The basic components include the insulated walls and
             roof, the supply duct, and the burner box, which houses the fan(s) and heat source
             (Figure 9.1).
                  The curing of organic coatings is a function of time and temperature as defined
             by the paint supplier. Typical oven cure cycles range from 10 to 30 min. The time
             and temperature required depend on the type of coating and the substrate. The cycle
             must be long enough to bring the substrate to the desired temperature, and maintain
             it for the prescribed time.

             9.1.1   DUCT DESIGN
             Cure oven ductwork should be designed to circulate air in a way that will maintain even
             heat throughout the oven without excess turbulence. The best location for the duct
             is the oven ceiling. Ductwork is located in the corners and between conveyor passes
             to provide uniform distribution of air. Adjustment cones can be used for air balance.

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                       Burner box y                        Recirculation fan
                                                                               1
                                                          Burner

                                            Supply
                                             duct     ,
                                                              Return
                                                                  air



             FIGURE 9.1    Convection cure oven.


             The floor is also an acceptable location, arranged under the conveyor with air passing
             up through the parts (Figure 9.1). Floor duct will interfere with movement and cleaning
             inside the oven.
                 Recirculation fans and ducts are designed to ensure adequate air movement within
             the oven. This prevents solvent vapor build-up in dead spots and provides for the
             constant movement of hot air over the part surface. Without this air movement,
             paint heat-up would be slow and vent loss rates would vary, slowing the process,
             and possibly causing film defects. Typical duct exit velocities are on the order of
             1000-2000 ft/min (305-610 m/min).

             9.1.2 OVEN FUELS
             Gas is most commonly used in process ovens, because it is readily available, it is
             easy to control, and it is less expensive than other fuels. High-quality gas burners
             feature up to a 40:1 turn down ratio, providing efficient operation at various load
             levels. The gas burner is typically mounted in the side of the burner box upstream
             from a centrifugal recirculating fan, which discharges through a transition duct and
             into the distribution duct. The burner box can be mounted on top of the oven, on the
             side of the oven, on the end of the oven, or underneath the oven.
                 An oven can function quite well with an electric heater, and the design is very
             similar to the gas burner box. Sheathed electric heating elements take the place of
             the gas burner in a package-type heater with a built-in centrifugal recirculating fan.
             Electric ovens require more time to reach the operating temperature and to cool to
             ambient conditions. In addition, electricity is still more than twice as expensive as
             natural gas. Using a gas price of $1.00 per 100 ft3 of gas the cost per 1M Btu is
             $10.00. Using an electric cost of $0.08 per kilowatt-hour, the cost per 1 M Btu
             is $23.43.
                 Steam can also be used to provide heat to a convection oven. Like gas and electric
             heating systems, a steam heating system uses a recirculating convection-type burner
             box. The return air should be filtered with high-efficiency air filters to prevent the
             steam heat exchanger from clogging. For a steam heat exchanger, a self-operating
             regulator with indicator should be used with a strainer to protect the valve. In addition,
             a bypass line with throttling valve and self-acting steam control valve should be
             installed for proper heat control. Steam is typically not practical for curing higher
             temperature products unless a facility already has a boiler with excess capacity.

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             Curing                                                                                 163

             9.1.3 MATERIALS OF CONSTRUCTION
             The oven interior skin is typically 20-gauge aluminized steel, because it has superior
             heat resistance compared to galvanized or cold-rolled steel. The outside oven skin
             is typically 20-gauge galvanized, aluminized, or painted cold-rolled steel. The oven
             trim material should match the oven skin. Mild steel interiors are not recommended,
             because the surface can rust and cause contamination inside the oven.
                 The insulation is typically 4-lb density mineral wool or equivalent fiberglass,
             and the thickness should be 4" for processes up to 300°F and 6" for processes from
             300°F to 500°F. For temperatures greater than 500°F, 6-lb density mineral wool is
             recommended. The roof and walls should have the same panel thickness, but the
             floor may be plain concrete, aluminized skin, or insulated oven panels. Elevated
             ovens should have an insulated floor. Floor-mounted ovens are acceptable with an
             aluminized skin; however, there will be significant heat loss through the floor. For
             exterior ovens exposed to the weather, 6-lb density insulation is typically provided
             in increased thickness.



             9.2 INFRA RED CURING
             IR curing can be a great asset for faster oven process times, and it can also contribute
             to the quality of the finish. To use IR properly, it is important to understand of what
             it is and how it works.
                  IR energy is a form of electromagnetic radiation. There are three wavelengths of IR
             energy, measured on the electromagnetic spectrum in microns, between visible light
             and microwaves. These wavelength bands are shortwave (0.76-2.3 µ,m), medium
             wave (2.3-3.3 µ,m), and long wave (3.3-1,000µm) (Figure 9.2).
                  IR energy is transmitted from an emitter and directed at a target. Depending on
             the wavelength of IR and the nature of the coating, the energy can behave in one of


                                      0.38       0.76    2.3    3.3µm    1 mm
                                       I           I      I       I
                                         Visible Short Med Long wave
                                           light     wave wave        IR
                                                      IR     IR




                      Gamma X-Rays          UV          Infrared        Microwaves and
                       rays                rays           rays            radiowaves

                                      1nm             1µm        1mm          1m         1km
                          I   I   I    I I        I    I I   I    I I     I    I I   I    I
                                      10-9            10-6       10 3         100        103m

             FIGURE 9.2    Electromagnetic spectrum.

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                                                   Reflection     Absorption     Transmission



                                                            ///                ///
                       Coating layer


                       Substrate


             FIGURE 9.3    Infra red behavior.


             three ways: reflection from the surface, absorption into the coating, or transmission
             into the substrate (Figure 9.3).
                  Energy reflected from the surface has little or no benefit, although it is possible
             that it will be reflected back to the part surface by the reflectors located around the
             emitters. Transmission into the substrate will contribute to the cure of the coating, but
             it may not be a very efficient use of the IR energy with substrates that have relatively
             fast thermal conductivity. The advantage of IR is fully realized when the energy is
             absorbed by the coating, creating molecular oscillation, and generating heat.
                  Most organic coatings will absorb the highest percentage of energy in the medium
             wavelength. Short-wavelength absorption characteristics are quite low; most of the
             energy is transmitted into the substrate, leading to a smaller processing window and
             more color sensitivity. Long-wavelength IR provides less surface heating because
             of low electromagnetic energy levels. It is best suited for wood drying or similar
             low-temperature applications.
                  In order to fine-tune the appropriate IR system for a specific coating, testing is
             required. Shortwave IR may be suitable for some preheat situations, but care must
             be taken to avoid overexposure. Shortwave systems are very useful for products that
             have relatively simple geometry where the surface can be uniformly exposed to the
             emitters.
                  Medium-wave IR provides good absorption characteristics with less intensity
             than shortwave, and it is more flexible for a variety of coatings and different parts.
             Long-wave IR is useful where low wattage per square inch is required.
                  The nature of energy transfer by light makes it difficult to maintain uniformity
             over irregular surfaces. In order to react to various parts of different mass and shape,
             the intensity or position of the emitters must be adjusted by the operator or a program-
             mable logic controller (PLC). This lack of flexibility limits the number of applications
             where it is practical to use IR alone for curing, particularly if the throughput will vary
             in size, shape, and mass. In situations where the mass-to-surface ratio and the part
             geometry are changing rapidly, it may be difficult to control the amount of energy
             and avoid excess or insufficient cure.
                  A combination of IR and convection can make an excellent oven, providing flex-
             ibility, saving space, and offering dependability and reasonable energy efficiency. For
             example, an oven may be equipped with an IR section at the entrance to begin the cure
             process prior to entry into a larger convection zone. It can shorten the overall cure
             cycle and reduce the risk of contamination that may occur in the convection zone.

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             Curing                                                                                165



             It can also be zoned to effectively react to different masses on the part and accelerate
             cure on heavy substrates.
                  In some cases, IR can be the best, if not the only, way to cure a coating. Very
             massive parts that would require impractical cure times with convection heating can be
             cured fairly quickly in an IR oven that is properly designed. Testing is required to
             determine the precise intensity of the emitters and the optimum arrangement.


             9.3 OVEN MAINTENANCE AND CLEANING
             Oven maintenance is a critical issue in the design. It will be necessary to clean the
             inside of the oven, so the duct interior and exterior must be accessible, and the surfaces
             should be smooth so that they can be washed or vacuumed. Man doors and swing-in
             dock lights should be included where possible. For high-quality finishing systems,
             such as clear-coat or plastic lines, interior lighting may be used to facilitate cleaning
             the oven.


             9.4 OVEN EXHAUST
             Cure ovens must be exhausted to remove solvents, gases, and the by-products of the
             combustion. Oven exhaust also creates a negative environment in the oven enclosure,
             which helps to contain the oven atmosphere at the product openings.
                 The amount of air exhausted from the oven is based on the amount of solvent
             that is carried into the oven and the by-products of combustion. The exhaust volume
             must be high enough to prevent a loss of gases from the openings. Excess exhaust
             will unnecessarily increase the cost of oven operation.
                 Exhaust is required to prevent the buildup of solvent vapors to explosive levels.
             Safety codes require that solvent vapor levels should not exceed 25% of the lower
             explosive limit (LEL). 10,000 ft3 (280 m3) of fresh air must be supplied for each
             gallon (3.79 L) of solvent evaporated.


             9.5 OVEN FILTRATION
             The negative air pressure in the oven may attract particulate from the facility that can
             cause dirt defects on parts. Vacuuming the oven interior regularly will help to prevent
             contamination from building up in the oven and becoming a problem.
                  Another way to help avoid an oven dirt problem is by providing return air filtration.
             A filter framework is built into the return air opening of the burner box and high-
             temperature filters are installed in the frames. While the efficiency of the filters varies
             for each application, a typical combination would feature a row of 30%-efficient
             filters serving as the prefilter layer for a secondary layer of 90%-efficient filters. This
             prevents the blower from circulating dirt onto the parts and constantly sweeps the
             oven (Figure 9.4). High-efficiency filters may not require a prefiltered air stream.
                  If return air duct is used, the filtration should not be located in duct that is in
             close proximity to the parts. Return air filtration should only be located in the return
             opening.

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                                                                                                                         -- Burner



                                                                                                                     90% Efficient
                       Fan •--
                                                                                                                     secondary filter


                                                    ............. .. ....... .. ...... ............ ........ .i




                                                                                          ♦
                                                                                                      i
                                               i
                     Discharge
                                                                                                                       Return air inlet


             FIGURE 9.4    Return air filtration.



             9.6 OVEN LOCATION
             Ovens can be located directly on the floor, elevated on support steel, or located
             on the building roof. A floor-mounted oven with product openings in the sidewall
             should feature some method of heat containment as described previously, and the
             floor should be insulated to reduce heat loss. Elevated ovens remove process heat
             from the floor and save floor space. An elevated oven can cost considerably more than
             a floor-mounted oven because of increased installation costs and additional materials.
             Bottom entry and exit openings in an elevated oven will provide the best possible heat
             containment.


             9.7 THE IMPACT OF CATALYSTS ON CURING
             Catalysts are chemicals that are added to the paint to accelerate cure by chemical
             reaction. Strictly speaking, they are not energy sources. Catalysts are effective,
             because they permit the paint chemicals to react more rapidly at any given temperat-
             ure than they normally would. Thus, curing can be achieved more quickly at the same
             temperature or in the same time at a lower temperature. This can be important when
             coating heat sensitive materials such as thermoplastics or when fuel conservation is
             important.


             9.8 HEAT RECOVERY
             A well-designed cure oven will not exhaust enough Btu's to make it cost effective
             to install a heat exchanger for heat recovery. The volume of exhaust is based on
             the amount of gases that must be removed from the oven interior to maintain a safe
             environment. Since the exhaust is gas laden, it is not possible to use the heated air

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             Curing                                                                               167



             without a heat exchanger. A good heat exchanger is expensive and the efficiency will
             be around 75%.
                 The stack gas temperature must be maintained above the dew point to avoid
             condensation in the stack. This limits the amount of energy that can be recovered
             from the stack gas. With the cost of the beat exchanger, duct and fan for recovery,
             limits on how much energy can be recovered, and limited efficiency, it does not make
             sense to recover heat from an oven.
                 If volatile organic compound (VOC) abatement equipment is necessary, heat
             recovery through the use of a secondary heat exchanger may be worthwhile because
             of the high temperature used in a thermal oxidizer. 'Be recovered heat can be used
             for a boiler, hot oil heater, or heated stages of a pretreatment washer.


             9.9 SUMMARY
             A properly designed oven will have easy access and maintenance features such as
             platforms, ladders, access doors, lights, and so forth. Providing good access and
             maintenance features will help ensure proper maintenance, which will keep rejects
             to a minimum, prevent unexpected shut-down, and provide maximum operating
             efficiency.
                 Convection heating is slow, but it is still the most dependable and flexible method
             of curing an organic coating. The use of IR or other means of accelerating the cure
             process should be carefully tested before a commitment is made. The burner used for
             a convection oven should be a modulating-type burner with a wide turndown ratio to
             provide the best possible efficiency.
                 The oven size should never be too short; a longer process time can be managed by
             reducing the oven temperature, but, if the oven is too small, no reasonable solutions
             are available, particularly if production increases necessitate an increase in line speed.




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             1 O Testing Paint Materials
             10.1 INTRODUCTION
             Testing is an important part of the operation of a paint system. Testing is done to
             monitor the system and to confirm that the finish meets established quality stand-
             ards and the expectations of the customer. 'Be end use of a painted product should
             determine what tests are important.
                 The incoming paint material is sometimes tested to confirm that the color and
             gloss are correct and the paint is free of defects. In some cases, the paint supplier will
             certify that the paint they are providing meets all required physical properties.
                 The paint should also be tested to confirm that it is ready to spray. Some sprayed
             sample panels can be used to confirm this before the paint is put into production.
             Viscosity, a measurement of the flow characteristics of the paint, should always be
             tested before using a fresh batch of coating.


             10.2 PAINT VISCOSITY
             Viscosity is a very important paint property, usually determined by measuring the
             time required for a given quantity of paint to flow through a hole in the bottom of a
             metal cup. A number of cup sizes and drain hole diameters are available for use with
             different viscosity paints. Three widely used viscosity cups are the Fisher, Ford, and
             Zahn viscometer. Table 10.1 gives conversion values for use with these cups.
                 It is important to correct the viscosity cup flow-out times for the temperature of the
             paint. The recommended spray viscosity is typically based on a temperature of 70°F.
             If the viscosity is measured at a colder or warmer temperature, the actual viscosity
             could be too low or too high. A paint supplier can provide the appropriate corrections
             for their product. Be sure that the type of Zahn cup or other viscosity cup used is
             consistent. In addition, be sure that the method of measurement is consistent. Some
             operators consider the first break in the paint to be the stop point, while others may
             wait until the cup is virtually empty.


             10.3 FINISHED FILM TESTING
             Finished film testing is used to confirm physical properties of the coating after it is
             applied and cured. Daily tests might include such things as gloss, color, hardness,
             and adhesion. 'Be particular tests used depend on the properties that the coating is
             supposed to provide and the established quality standards.

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                         TABLE 10.1
                         Conversion Chart for Commonly Used Viscosity Cups
                         Fisher #2   Ford #3   Ford #4    Zahn #1   Zahn #2    Zahn #3

                                                   5s       30s        16s
                                                   8        34         17
                         15s           12s        10        37         18
                         17            15         12        41         19
                         18            19         14        44         20
                         21            25         18        52         22
                         29            33         25        68         24
                         33            36         28                   30
                         39            41         31                   34
                         44            45         32                   37         10 s
                         50            50         34                   41         12
                         62            58         41                   49         14
                                       66         45                   58         16
                                                  50                   66         18
                                                  54                   74         20
                                                  58                   82         23




                 Finishing tests are an important task in confirming that the finish meets the
             standards and can provide the necessary performance characteristics.


             10.3.1 PAINT TEST STANDARDS
             Most of the finished film tests used by industrial painters are based on the American
             Society for Testing Materials (ASTM) international standards (originally known as
             the American Standards for Testing and Materials). ASTM has several publications
             that provide the test methods and how to interpret the results. Some performance
             tests are based on other sources such as the American Architectural Manufacturers
             Association (AAMA) or European standards.
                 It is important to have a precise test method and consistent standard to provide
             meaningful data and consistent results. A good test method describes how the test
             panel will be prepared, how the test will be conducted, and how the results will be
             reported. If the test frequency is too random or the test methods are inconsistent, the
             results will not be as useful.


             10.3.2 TYPES OF TESTS
             There are standard tests that cover most properties of the finished film that are rel-
             atively simple to do as part of a daily operation. Some of the more complicated
             tests, or tests that involve expensive, specialized equipment, can be conducted by
             testing labs.


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                 Tests can also be created that will help to determine if the part will meet a particular
             real-world condition. For example, if the part will be subjected to brake fluid, then a
             chemical test that subjects it to brake fluid is useful.


             10.3.2.1    Film Thickness
             The thickness of a dry paint film is important to the performance of the coating. Thin
             films may appear to be the wrong color, or they may not provide the necessary level
             of performance. Water can more easily penetrate to the substrate if the film is too
             thin. Thick films can be a problem too. Thicker films are more likely to crack in use
             or they may create problems when two mating parts must be fitted together.
                 Wet-film thickness is measured for process control. It can be measured with
             a handheld immersion gauge that has a series of teeth along the edge of different
             lengths. The gauge is placed on the freshly painted surface, and the edge of the gauge
             is supported by two teeth of the same length for measurement control. All the other
             teeth are different in length and shorter than the control teeth. The wet thickness
             is measured as the last tooth that leaves a mark in the paint film. Therefore, if the
             wet gauge reads 3 mil and the coating is 50% solids, then the dry-film will be about
             1.5 mil. This is a rough method of predicting the final dry-film thickness, but it does
             give the painter an indication of whether or not he/she is applying the correct amount
             of paint without waiting until parts come out of the oven. This method of measuring
             leaves marks in the paint, requiring the part to be reworked.
                 The dry film thickness of paint on iron or steel surfaces is easily determined with
             a pull-off gauge. Pull-off gauges reflect the force required to pull a magnet suspended
             on a spring inside a metal case away from the painted surface. The force will decrease
             as the paint thickness increases, because the paint keeps the magnet further away from
             the metal. Pull-off gauges may be graduated in microns, mil (thousandths of an inch),
             or arbitrary units. They are direct measurement devices.
                 Dry-film thickness can be measured much more accurately with an electronic
             instrument. If the base material is metallic, a device is used that measures the strength
             of eddy currents induced in the metal by a probe containing a conducting coil.
             The strength of the eddy currents decreases as the paint thickness increases. The
             read-out meter for eddy current strength can be graduated in any desired thickness
             units.
                 If the dry paint is on a nonmetallic surface, film thickness can be measured with
             a beta ray back scattering gauge. This instrument emits low-energy radiation in the
             form of beta rays (electrons) that pass through the paint and are reflected by the more
             dense material beneath it. The quantity of beta rays that are reflected back to the gauge
             decreases as the film thickness increases. These gauges also work when the painted
             surface is metallic.
                 Dry-film thickness on nonmetallic surfaces is sometimes determined by cutting
             a "V" shaped trough through the paint and measuring the width of the cut at the
             top of the trough. A thicker film will produce a wider "V" at the top. A low-power
             magnifying glass with internal calibrations is often used to make this measurement.
             It may be calibrated directly in thickness units.


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             10.3.2.2 Film Hardness
             The hardness of the paint film is important, because it is related to brittleness and water
             permeability. Films that have been over-cured or under-cured can often be detected
             by hardness testing. Pencil hardness and indentation hardness are two widely used
             testing techniques.
                 Pencil hardness tests measure resistance to indentation by a series of increasingly
             hard pencils that have been sharpened to a chisel point. The higher the hardness of
             the pencil lead required to make a gouge into the paint, the harder the film.
                 Indentation hardness testers measure film penetration, in a specified time, by a
             metal tip under certain mechanical loading conditions. The time factor is important,
             since many paints deform gradually under load.


             10.3.2.3 Impact Resistance
             Resistance to impact damage (chipping and cracking) is an important property for
             nearly every paint film. It is difficult to have both high impact resistance and high
             hardness. This is because impact energy is best absorbed when the film is softer and
             able to deform upon impact. However, hardness is desirable, because it normally
             means better gloss retention and weatherability. Most paints are formulated with a
             compromise between hardness and impact resistance.
                  Impact resistance testing usually involves striking a painted panel with a hard
             object, such as a steel ball or hammer and measuring the indentation that results.
             Another test (Society of Automotive Engineers Test Procedure V400) is called a
             gravel damage test. The gravel damage test uses stones hurled against the panel to
             inflict damage.
                  The most common way to measure impact resistance is ASTM D 2794-93.
             A standard weight is dropped from a height onto a coated panel. The indentation
             is inspected to detect if the coating has cracked. The weight can be dropped from
             different heights, and the results are then measured in inch-pounds. The goal is to see
             how many inch-pounds the coating can take without cracking.


             10.3.2.4 Tape Adhesion
             Adhesion of a paint film to its substrate is often measured by jerking the paint away
             from a scribed "X" or grid with a strip of tape. Three M Company's #600 Crystal
             brand transparent tape or another tape with strong adhesive properties will work for
             this test. The tape is jerked back upon itself as nearly in the plane of the painted
             surface as possible. A numerical rating system from a 0 for total failure to a 5 for
             100% adhesion with no loss may be used to evaluate tape adhesion test results. If a
             scribed grid has been used, the failure of adhesion may be expressed as the percentage
             of squares that have some loss of paint (D 3359-97).
                 A more severe test of adhesion is sometimes used on aluminum substrates. The
             standard ASTM D 3359 test is used, but the crosshatch pattern is subjected to boiling
             demineralized water for 20 min before being tested with the tape pull. This test,
             AAMA 2604, 7.4.1.2, is useful on aluminum substrates that will be used in an outdoor

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             environment where the paint film will be subjected to water permeability and possible
             oxidation under the film.


             10.3.2.5 Humidity Testing
             Water vapor is one of the most severe agents to which a paint film is exposed. Because
             water molecules are small and binder molecules are constantly vibrating, moisture can
             easily penetrate lightly pigmented paints. Water also penetrates heavily pigmented
             primer films, although at a much slower rate.
                 Moisture in a paint film can be warmed by sunlight or other sources of energy.
             When warmed, it will tend to vaporize and exert a pressure that causes the film to
             swell. If the film is flexible or if the water occurs near a spot of grease or salt crystal
             under the paint, the swelling will be more severe, possibly causing adhesion failure
             or discoloration of the film.
                 The condensing humidity test is widely used to measure humidity resistance. In
             this test, water vapor is allowed to condense on sample panels. The condensed water
             drips off the panel and is revaporized by means of an evaporative heater in the bottom
             of the test chamber. A typical test involves water at 60°C (140°F) for 24 h. After
             testing, panels are checked for blistering, color changes, and loss of gloss.
                 Another humidity test involves exposing the panels to 100% relative humidity at
             38°C (100°F) for 24 h.
                 Neither of these tests can provide service life predictions. However, they are
             useful for determining the best paint from a series of formulations.


            10.3.2.6 Salt Spray Testing
             The use of salt solution spray testing is an attempt to accelerate the corrosion process
             and cause early paint failure. Panels are usually exposed for up to 14 days to a mist
             of 5% (w/v) sodium chloride solution at 33-36°C (92-97°F). The mist is produced
             by blowing hot saturated air through a 5% salt solution.
                 The panels are evaluated for two types of corrosion:

                1. Rust-through—the percentage of the surface, which has rust visible through
                   the paint
                2. "Creep"—the distance in 1/32 of an inch (0.8 mm) from the center of the
                   scribe line that the paint film breaks down and separates from the substrate

             The results are measured on scale with a predetermined point described as failure
             in number of hours of exposure. Sometimes, acetic acid is added to the salt spray
             solution to accelerate the corrosion.
                 Salt spray testing has been used as a standard for performance by many coaters
             from all different types of industry. It is poorly understood and not necessarily reliable
             as a predictor of field service. The most important value of salt spray testing is
             comparison of different pretreatment methods and coatings to see what appears to be
             the best combination for corrosion resistance. In all cases, the salt spray comparison
             should be done with the same steel panels and the same test cabinet.

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                  One weakness with the results of a salt spray test is the substrate itself. Steel
             quality varies substantially and the failure in the salt spray test may be due to poor
             steel, not pretreatment or the paint film. For this reason, it is very important to always
             run standard q-panels as a control.
                 Another factor to consider when evaluating the pretreatment or paint film is the
             cure cycle. If the paint film is not fully cured, it can cause failure in the salt spray
             test that may be blamed on the pretreatment process or the paint. The cure of the film
             should be confirmed before the panels are tested in salt spray.


             10.3.2.7 QUV Testing
             A Q-LAB Ultraviolet (QUV) test chamber reproduces the damage caused by sunlight,
             rain, and dew. Coated parts or test panels are placed inside the chamber and subjected
             to alternating cycles of light and moisture at controlled, elevated temperatures.
                 Parts can be measured for resistance to chalking, fading, color fastness, cracking,
             blistering, embrittlement, strength loss, and oxidation.
                 The QUV test chamber provides a more accurate comparison of different processes
             and materials than salt spray testing alone. It is more helpful in evaluating the affect
             of outdoor exposure on different coating materials and a somewhat better predictor
             of actual field life.


             10.3.2.8 Outdoor Exposure
             Outdoor exposure tests are slow, but they are the best way to predict weatherability.
             Three months of exposure takes a while, but it does provide good information about
             how well the paint film will last in an outdoor environment. Long-term exposure is
             not very useful for solving transient production problems, but it is a good way to
             qualify a paint material for use in the sun.
                 The most common defects turned up by exposure testing are fading, cracking,
             checking, chalking, blistering, and peeling. Often a portion of the panel is buffed
             after testing to see to what extent the original appearance can be restored.
                 Exposure tests are usually conducted in a sunny climate such as Florida or Arizona
             to get the maximum ultraviolet radiation effect. Panels are usually exposed 50 from
             the horizontal, facing south. Florida is a preferred location in this country because of
             the sudden and frequent humidity changes that occur there. The test panel is held in a
             clamp that shields the top portion of the panel from exposure. Mirrors and mechanical
             devices are sometimes used to accelerate the exposure and produce earlier results.


             10.3.2.9 Temperature—Humidity Testing
             Temperature changes, especially if they are rapid, present a severe challenge to
             paint films. Cracking is the most common failure related to temperature change.
             The film fails because of stress that develops when pigments, binders, additives,
             water vapor, and micro-air bubbles in the film expand and contract at different rates
             as the temperature changes. Since expansion coefficients for trapped air, water vapor,
             pigments, and other paint components may be quite different, large internal stresses

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             can develop at various locations within the film. The stress created in the film can
             cause it to crack.
                A typical temperature—humidity test cycle is

                 • 24 hat 38°C (100°F) and 100% relative humidity
                 • 20 h at —23°C (-10°F)
                 • 4 h at ambient temperature

             This cycle is often repeated 12-15 times. The panel is rated by evaluating the percent
             of the surface area that has cracked.


             10.3.2.10 Rinse Blistering
             A rinse blister test helps to expose any unreacted salts left on the surface after evap-
             oration of a water rinse. The process water is applied as droplets to a panel and
             allowed to dry. After the droplets have dried, the panel is top-coated and subjected to
             humidity testing. Blisters often occur where water-soluble salts have been left from
             the droplets. This is because moisture from the humidity chamber moves through
             the topcoat, collects around the salt crystals, dissolves them, and exerts a swelling
             pressure against the overlying film. Panels are usually evaluated against a control
             after 24, 48, and 96 h. Sometimes a tape adhesion test is also run without a scribe
             pattern being cut in the film.


             10.3.2.11 Corrosion Cycling
             Paint films in use are always exposed to a number of cyclic environmental factors.
             A corrosion cycle test measures the behavior of a film under a combination of test
             conditions.
                 Usually, a combination of salt, humidity, and changing temperature is used for
             corrosion cycle testing. A typical sequence is listed below:

                 • 4 h at 5% neutral salt spray
                 • 18 hat 38°C (100°F) 100% relative humidity
                 • 2 h at —23°C (-10°F)

             The resulting panels are rated against a control on the basis of the percent of rusted
             area. Cycle testing can be a more accurate way of predicting comparative qualities of
             coatings than salt spray alone.


             10.3.2.12 Color Matching
             Color matching is a very important step in the process of manufacturing. Colors
             must be consistent so that the product is identical and recognizable from part to part.
             In addition, many products have multiple components, sometimes with different
             substrates, and each component must be the same color.

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                 Color match can be difficult at times because of human variability in color
             perception. Two panels that appear to be the same color to one person may seem
             dissimilar to someone else. A color may also change when viewed under different
             lighting, fluorescent versus outdoor light, for instance.
                 Usually, colors are compared under constant conditions of illumination and back-
             ground. Two light sources are often used to examine the panel, one predominantly
             blue and one predominantly yellow. The important thing is that the paint buyer and
             seller mutually agree upon color standards and comparison methods. If standardized
             color chips are used, they should be stored in the dark to minimize fading.
                 Elaborate and expensive color measuring equipment is available for analyzing the
             color composition of a painted surface. These devices are used in paint formulation
             laboratories. They are generally not of value in a production situation.

             10.3.2.13 Gloss
             The amount of light reflected to the viewer's eye determines the gloss of a paint film.
             More reflection of light will appear as higher gloss. It is the smoothness of the surface
             that affects the reflection of light. The smoother the surface, the better the incident
             light can be reflected toward a viewer without scattering.
                  Gloss is often measured with a photoelectric device. The light reflected is conver-
             ted to an electric signal by a phototube. The strength of the signal is proportional to
             the amount of light reflected. This reflected light, when compared to the original light
             falling on the surface, is a measure of gloss. There are a number of test variations.
             The angle of reflection may be 20°, 45°, 60°, 90°, or some other value. Usually, the
             gloss value is compared with a previously established standard.




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             11 Quality Control
             11.1 INTRODUCTION
             Some coatings are applied to products for temporary protection or to provide
             a temporary coating of some acceptable level. For example, oil filter canisters are
             coated with paint or powder coating at the factory, but once the filter is installed
             in the car, the owner has little concern about the appearance or performance of the
             coating.
                 Most coatings are put on to provide a long-lasting and attractive finish. The
             quality of the finish is affected by every step of the paint process. With the correct
             coating material, appropriate pretreatment system, good application equipment, and
             the proper curing system, it is possible to turn out a consistent finish with the desired
             quality.
                 Still, even the best systems sometimes do not always produce a perfect finish. One
             problem is that the paint process has both mechanical elements and chemical elements
             that must be controlled. Manufacturers are often skilled and committed to the control
             of mechanical variables such as line speed, but they are not always committed or
             prepared to control the paint material for spraying or able to figure out why the paint
             is not performing correctly. There are more complex variables that must be controlled
             with a chemical process and they can be just slightly out of range and create severe
             defects.


             11.2 PROCESS CONTROL
             A consistent, high-quality finish is directly related to degree of control over the process
             and a commitment to keeping all parameters in balance at all times. Careful monit-
             oring and process control measures are needed to monitor and adjust the operating
             parameters of the system. In order to do this successfully, the variables of the process
             must be understood.


             11.2.1 SCHEDULING
             The first step to be controlled is the scheduling of parts and colors to be painted. The
             longer the run of a particular part and a particular color, the more efficiently the paint
             line will run. Of course, the pressure of market demands and the need for just-in-time
             (JIT) production makes it difficult to group parts and colors together. Still, every
             effort should be made to schedule groups of colors and parts as much as possible to
             reduce waste and maximize output.

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             11.2.2 RACKING
             The next area of concern is loading and racking. Proper rack design is necessary
             for getting a quality finish. If the parts are not presented properly to the application
             equipment, it can cause film defects such as blistering and runs. Alternatively, the
             opposite can occur, light paint areas where the substrate shows through. In either
             case, the result is rejected parts that must be repaired and repainted. Rack design is
             an art and science in itself. Good racking is essential for film build control, high first
             pass yield, and good transfer efficiency.
                 The paint rack is a tool and should be treated as an important part of the process.
             Parts should be hung as precisely as possible and in consistent position with good
             exposure to the spray equipment. The available product window should be filled as
             much as possible in the vertical and horizontal dimensions.
                 Parts need to be hung correctly on the rack. This should be simple, but it is not
             uncommon to see parts hanging at odd angles or hooks that have no part on them
             at all. It is important that a written or visual procedure be available at the loading
             area so that the workers who are hanging parts can refer to it to see the correct part
             positions. Since the people loading parts on the line will handle every part, they can
             also inspect the parts to make sure there are no obvious substrate defects that would
             cause painted parts to be rejected. By catching faults such as misshapen parts, metal
             gouges, deep scratches, and so forth, the cost of painting bad parts can be avoided.
                 Good racking is especially important when robots are used. The robot will not
             adjust for a part that is not in the proper position so the precise application that a robot
             can deliver is lost, if the part is not in the right position. Tooling for robotic painting
             must be more precise than racks used with other application equipment.


             11.2.3 PRETREATMENT
             Pretreatment is one of the most important steps in getting a quality finish. The steps
             in the pretreatment process are recommended by a qualified pretreatment chem-
             istry expert. They will evaluate the soils on the part and the substrates to be run
             and determine what chemistries will work best to meet a particular quality stand-
             ard. At a certain line speed with a certain density of product going through the
             pretreatment stage, the chemical supplier will recommend the proper chemicals, con-
             centrations, and temperatures of the various solutions used to obtain a clean and
             properly treated part.
                 The chemical supplier will also develop a schedule of tests to ensure that the
             proper concentration of chemicals is maintained. They can also provide tests that
             will determine the amount of carry over of chemicals into the rinse tanks and the
             amount of fresh water make-up required to ensure proper rinsing. All testing should
             be recorded on work sheets so that if there is a problem, the actual test values may be
             checked to see if the problem is related to pretreatment.
                 Mechanical maintenance of the washer is also critical to successful cleaning and
             treatment. Each section of a power washer should be checked on a regular basis to be
             sure that all the nozzles are spraying properly and in the right direction. If nozzles are
             not working or if they are misdirected, there is potential for improper pretreatment.

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             Parts that are not cleaned, phosphated, or rinsed properly can produce immediate
             paint rejects or failures that occur in the field.
                 Besides monitoring the chemicals and rinses on a daily basis, parts should be
             examined as they come out of the spray washer before they go into the dry-off oven.
             At that point, the water should be sheeting off with no beads of water remaining on
             the part. Beaded water or water spots indicate something present on the surface of
             the part that is not letting the water run off. If water is beading up on the surface, it
             indicates a soil that has not been removed. Soils left on the part surface can lead to
             adhesion failure of the paint to the substrate or premature corrosion.
                 The line speed that the system was designed to operate at sets up the critical
             contact times inside the stages of the washer. If the pretreatment system is designed
             to give optimum cleaning, phosphating, and rinsing at a line speed of 10 ft/min and the
             speed is increased to 15 ft/min, the pretreatment time has been reduced by one-third.
             More carryover and faster dilution of the chemistry will occur, and the rinses will be
             contaminated more quickly. With higher throughput and less time of exposure, the
             treatment process may not be effective.
                 Slower line speeds can cause problems too. Excess phosphate coating can leave
             a powder residue on the part or cause flash rusting. Both these problems will cause a
             lack of adhesion and reduce moisture resistance. If the line speed needs to be changed
             then the system will need to be adjusted to the new line speed.
                 A lot of these problems can be spotted before they are painted. Parts coming out
             of the dry-off oven should show an even color of phosphate, plus no mineral deposits
             and no powder buildup. A clean dry part should not yield dirt, oil, or powder when it
             is wiped with a clean cloth after it comes out of the dry-off oven.
                 Some older paint lines may have pretreatment systems that provide marginal
             cleaning and treatment results. They may have been built for coatings with low
             solids, high solvent content or for a lower quality standard. The high solvent content
             in these materials could help to wet out soils on the surface, and the long-chain resins
             could bridge minor problem areas and give good adhesion. High-solids, low-solvent
             paints will not tolerate poor cleaning. The solvent level is very low, and in many
             cases, the solvents used are not aggressive enough to tolerate even small amounts
             of oil or other soils. The short-chain resins need more uniform sites to ensure good
             paint adhesion. Older systems may need upgrading to accommodate newer paint
             technologies.



             11.2.4 DRY-OFF OVENS
             After leaving the pretreatment section, parts are usually run through a dry-off oven
             to remove the water from the parts. If parts have areas where water is cupped, the
             puddles should be removed by the use of air. Boiling out the puddles with heat is
             expensive and can cause mineral deposits on the part surface. Air can be blown onto
             the part from the dry-off oven discharge duct or from a high velocity blow-off, or
             both. Some puddles of moisture may require a manual blow-off operation, because the
             water is not accessible to any other method. Proper racking to ensure good drainage
             is also important.
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             11.2.5    CooL DowN

             When the parts exit the dry-off oven, they will be very hot. The parts can be cooled
             by time (length of conveyor) or forced-air cool downing. If a textured or orange peel
             look is desired, then a hot part will allow the solvents to evaporate more quickly
             and cause less flow. If a smooth finish is required, the part must be close to ambient
             temperature.



             11.2.6    PAINT APPLICATION

             11.2.6.1 Spray Gun Adjustment
             There are some basic spray principles that should be reviewed to understand how the
             paint will behave when it is sprayed. Control of droplet size affects the deposition
             and flow of the paint. Droplet size affects solvent evaporation and influences paint
             flow-out on the surface. Since many wet paint defects are related to paint flow-out,
             the ability to control droplet size is important.
                 Delivery and atomization of the paint play a key role in droplet size. The ratio
             of fluid pressure to atomizing pressure affects the break up of the paint. The fluid
             viscosity of the paint and the balance of fluid pressure to atomizing pressure will
             influence the droplet size. The droplet size can be decreased with added air pressure
             or reduced paint pressure. An increase in atomizing pressure will move the paint at
             a higher velocity and may cause more overspray. A decrease in fluid pressure will
             reduce the amount of paint delivery and may cause coverage problems. Which control
             to adjust depends on what adjustment will work best in a given situation, more air
             velocity or less paint.
                 The relationship between droplet size and fluid flow is best understood by con-
             sidering the relationship between the size of the droplets and their total surface area.
             In Table 11.1, a droplet has been divided into two and then into four smaller droplets.
             The total surface area increases as the droplets get smaller.
                 If a known volume of paint is divided into more droplets, it will cover more
             surface area. The larger total surface area allows more solvent loss while the paint is
             airborne and the droplet strikes the work in a drier, less runny state.
                 Droplet size has little effect on film thickness. Thickness is primarily determined
             by the paint pressure, gun speed, gun-to-part distance, and number of passes. Changes
             in any of these variables can lead to wet films that are too fluid due to retained solvent.
             The effect of these parameters on paint flow-out is indicated in Table 11.2.



                                 TABLE 11.1
                                 Ratio of Droplet Size to Total Surface Area
                                 Number of Droplets

                                 Droplet size (volume)   1 unit   1 unit       1 unit
                                 Total surface area      1 unit   1.2 units    1.4 units



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                                       TABLE 11.2
                                       How Adjustment of Application
                                       Variable Affects the Fluidity
                                                                        Effect on
                                       Increasing                       Fluidity
                                       Air pressure                     Decrease
                                       Gun speed                        Decrease
                                       Gun distance                     Decrease
                                       Paint temperature                Decrease
                                       Part temperature                 Decrease
                                       Solvent evaporation              Decrease
                                       Paint pressure                   Increase
                                       Orifice diameter                 Increase
                                       Line speed                       Increase

                                       Note: All other variables held constant.




                 For hand spray operations, it is important to make sure that there is enough time to
             perform trials and develop the correct painting pattern. Manual spray gun adjustment
             and spray patterns should be as consistent as possible.
                 Automatic application should be closely monitored to make sure that the guns are
             clean, well maintained, and working properly at all times.
                 When automatic equipment is used with hand reinforcement, a decision must
             be made on where to locate the manual stations, before or after application by the
             automatic equipment. The manual operator can clearly see the areas where rein-
             forcement is needed, so it may be best to locate the automatics first. If the manual
             spray is located before the automatics, the painter will tend to cover more area,
             because the entire part is bare. However, if the painters are well trained and know
             exactly what areas to reinforce, the best finish results may be obtained by applying
             the manual coverage first. The high-speed turbo bells or disks shear the paint more,
             causing a smoother finish and blending the lines from manual to automatic more
             uniformly.
                 In some cases, there will be a very slight visual difference in color and texture
             of manually sprayed areas versus automatically sprayed areas. In cases where hand
             reinforcement is after the application by the automatic bells or disks, the touch-up
             painters may literally repaint the whole part so that the paint appearance is consistent.
             Testing and training are the key elements to avoid mistakes in this area.
                 The lead time (guns are triggered before the part is in front of the spray pattern)
             and the lag time (guns remain on after the part passes out of the spray pattern) on the
             automatic equipment should be checked daily to make sure they are correct. If the lead
             starts too soon, it may cause buildup and possibly cause runs or blisters on the lead
             corner. If the lead starts too late, it may cause light paint and improper electrostatic
             wrap on the part. If the guns shut off too soon, there will be light coat areas on the
             parts, and if they run too long, it is a waste of paint and may cause fatty edges.

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                  The automatic equipment should do as much of the painting as possible, since
             it is the most consistent painter. However, automatic guns do not have multiaxis
             motion unless they are mounted on a robotic arm, so penetration in angles or deep
             recesses is somewhat limited. Increasing the flow rate to get more depth of coverage
             may increase the film build on flatter, more accessible surfaces. Automatic application
             should be limited to the surfaces where uniform film build is possible and not forced
             to cover areas that are hard to reach.
                  Once the automatic spray guns and hand spray pressures have been properly set
             to give the desired finish at the desired film build, the settings should be recorded
             for each part and used by all painters for set up and control. If the settings need to
             be changed, it may indicate that some other process variable is out of control range.
             Worn equipment, a change of paint material, plugged hoses, or some other problem
             may be affecting the gun settings.
                  The correct air pressure is very important. If the air pressure is too low, it can
             cause poor paint break-up and give a rough orange peel look. It will increase the
             tendency for the paint to blister because of heavier film build. Higher air pressure
             will provide improved atomization and a smoother finish, but excess pressure may
             blow more paint past the parts.
                  The fluid pressure determines the amount of paint delivered to the parts, and an
             adjustment to the fluid pressure has a direct correlation to the amount of film buildup.
             With bells, the settings for the shaping air should also be recorded and checked to
             make sure that the pattern is set up correctly for the part surface. A record of spray
             gun settings should be logged for troubleshooting if something goes wrong.


             11.2.7 PAINT MATERIAL
             The paint material is another critical variable that must be controlled. If the paint is at
             the same temperature and same viscosity every day, then it should apply the same way
             every day. This is very important since the viscosity of high-solids coatings changes
             very dramatically with temperature.
                  A paint that is 18 s viscosity on a #3 Zahn cup at 72°F may be 32 s viscosity on
             the same cup at 64°F. If a paint line technician is unaware of the paint temperature,
             they may further reduce the paint with solvent to achieve the desired viscosity. This
             will over-reduce the paint, which can then cause runs, sags, and blisters. The operator
             thinks that the paint is the same as it was yesterday, but the viscosity is different.
                  The paint supplier normally supplies the paint at a certain viscosity based on a
             temperature of 77°F. For many production environments, it is not feasible to meas-
             ure viscosity at that temperature. It is important to use a consistent temperature for
             measuring the viscosity of paint. Each material has particular spray viscosity at a
             particular temperature that works well. The viscosity of the paint should be checked
             every time it is used. This will show if there has been a lot of solvent evaporation or
             if the solvents have swelled the resin and caused the paint to thicken.
                  A radical change in paint viscosity can indicate that paint break down is occurring
             or something may have been added by mistake. If paint line heaters are being used,
             the temperature of the paint at the end of the gun should be checked to make sure that
             the heaters are working correctly and the paint is at the desired temperature. If the

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             paint is at too high a temperature, it may cause runs and sags. If the paint is too cool,
             it will be more resistant to atomization and that could lead to heavy paint buildup that
             could cause blistering. It would also tend to give more orange peel to the finish.

             11.2.8 FLASH -OFF
             After the paint has been applied, the solvents begin to evaporate from wet film.
             A flash-off area follows application to provide time for the solvents to evaporate, and
             the paint film begins to flow and smooth out. If the flash-off time is too hot, the surface
             of the film may begin to form before the solvent can leave and cause blistering. If
             the flash-off area is too short or cold, the solvents may not be fully flashed when
             the part reaches the next coat or the cure oven. Best results are obtained where the
             ambient temperature is kept fairly constant. In some cases, it may be slightly elevated
             to help with the evolution of the solvents. Flash time and temperature are based
             on the paint material being applied and the film thickness as recommended by the
             supplier.


             11.2.9 CURING
             The final step in the paint application process is the cure of the paint film. In most
             painting operations, an oven of some sort is used either to cure or to accelerate drying.
             There are systems that cure with the use of ultra violet rays, electron beam, moisture,
             and induction. These coatings are very important but not as commonly used as thermal
             reactive or air-dry products. Ovens for thermal cure include convection, infrared, and
             combination infrared/convection. The exact oven to use is based on the type of paint,
             the available space, parts to be painted, finish desired, available capital, and volumes.
             In general, gas-fired convection ovens are the most dependable and flexible. They use
             heated air to raise the substrate temperature so that the coating will cure from contact
             with the hot surface.
                  Oven balance is important for accurate and complete cure. A temperature-
             recording device, such as a Datapaq system, is used to measure the air and part
             temperature in the oven and create a time/temperature profile. The chart shows
             whether or not the part temperature was high enough for enough time to reach full
             cure (Figure 11.1).
                  If the profile shows that the part does not reach sufficient temperature for the
             minimum cure time, then the paint film will be under-cured. An under-cured film will
             not adhere properly or perform properly. If the profile shows that the part exceeded
             the cure time and/or temperature, it may be fine. Most paint materials will tolerate
             a certain amount of extra cure. However, it is possible to overcure the coating and
             cause the paint to turn brittle, discolor, loss of gloss, or other film properties.
                  Some companies run a temperature chart through their ovens every day. That may
             not be necessary, but once a week or a month is good practice for process control.
             If the line speed is changed, a temperature profile should be run at the new line speed
             to make sure that the cure cycle is within the specified guidelines. If the gauge of the
             metal being painted varies quite a bit, then it will probably be necessary to change
             the oven temperature settings or line speed to get a proper cure on the various parts.

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             11.2.10 RECORD KEEPING
             A record of the oven temperature setting and line speed for each part should be made,
             and that information should be readily available for the paint line operators. A running
             record of the paint line conditions should be made as each different part is painted.
             A single form can be used to record the conditions of the system, or separate forms
             can be used for each component of the operation.
                  By keeping careful records and using the recorded information for process control,
             the results will be more consistent. If careful records are maintained, variations in the
             finish coat should be traceable and corrections can be made. There is a natural tendency
             to gradually relax rules for accurate record keeping, because everything is going well.
             To keep things running at peak performance, diligent record keeping is a must.


             11.3 PAINT FILM DEFECTS
             The causes of defects in a paint operation are too numerous to list and although all
             coaters attempt to eliminate them, it is very difficult and costly to cut defects to zero.
             Knowing some common causes of defects and implementing a good process control
             program will keep the number of defects to a minimum.
                 Some causes of paint defects are harder to identify and correct than others. Some
             of the common problems with paint films are associated with material and process
             problems. Defects can be controlled through better understanding of the process
             variables associated with surface preparation, paint material control, application,
             and cure.


             11.3.1 PRODUCTION DEFECTS
             Avoiding defects is a function of understanding the variables that affect the process,
             measuring them, and controlling them. When defects do occur, it is important to
             identify the cause and make adjustments to prevent additional rejects.



                                300

                                250
                           a)
                                200

                                150
                          H
                                100

                                  0:00:00   0:05:00   0:10:00     0:15:00   0:20:00   0:25:00
                                                                Time

             FIGURE 11.1        Temperature graph from cure oven.

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             11.3.1.1 Orange Peel
             Orange peel is a textured effect that resembles the skin of an orange. The paint will
             usually feel smooth but will appear to have small depressions when viewed at an
             angle to the light. Orange peel often results when the paint droplets are properly
             atomized. If they are not fluid enough to flow together smoothly on the surface,
             the film will be somewhat textured. Orange peel is also affected by excess film
             thickness or paint that is not sufficiently atomized. A thicker wet coat may not flow
             out as smoothly.
                 Orange peel may also be caused by uneven shrinkage as the paint loses solvent
             and begins to cross-link. A certain amount of orange peel is nearly always found with
             enamels. Sometimes a textured surface beneath the paint will result in orange peel.
                 Orange peel can often be reduced or eliminated by adjustment of the atomizing air
             pressure to achieve the proper droplet size. Adjustment of the gun-to-target distance
             can accomplish the same thing.


             11.3.1.2 Sagging
             Sagging occurs when there is too much wet film applied. Paint will sag whenever
             gravity overcomes the internal flow resistance of the film. This occurs when the paint
             contains too much solvent or is applied too thickly.
                Possible cures for sagging include

                 • Increase the air pressure
                 • Decrease the paint pressure
                 • Move the gun more rapidly
                 • Increase the gun-to-part distance
                 • Use faster solvents
                 • Use multiple coats of paint

             These changes are designed to give better atomization (drier paint) or result in a
             thinner wet film.


             11.3.1.3 Flooding, Floating, and Mottle
             These terms, while describing technically different defects, are often used inter-
             changeably. They refer to a separation of pigments within the paint film. If the
             heavyweight pigments come to rest in a different position than the lightweight pig-
             ments, the film will have a dappled appearance (mottle). The pigments may separate
             by sinking or floating, or because there are whirlpool-like currents set up in the
             wet film by evaporation. The heavier pigments are thrown to the outside of these
             whirlpools while the lighter pigment particles remain nearer the center. As solvent
             evaporation continues, the paint becomes more and more viscous, finally trapping
             the pigments in a fixed position.
                 Mottle is more noticeable with some colors than with others. Paints containing
             organic pigments and high levels of aluminum flake are especially likely to mottle,

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             because the flakes tend to float near the center while the dense color particles are
             likely to be spun to the outside of the whirlpools. The mottle-spots may be as large as
             6 mm (0.25 in.) in diameter, although they are usually much smaller.
                 The pigments do not separate to give the mottled effect unless the paint remains
             fluid for too long a time. Extra-thick films (more total solvent) or films with insufficient
             solids are more likely to have this problem.
                 Corrective adjustments for mottling are

                   •   Reduce film thickness
                   •   Use a faster solvent
                   •   Move the gun back
                   •   Increase the flash-off time between wet coats


             11.3.1.4 Silking
             The term "silking" describes the appearance of light or dark flow lines in a paint film.
             It occurs when pigment particles are unevenly distributed in the film. Silking often
             appears where the wet paint has drained away from holes or edges, especially after
             dipping. It can occur if there are adjacent areas of the paint that differ considerably in
             wet-film thickness. The effect is easily observed when stirring a paint that contains
             aluminum flake where the plate-like pigment particles tend to orient themselves in
             nonrandom patterns due to the stirring motion.
                 Silking can be reduced by making sure the solvent evaporates as quickly as
             possible and by avoiding excessive paint flow over the surface.


             11.3.1.5 Solvent Pop, Bubbles, Pinholes, and Craters
             These terms, often used interchangeably, describe defects that arise when solvent is
             lost too rapidly from a wet paint film. More than one of these defects can be present
             on a part and they may be located anywhere or everywhere on the surface. These
             defects are usually caused by solvent vapors forming within the paint and rising to
             the surface. The rising vapor lifts the paint film and the paint may not recede to a
             smooth and continuous film. A bubble occurs when the solvent vapor seeps through
             the paint film skin without causing it to rupture. A crater results when the broken
             bubble retains its jagged edge.
                 Anything that makes the paint film too solvent-rich, too thin, or causes it to lose
             solvent too rapidly may result in pops, bubbles, pinholes, or craters (Figure 11.2).
             The factors that may cause these defects include

                   •   Low air pressure
                   •   High paint pressure
                   •   Not enough flash-off time
                   •   Slow line speed through the booth
                   •   Too much wet-film build
                   •   Short gun-to-work distance


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                                  Bubble           Pop          Pinhole       Crater
                                    I               '              I

                                                         Part

             FIGURE 11.2 Paint surface defects.



                  Paint
                                     Contaminant
                           Part                                   Part                      Part
                     Applied wet film                      During flash-off              After cure

             FIGURE 11.3       Surface contamination.


                    Slow gun speed
                    Excess oven temperature early in the cure cycle


             11.3.1.6 Fisheyes and Silicone Craters
             Fisheyes are round depressions in the film. They vary in size from barely visible to
             more than 6 mm (0.25 in.) in diameter. Sometimes they are deep enough to reveal
             the bare substrate. Pigment sometimes gets collected in the fisheye giving it a dark
             center. They are caused by surface contamination that the paint cannot adhere to. As a
             result, the film forms around the contamination but not over it. A raised edge usually
             forms around the perimeter of the contaminant. Figure 11.3 shows how these defects
             can occur.
                  Fisheyes can be extremely frustrating, because it is so difficult to identify the
             cause. Paint flows away from the defect, because silicone or a similar oily substance
             acts like a lubricant. As it flows away from the contaminant, it creates a surface
             depression. If the repulsion is strong enough and the paint is very fluid, the depression
             may actually reach the surface. The idea of a liquid flowing away from a slippery
             substance can be understood by considering the behavior of water spread on a waxed
             surface.
                  Fisheyes are commonly caused by oil, grease, and silicone lubricants. Of these,
             silicones are the most likely source and the most troublesome, because they are so
             difficult to remove. Oil and grease can usually be removed by solvent wiping or hot
             alkaline cleaning. Silicones resist these and other cleaning techniques. Often, they
             must be sanded off, a risky operation since the chance of further contamination by
             the sanding dust is high.
                  Sometimes spraying as dry as possible (high air pressure) is helpful, because the
             paint will not flow as much. Fisheye-reducing products are commercially available.
             They are chemicals which, when placed in the paint, are absorbed by the silicone
             contaminant, changing its surface to one which is more paint-compatible, so the paint
             is less likely to flow and form a depression.


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                 The best solution to a fisheye problem is to eliminate the source of the contaminant.
             Sources that can add silicone to a paint system include lubricants, mold release
             products, and aerosol spray products. If fisheyes are a persistent problem, an
             investigation will usually reveal the use of a silicone product in the plant.


             11.3.1.7 Overspray and Dry Spray
             A rough, grainy surface is usually the result of dry-spray. This occurs when paint
             droplets have lost so much solvent in the air that they do not blend into the wet film
             on the painted part. Overspray is paint that originally missed the part and later settled
             on it (or another part).
                 To prevent overspray and dry spray, the air pressure can be reduced, the fluid
             pressure can be increased, the gun can be moved closer to the target, or the spray
             booth face-velocity can be reduced.


             11.3.1.8 Blushing
             Blushing is a description of areas in the paint film that are "whitish" in color. It results
             from the condensation of moisture droplets in the wet film. The droplets condense
             from the air, because solvent evaporation lowers the air temperature below the dew
             point. Fast evaporating solvents should be avoided on humid days. The usual cure
             is to reduce the air pressure and/or add a slower evaporating solvent to the paint.
             A slightly elevated temperature in the flash area can help, and adequate exhaust in the
             flash area is important.


             11.3.1.9 Dirt and Contamination
             Dirt on the surface of a painted part is a major concern for all painters, because it
             diminishes the appearance of the paint film. Dirt may come from the air around the
             spray environment, from the application equipment, or it may be in the paint. One of
             the first things to do in searching for the cause of a defect is to look at where it is on
             the part and where it is in the film.
                 If a defect is from dirty paint or manufacturing by-products that have not been
             removed by the cleaning process, it will usually be evenly distributed. If it is an
             external source, the defect will more likely be randomly distributed.
                 If the dirt is on the part surface, it was most likely there before the part was
             painted. If the paint application process involves multicoats, it is useful to determine
             what layer the dirt is in. It may be in a primer coat, a base coat, or a top coat, providing
             insight into the source of the dirt. Analysis by microscope can reveal the depth of the
             "dirt" in the coating.
                 If the dirt is in the paint material, it can be strained out. Dirt from ineffective
             pretreatment can usually be corrected by changes in the process or control of the
             pretreatment system. Soils that are on the part from the manufacturing process that
             cannot be removed by a spray washer can usually be tracked to the source and a
             change made to eliminate them. Air borne contaminants are the hardest to track and
             eliminate, because they can come from so many different sources.

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                 High-solids paint formulas are less tolerant of dirt than more solvent-rich formulas
             are. The coating surface remains tacky, attracting, and holding dirt. Sources for this
             kind of air-borne dirt are so numerous that it is impossible to name them all. The list
             below will name some of the common sources.

                 • People—Air sampling of enclosed paint systems has shown that as much
                   as 80% of the air-borne contamination came from the clothing, hair, and
                   shoes of personnel.
                 • Nature—Pollen, road dust, and other outdoor dirt are sometimes brought
                   into the plant through doors, windows, and unfiltered air supply systems.
                 • The building—Concrete floors may wear and give off dust.
                 • Manufacturing—Mechanical operations in the manufacturing process may
                   generate dust, metal shavings, or wood dust.
                 • Process equipment—Conveyor, oven, washer, or other operations within
                   the paint line can generate or concentrate dirt that will create a paint defect.

             With all of these potential sources, the job of coating a part with no defects is a
             challenge to say the least. Here are some ways to help control dirt on painted parts.
             The level of dirt prevention that an operation adopts is directly related to their quality
             standards.
                 Restrict access to the paint area or clean room to essential personnel as much as
             possible. Have all entrants to the paint room put on nonlint paper suits, hairnets, and
             shoe covers.
                 Isolate the paint application area from the rest of the plant and supply filtered air
             to the enclosure that will create a slight positive pressure in the room to prevent air
             from infiltrating through the product openings.
                 Have the concrete floors sealed in the area where workers put on their paper suits
             and in the paint room. Build a vestibule at the entrance to the paint room and add
             deionizing air in the vestibule to neutralize the workers before they enter.
                 Clean all surfaces in the room as frequently as is necessary to avoid an
             accumulation of dust.
                 Use an inverted box track conveyor or sanitary pan under the conveyor. Use an
             automatic lubrication system with a dry-film, thin-film lubricant, and do not over-
             lubricate. Clean the conveyor and chain components regularly. If it will work with
             the product, a floor-mounted conveyor can help reduce dirt.
                 One of the keys in controlling dirt is to use good recording and tracking of dirt
             rejects. Fiber, metal shavings, paper, and dust are examples of types of contaminants.
             Rejected parts should be recorded and categorized by the type of defect. The source
             of the dirt should be tracked and eliminated. A microscope can be used to identify the
             nature of the dirt speck.




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             1 2 Cost Analysis for
                           Finishing Systems
             12.1 FACTORS THAT AFFECT COST
             The operation of a paint system has many variables that affect cost. Effective control
             of these variables will provide the best quality at the lowest cost.
                 Some cost variables are part of the design, some are part of the operation, and
             others are related to decisions on how to run to the system. Each cost variable has
             to be considered to know how much the system costs to operate and how much to
             charge for painting a part.


             12.1.1 SYSTEM DESIGN
             The subject of how to design a paint system is long and could fill a book of its own.
             There are a few guidelines that can help with the sizing and equipment selection that
             are mostly common sense.

                 •   Make sure that the largest parts can be moved through the system without
                     interference
                 •   Design the system large enough for future volumes
                 •   Pay close attention to features that can lead to cost savings, safety, or
                     efficiency and be willing to spend extra money for them
                 •   Consider operating cost as closely as capital cost
                 •   Use durable building materials (stainless steel, heavy gauges, high
                     efficiency fans, etc.)
                 •   Consider maintenance issues and make sure all mechanical devices are
                     easy to service


             12.1.2    QUALITY
             The level of quality that is required for the finished product has a direct influence
             on the cost of production. The desired level of quality will affect the pretreatment
             process, the application process, and the amount of rework or touch-up required.
                 Paint systems can be built to different standards of quality. The kind of system
             that will be required to produce top-quality appearance and performance will be quite
             different from one designed to apply paint to products that do not require very high
             standards for paint finish.
                 The definition of quality for an automobile exterior body finish is quite different
             from the quality standards for brake shoe. The car finish will require a very high
             standard for both appearance and performance, while the brake shoe needs some

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             black paint that will last for a relatively short time and visual imperfections are not
             a big issue. The paint system for car bodies will be designed to provide a finish that is
             nearly perfect. No paint line will produce a 100% flawless finish, but there are many
             different standards for what is acceptable.
                 An absolutely flawless finish may be possible, but the cost will be very high. Some
             defects are likely on any paint line. Small defects in areas that are not right in the
             eye of the consumer may be acceptable. Larger defects in highly visible areas may be
             more objectionable. The question is, what level of defect is acceptable and what level
             of defect will cause a part to be rejected. A high-quality standard will require a better
             system, better controls, more inspection, and possibly more rework. It costs more to
             produce a better finish.


             12.1.3 SUBSTRATE CONDITION
             The condition of the part is also a major factor in the cost of the paint finish. Simple
             parts in high volume with very light soils will not cost nearly as much per square foot
             as complex shapes in low volume with heavy grease or other soils that need to be
             removed prior to paint application.
                 The substrate material, type of soil, volume of soil, and any other special consid-
             erations will impact the cost of part preparation. The part must be completely free of
             contamination before it can be painted. Castings have die release products, welded
             steel has burned-on oil, hot-rolled steel has mill scale, and aluminum has a tight oxide
             layer that can interfere with adhesion. The chemical in an alkaline cleaner may not be
             able to remove such contaminates. They may require additional process steps such
             as blasting or polishing. These additional steps will add to the cost.


             12.1.4 RACKING
             Another cost consideration is racking. Custom paint racks designed for a newly
             manufactured part can be very expensive. If the racks will improve the output volume
             and reduce costs, they may be worth the investment. To determine the value of pur-
             chasing custom-made tooling, the savings per piece and total run volume need to be
             compared to the cost of the tooling.
                 In many cases, there are existing hooks that can be used to hang the parts, but
             they are not always the most efficient way to maintain good line density and good
             throughput. For example, consider a situation where improved tooling would hold
             twice as many parts, and the cost for the tooling is $4000 (200 racks at $20 each).
             Existing utility racks are available that hold only two parts, while the new tooling
             will hold four parts in the same space on the conveyor.


             12.1.4.1 Line Data
                   Line speed-8 FPM
                   Rack spacing-2 ft centers
                   Hourly fixed cost—$400.00 (fixed cost includes administration, building cost,
                     staff, etc.)

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                Fixed cost per piece with no racks purchased:

                                      8 FPM x 60 min = 480 ft/h (FPH)

                                           480 FPH           240 racks
                                      2' hanging centers         h

                                      240 x 2 parts/rack = 480 parts/h

                                      $400.00 (fixed cost/h)      $0.83
                                            480 parts/h            part

                Fixed cost per piece with special tooling:

                                  240 racks/h x 4 parts/rack = 960 parts/h

                                   400 _ $0.42
                                   960      part

                 The savings per part is easy to calculate at $0.41. The other piece of information
             that must be entered into the equation is the volume of parts to be run over time.
             For example, assume a volume of 2000 parts a month.

                   $0.41 savings/part x 2000 parts/month = $820.00 savings/month
                    $4000.00 (new tooling cost)
                                                   = 4.9 months return on investment (ROI)
                     $820.00 (savings/month)

                 The payback period for the special tooling in this example would be just under
             5 months. In this example, the tooling would appear to be an excellent investment,
             but if the volume were a total of only 50 parts/month, it would probably not pay.
             Table 12.1 shows the payback with different volumes of production.
                 Of course, it is also possible to buy fewer racks, but they will cost more per
             rack. At any rate, it is important to evaluate the cost savings available from using
             custom-made tooling versus simple hooks that are used for utility purposes.



                                         TABLE 12.1
                                         ROI for Different Volumes
                                         Volume of
                                         Parts/Month           ROI
                                          500                19 months
                                         1000                9.5 months
                                         2000                4.75 months
                                         3000                3.17 months


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             12.1.5 REWORK
             Rework and scrap must be accounted for in determining the cost of a paint operation.
             Applying a second coat to the part is expensive. A second coat will add thickness that
             may not be acceptable. Some parts may need to be stripped, and in some cases, the
             part cannot be salvaged at all. The percentage of defects and the method for correcting
             them is an important cost issue. Every effort should be made to limit rework. Parts
             that are reworked need to be factored into any cost per part determination.


             12.1.6 COLOR CHANGE
             Color change time for liquid spray systems is very short, but has some impact on cost.
             Color change requires time and wastes material. Gaps in the line, cleaning solvents,
             and wasted paint are part of the total cost to paint the parts.
                  This is particularly true if the material being sprayed is a plural component
             material. Catalyzed materials are mixed in batches or mixed automatically by a com-
             puterized mixing device. Either way, some material must be purged from the lines
             for color change. The volume of catalyzed material that is purged to waste should be
             added to the piece price along with lost time for color change.
                  Of course, it must be recognized that we have a market economy, and the trend
             is to offer more color options, and current manufacturing trends are designed for just
             in time production and minimum inventories, limiting the control of the number of
             color changes in a typical line. The equipment should be designed to color-change
             as fast as possible with a minimum amount of wasted paint and solvent use.


             12.2 APPLIED COST OF PAINT
             The applied cost per square foot of a paint material can be calculated to determine the
             actual cost of painting the part. Special considerations like masking, film thickness
             requirements, and special part preparation should be factored into the total cost.
                  The cost of coating application is related to the material and efficiency of the
             paint application process. The following formulas provide a method of developing
             estimated coating cost per square foot. Actual costs of any process depend on the
             variables of the material price per unit, percentage solids, transfer efficiency, material
             utilization labor, and so forth.


             12.2.1 COST PER SQUARE FOOT OF LIQUID
                    SPRAY COATING
             The number 1604 is used as a starting point (the coverage in square feet of 1 gal
             of paint that is 100% solids, at a film thickness of 1 mil and 100% efficiency).
             To determine the coverage of a gallon of paint, the first piece of information that is
             factored in is the percentage of solids. The solids content of the paint will provide the
             film, while the solvent and water content will evaporate.

              % Solids x 1604 = Theoretical coverage at 100% efficiency (ft2/gal, 1 mil thick)

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                                  TABLE 12.2
                                  Potential Transfer Efficiency of Spray
                                  Equipment
                                                                          Transfer
                                  Spray Process                        Efficiency (%)

                                  Conventional air spray                  15-40
                                  Conventional airless                    20-50
                                  Conventional air-assisted airless       30-60
                                  Conventional HVLP                       30-60
                                  Electrostatic airless                    40-70
                                  Electrostatic air spray                  40-80
                                  Electrostatic air-assisted airless       50-85
                                  Electrostatic HVLP                       60-90
                                  Electrostatic bell atomization          70-95
                                  Electrostatic disk atomization           80-95
                                  Electrical atomization                   95-98




             The actual film thickness and transfer efficiency is then added to the calculation.

                         (Theoretical coverage/film thickness) x Transfer efficiency

                            = Actual coverage, ft2/gal

             After the actual coverage is determined, it is a simple step to calculate the
             applied cost.

                                  Cost/gal/actual coverage = Applied cost/ft2

                 Table 12.2 shows the theoretical transfer efficiency for different spray devices.
             Actual transfer efficiency can be calculated by determining how much paint it takes
             to cover a known square footage of part surface.

             12.2.2    EXAMPLE OF COST CALCULATION
             Assumed variables:

                Cost/gal: $21.00
                % Solids: 60%
                Film thickness: 1.2 mil
                Application: electrostatic spray

                                                 0.60 x 1604 = 962
                                                 962/1.2 x 0.70 = 561

                                                 21/561 = $0.0374/ft2

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                  In most cases, the cost of operation for the components of the system is part of
             a fixed operational cost per hour. The washer and ovens may use slightly more energy
             for a heavier part, but there is a cost to run them per hour no matter how much product
             is painted and shipped.
                  It is useful to know how much it costs to operate the equipment so that the total
             cost is known and so that equipment changes can be accurately evaluated. The cost to
             operate a paint system includes utilities (compressed air, gas, and electricity), water,
             chemicals, and maintenance. Some of these costs can be determined with standard
             formulas based on the size of the motors, burners, and fans.

             12.2.3 COST OF SPRAY BOOTH EXHAUST
             A spray booth exhausts air to dilute the concentration of solvents and contain over-
             sprayed paint solids. The exhaust volume from the plant must be made up with outside
             air that must be heated when the outdoor temperature is cold. The amount of energy
             need depends on the location of the plant and the average outdoor temperatures.
                  The amount of spray booth exhaust, measured in cubic feet per minute (CFM),
             depends on the size of the booth opening and the required velocity of air to main-
             tain a satisfactory atmosphere inside the booth. The design face-velocity depends
             on both the design and the application conditions. Occupational Safety and Health
             Administration (OSHA) requirements traditionally called for a minimum face velocity
             of 100 ft/min (FPM) in an occupied booth. Lower velocities are permissible in an
             automated booth, and the application system may also impact the design velocity.
             The opening area is multiplied times the design velocity to determine the exhaust
             volume.

             Spray booth opening (ft2) x Design face velocity (FPM) = Exhaust volume (CFM)

                The temperature difference is used to determine the amount of energy con-
             sumed in British thermal units per hour (Btu/h) and the cost of the fuel used to
             generate heat.

                     Plant air temperature — Outside air temperature = Temperature rise

                 The CFM is multiplied by the temperature rise and the value 1.1 to determine the
             Btu/h. The constant 1.1 is found by multiplying 0.018 (Btu/h required to raise 1 ft3
             of air 1°F at 100% efficiency) by 60 (converting CFM to cubic feet per hour, CFH).
             The value 1.08 is rounded to 1.1.

                         CFM x Temperature rise x 1.1 = Btu/h at 100% efficiency

                 The Btu/h can be multiplied by the cost per 100 ft3 of gas to determine the cost
             of the exhaust air; 100 ft3 of gas is equal to 100,000 Btu/h.

                     Btu/h/100,000 x cost per 100 ft3 of gas = Spray booth exhaust $/h.


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             12.2.3.1   Example
                Booth opening ft2: 200
                Design face velocity: 120 FPM
                Outside air temperature: 50°F (from Table 12.3 of average degree days)
                Plant air temperature: 70°F
                Cost per 100 ft3: $0.45

                                        200 x 120 = 24,000 CFM
                                        70 — 50 = 20 temperature rise



                             TABLE 12.3
                             Average Temperature (Canadian Cities are in °C)

                             Location           Averages        Location        Average

                             Albany, NY            48      Memphis, TX            62
                             Albuquerque, NM       55      Miami, FL              75
                             Atlanta, GA           62      Milwaukee, WI          48
                             Baltimore, MD         56      Minneapolis, MN        45
                             Bismarck, ND          41      Mobile, AL             68
                             Boston, MA            50      Montreal, Que.          7
                             Buffalo, NY           47      Nashville, TN          60
                             Burlington, VT        45      New Orleans, LA        70
                             Calgary, Alta.         4      New York, NY           52
                             Cheyenne, WY          45      Oklahoma City, OK      60
                             Chicago, IL           50      Omaha, NE              51
                             Cleveland, OH         49      Philadelphia, PA       54
                             Columbia, SC          64      Phoenix, AZ            70
                             Concord, NH           44      Portland, ME           46
                             Dallas, TX            66      Providence, RI         50
                             Denver, CO            50      Quebec, Que.            5
                             Des Moines, IA        50      Rapid City, SD         47
                             Detroit, MI           49      Reno, NE               50
                             Great Falls, MT       46      Richmond, VA           58
                             Hartford, CT          50      St. Louis, MO          50
                             Honolulu, HI          75      Salt Lake City, MO     51
                             Houston, TX           69      San Francisco, CA      56
                             Indianapolis, IN      53      Seattle, WA            52
                             Jacksonville, FL      69      Toronto, Ont.           8
                             Juneau, AK            42      Vancouver, D.C.        11
                             Kansas City, MO       55      Washington, D.C.       56
                             Little Rock, AR       62      Wichita, KS            57
                             Los Angeles, CA       63      Winnipeg, Man.          3
                             Louisville, KY        57

                             a Source: Weather Bureau/Department of Commerce.




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                                      24,000 x 20 x 1.1 = 528,000 Btu/h
                                      528,000/100,000 x 0.45 = $237/h

             This formula for cost per Btu/h can be applied to washer burners or any other
             equipment.


             12.2.4 SOLVENT-BASED LIQUID COATING OVEN
                    EXHAUST REQUIREMENTS
             An oven used for solvent-based paint must exhaust air to remove the volatile content
             from the solvents in the paint and the gases given off by the oven burner. The volume
             of exhaust, measured in CFM, and the temperature difference are the key variables.

                           Gallons of paint/h x % Solvent = Gallons of solvent/h

                The National Fire Protection Association (NFPA) recommends a minimum of
             167 CFM of exhaust per gallon of solvent sprayed per hour.

                          Gallons of solvent/h x 167 CFM/gallon = Exhaust CFM

                The CFM must be corrected for the temperature, as the air will expand when
             heated. The temperature correction uses the constant of 460, a number related to
             absolute zero, a hypothetical temperature characterized by the complete absence of
             heat and equivalent to approximately minus 460°F. The standard CFM (SCFM) are
             converted to actual CFM (ACFM) in the following equation:

                         SCFM x (460 + Maximum design temperature)
                                                                   = ACFM
                                460 + Ambient Temperature

                 The by-products of combustion must be added to the exhaust volume. The max-
             imum burner Btu/h is divided by a recommended dilution rate to calculate the exhaust
             requirements. The recommended dilution rate to ensure that enough oxygen is present
             in the oven is 95 ft3/s.

                             Maximum burner Btu/h (95 CFM x 60 s) = SCFM

                As in the ventilation requirement for the solvent concentration, the SCFM must be
             converted to ACFM with a temperature correction. The ventilation for solvents and
             burner gases are added together to determine the total CFM of exhaust. The exhaust
             can be converted to Btu/h, and the Btu/h can be used to determine cost as shown
             above with the spray booth calculation.


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             12.2.4.1    Example
                Oven set temperature: 375°F
                Ambient air temperature: 70°F
                Total exhaust: 1403 CFM
                Cost per 100 ft3: $0.45

                                         375 — 70 = 305
                                         1403 x 305 x 1.1 = 470,707 Btu/h
                                         470,707/100,000 x 0.45 = $2.12/h


             12.2.5 HEAT LOSS FROM LOADING
             Another factor that adds to the cost of operating the oven is the amount of product
             and conveyor that travels through. Energy is expended to heat the product, racks,
             and chain.

                   Oven set temperature — Ambient temperature = Oven temperature rise
                   Conveyor weight/ft x FPM x 60 min
                        = Pounds of chain and trolley/h (see Table 12.4)

             (Use same formula for racks and parts)

                 Conveyor chain and trolleys pounds/h + Racks pounds/h + Parts pounds/h
                    = Total loading
                 Oven temperature rise x Total loading x Specific heat load = Btu/h


             12.2.5.1    Example
                Oven set temperature: 375°F
                Ambient air temperature: 70°F
                Chain: 3" I-Beam



                            TABLE 12.4
                            Approximate Weight per Foot of Chain

                            Conveyor Type    Chain Weight/Foot        Trolley Weight

                            Enclosed track   3.5 pounds          0.5 pounds (H-attachment)
                            X348             2.14 pounds         2.34 pounds
                            X458             3.14 pounds         5.18 pounds
                            X678             6.39 pounds         16.5 pounds




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               TABLE 12.5
               Specific Heat Load of Some Common Materials

               Metals     Steel-0. 125   Iron-0.130   Aluminum-0.248      Zinc-0.095         Brass-0.092
               Plastics   ABS-0.3        Nylon-0.4    Phenolic-0.4        Polystyrene-0.32   Vinyl-0.2




                                                 TABLE 12.6
                                                 Panel Loss Factor
                                                 Panel       Panel Loss
                                                 Thickness     Factor

                                                 3"            0.40
                                                 4"            0.35
                                                 5"            0.30
                                                 6"            0.25
                                                 8"            0.20




                   Line speed: 10 FPM
                   Product loading: 6000 pounds (racks and parts, average)
                   Material: Steel

                               375 — 70 = 305
                               10 FPM x 4.5 lb/ft x 60 min = 2700 lb chain/h
                               2700 lb chain + 6000 lb product = 8700 lb/h
                               305 x 8700 x 0.125 (from Table 12.5) = 331,688 Btulh


             12.2.6 RADIANT LOSSES
             The last item that contributes to energy consumption in an oven is the radiant losses
             through the oven panels (see Table 12.6). The amount of loss depends on the oven
             temperature, the amount of insulation, and the oven size. The formula is shown
             below.

                Total oven surface area ft2 x Oven panel loss factor x Oven temperature rise
                     = Btu/h


             12.2.6.1     Example
                   Oven size: 10' H x 25' W x 50 L
                   Panel thickness: 5"
                   Oven temperature rise: 305°F

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                Oven surface:
                 Ends: 10 x 25 = 250            250 x 2 (ends) = 500
                 Sides: 10 x 50 = 500           500 x 2 (sides) = 1000
                 Top and bottom: 25 x 50 = 1250 1250 x 2 = 2500
                 Total oven surface area, ft2   4000 oven area

                                      4000 x 0.30 x 305 = 366,000 Btu/h


             12.2.7 LABOR AND MAINTENANCE COSTS
             Obviously, the labor cost to run a system will vary with the size of the system, the
             level of quality expected, hours of production, frequency of color change, and many
             other variables. The following calculations are an outline of how to determine the cost
             to run a paint system. In order to accurately determine the cost of labor for coating
             a product the variables must be actual data from a particular line.


             12.2.7.1 Application Labor for Liquid Spray Coating
                Labor costs w/fringes $/h: Supervision—$15.00
                Paint mix—$12.00
                Applicators (2) $27.00
                Total operator labor $/h—$54.00

             Clean-up cost $/h (man-hours/shift x $/h)/operating h/shift

                                     lhx$15=15            15/8h=$1.88

             Maintenance labor cost (man-hours/wk x $/h)/operating h/wk

                                  8 h/wk x $15 = 120         120/40 = $3.00

             Spare parts cost (yearly parts cost/operating h/yr)

                                            15,000/2,000 = $7.50

             Sludge disposal (lbs/h of coating x % transfer efficiency) x (% solids x disposal
             cost per gallon)

                 10.7 lb of coating x 0.30 TE x 0.60 solids = 1.93        1.93 x 3.50 = $6.76

             Labor and maintenance cost $/h

                                   54+1.88+3.00+ 7.5 + 6.76 = $73.14

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             12.2.7.2 System Support Labor
             The cost per year for support labor, such as rackers, hi-lo drivers, system main-
             tenance, technicians, and so forth, will vary depending on the size of the system.
             A typical system might need one technician to oversee the mechanical and chemical
             maintenance of the system, one quality control manager, one hi-lo driver, and four
             rackers. At an average cost per hour of $15.00/person, the support labor would cost
             $105.00/h.

                                       7 workers x 15.00/h = $105.00/h.

                 Therefore, the total labor cost for the system might typically be $178.05/h
             (73.05 + 105.00)
                 To determine the cost per piece, the hourly cost is divided into the total ft2 painted
             per hour, then, the cost per ft2 is multiplied times the ft2 per piece.


             12.2.7.3 Example
                   Total ft2/h: 6000
                   ft2/piece: 0.5
                   Total application labor/h: 50.78
                   Total support labor/h: 105.00

                                            50.78 + 105.00 = 155.78
                                              155.78      _ 0.025
                                            6000 ft2 /h      ft2
                                            0.025 x 0.5 = $0.0125/piece

             12.2.8 ELECTRICAL CONSUMPTION
             For single-phase motors, the full load amps (FLA) can be found on the motor chart
             (Table 12.7). To convert FLA to kilowatt-hours (kWh), the FLA is multiplied times
             the motor voltage to get watts and divided by 1000 to get kilowatts.
                 The formula for single-phase motors is:

                                               FLA x volts = watts
                                               Watts
                                                      kilowatts
                                               1000 =

                   The formula for three-phase is

                                 Volts x amps x 1.73 x power factor = watts
                                  Watts
                                           kilowatts
                                  1000 =
                                 Kilowatts x cost/kWh = hourly operating cost

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                       TABLE 12.7
                       Motor FLA at 1800 rpm
                       HP    230V     460V      HP     230 V    460 V     HP     230 V    460 V

                       FLA of three-phase induction motors 60 cycles, 1800 rpm
                       1/4    0.96     0.48    10       24.5     12.3      100   233      116
                       1/3    1.16     0.58    15       36.7     18.4      125   289      144
                       1/2    1.68     0.84    20       49.0     24.5      150   346      173
                       3/4    2.33     1.17    25       62.7     31.3     200    460      230
                       1      2.75     1.38    30       72.8     36.4     250    572      286
                       1.5    4.17     2.09    40       98.0     49.0     300    685      342
                       2      5.56     2.78    50      121       60.5
                       3      7.87     3.94    60      143       71.5
                       5    12.7       6.34    75      178        89.0
                       7.5  19.2       9.60

                       FLA of single-phase induction motor 60 cycles, 1800 rpm
                       1/8    2.80     1.40    3/4      10.20      5.10 3         34.00   17.00
                       1/6    3.20     1.60    1        13.00      6.50 5         56.00   28.00
                       1/4    4.60     2.30    11/2     18.40      9.20 71/2      80.00   40.00
                       1/3    5.20     2.60    2        24.00 12.00 10           100.00   50.00
                       1/2    7.40     3.70




                 The power factor will vary with different motors between 0.7 and 0.9. Using 0.75
             as a typical number will give relatively close accuracy.

             12.2.8.1 Example
             10-hp motor, 460/3/60

                                       460 x 12.6 x 1.73 x 0.75 = 7520
                                        7520
                                             = 7.5 kWh
                                        1000

                  These costs are based on the motor running at full load, which they rarely do
             in production. Actual numbers can be determined by taking an amp draw from
             the motor and following the formula, substituting the actual amps for the FLA
             listed on the chart. The current draw at start-up will be higher than the current
             draw during operation. Some larger motors will need a power correction factor of
             1.1 or 1.25.

             12.2.9 COMPRESSED AIR
             Compressed air is used to operate the spray equipment, pumps, and valves and it may
             also have several other uses within the operation of a paint system. Compressed air
             is measured by volume in SCFM and by pressure in pounds per square inch (psi).

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             One SCFM of compressed air requires approximately 0.21 kWh to generate. At a cost
             of approximately $0.08/kWh, the cost of one SCFM of compressed air is around
             $0.017/h.

                                         0.21 kWh x 0.08/kWh = 0.017/h.

                Spray equipment manufacturers can supply the maximum compressed air con-
             sumption for their equipment. Some typical maximum consumption volumes are
             shown next for various components in a sample paint system.

                Spray gun: 8 CFM
                Agitator: 3 CFM
                Pump: 7 CFM
                Other: 5 CFM

                 A typical automated system for liquid application might have several stations for
             application, some automatic and some manual. A typical system might have as many
             as 10-14 guns or more. Compressed air consumption will average around 100 CFM.
             The air compressor sizing should consider the maximum consumption at any one
             time, not the average consumption (see Table 12.8).
                 Air leaks in the system should be avoided. Table 12.9 shows the losses associated
             with air leaks.
                 Air leaks can occur from worn valves, bad seals, poor connections (hose to fitting),
             and leaky disconnects. It is wise to inspect the lines periodically to see if all of the
             connections are leak free.



                    TABLE 12.8
                    Air Compressor Sizing Based on Horse Power

                    Compressor HP              3     5    7.5   10   15   20    25      30    50
                    Maximum CFM at 100 psi    12    20   30     40   60   80   100     120   200




                                 TABLE 12.9
                                 Cost of Air Leaks
                                 Hole Size   ft3 Waste at 100 psig   Cost/Month at
                                 of Loss       and 720 h/Month       $0.20/1000 ft3

                                 1/2"              17,928,000          $3,585.60
                                 3/8°              10,108,800          $2,021.76
                                 1/4"               4,492,800            $898.56
                                 1/81,              1,123,200            $224.64
                                 1/16"                280,370             $56.07




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             12.2.10 TOTAL COST OF PAINT APPLICATION
             The total cost of application can be calculated using a standard accounting formula.
             The costs can be included in whatever heading a company chooses as long as each
             cost item is captured.
                 Historical data are always best, but the costs can also be estimated based on
             standard formulas. The following outline shows a step-by-step quote for the cost of
             paint application.


             12.2.11 QUOTING A PART
             When quoting the cost of application of a particular paint to a particular part the first
             step is to create a list of production information that defines how the part will be run.
             The annual volume to be painted will be important when making decisions about
             investment in tooling or other items that can improve efficiency. 'Be set-up volume
             (number of parts per run) is also important as it will affect the amount of tooling and
             influence set-up costs, color change, and other adjustments that will be necessary for
             that part.
                 The square footage of the part must be measured to determine the surface area that
             will be painted. Parts with complex geometry can be broken down into measurable
             geometric shapes as shown in Appendix B.
                 Process data are used to determine the parts per hour so that the hourly costs
             can be broken down into a cost per part.

                 • Design racking configuration (total parts per rack or hook)
                 • Rack or hook spacing on the conveyor (rack center distance
                   in feet)
                 • Conveyor line speed (FPM)
                 • Downtime factor (15-20% typical)

                 This information is used to calculate the cost of each item that influences the
             ultimate cost to paint the part, including the material cost, labor, burden, fixed cost,
             and scrap cost. The first step is to determine a production rate.

                                 Conveyor speed (FPM) x 60 min = FPH

                                  Parts/rack
                                              = Parts/foot
                                 Rack spacing

                                 FPH x Parts/foot = Parts/h at 100% uptime

                Add downtime factor:

                           Parts/h at 100% uptime x 0.80 = Parts/h at 80% uptime


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             12.2.11.1 Material Cost
             The material cost follows the formulas supplied for liquid coatings.

              % Solids x 1604 = Theoretical coverage at 100% Efficiency (ft2/gal, 1 mil thick)

             (Theoretical coverage/film thickness) x Transfer efficiency = Actual coverage,
             ft2/gal

                   • Adjust the ft2 for paint losses on the rack; assume a percentage of the
                     part ft2
                   • For large parts the percentage will be lower, because there will be more
                     part and less rack
                   • For smaller parts, the percentage will be higher
                   • For film thickness use a default of 1 mil

                                       Cost of paint
                                                         = cost/ft2
                                            ft2/gallon
                                       Cost/ft2 x ft2 /part = material cost/part

                Add start up waste (purging and charging the system) to the cost of material.

                   Cost/gal x waste = total start up material cost
                   Start up material cost
                                             = cost per part of waste addition
                    parts per typical run
                   Material cost per part + Waste material per part = Total material cost/part


             12.2.11.2 Labor
             To determine the cost of labor the number of people and the costs for their labor is
             totaled and compared to the output per hour.
                 Line personnel include sprayers, quality control people, supervisors, rackers
             (online and off-line) and others (masking, blow-off, etc.).
                 The average straight wage is used to determine the total cost of labor per hour,
             and then the total labor cost is divided by the production volume to determine the
             cost per part.

                          Average wage/h x Number of people = Total straight wage
                           Total straight wage
                                                     $/part
                                 Parts/h

             12.2.11.3 Burden
             Burden is a cost that is added to labor and line operation for additions to hourly
             wage (insurance, uniforms, training, taxes, etc.) and special materials used to run
             a particular part (utilities, packaging, supplies, testing, etc.).

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                 Variable labor can often be expressed as a percentage of straight wages,
             say 25%.

                          Total direct labor x Addition % = Variable labor addition

                 Variable line burden can be calculated by collection of data for items that fit into
             this category. The cost of the items that support the line is broken down into an hourly
             cost, added to the hourly cost of variable labor, and then divided by the production
             rate to determine the cost per part.

                                       Hourly cost of burden
                                                             = Cost/part
                                             Parts/h

             12.2.11.4 Fixed Cost
             Fixed cost is the cost of operating a business that is steady and ongoing, regardless of
             the number of parts that are painted. This includes building cost, debt, administration,
             and maintenance. Data for these costs is collected and divided into an hourly fixed
             cost. The hourly fixed cost is divided into the production rate to determine the cost
             per part.

                                         Total fixed cost/h
                                                            = Cost/part
                                              Parts/h

             12.2.11.5 Scrap Cost
             Scrap and rework should be added to the cost per part. The cost of parts that have
             to be repainted and the number that have to be thrown away should be totaled and
             divided into the production volume and added to the total cost per part.

             12.2.11.6 Add Cost
             The total cost of painting the part is the sum of the all the items listed above.

                 •   Material cost
                 •   Labor cost
                 •   Burden
                 •   Fixed cost
                 •   Scrap cost

                 The final price may be adjusted for special considerations. Things like masking
             and special packaging should be factored into the cost. Low volumes may make the
             price higher just as high volumes may reduce the cost.
                 Any cost that requires payment by the company should be reflected in the per piece
             cost. It may not be immediately clear what category the item should be placed in and
             some items may fit into more than one category. It does not matter what category
             a cost item is put into as long as it is included and the method is consistent.

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             APPENDIX A
             METRIC EQUIVALENTS
             Degrees Fahrenheit to Degrees Celsius

             °F        °C        °F       °C            °F             °C
               0     -17.8       110      43.3         310         154.4
               5     -15.0       120      48.9         320         160.0
              10     -12.2       130      54.4         330         165.6
              15      -9.4       140      60.0         340         171.1
              20      -6.7       150      65.6         350         176.7
              25      -3.9       160      71.1         360         182.2
              30      -1.1       170      76.7         370         187.8
              35        1.7      180      82.2         380         193.3
              40        4.4      190      87.8         390         198.9
              45        7.2      200      93.3         400         204.4
              50       10.0      210      98.9         410         210.0
              55       12.8      220     104.4         420         215.6
              60       15.6      230     110.0         430         221.1
              65       18.3      240     115.6         440         226.7
              70       21.1      250     121.1         450         232.2
              78       23.9      260     126.7         460         237.8
              80       26.7      270     132.2         470         243.3
              85       29.4      280     137.8         480         248.9
              90       32.2      290     143.3         490         254.4
              95       35.0      300     148.9         500         260.0
             100       37.8


             Conversion Tables

             If you Know          Multiply by                To Find
             Inches                    2.540         Centimeters
             Inches                   25.40          Millimeters
             Inches                 1000.0           Mils
             Feet                     30.48          Centimeters
             Meters                  100.0           Centimeters
             Meters                   39.37          Inches
             Meters                    3.281         Feet
             Kilogram-calories         3.968         Btu
             Kilowatt-hours        3,413.0           Btu
             Liters                    0.2642        Gallons (U.S. liquid)
             Feet/min                  0.3048        Meters/min
             Square feet             929.0           Square centimeters
             Square meters            10.76          Square feet
             Mils                      0.001         Inches
             Poise                     1.00          Gram/cm s

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             APPENDIX B

             COMMON GEOMETRIES AND FORMULAS FOR CALCULATION OF AREA

             CIRCLE
                 Area = 0.785 x Square of the diameter = 0.785 x (A)2 = 0.785 x A x A

             Example—
             The circle is 4" in diameter

                               Area = 0.785 x (4)2 = 0.785 x 4 x 4 = 12.56 in.2




             ELLIPSE
                    Area = 0.785 x Long diameter x Short diameter = 0.785 x B x C

             Example—
             Ellipse 4" x 3"

                                       Area = 0.785 x 4 x 3 = 9.42 in.2




             PARABOLA
                                  Area = 2/3 Base x Height = 2/3 x D x E

             Example—
             Base is 3" and the height is 5"

                                        Area = 2/3 x 3 x 5 = 10 in.2


                                                   tE
                                                        HDH
                                                                            G-P PGO01190




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                      Area = 3.14 x Square of diameter-3.14 x (F)2 = 3.14 x F x F
             Example—
             Sphere is 5" in diameter
                              Area = 3.14 x (5)2 = 3.14 x 5 x 5 = 78.5 in.2




             CYLINDER
               1. Hollow

                               Area = Circumference x Length = 3.14 x H x G

                    Example—
                    Tube 4" in diameter and 12" long

                                        Area = 3.14 x 4 x 12 = 150.7 in.2

                2. Solid

                       Area = Circumference x Length plus twice cross — sectional area
                       3.14 x H x G + 1.57 x H x H = Area to be covered

                    Example—
                    Round bar is 4" in diameter and 12" long

                                        Area = 3.14 x 4 x 12 = 150.7
                                               +1.57 x 4 x 4 = 25.1

                                                               = 175.8 in.2



                                               T
                                               L
                                                          H

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             CONE
               1. Hollow

                        Area = 1/2 of circumference of base x slant heightl.57 x K x J

                    Example—
                    Cone is 4" in diameter at base and 6" slant height

                                         Area =1.57x4x6=37.68in2

                2. Solid
                                      Area= 1.57xKxJ+0.785xKxK
                    Example—
                    Same as above

                      Area =1.57x4x6+0.785x4x4=37.68+12.56=50.24in2




             FRUSTRUM OF CONE
               1. Hollow

                            Area = 1/2 sum of circumference of bases x slant height
                                  = 1.57 x (M + N) x L

                    Example—
                    A tapered tube 4" diameter at small end, 6" diameter at large end, and
                    6" slant height

                                      Area = 1.57 x (6 + 4) x 6 = 94.2 in.2

                2. Solid

                            Area = 1/2 sum of circumference of bases + slant height
                                     + sum of areas of bases
                            1.57x(M+N)xL+0.785x(M2 +N2)=in2
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                    Example—
                    A tapered bar 4" diameter at small end, 6" diameter at large end and 6" slant
                    height

                     Area = 1.57 x (6+4) x 6+0.785 x (6 x 6+4 x 4) = 94.2 +40.8
                                                                                = 135 sq. in.

                        On all cylinders, cones, and frustums of cones that are hollow and
                    where it is desired to know the area that must be covered, if outside and
                    inside areas are to be determined, the average of the outside and inside
                    diameters should be used in the formulas and the result doubled.




             SQUARE
                                                Area = 0 x P
             Example—
             Square 5" on a side
                                           Area =5x5=25in2



                                                           T P




             RECTANGLE
                                                Area = S x T
             Example—
             Rectangle 5" x 3"
                                           Area = 5 x 3 = 15 in.2

                                          i        S


                                                                 T



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             CUBE
             (All sides equal)


                                        Area = 6 x square of one side


             Example—
             Cube 6" on one side
                                          Area = 6 x (6)2 = 216 in.2




                                               HuH
             TRIANGLE


                                             1/2 x base x altitude
                                             Area = 1/2 x Y x Z


             Example—
             Base of triangle is 8" and height is 6"


                                        Area = 1/2 x 8 x 6 = 24 in.2




                                                       HH
             HEXAGON
             (Six equal sides—all angles equal)


                 Area = 3/2 x length of one side x distance between any two parallel sides
                 Area = 3/2 x B x A

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             Example—
             Hexagon 2" on a side and 4" between flats


                                         Area = 3/2 x 2 x 4 = 12 in.2




                                            01
             PARALLELOGRAM
             (Opposite sides parallel)


                     Area = Length of side x Vertical distance to parallel side = C x D


             Example—
             A parallelogram with one side of 6" and a distance of 4" between this side and the
             parallel side.

                                            Area =6x4=24in2




             RECTANGULAR PARALLELOPIPED
             (Opposite sides parallel)


                              Area= 2 x (E x F+Fx G+G xE) = Surface




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             Example—
             A block having sides 4", 6", and 8" long, respectively

                               Area=2x(4x6+6x8+8x4)=208in. 2




                                        T
                                        Lk             E


             TRAPEZOID
             (One pair of opposite sides parallel)

                   Area = 1/2 sum of the parallel sides x vertical distance between them
                         =1/2x(H+J)xK

             Example—
             A trapezoid having parallel sides 6" and 4" long respectively, distance between them
             being 4"
                                    Area= 1/2 x (6+4) x4=20in2


                                                           HI


                                             ____HHH

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         Materials Science




         From cars to furniture, computers, and mechanical components, paints and
         coatings play a vital role in nearly every manufactured product available.
         Written by an industry insider with more than 30 years of experience, the
         Paint Technology Handbook provides a practical and straightforward guide
         for the design of coatings systems. The author emphasizes the importance
         of understanding paint materials, manufacturing techniques, testing, application
         methods, and equipment in order to meet product-specific needs.

         Encompassing processes and equipment used for manufacturing the paints
         themselves as well as application systems, this book reviews the essential
         techniques and necessary equipment for deposition and finishing systems.
         Following a discussion of color standards, metamerism, and color matching,
         the book covers analytical methods and instrumentation to determine,
         measure, and control paint color. The book presents a complete evaluation
         of liquid paint application technologies, including spray and electrodeposition
         techniques. Concluding chapters cover curing, testing methods for finished
         materials, quality control techniques, and how to perform cost analyses.

         Features

           • Discusses how surface preparation, cleaning, and pretreatments of
             system components and substrates affect performance

           • Describes the components and properties of paints, including resins,
             pigments, extenders, solvents, and additives

           • Presents chemical composition, physical properties, function, wear
             characteristics, and other properties used for material selection

           • Covers transfer efficiency, automated control, and maintenance for
             all application techniques

           • Explains how to test the finished product for durability and film defects

         Enabling readers to develop and fulfill product-specific criteria with realistic,
         cost-effective solutions, the Paint Technology Handbook provides a primary,
         one-stop resource for designing and operating optimal paint and surface
         finishing systems.




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                Taylor France Group
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                www.taylorandfrancisgroup.com
                                                6000 Broken Sound Parkway, Nk
                                                Suite 300, Boca Ralon, FL 33487
                                                270 Madison Avenue
                                                New York, NY 10016
                                                2 Park Square, Milton Park
                                                Abingdon, Oxon OX14 4RN, UK
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